Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 1 of 275




                 EXHIBIT C
           Case 1:21-cv-08330-LAK Document 31-3
                                           11-3 Filed 11/12/21
                                                      10/20/21 Page 2 of 275




COVINGTON                                                             Covington & Burling LLP
                                                                      The New York Times Building
BEIJING    BRUSSELS    DUBAI   FRANKFURT   JOHANNESBURG               620 Eighth Avenue
LONDON     LOS ANGELES    NEW YORK     SAN FRANCISCO                  New York, NY 10018-1405
SEOUL     SHANGHAI    SILICON VALLEY   WASHINGTON                     T +1 212 8411000




By Federal Express                                                    September 26, 2018

American Arbitration Association
Case Filing Services
1101 Laurel Oak Road, Suite 100
Voorhees, NJ 08043


           Re: Amended Demand for Arbitration

Dear Case Filing Specialists:

        Pursuant to the Investment Management Agreement dated January 6, 2014, as amended
and renewed on January 1, 2016 (the “IMA Contract”),1 we write to demand arbitration and to
provide notice of this dispute between the Trustees of The New York State Nurses Association
Pension Plan (the “Plan” or “NYSNA PP”) and White Oak Global Advisors, LLC (“White Oak”).
This amended demand supersedes the demand filed on August 1, 2018. The purpose of the
arbitration is to determine whether White Oak violated the Employee Retirement Income
Security Act of 1974 (“ERISA”) and breached the IMA Contract in connection with the
management of the Plan’s assets, as well as the damages that result from such breaches. We
describe many of the key allegations below.

       Pursuant to the IMA Contract, the arbitration will be conducted in the City of New York
by the American Arbitration Association (“AAA”). This dispute will be governed under the
Commercial Arbitration Rules of the AAA and Supplementary Procedures for Large, Complex
Disputes.

           The parties and their respective counsel are as follows:


        NYSNA PP                                              White Oak

        New York State Nurses Association Pension Plan        White Oak Global Advisors, LLC
        P.O. Box 12430                                        3 Embarcadero Center, Suite 550
        Albany, NY 12212-2430                                 San Francisco, CA 94111
        Tel: 518-869-9501                                     Tel: 415-644-4100
        Fax: 518-869-9529                                     Fax: 415-644-4199
        email: cfell@rnbenefits.org                           email: dray@whiteoaksf.com


1The 2014 and 2016 IMA Contract are attached as Exhibit А. All capitalized terms not otherwise defined
in this Demand for Arbitration have the definitions assigned to them in the IMA Contract.
       Case 1:21-cv-08330-LAK Document 31-3
                                       11-3 Filed 11/12/21
                                                  10/20/21 Page 3 of 275


COVINGTON
American Arbitration Association
September 26, 2018
Page 2


     The NYSNA PP’s Counsel                               White Oak’s Counsel

     C. William Phillips                                  Phillip R. Sellinger
     Robert Newman                                        Leslie A. Klein
     Covington & Burling LLP                              Greenberg Traurig, LLP
     620 Eighth Avenue                                    500 Campus Drive, Suite 400
     New York, NY 10018-1405                              Florham Park, NJ 07932-0677
     Tel: +1 212 841 1000                                 Tel: 973-360-7910
     Fax: +1 212 841 1010                                 Fax: 973-295-1310
     email: cphillips@cov.com                             email: SellingerP@gtlaw.com
     email: rnewman@cov.com                               email: KleinL@gtlaw.com

     Albert Kalter                                        David Ray
     Albert Kalter, P.C.                                  White Oak Global Advisors, LLC
     1325 Avenue of the Americas, 28th Floor              3 Embarcadero Center, Suite 550
     New York, NY 10019-6026                              San Francisco, CA 94111
     Tel: 212-946-5485                                    Tel: 212-218-6373
     email: akalter@kalterlaw.com                         Fax: 415-644-4199
                                                          email: dray@whiteoaksf.com



        As a result of White Oak’s ERISA violations and breach of the IMA Contract, the NYSNA
PP seeks damages totaling more than $7.5 million. This includes disgorgement of all fees and
profits earned by White Oak as a result of its decision to invest the Plan's assets in investments
that benefitted White Oak at the expense of the Plan and were not compliant with law. In
addition, the Plan seeks the withdrawal and return of its investment, damages for any loss
incurred due to the liquidation of the Plan’s interest, attorney’s fees, other damages associated
with White Oak’s ERISA violations and breach of contract, removal of White Oak as a fiduciary
for the Plan’s assets held in the underlying White Oak funds, and any other available legal or
equitable relief.2




2       Under the applicable LPAs, White Oak is a fiduciary for the Plan’s assets that it caused to
be invested in the underlying funds which it managed. White Oak Pinnacle Feeder Fund I, L.P.
LPA, ¶ 3.11(a) (“The Partnership will hold ‘plan assets’ for purposes of the Plan Asset Regulation.
As a result, the General Partner and the Manager both agree that they are fiduciaries for the
Limited Partner with respect to the assets of the Partnership.”); White Oak Pinnacle Fund, L.P.
LPA, ¶3.11(a) (“At any time that the Partnership holds ‘plan assets’ for purposes of the Plan
Asset Regulation, the General Partner and the Manager both agree that they are fiduciaries for
all ERISA Partners with respect to the assets of the Partnership.”); White Oak Summit Fund,
L.P., LPA, ¶ 3.14(a) (“The General Partner, on its own behalf and on behalf of the Manager,
agrees that both the General Partner and the Manager are fiduciaries of all ERISA Partners with
respect to the assets of the Partnership.”).
        Case 1:21-cv-08330-LAK Document 31-3
                                        11-3 Filed 11/12/21
                                                   10/20/21 Page 4 of 275


COVINGTON
American Arbitration Association
September 26, 2018
Page 3


Background

        The Plan provides retirement benefits for Registered Nurses and other medical
professionals predominately in the Metropolitan New York City area. The Plan covers
approximately 16,000 participants and nearly 9,000 retirees or their beneficiaries. Collectively,
the Plan holds assets of more than $3.8 billion. The Plan is subject to ERISA, including its
fiduciary obligations and prohibitions on self-dealing with respect to entities responsible for the
management of the Plan’s assets.

         On January 6, 2014, the NYSNA PP and White Oak entered into the IMA Contract, by
which White Oak agreed to serve as an investment manager under section 3(38) of ERISA with
authority to invest funds allocated to it in a direct lending strategy as White Oak determines in
its sole discretion. Under the IMA Contract, White Oak serves as an ERISA fiduciary and must
act solely in the interest of participants and beneficiaries of the Plan.

       The Plan made an initial funding allocation of $80 million3 to White Oak. White Oak
invested the Plan’s initial allocation into the White Oak Pinnacle Feeder Fund I, L.P., (“Pinnacle
Feeder”).4 The Pinnacle Feeder invests all of its assets into the White Oak Pinnacle Fund, L.P.
(“Pinnacle Master”).5 In March 2015, an additional $35 million was committed under the IMA
Contract, which White Oak, in its discretion, invested in the White Oak Summit Fund, L.P.,
(“Summit”).6

        White Oak serves as the investment manager for Pinnacle Feeder, Pinnacle Master, and
Summit. As investment manager of Pinnacle Master and Summit, White Oak is permitted to
receive management fees and carried interest in addition to fees it collects under the IMA
Contract.7 To date, the Plan has paid more than $7 million in management fees and expenses to
White Oak under Pinnacle Master and nearly $650,000 in management fees and expenses to
White Oak under Summit.



3 On February 12, 2015, this fixed dollar amount was changed to a percentage of the Plan’s assets. The
allocation target for White Oak was changed from a fixed dollar amount of $80 million to 60% of the
Plan’s sub-asset class allocation of the Fixed Income allocation.
4The White Oak Pinnacle Feeder Fund I Limited Partnership Agreement (“Pinnacle Feeder LPA”), dated
December 31, 2013, is attached as Exhibit B.
5The White Oak Pinnacle Fund Limited Partnership Agreement (“Pinnacle Master LPA”), dated March
15, 2012, is attached as Exhibit C.
6The White Oak Summit Fund Limited Partnership Agreement (“Summit LPA”), dated March 1, 2016, is
attached as Exhibit D.
7 There is an offset provision under the IMA Contract to reduce the fees paid to White Oak “by the pro rata
share” of the investment advisory fees paid under Summit and Pinnacle. IMA Contract § 9(c). However,
the fund fees provide an additional benefit to White Oak to the extent they exceed any IMA Contract fees,
for example after the IMA Contract terminates.
       Case 1:21-cv-08330-LAK Document 31-3
                                       11-3 Filed 11/12/21
                                                  10/20/21 Page 5 of 275


COVINGTON
American Arbitration Association
September 26, 2018
Page 4


        By using its discretion to invest the Plan’s assets into the funds it manages, White Oak
bound the Plan to contractual terms in the fund LPAs that are contrary to the IMA Contract,
violate the law, and personally benefit White Oak. In doing so, White Oak breached the
fiduciary duty of loyalty and trust owed to the Plan.

       As investment manager of pension plan assets, White Oak is under both federal statutory
and state contractual obligations to act as a fiduciary to manage the assets in the best interest of
the Plan. The IMA Contract specifically identifies White Oak’s duties as fiduciary:

       IMA Contract § 2 Investment Account Assets.

               (a) … The Investment Account Assets and the Allocated Amount constitute assets
               of an employee benefit plan subject to Part 4 of Title I of ERISA.

       IMA Contract § 4 Standard of Care.

               (a) The Investment Manager shall perform its duties hereunder with the care,
               skill, prudence and diligence under the circumstances then prevailing that a
               prudent person acting in a like capacity and familiar with such matters would use
               in the conduct of an enterprise of a like character and with like aims, and in such
               manner as to comply with Section 404(a)(1)(B) of ERISA and any regulations
               promulgated pursuant thereto.

               (b) The Investment Manager shall diversify the Investment Account Assets
               subject to the Investment Guidelines so as to minimize the risk of large losses,
               unless under the circumstances it is clearly prudent not to do so, and in such
               manner as shall comply with the requirements of Section 404(a)(1)(C) of ERISA
               and any regulations promulgated pursuant thereto.

               (c) The Investment Manager shall discharge its duties hereunder with respect to
               the Investment Account solely in the interest of, and for the exclusive purpose of
               providing benefits for, the participants in the Plan and their beneficiaries, in
               accordance with the Plan and Trust Agreement (and other documents and
               instruments governing the Plan), this Agreement, any Investment Guidelines,
               ERISA and other applicable law.

               (d) The Investment Manager shall not effectuate any investment transaction that
               directly or indirectly shall cause the Plan, the Trustees or any other fiduciary
               thereof (including the Investment Manager, or any affiliate thereof), to violate
               Sections 406 through 408 of ERISA, or Section 4975 of the Code.

               (e) Notwithstanding anything herein to the contrary, in the event that the
               Investment Manager purchases shares of an open-end investment company
               registered under the Investment Company Act of 1940 for which the Investment
               Manager (or an affiliate thereof) is the investment advisor, the Investment
               Manager shall comply in all respects with United States Department of Labor
          Case 1:21-cv-08330-LAK Document 31-3
                                          11-3 Filed 11/12/21
                                                     10/20/21 Page 6 of 275


COVINGTON
American Arbitration Association
September 26, 2018
Page 5


                  Prohibited Transaction Class Exemption 77-4, or any successor class exemption
                  thereto.8

ERISA Violations

        White Oak violated ERISA in its management of the Plan’s assets. Among other
violations, White Oak violated ERISA’s prohibition on self-dealing by using its discretion to
invest the Plan’s assets in its own funds, which provided fees, profits and other substantial
benefits to White Oak. White Oak also used Plan assets to enter into agreements with service
providers in violation of ERISA’s prohibited transaction rules. Further, White Oak violated its
duty of loyalty by using Plan assets to benefit itself and failing to disclose certain information to
NYSNA PP. In addition, White Oak violated its duty of prudence by managing Plan assets in a
manner that caused ERISA violations.

          A.      Self-Dealing

        ERISA prohibits a fiduciary from “deal[ing] with the assets of the plan in his own interest
or for his own account.”9 This prohibition on self-dealing was violated by White Oak in several
ways, including but not limited to those described below.

         First, purportedly acting under the authority of the IMA Contract, White Oak entered
into Limited Partnership Agreements (LPAs) that locked the Plan into a financial relationship
with illiquid assets and no withdrawal right.10 This benefited White Oak because, even if the
IMA Contract was terminated (and, indeed, White Oak did terminate the IMA Contract), the
Plan’s assets were locked into investment funds that could not be terminated under the LPAs
and required the Plan to continue paying fees and expenses to White Oak.

        The IMA Contract gives White Oak full discretion to choose the funds in which it invests
Plan assets. Section 1(a) of the IMA Contract makes White Oak’s discretion abundantly clear:

8   See also IMA Contract § 11 Representations of Investment Manager.
9   ERISA § 406(b)(1); 29 U.S.C. § 1106(b)(1).
10 As the sole limited partner in Pinnacle Feeder, the Plan has no withdrawal right. Pinnacle Feeder LPA
§ 10.5. The partnership’s term is seven years from December 31, 2013, subject to three additional one-
year extensions, as determined by the General Partner and consented to by the Limited Partner. Pinnacle
Feeder LPA § 10.1. Acknowledging this defect, White Oak amended section 10.5 of the Pinnacle Feeder
LPA on August 31, 2018, after NYSNA PP filed its first demand for arbitration, permitting the Limited
Partner to demand a withdrawal of the assets of the fund. However, because Pinnacle Feeder’s assets
consist of assets distributed by the Pinnacle Master fund, the assets may consist, in the discretion of
White Oak, of a note from the fund (controlled by White Oak).
As an ERISA Partner in Summit, the Plan has a withdrawal right upon 60 days’ notice. However, the
General Partner may elect to pay the Plan the fair value of its interest in Summit in the form of a note
issued by Summit with an 8% interest rate. Summit LPA § 10.5. The Plan cannot get its money back until
the maturity of the note, which can be as long as seven years from the date of the final closing.
           Case 1:21-cv-08330-LAK Document 31-3
                                           11-3 Filed 11/12/21
                                                      10/20/21 Page 7 of 275


COVINGTON
American Arbitration Association
September 26, 2018
Page 6


“[t]rustees hereby appoint the Investment Manager and delegate to the Investment Manager
fiduciary responsibility over the Allocated Amount … including the sole, exclusive and full
discretion and authority to invest plan assets.” White Oak exercised this discretion when it
made the decision to invest Plan assets into the Pinnacle Feeder Fund.

       The terms of the Pinnacle Feeder Fund I LPA are in violation of ERISA. The Pinnacle
Feeder contains no withdrawal right for Plan assets. Pinnacle Feeder Section 10.5 states, “[t]he
Limited Partner may not voluntarily withdraw from the Partnership prior to its dissolution and
winding up.”

       Second, the LPAs are structured to allow White Oak to receive transaction fees from the
funds that could increase the total fees White Oak earns, without commensurate benefit to the
Plan. By forming LPAs with terms beneficial to itself, and then using its discretion under the
IMA contract to place the Plan’s assets into these fund LPAs, White Oak violated ERISA’s
prohibition on self-dealing.

         Furthermore, by using its discretion under the IMA to invest Plan assets in White Oak’s
own funds, White Oak conferred on itself certain contractual rights to the detriment of the
NYSNA PP. For example, among other provisions, the LPAs require the NYSNA PP to
indemnify, through the partnership, the General Partner (also a White Oak entity) and White
Oak (as manager) for certain claims or liabilities relating to their conduct, even though the IMA
does not require the NYSNA PP to indemnify White Oak. In addition, the LPAs permit the
general partner (a White Oak affiliate) or White Oak (as manager) to waive investment fees for
White Oak affiliates who invest in the LPAs, thereby requiring the NYSNA PP and other
investors to subsidize the investment costs of White Oak affiliates. The LPAs also permit White
Oak to employ its affiliates as agents, to lend money to the partnerships, to transact with
affiliates, to sell a defaulting Limited Partner’s interest on terms within the General Partner’s
sole discretion, and to waive the default of any partner affiliated with White Oak, among other
potential benefits. And, the LPAs permit White Oak to disclose the fact of the NYSNA PP’s
investment in the funds when the General Partner determines that doing so is in the best
interest of the funds, i.e., to solicit additional investments that could, in turn, provide additional
management fees to White Oak.

           B.      Improper Agreements with Service Providers

        ERISA also prohibits a fiduciary to cause a plan to enter into a transaction in which a
party in interest provides services to the plan.11 An exception is made for “reasonable
arrangements with a party in interest … if no more than reasonable compensation is paid
therefor.”12 By failing to implement the MFN (as described below), White Oak charged fees that
were not reasonable.


11   ERISA § 406(a)(1)(C); 29 U.S.C. § 1106(a)(1)(C).
12   Id.
          Case 1:21-cv-08330-LAK Document 31-3
                                          11-3 Filed 11/12/21
                                                     10/20/21 Page 8 of 275


COVINGTON
American Arbitration Association
September 26, 2018
Page 7


        In addition, the lack of a withdrawal right from the Pinnacle Feeder LPA is also a
violation of ERISA.13 U.S. Labor Department regulations provide that “[n]o contract or
arrangement is reasonable … if it does not permit termination by the plan without penalty to the
plan on reasonably short notice.”14 The IMA Contract accordingly includes a provision
permitting NYSNA PP to terminate the IMA immediately.15 However, White Oak used its
discretion under the IMA Contract to place the Plan’s funds in an arrangement whereby White
Oak is retained as the investment manager and cannot be terminated until the fund closes.
Pinnacle Feeder Section 10.5 states, “[t]he Limited Partner may not voluntarily withdraw from
the Partnership prior to its dissolution and winding up.”

        Lastly, the fund LPAs contain unreasonable terms regarding conflicts of interest.16
Pinnacle Master states that White Oak may enter into certain potentially conflicted transactions
with the approval or advice of an advisory committee that is “either comprised of (i) individual
representatives of selected Limited Partners … or (ii) an independent third party selected by a
majority of the Limited Partners …”.17 However, Pinnacle Feeder is one of the limited partners,
and the manager of Pinnacle Feeder is White Oak. In other words, the Pinnacle Master
establishes a procedure for White Oak to resolve conflicts that involves seeking advice or
consent from White Oak or its representatives or appointees. (Summit has a similar provision
and, so long as the IMA Contract is in place, White Oak oversees that investment and any
conflicts resolution process.)

          C.       Violation of Duty of Loyalty

        White Oak violated ERISA’s duty of loyalty, which requires a plan fiduciary to act “solely
in the interest of participants and beneficiaries.”18 First, all of White Oak’s self-dealing actions,
described above, including locking-in the Plan’s assets and increasing fees, are a violation of


13   Pinnacle Feeder LPA § 10.5.
14   DOL ERISA Regulation 2550.408b-2(c).
15“This Agreement may be terminated at any time by the Trustees without penalty by giving the
Investment Manager written notice of such termination date.” IMA Contract § 13(c).
16   Pinnacle Feeder LPA § 3.15 (a)-(c); Summit LPA § 3.18 (a)-(c).
17“The General Partner shall establish an advisory committee either comprised of (i) individual
representatives of selected Limited Partners, at least a majority of whom are not affiliated with the
General Partner or its Affiliates (the “Limited Partner Advisory Committee”) or (ii) an independent third
party selected by a majority of the Limited Partners not affiliated with the General Partner or its Affiliates
(the “Third Party Advisory Committee” and, together with the Limited Partner Advisory Committee, the
“Advisory Committee”), in each case, to provide approval (as specified in Section 3.4 of this Agreement) or
advice to the General Partner on matters relating to the resolution of potential conflicts of interest
involving the Partnership and the General Partner Group and such other matters as may be referred to it
from time to time by the General Partner.” Pinnacle Master LPA § 3.16.
18   ERISA § 404(a)(1).
          Case 1:21-cv-08330-LAK Document 31-3
                                          11-3 Filed 11/12/21
                                                     10/20/21 Page 9 of 275


COVINGTON
American Arbitration Association
September 26, 2018
Page 8


ERISA’s duty of loyalty. Furthermore, White Oak failed to provide a detailed accounting of fees
to enable the Plan to monitor White Oak’s compliance with IMA Contract terms (specifically, the
most favored nations clause).

        This failure to provide a detailed accounting is still ongoing. As recently as March 1,
2018, the Plan sent a request to White Oak, under ERISA Section 408(b)(2), for White Oak to
disclose all direct and indirect compensation it received as a service provider covered by that
section. White Oak failed to meet the April 16, 2018, deadline to disclose this information. To
date, this information has not been provided to the Plan. This failure to disclose highly relevant
information to the Plan is a further violation of the duties of loyalty and candor owed to the
Plan.

          D.      Violation of Duty of Prudence

        White Oak breached ERISA’s duty of prudence, which requires a plan fiduciary to act
“with the care, skill, prudence, and diligence under the circumstances then prevailing that a
prudent man acting in a like capacity and familiar with such matters would use in the conduct of
an enterprise of a like character and with like aims.”19 White Oak’s self-dealing, as outlined
above, and its management of Plan assets in a manner that caused ERISA violations, is a further
violation of ERISA’s duty of prudence.

Contractual Violations

       White Oak has also failed to adhere to the terms of the IMA Contract. The IMA Contract
requires White Oak to fulfill its fiduciary obligations under ERISA20 and, as explained above,
White Oak has failed to honor those obligations.

        In addition, the IMA Contract contains a “most favored nations” clause (“MFN”), in
which White Oak agreed to give the Plan the best terms it makes available to any other investor
of similar size and for similar services.

          IMA Contract § 9 Fees.

                  (e) The Investment Manager expressly acknowledges, represents, warrants and
                  agrees that: (i) under no circumstances will the fee set forth in Schedule C result
                  in payment by the Trustees or the Trust of fees exceeding those that would be
                  payable - for management of assets approximately equal in value to the
                  Investment Account - by any of the Investment Manager's other clients for whom
                  it provides the same or similar services and (ii) in the event the Investment
                  Manager (1) has already entered, or (2) at any time in the future enters into an
                  agreement with another client to provide the same or similar services pursuant to
                  a fee schedule that would produce a lower fee for investing assets approximately


19   ERISA § 404(a)(1)(B).
20   IMA Contract § 4 Standard of Care.
          Case 1:21-cv-08330-LAK Document 31-3
                                          11-3 Filed 11/12/21
                                                     10/20/21 Page 10 of 275


COVINGTON
American Arbitration Association
September 26, 2018
Page 9


                   equal in value to, or less than, the Investment Account, said fee schedule shall
                   automatically apply to this Agreement and shall supersede the fee schedule set
                   forth in Schedule C.

        In contravention of this clause, White Oak manages similar accounts for other clients for
lower management fees, lower performance fees, and with higher hurdle rates. The Plan has not
realized the benefit of this clause in many instances. For comparison, the fee structure in the
IMA Contract provides White Oak with a 1.35% management fee on committed capital and a
20% performance fee after a 7.5% hurdle is met.21 A separate account managed by White Oak
with a $30 million investment has a 1% management fee of the net asset value (“NAV”) and a
15% performance fee after a 7% hurdle. Yet another White Oak client pays a 1.6% management
fee on NAV and a 20% performance fee after an 8% hurdle.

       The Plan has reason to believe other White Oak clients also have more favorable fee
arrangements, in violation of the IMA Contract’s MFN, but White Oak has failed to provide a
complete accounting of the fees charged to others, notwithstanding requests by the Plan. By not
automatically applying the more favorable terms to the Plan’s fee structure, White Oak is in
breach of the MFN clause of the IMA Contract.

        Over the lifetime of the relationship, the Plan paid White Oak more than $6.3 million
dollars in management fees alone, including more than $6 million from the Pinnacle fund
investment and nearly $350,000 in the Summit fund investment. Performance fees will be
assessed and due at the end of the fund term, potentially adding millions of dollars to the Plan’s
damages calculation.

The Instant Dispute

       The Plan became aware of potential IMA Contract violations by White Oak and
immediately restricted White Oak from making any further investments on its behalf.22 The
Plan nonetheless tried in good faith to work through the issues with White Oak. Likewise, when
the Plan became aware of lower fee structures for other White Oak clients, the Plan requested in
writing to be given the benefits of the IMA Contract’s MFN. White Oak refused and gave notice
to terminate the IMA Contract in December 2017.

        In an effort to resolve this dispute prior to the filing of this demand for arbitration, the
Plan sent a letter to White Oak requesting the benefits it was entitled to under the IMA Contract.
Once potential ERISA violations came to light, in addition to the IMA Contract claims, the
parties met in person and engaged in discussions on how to resolve this dispute before invoking
formal dispute resolution processes. The parties failed to reach a resolution.

          Section 24 of the IMA Contract, entitled Resolution of Disputes, provides:



21   IMA Contract Schedule C, 1 - 2.
22   A written letter was sent from NYSNA PP to White Oak on April 12, 2016.
     Case 1:21-cv-08330-LAK Document 31-3
                                     11-3 Filed 11/12/21
                                                10/20/21 Page 11 of 275


COVINGTON
American Arbitration Association
September 26, 2018
Page 10


       Any dispute arising under this Agreement shall be resolved by arbitration of the American
       Arbitration Association in the City of New York. The arbitrator shall be selected by the
       parties from a panel of persons qualified and experienced with respect to jointly-trusted
       pension funds and investments on their behalf.

       Section 22 of the IMA Contract, entitled Applicable Law, provides:

       Except to the extent otherwise provided in ERISA, this Agreement shall be governed by,
       construed and enforced in accordance with the internal laws of the State of New York
       applicable to contracts made and to be performed in the State of New York (without giving
       effect to the principles thereof relating to the conflict oflaws).

        Please note that the summary provided in this Amended Demand for Arbitration is not
intended as an exhaustive statement of NYSNA PP's case or allegations, and the Plan reserves its
right to amend or supplement the claims and requests for relief, as this matter proceeds.

       The Plan proposes that the arbitration take place in New York, New York. As provided in
Section 24 of the IMA Contract, "[t]he arbitrator shall be selected by the parties from a panel of
persons qualified and experienced with respect to jointly-trusted pension funds and investments
on their behalf."

       Finally, in accordance with Rule 4(g) of the AAA Commercial Arbitration Rules, we have
dispatched today to White Oak and its counsel at Greenberg Traurig, LLP, a copy of this
Amended Demand for Arbitration and, in connection with the filing of the first demand,
previously enclosed a check for the applicable filing fee of $7,700 in accordance with the
Standard Fee Schedule.

       We appreciate your assistance with this matter.

                                                                  Respectfully,



                                                                  C. William Phillips


                                                                    ~~
                                                                  Robert Newman
Enclosure
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 12 of 275




                 EXHIBIT A
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 13 of 275




             INVESTMENT MANAGEMENT AGREEMENT ("Agreement")

made as of the 6th day of January, 2014, by and between the TRUSTEES OF

THE NEW YORK STATE NURSES ASSOCIATION PENSION PLAN

("Trustees") and WHITE OAK GLOBAL ADVISORS, LLC, ("Investment

Manager").



                            WIT NE S S ETH:


             WHEREAS, the Trustees, as distinguished from their individual

capacity such that the Trustees shall not be personally liable for any causes of

action arising out of the services performed under this Agreement, desire to

retain the Investment Manager to have fiduciary responsibility over the

amount allocated by the Trustees (the "Allocated Amount"), for investment in

private commingled investment vehicles such as limited liability companies

and limited partnerships that pursue direct lending strategies for investing in

private credit opportunities, the assets of which are considered assets of the

Plan by operation of BRISA (each, a "Vehicle"), including the sole, exclusive

and full discretion to invest plan assets in a total amount not to exceed the

Allocated Amount in one or more Vehicles consistent with this Agreement,

and to maintain under its sole and exclusive investment supervision and




                                    -1-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 14 of 275




management ce1iain assets ("Investment Account Assets") (as that term is

defined in subparagraph 2(a) hereof) of the trust ("Trust") established pursuant

to the Agreement and Declaration of Trust ("Trust Agreement") of the New

York State Nurses Association Pension Plan, as from time to time amended

("Plan"), which assets are to be deposited with The Nmihem Trust Company,

as custodial agent ("Custodian"), or such other custodian or subcustodians, as

may be designated by the Trustees or the Custodian, in accordance with the

terms and conditions hereinafter set forth, and the Investment Manager desires

to accept such retention in accordance with such terms and conditions.


             NOW, THEREFORE, it is agreed as follows:


1.   Appointment.

             (a)    Effective as of December 31, 2013, pursuant to the authority

granted under Article VII, Section l(m) of the Trust Agreement, and Section

402(c)(3) of the Employee Retirement Income Security Act of 1974, as from

time to time amended ("BRISA"), the Trustees hereby appoint the Investment

Manager and delegate to the Investment Manager fiduciary responsibility over

the Allocated Amount listed on Schedule B, including the sole, exclusive and

full discretion and authority to invest plan assets in a total amount not to exceed

the Allocated Amount in one or more Vehicles consistent with the provisions of

this Agreement, and the sole, exclusive and full discretion and authority to




                                     -2-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 15 of 275




manage and invest the Investment Account Assets (as that term is defined in

subparagraph 2(a), hereof) consistent with Investment Guidelines (as that term is

defined in subparagraph l(c) hereof).

            (b)     As a result of this appointment and delegation, the

Investment Manager shall have sole responsibility for the investment of the

Allocated Amount in one or more Vehicles and the management of the

Investment Account Assets and, to the extent permitted under BRISA, the

Trustees shall not be liable for any acts or omissions of the Investment Manager

or be under any obligation to invest or otherwise manage the Investment

Account Assets.

            (c)    The Investment Manager hereby accepts this appointment

and delegation and agrees to assume sole, exclusive and full discretion and

authority to invest (including committing to invest) plan assets in a total amount

not to exceed the Allocated Amount by committing plan assets to one or more

Vehicles and to manage the Investment Account Assets in accordance with and

subject to: (i) the terms and conditions of this Agreement, including any

statement of investment policy and written investment guidelines or directions,

which from time to time shall be promulgated by the Trustees and delivered to

the Investment Manager, expressing the investment objectives, restrictions and

policies of the Trustees (collectively, the "Investment Guidelines"), which

Investment Guidelines, and any future amendments thereto, shall be




                                    - 3-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 16 of 275




incorporated by reference into this Agreement; provided, however, that the

issuance of any Investment Guidelines or other directions to the Investment

Manager shall not in any manner be construed as an acceptance by the Trustees

of any investment management discretion or authority to make investments in

Vehicles with respect to the Allocated Amount or any investment management

or supervisory responsibility with respect to the Investment Account by the

Trustees (and the Trustees shall not, as a result of issuing Investment Guidelines

or other directions, be liable for any acts or omissions of the Investment

Manager with respect to any Investment Account Assets); (ii) compliance with

BRISA and other applicable law; and (iii)         the current funding policy and

method that have been established to cany out the objectives of the Trust and

Plan.

             (d)    The current Investment Guidelines are attached hereto as

Schedule A (and made a part hereof).

             (e)   By execution of this agreement, the Investment Manager

hereby accepts the current Investment Guidelines referred to in Subparagraph

1(d) and any amendments thereto which may be promulgated by the Trustees

(and not objected to in writing by the Investment Manager within five (5) days

after receipt thereof), and agrees to be bound thereby in connection with the

performance of its duties under this Agreement.

             (f)    To the extent that any provision of this Agreement may be




                                     -4-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 17 of 275




inconsistent with the provisions of any Investment Guidelines, the Investment

Guidelines shall be controlling.

             (g)     The Investment Manager shall advise the Trustees

immediately if it determines that the Investment Guidelines are not prudent.

             (h)     Under no circumstances shall the Investment Manager

invest Investment Account Assets in any investments or strategies not

specifically sanctioned by, and/or prohibited under, the Investment Guidelines.


2.   Investment Account Assets.

               (a)    The Investment Account Assets, shall consist of the

investments in Vehicles made on behalf of the Plan by the Investment

Manager pursuant to this agreement, including all appreciation thereof,

additions to the Investment Account Assets, and distributions of assets other

than cash from a Vehicle (the ''Investment Account") but excluding (i) cash

distributions returned or distributed to the Plan as an investor in a Vehicle

under the Vehicle's relevant partnership agreement or other governing

instrument, (ii) cash proceeds from the sale of securities distributed to the Plan

as such an investor, and (iii) that portion of the Allocated Amount that the

Investment Manager has either not yet committed to a Vehicle or that has been

committed but not yet called by the Vehicle's manager. The Investment

Account Assets and the Allocated Amount constitute assets of an employee




                                     - 5-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 18 of 275




benefit plan subject to Part 4 of Title I ofERISA.

             (b)    The Trustees shall direct the Custodian to act in accordance

with the instructions of the Investment Manager. The Investment Manager shall

under no circumstances act as custodian of the Investment Account Assets or

otherwise have custody or physical control of the Investment Account Assets.

The physical possession of all securities, funds and other property which

constitute the Investment Account Assets shall at all times be held, controlled

and administered by the Custodian, and all such cash, securities, funds and other

property shall be held on the books and records of the Custodian in a manner so

as to establish clearly that they are held as part of the Investment Account

provided for in this Agreement.

             (c)    The Investment Account Assets shall remain a part of, and

subject to, the terms and conditions of the Trust Agreement and the Plan, and

shall be held at all times exclusively for the purposes for which the Trust and

Plan were established.     All advisory and management powers, duties and

responsibilities relating to the Investment Account shall be exercised exclusively

by, and circumscribed by, the Investment Manager pursuant to the provisions of

the Trust Agreement relating to such powers, duties and responsibilities, and

which are incorporated herein by reference (as if fully set forth herein).




                                      -6-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 19 of 275




3.   Duties and Powers of Investment Manae;er.

             During the term of its appointment, the Investment Manager shall,

subject to its fiduciary obligations refen-ed to in paragraph 4, hereof, ERISA,

and other applicable law, and in a manner consistent with the investment

objectives, restrictions and other policies of the Trustees which shall be

expressed in any Investment Guidelines:

             (a)   have the power and obligation to manage the Investment

Account in its sole and absolute discretion, subject to its fiduciary obligations

refen-ed to in Paragraph 4 hereof, the Investment Advisers Act of 1940, all rules

and regulations promulgated pursuant thereto and any other rule, regulation or

order of the Securities and Exchange Commission (collectively, the "Advisers

Act"), ERISA and other applicable law, and in a manner consistent with the

asget classification and investment management style contemplated by this

Agreement;

             (b)   provide investment advice and recommendations with

respect to the Investment Policy and Guidelines;

             (c)   in the name and on behalf of the Plan, to enter into and/or

execute agreements of limited partnership and limited liability company

agreements, subscription agreements, investor questionnaires, and such other

documents as the Investment Manager deems necessary or appropriate with

respect to the Investment Account Assets and in accordance with the terms of




                                    -7-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 20 of 275




the Investment Policy and Guidelines; and

             (d)    in the case of investments in a Vehicle, to appoint the

person or entity with authority to manage (including the power to acquire or

dispose of) the Vehicle's assets as an "investment manager" of the Plan

pursuant to ERISA Section 402(c)(3) for the limited purpose of permitting

such person or entity to engage in the administrative and management

activities authorized under the terms of the Vehicle's organization documents

and any agreement(s) between such person or entity and the Investment

Manager in which event White Oak Global Advisors, LLC shall be deemed a

"named fiduciary" of the Plan with respect to the foregoing appointment only

(as opposed to an "investment manager") and an "investment manager" with

respect to investment and reinvestment of Investment Account Assets of the

Vehicle and the monitoring of such investment.

                     (i)   Before investing in any Vehicle, the Investment

 Manager shall examine the valuation methodology utilized by that Vehicle to

 determine that the valuation methodology is independently and objectively

 verifiable and that the valuation factors used are sound and prudent.

                    (ii)    The Investment Manager shall collect information

pertaining to investments, securities, the economy, and other matters pertinent

to making the determinations required of it herein.      Such review shall be

conducted to determine, in the Investment Manager's sole discretion based on




                                     -8-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 21 of 275




the information available to it or which would be available to it upon exercise

of prudent discretion under BRISA (including any information or advice given

to it by the Trustees pursuant to the Investment Guidelines), the advisability of

                              (1)    retaining some or all of such funds and

other property constituting the Allocated Amount and selling if prudent to do

so;

                              (2)   selling, exchanging, redeeming, liquid-

dating or disposing of some or all of the Investment Account Assets;

                              (3)   investing some or all of the Allocated

Amount in other Vehicles; or

                              (4)   taking such action or actions as is prudent

under the circumstances.

                      (iii)   The Investment· Manager shall promptly notify

the Plan's accounting department and the Custodian of all commitments of the

Allocated Amount and purchases, sales and other dispositions of the

Investment Account Assets.

                     (iv)     The Investment Manager shall give the Custodian

(as appropriate) such instructions or directions as may be necessary, and

thereupon execute and complete all such certificates, proxies, consents and

other documents necessary or appropriate to effectuate the powers of the

Investment Manager under this Agreement. However, no person other than




                                     -9-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 22 of 275




the Investment Manager may make a decision with respect to the exercise of

rights appurtenant to Investment Account Assets or make commitments to

Vehicles with respect to the Allocated Amount.

                     (v)     The Investment Manager shall have the power to

make, execute, acknowledge and deliver any and all documents of transfer and

conveyance and any and all other documents or instruments that may be

necessary or appropriate to carry out the powers granted to it under this

Agreement.

                     (vi)    The Investment Manager shall have the power to

compromise or settle any claim, debt or obligation due to the Plan arising out

of the Plan's investments of Allocated Assets in Vehicles where immediate

action is necessary to prevent a loss to the Investment Account Assets.

                     (vii)   The Investment Manager shall from time to time

certify to the Trustees and the Custodian the name or names of the person or

persons authorized to act on the Investment Manager's behalf hereunder, and

shall furnish the Trustees and the Custodian with a specimen of their

signatures. Any individual so certified shall be deemed to be the Investment

Manager's authorized representative. When any individual so certified shall

cease to have authority to act on its behalf, or is replaced, the Investment

Manager shall promptly give written notice of that fact to the Trustees and the

Custodian. However, until such notice is received by the Trustees and the




                                    -10-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 23 of 275




Custodian (pursuant to the procedures set forth in Paragraph 16), the Trustees

and the Custodian may continue to treat such person(s) as an authorized

representative(s) of the Investment Manager.

                      (viii) The Tmstees shall certify to the Investment

Manager the name or names of the person or persons authorized to act on the

Trustees' behalf hereunder. When any individual so certified shall cease to

have authority to act on the Trustees' behalf, or is replaced, the Trustees shall

promptly give written notice to the Investment Manager. However, until such

notice is received by the Investment Manager (pursuant to the procedures set

forth in Paragraph 16), the Investment Manager may continue to treat such

person(s) as an authorized representative(s) of the Trustees.

                      (ix)   The Investment Manager shall have power to:

                             (1)    exercise      any   option,   conversion   or

subscription rights appurtenant to any securities or other property of the

Investment Account, or to sell any such rights;

                             (2)    join in, dissent fi~ , and oppose the

reorganization, consolidation, recapitalization, liquidation, merger, sale,

mortgage, pledge or lease of any securities or other property within the

Investment Account Assets;

                             (3)    deposit any securities or other property of

the Investment Account Assets with any protective, reorganization or similar




                                    - 11-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 24 of 275




committee, and to pay or agree to pay out of the Investment Account Assets

part of the expenses and compensation of any such committee and any

assessments levied with respect to any securities or other property so

deposited; and

                             (4)    exercise all other ancillary rights or duties

in connection with the Investment Account Assets necessary to implement any

of the powers contained herein.

                     (x)     The Investment Manager shall also:

                             (1)    develop,   implement     and   monitor    an

investment plan with respect to the Allocated Amount which shall set forth the

steps by which the Plan will prudently and reasonably implement a Direct

Lending Strategy portfolio consistent with the long term goals and objectives

of the Plan's overall strategy for investing in private credit opportunities and

taking into consideration the Plan's overall fixed income investing portfolio.

This plan shall be consistent with the Investment Guidelines provided by the

Plan to the Investment Manager, shall provide for prudent diversification of

Direct Lending Strategy investments, including by investment vehicles, and

shall take into consideration economic conditions and all other relevant

factors. The investment plan shall be reviewed as often as prudently necessary

by the Investment Manager, who shall make modifications thereto, if any, to

the extent necessary to meet the requirements of this Agreement.




                                    -12-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 25 of 275




                              (2)   periodically meet with and provide all

relevant information to the Plan's advisors, as reasonably required by the

advisors to monitor the activities of the Investment Manager;

                              (3)   provide ongoing Direct Lending Strategy

market trend analysis and information reasonably accessible to the Investment

Manager to assist the Trustees in understanding the asset class.

                              (4)   sell or hold, at the discretion of the

Investment Manager, all securities distributed to the Investment Account in

accordance with its policy.

                              (5)   anything in this Agreement to the contrary

notwithstanding, in acqumng interests for the Investment Account the

Investment Manager shall not effect any transaction without first determining

whether the investment is consistent with the Investment Guidelines.

            (e)     If the Plan should call on the Investment Manager to

perform services which the Investment Manager believes are not included in

the services set forth in this Agreement, the Investment Manager shall advise

the Trustees in writing and shall not unde11ake performance thereof without

the written consent of the Trustees. Except as provided in this Agreement, the

Plan shall not be obligated to pay any fees for services of the Investment

Manager not authorized in advance in writing.




                                    -13-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 26 of 275




4.   Standard of Care.

             (a)    The Investment Manager shall perform its duties hereunder

with the care, skill, prudence and diligence under the circumstances then

prevailing that a prudent person acting in a like capacity and familiar with

such matters would use in the conduct of an enterprise of a like character and

with like aims, and in such manner as to comply with Section 404(a)(l)(B) of

ERISA and any regulations promulgated pursuant thereto.

             (b)    The Investment Manager shall diversify the Investment

Account Assets subject to the Investment Guidelines so as to minimize the risk

of large losses, unless under the circumstances it is clearly prudent not to do

so, and in such manner as shall comply with the requirements of Section

404(a)(l)(C) ofERISA and any regulations promulgated pursuant thereto.

             (c)    The Investment Manager shall discharge its duties

hereunder with respect to the Investment Account solely in the interest of, and

for the exclusive purpose of providing benefits for, the patiicipants in the Plan

and their beneficiaries, in accordance with the Plan and Trust Agreement (and

other documents and instruments governing the Plan), this Agreement, any

Investment Guidelines, ERISA and other applicable law.

            (d)     The Investment Manager shall not effectuate any

investment transaction that directly or indirectly shall cause the Plan, the

Trustees or any other fiduciary thereof (including the Investment Manager, or




                                    -14-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 27 of 275




any affiliate thereof), to violate Sections 406 through 408 of BRISA, or

Section 4975 of the Code.

             (e)    Notwithstanding anything herein to the contrary, in the

event that the Investment Manager purchases shares of an open-end

investment company registered under the Investment Company Act of 1940

for which the Investment Manager ( or an affiliate thereof) is the investment

advisor, the Investment Manager shall comply in all respects with United

States Department of Labor Prohibited Transaction Class Exemption 77-4, or

any successor class exemption thereto.


5.   Procedures.

            (a)     All transactions in the Investment Account authorized by

this Agreement shall be consummated by payment to, or delivery by, the

Custodian, or such other subcustodian as may be designated by the Custodian,

of all securities or other property due to or from the Investment Account.

            (b)     Instructions of the Investment Manager to the Custodian,

or such other subcustodian, shall be made in writing, sent by first-class mail,

or at the option of the Investment Manager, orally and immediately confirmed

in writing as soon as practicable thereafter, or by such other means of

confirmation as may be approved, from time to tin1e, by the Custodian.            I

                                    - 15-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 28 of 275




6.   Reports; Meetings; Accounting.

             (a)    The Investment Manager shall provide the Trustees with

quarterly reports concerning the status of the Investment Account within four

weeks after the end of each quarter. However, at the request of the Trustees,

the Investment Manager shall provide such reports more often and shall also

provide such other information in connection with the Investment Account as

the Trustees may reasonably request from time to time as is available to the

Investment Manager.

             (b)    The reports requin;d by subparagraph 6(a), shall include

(but shall not necessarily be limited to) a detailed description of each

Investment Account Asset, setting forth the total commitment amount, and the

date(s) and amount(s) of all capital calls, redemptions and other similar

transactions with respect to the Investment Account Assets during the calendar

quarter. However, at the request of the Trustees, the Investment Manager shall

provide such reports more often and shall also provide such other information

in connection with the Investment Account as the Trustees may reasonably

request from time to time as is available to the Investment Manager.

             (c)    Representatives of the Investment Manager shall meet with

the Trustees or Investment Committee at such times as the Trustees may

reasonably request, at no additional cost to the Plan.

             (d)    The Trustees shall instruct the Custodian to provide the




                                     -16-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 29 of 275




Investment Manager with periodic reports concerning the status of the

Investment Account.

             (e)    The Investment Manager shall keep accurate and detailed

accounts of all investments, receipts, disbursements, actions with respect to

interests and other transactions relating to the Investment Account, and all

accounts, books and records relating thereto shall be open to inspection and

audit at all reasonable times by any person designated by the Trustees. On at

least a quarterly basis, and within thirty (30) days after the effective date of the

removal or resignation of the Investment Manager (as provided respectively in

subparagraphs 13(c) and 13(d) hereof), the Investment Manager shall file with

and deliver to the Trustees a written account setting forth all investments;

receipts, disbursements, and other transactions effected by it in connection

with the Investment Account (including, without limitation, the information

required by subparagraph 6(b), hereof), and certifying as to the accuracy of the

information set forth therein. Such account may incorporate by reference any

and all schedules and other statements setting fo1th investments, receipts,

disbursements, and other transactions effected during the period for which

such account is rendered and which the Investment Manager has furnished to

the Trustees prior to the filing of such account. The Investment Manager shall

furnish the Trustees such financial statements, and other info1mation, as the

Trustees may reasonably request from time to time with respect to the




                                      - 17-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 30 of 275




Investment Account Assets.

               (f)    The Investment Manager shall provide to the Trustees

annually a written report describing its operating procedures and controls

applicable to its services pursuant to this Agreement and any actions it has

taken during the year pursuant thereto. The Investment Manager will, upon

request of the Trustees, meet with the Plan's auditors to review that report.

               (g)    The Investment Manager shall also provide, or cause

each limited partnership or limited liability company to provide, the Trustees

with annual reports within one hundred twenty (120) days after each calendar

year. The reports shall include (but shall not be limited to) a status report with

respect to each investment. To the extent that the Trustees do not receive

reports or K-1 tax forms from the managers of each V chicle disclosing the

amount of unrelated business taxable income (as such term is used in Internal

Revenue Code Sections 512 through 514) recognized by the Investment

Account, the Investment Manager shall use reasonable effort to obtain such

information from the applicable manager(s) as promptly as practicable.


7.   Confidential Relationship.

             (a)     The Investment Manager shall regard as confidential all

information concerning the affairs of the Trustees and the Plan not otherwise

made public by the Trustees.




                                     -18-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 31 of 275




             (b)      Provided that the Investment Manager promptly provides

prior notice to the Trustees ( except where such prior notice is prohibited by

law), it may disclose confidential information with respect to the Investment

Account, only if required to do so by law, regulation or other binding authority

(that is not superseded or preempted by BRISA), in which event the

Investment Manager shall provide the Trustees with prompt notice of such

request.   In the event that the Investment Manager discloses confidential

information in accordance with subparagraph 7(b) without prior notice to the

Trustees (because such disclosure is required by law and prior notification

thereof to the Trustees is prohibited by law), the Investment Manager shall

notify the Trustees concerning such disclosure as soon as practicable and

permissible by law.


8.   Services to Other Clients.

            (a)       It is understood that the Investment Manager performs

investment advisory services for various clients. The Trustees agree that the

Investment Manager may give advice and talce action with respect to any of its

other clients which may differ from the advice or action taken with respect to

the Investment Account, or the timing or nature of action talcen with respect to

the Investment Account, provided that it continues to be the policy and

practice of the Investment Manager not to favor or disfavor consistently or




                                    - 19-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 32 of 275




consciously any client or class of clients in the allocation of investment

opportunities that the Investment Manager believes would be suitable for such

client or class of clients, so that, to the extent practical, such opportunities will

be allocated among all of the Investment Manager's clients over a period of

time on a fair and equitable basis and in conformity with this Agreement and

BRISA.

             (b)     Nothing in this Agreement shall impose upon the

Investment Manager any obligation to purchase or sell, or to recommend for

purchase or sale, for the Investment Account any security which the

Investment Manager, its principals, affiliates or employees, may purchase or

sell for its or their own accounts or for the account of any other client, if,

subject to the standards for discharge of the Investment Manager's fiduciary

duties and terms of the Agreement, in the reasonable opinion of the Investment

Manager such investment would be unsuitable for the Investment Account or

if the Investment Manager determines in the best interest of the Investment

Account it would be impractical or undesirable.

             (c)     The Investment Manager's exercise of its duties pursuant

to this Agreement shall be given priority over the Investment Manager's

acquiring or redeeming the same interests for its personal account, and the

Investment Manager agrees to abide by Professional Standards of Conduct

(internally and from industry associations such the CFA Institute) with respect




                                      -20-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 33 of 275




to priority of transactions.


9. Fees.

              (a)    The sole compensation of the Investment Manager for its

services rendered hereunder shall be calculated and payable as set forth in

Schedule C (attached hereto and made a part hereot).

              (b)    The Investment Manager shall not accept any fees or other

compensation from any other party or source (whether directly or indirectly) in

connection with or relating to its services hereunder without the prior express

written consent of the Trustees. The Investment Manager shall disclose in

writing to the Trustees any compensation paid or payable to or by the

Investment Manager from any source (whether directly or indirectly) in

connection with this Agreement or the services provided by the Investment

Manager hereunder.

              (c)    Notwithstanding anything herein to the contrary, in the

event that the Investment Manager purchases shares of an open-end

investment company registered under the Investment Company Act of 1940,

or otherwise invests Fund assets in a collective investment vehicle for which

the Investment Manager (or an affiliate thereof) is the investment adviser, the

fees otherwise payable to the Investment Manager under this Paragraph 9 shall

be reduced by the pro rata share of the investment advisory fees or other fees




                                    - 21-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 34 of 275




paid by the investment company or other collective investment vehicle to the

Investment Manager (or an affiliate thereof) and the Investment Manager shall

comply in all respects with United States Department of Labor Prohibited

Transaction Class Exemption 77-4 (or any successor class exemption).

             (d)    Unless the Investment Manager obtains advance written

approval from the Trustees, the Investment Manager shall have no right to pay

(or otherwise debit) any fees, expenses or other monies (including, without

limitation, for payment of its own fees) from the Investment Account or from

any account maintained on behalf of the Plan by the Custodian.

              (e)   The    Investment    Manager     expressly   acknowledges,

represents, warrants and agrees that: (i) under no circumstances will the fee set

forth in Schedule C result in payment by the Trustees or the Trust of fees

exceeding those that would be payable -            for management of assets

approximately equal in value to the Investment Account -         by any of the

Investment Manager's other clients for whom it provides the same or similar

services and (ii) in the event the Investment Manager (1) has already entered,

or (2) at any time in the future enters into an agreement with another client to

provide the same or similar services pursuant to a fee schedule that would

produce a lower fee for investing assets approximately equal in value to, or

less than, the Investment Account, said fee schedule shall automatically apply

to this Agreement and shall supersede the fee schedule set forth in Schedule C.




                                    -22-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 35 of 275




               (f)    The Investment Manager shall not accept any fees or

compensation from any parent company or affiliate of the Investment Manager

or any third-party or source including the collective investment fund in

connection with or relating to its services hereunder without the prior express

written consent of the Trustees and shall disclose to the Trustees any

compensation paid or payable to it or to a parent company or affiliate from any

source (whether direct or indirect) in connection with this Agreement or its

services hereunder.      In the event that any such fees or compensation

referenced in the preceding sentence are directly or indirectly paid m

connection with the Investment Manager's services hereunder, the fees or          f
compensation otherwise payable under this paragraph 9 shall be reduced by

any such payments to the Investment Manager or any parent company or

affiliate thereof).


10.      Valuation.

              For the purpose of any reports as hereinabove provided, all

property comprising the Investment Account Assets shall be valued at fair         I
market value, computed in accordance with such reasonable and commercially

acceptable valuation method determined by the Investment Manager, in

accordance with its fiduciary duties under BRISA to reflect their fair market

value.




                                   - 23-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 36 of 275




                              -24-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 37 of 275




11. Representations of Investment Manager.

             The Investment Manager expressly acknowledges, represents,

warrants and agrees that:

             (a)     it is an "investment manager" (as that term is defined in

Section 3(38) of ERISA) of the Trust with respect to the assets of the Trust at

any time constituting the Investment Account, and it will continue to maintain

that status and comply with all applicable provisions of BRISA as long as this

Agreement shall remain in effect; and, to the limited extent set fo1th in

subparagraph 3(d) hereof, it will be a "named fiduciary" of the Plan as that

term is defined in Section 402(a) ofERISA.

             (b)     it is a "fiduciary" (as that term is defined in Section

3(21)(A) of BRISA) of the Trust with respect to the Plan and the assets of the

Trust at any time constituting the Investment Account, and it is not subject to

any of the disqualifications described in Section 411 of BRISA; or Part I(g) of

the United States Deprutment of Labor Prohibited Transaction Class

Exemption 84-14 (the "QPAM Exemption");

             (c)    it is, and as long as this Agreement shall remain in effect

will continue to qualify as, a "qualified professional asset manager" (as that

term is defined in the QPAM Exemption) with respect to the Investment

Account, and that it shall satisfy all of the terms and conditions of Part I of the

QPAM Exemption unless another prohibited transaction exemption is




                                     - 25-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 38 of 275




available or the Investment Manager's actions with respect to the Investment

Account will not give rise to a non-exempt prohibited transaction under

BRISA or the Code;

             ( d)   it 1s, and will continue to be during the term of this

Agreement (i) registered in good standing as an investment adviser under the

Advisers Act; (ii) a bank as defined in the Advisers Act; or (iii) an insurance

company qualified to manage, acquire or dispose of any asset of a plan under

the laws of more than on state;

             (e)    it will notify the Trustees immediately in writing if it ever

ceases to be registered as an investment adviser under the Advisers Act or

otherwise no longer meets the requirements of Section 3(38) of BRISA;

             (f)    it will not take any action with respect to the Investment

Account that would require the Fund or the Investment Account to become a

registered investment company under the Investment Company Act of 1940,

as may be amended from time to time;

             (g)    it has completed, obtained or performed (and, when

required, will complete, obtain or perform) all registrations, filings, approvals,

authorizations, consents or examinations required by BRISA, the Advisers Act

or other applicable law (or any government or governmental authority) for the

performance of the acts contemplated by this Agreement and, during the term

of this Agreement, it shall comply with all existing, new or amended statutes




                                     -26-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 39 of 275




of the United States (and any other government or governmental authority)

having jurisdiction over its activities which are applicable to its performance

under this Agreement;

             (h)   it has, by appropriate action, duly authorized the execution

and implementation of this Agreement; such authorization or execution does

not violate any obligation by which the Investment Manager is bound or any

applicable law; and this Agreement has been executed on behalf of the

Investment Manager by a person (or persons) authorized to transact business

on behalf of the Investment Manager and shall be binding upon the Investment

Manager in accordance with its terms;

             (i)   the personnel of the Investment Manager who will be

responsible for carrying out the terms of this Agreement are individuals

experienced in the making of investments of the nature contemplated by this

Agreement and one or more bonds have been obtained by the Investment

Manager, in accordance with and in an amount not less than the amount

required by Section 412 ofERISA, which provides the Trust protection against

fraud or dishonesty (either directly or through connivance with others) on the

part of the Investment Manager, and each of its officers, directors, employees

and agents, and such bond will be in an amount of no less than $1,000,000;

            G)     it shall fully indemnify, defend and hold the Trustees

harmless from, and against, any and all claims, liabilities, losses, damages,




                                   -27-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 40 of 275




costs, expenses (including attorneys' fees and court costs) which the Trustees

incur or suffer as a result of, or relating to, or arising out of, claims of any

breach by the Investment Manager of (i) its fiduciary responsibilities under

ERISA (including, without limitation, those set forth in paragraph 4 hereof),

the Advisers Act or other applicable law, with respect to the assets of the Plan

at any time constituting the Investment Account;              (ii) any of the

acknowledgments, representations, warranties or agreements made in this

Agreement; or (iii) any other provision of this Agreement. Notwithstanding

the preceding sentence, nothing in this subparagraph 110) is intended to or

shall limit any rights that the Trustees may otherwise have against the

Investment Manager under ERISA, the Advisers Act or other applicable law.

In any claim for a breach of fiduciary duty, responsibility or obligation by the

Investment Manager, the Investment Manager agrees to extend the applicable

statute of limitations to the later of (i) six years from the discovery of any

breach; (ii) three years from the final disposition of any investment to which

the breach relates; or (iii) the period provided by the applicable statute of

limitations;

               (k)   there currently exists in full force and effect an insurance

policy protecting the Investment Manager (and each of its officers, directors~

partners and employees) against liability or loss for a breach of fiduciary

responsibility, and the coverage limitations of such policy equal or exceed




                                     -28-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 41 of 275




Five Million Dollars $5,000,000); and the deductible of such policy does not

exceed Five Hundred Thousand Dollars ($500,000) the Investment Manager

warrants and agrees that such insurance policy shall be maintained at all times

while this Agreement is in effect; and the Investment Manager warrants and

agrees that it shall provide the Trustees with notice of any change to, or

termination of, the policy;

             (1)    There currently exists in full force and effect an insurance

policy protecting the Investment Manager (and its officers, directors and

employees) against liability or loss for errors and omissions, and the coverage

limitations of such policy equal or exceed Five Million Dollars ($5,000,000);

and the Investment Manager warrants that such insurance policy shall be

maintained at all times while this Agreement is in effect; and the Investment

Manager warrants and agrees that it shall provide the Trustees with notice of

any change to, or termination of, the policy;

             (m)    where the Trustees have given written authority for the

Investment Manager to invest in, and the Investment Account assets consist of,

foreign currency, securities, or other property, the Investment Manager shall

comply with all requirements of Section 404(b) of BRISA and any regulations

promulgated pursuant thereto (including, without limitation, 29 C.F .R.

§2550.404b-lor any successor legislation) in the event that it invests or

reinvests any portion of the Investment Account Assets in (i) securities of a




                                    -29-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 42 of 275




corporation, company or other entity or person which is not organized under

the laws of the United States or a State, or the principal trading market for

which is outside the jurisdiction of the district courts of the United States; (ii)

securities issued by a government other than the government of the United

States or of a State (or any political subdivision, agency or instrumentality of

such a government); (iii) currency issued by a government other than the

government of the United States; or (iv) other foreign securities or property;

             (n)     it shall promptly advise the Trustees in the event of any (i)

change in control of the Investment Manager or in the investment

professionals involved in the management of the Investment Account, or (ii)

material weakness identified in the Investment Manager's annual compliance

review;

             (o)    it shall promptly notify the Trustees of any threatened or

actual material adverse change in (i) the Investment Manager's financial

condition, or (ii) the value or nature of the Investment Account;

             (p)    neither the Investment Manager, any of its subsidiaries,

divisions or other affiliates, nor any of their officers, directors, partners or

employees, ever has been (i) convicted of or pleaded guilty (or nolo

contendere) to a felony or misdemeanor involving (1) an investment or

investment-related business, (2) fraud, false statements or omissions, or (3) the

wrongful taking of property, bribery, forgery, counterfeiting or extortion; (ii)




                                     -30-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 43 of 275




found by a court to be in violation of any federal or state investment (or

investment-related) statutes or regulations; (iii) found by the U.S. Securities

and Exchange Commission, or any other federal or state regulatory agency or

self-regulating organizations, to have (1) made a false statement or omission,

(2) been involved in a violation of its regulations or statutes, (3) been a cause

of an investment-related business having its authorization to do business

denied, suspended, revoked or restricted; or (iv) found to be in violation of

Section 411 of BRISA or Part I(q) of the QPAM Exemption_;_ nor is any claim,

proceeding or litigation that might lead to the foregoing presently pending;

            · (q)   neither the Investment Manager, any of its subsidiaries,

divisions or other affiliates, nor any of their officers, directors, partners or

employees ever has (i) had an insurance or bonding company deny, pay out on

or revoke a fidelity bond or fiduciary liability insurance policy; (ii) filed a

bankruptcy or insolvency petition (or been declared bankrupt) or had a trustee

appointed under the Securities Investor Protection Act; or (iii) had its

registration revoked or its activities restricted by the U.S. Securities and

Exchange Commission; nor is any claim, proceeding or litigation which might

lead to the foregoing presently pending;

             (r)    true and complete copies of (i) the Investment Manager's

cunent Form ADV and any supplements thereto, (ii) the fidelity bond

described in subparagraph 1l(i) hereof or a certificate in lieu thereof, and (iii)




                                     -31-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 44 of 275




the insurance policies described in subparagraphs 1l(k) and 11(1) hereof or a

certificate in lieu thereof, have been delivered to the Trustees as of the

effective date of this Agreement. True and complete copies of any changes,

modifications, interpretations or new, revised or replacement issuances of such

documents (including any annual supplements to Form ADV) will be

delivered to the Trustees as promptly as practicable after the adoption,

execution or submission thereof;

             (s)    neither the Investment Manager, any of its subsidiaries,

divisions, or other affiliates, nor any of their officers, directors, partners, or

employees, is prevented from performing any services to the Fund under this

Agreement as a result of Section 411 of BRISA or Part I(g) of the QPAM

Exemption.

             (t)    whether the Investment Manager invests Account Assets in

one or more collective investment funds organized by White Oak Global

Advisors, LLC, is within the sole and exclusive discretion of the Investment

Manager, provided that investments in the Vehicle shall only be made, or

continued, to the extent that such fund( s) are managed in accordance with the

provisions of this Agreement, anything in the Vehicle's goveming documents

to the contrary notwithstanding, and that any such investments shall not: (i)

give rise to a non-exempt prohibited transaction for purposes of BRISA; and

(ii) violate Section 404 of BRISA. In that event, upon the direction of the




                                     -32-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 45 of 275




Investment Manager, the Trustees shall execute a subscription agreement for

each such fund as required of all portfolio pa1ticipants.          The Trustees

understand that the Investment Manger is currently considering investing

Account Assets in the White Oak Pinnacle Fund, L.P., directly or through a

feeder fund, the White Oak Pinnacle Feeder Fund I, L.P., and that if

Investment Account Assets are invested in the White Oak Pinnacle Fund, L.P.

and/or the White Oak Pinnacle Feeder Fund I, L.P., the fees for such

investments shall be adjusted in accordance with the tenns of paragrnph 9. The

Investment Manager further acknowledges that the subscription agreements

shall not constitute a waiver of any of the obligations White Oak Global

Advisors, LLC has as Investment Manager under this Agreement.

             (u)    it shall provide copies of all documents necessary pursuant

to paragraph 3 (c) of this Agreement.

             (v)    the    foregoing          acknowledgments,   representations,

wananties and agreements are understood to be relied upon by the Trustees,

shall be continuing in nature, and shall survive the expiration of this

Agreement; and

            (w)     it shall promptly notify the Trustees in the event that any

of the foregoing acknowledgments, representations, warranties or agreements

shall no longer be true or accurate




                                      - 33-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 46 of 275




12. Representations of the Trustees.

              The Trustees expressly acknowledge, represent, warrant and

agree that:

              (a)   the Trustees are the "named fiduciaries" of the Plan with

respect to the management or disposition of Plan assets and are authorized by

the Trust Agreement to appoint an investment manager to manage (including

the power to acquire and dispose of) assets of the Plan, and to appoint a named

fiduciary for the limited purposes set forth in subparagraph 3(d) hereof;

              (b)   true and complete copies of the Plan and Trust Agreement

have been delivered to the Investment Manager;

              (c)   the Trustees have by appropriate action duly authorized the

appointment of the Investment Manager and the execution and implementation

of this Agreement, which has been executed on behalf of the Trustees by a

person or persons authorized to do so and, at the request of the Investment

Manager, shall deliver such evidence of such authority as the Investment

Manager shall reasonably request;

              (d)   in the event that the Trustees adopt any Investment

Guidelines (other than those set forth in Schedule A) or any amendment to

such Investment Guidelines, true and complete copies will be delivered to the

Investment Manager as promptly as practicable after the adoption thereof; and

              (e)   if another entity should be substituted as the Custodian of




                                    -34-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 47 of 275




the Investment Account Assets, the Investment Manager shall be notified of

such substitution and the substituted entity will thereafter be deemed to be the

Custodian for purposes of this Agreement.


13. Amendment and Termination.

             (a)    This Agreement may be modified or amended by the

Trustees or the Investment Manager, at any time and from time to time and in

whole or in part, but only by the mutual written agreement of the Trustees and

the Investment Manager.

            (b)     This Agreement shall continue in foll force and effect from

the day and year first above written, unless terminated as hereinafter provided.

Within thirty (30) days of the termination of this Agreement (in accordance

with either subparagraphs 13(c) or 13(d) hereof), the Investment Manager

shall transfer to the Trustees (or their duly authorized representatives) all

books, records, accounts, cash, securities (and other evidences of ownership)

and all other property of the Trustees and the Plan in the Investment Manager's

possession, along with the documents and information required by paragraph 6

hereof as directed by the Trustees (or their duly authorized representatives).

The Investment Manager shall continue to cooperate with the Trustees to

facilitate the transition of the Investment Account to the management of the

Trustees, another investment manager appointed by the Trustees, or any other




                                    - 35-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 48 of 275




duly appointed representative of the Trustees.

             (c)    This Agreement may be terminated at any time by the

Trustees without penalty by giving the Investment Manager written notice of

such termination date.

             (d)    The Investment Manager may terminate this Agreement

upon at least ninety (90) days prior written notice to the Trustees of such

termination date. Notwithstanding the foregoing, in the event of termination

of this Agreement by the Investment Manager, the Investment Manager agrees

that, if requested by the Trustees, it will continue to act as Investment Manager

until the earlier of the selection by the Trustees of its successor or the

expiration of the six (6) month period commencing with the date on which this

Agreement is scheduled to terminate in accordance with the Investment

Manager's notice.

            (e)     Any termination notice given by either party shall not

affect or preclude the consummation of any transaction initiated prior to the

receipt by one party of the other's termination notice (or, if the Investment

Manager continues to act until the selection of a successor in accordance with

subparagraph 13(d), hereof, any transaction initiated during the period during

which the Investment Manager so continues to act, in which case all of the

terms and conditions of this Agreement shall apply to such transaction).

            (f)     Any fees paid to the Investment Manager hereunder will




                                    -36-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 49 of 275




be prorated to the date as of which termination of this Agreement is effective,

and any unearned portion thereof will be refunded to the Trustees.

             (g)    Unless the Trustees notify the Investment Manager that the

Trustees have decided to extend the term of this Agreement beyond December

31, 2015, this Agreement shall terminate on December 31, 2015.


14. Non-Assignability.

             This Agreement and the duties, responsibilities and benefits

hereunder, may not be assigned by the Investment Manager (including,

without limitation, any assignment as defined in the Investment Act of 1940)

without the advance express written consent of the Trustees. If a purported

assignment without the advance express written consent of the Trustees

occurs, this Agreement shall automatically terminate as of the date of the

purported assignment, and the provisions of subparagraph 13(:f) hereof, shall
                                                                                   I
become operative as of that date.


15. Exculpation.

             (a)    It is understood and agreed that the individuals executing

this Agreement on behalf of the Plan do so solely in their representative

capacities as Trustees and fiduciaries of the Plan, and not in their personal or

individual capacities.   In addition, it is understood and agreed that any

obligation of the Trustees set forth in this Agreement is an obligation of the




                                    -37-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 50 of 275




Plan and performed by the Trustees solely in the representative capacity as

Trustees of the Plan and not in their personal or individual capacities.

Accordingly, the execution and performance of this Agreement shall impose

no personal liability on the Trustees (or their employees, agents, or

representatives). In the event of any breach, non-performance or other default

by the Plan or the Trustees under this Agreement, the Investment Manager

agrees not to seek any personal judgment against the Trustees (or their

employees,    agents   or representatives),   or their heirs,     executors    or

administrators, but shall look solely to the assets of the Investment Account

for (i) the satisfaction of any claim that the Investment Manager may have

against the Trustees (or their employees, agents or representatives); or (ii) the

collection of any judgment recovered against the Plan based upon a breach by

the Plan or the Trustees of any of the terms, conditions or covenants under this

agreement.

             (b)    No property or assets of the Trustees (or their employees,

agents or representatives) shall be subject in any manner whatsoever to any

levy, judgment, execution or other enforcement proceeding for the satisfaction

of the Investment Manager's remedies arising from or related to either this

Agreement or the relationship between the Investment Manager and the Plan

or the Trustees.




                                    -38-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 51 of 275




16. Notices.

             Unless otherwise specified herein, all notices, instructions and

advices with respect to security transactions (or any other matters)

contemplated by this Agreement, shall be deemed duly given to or received by

the appropriate (i) when delivered in writing or delivered by such other means

reasonably expected to be adequate under the circumstances (including,

without limitation, by cable, wire, telegram, telex, telecopy, telefax, electronic

mail or any other such system, whereby the receiver of such information is

able to verify by codes or otherwise with a reasonable degree of certainty the

identity of the sender of such communication) to the addresses below; or (ii)

on the third business day after the date on which it is deposited by first-class

mail, postage prepaid, in either case when addressed as follows:

             (a)    To the Trustees:

                         New York State Nurses Association Pension Plan
                         P. 0. Box 12430
                         Albany, New York 12212

                         Attn: Russell M. Niemie
                               Chief Investment Officer

            (b)     To the Investment Manager:

                         White Oak Global Advisors, LLC
                         3 Embarcadero Center, Suite 550
                         San Francisco, CA 94111

                         Attn: General Counsel




                                       - 39-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 52 of 275




or to such other address or addresses as any of the parties shall subsequently

furnish to the other in writing.


17. Entire Agreement.

             This Agreement (including any agreements incorporated herein by

reference) sets forth the entire understanding of the parties hereto and is

intended to be the complete and exclusive statement of the terms hereof. This

Agreement may not be modified or amended except by a writing signed by the

parties hereto.   This Agreement supersedes and cancels any and all prior

agreements (including any Investment Guidelines) between the parties,

whether written or oral, relating to investment management of assets of the

Trust.


18. Construction and Severability.

             If at any time subsequent to the date hereof, any provision of this

Agreement shall be held by any court of competent jurisdiction to be illegal,

void or unenforceable, such provision shall be of no force and effect, but the

illegality or unenforceability of such provision shall have no effect upon and

shall not impair the enforceability of any other provision of this Agreement.

Anything in this Agreement, or any amendment hereof, to the contrary

notwithstanding, no provision of this Agreement shall be construed so as to

violate the applicable provisions of the Plan, Trust Agreement, BRISA (or any




                                    -40-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 53 of 275




regulations promulgated pursuant thereto), or the Advisers Act. In the event of

any inconsistency between this Agreement and the Trust Agreement, the

provisions of the Trust Agreement shall govern.


19. Interpretation.

              Should any provision of this Agreement require interpretation or

construction, it is agreed by the parties hereto that the court, arbitrator,

administrative body or other entity interpreting or construing such document

shall not apply a presumption that the provisions hereof shall be more strictly

construed against one party by reason of the rule of construction that a

document is to be construed more strictly against the patty who itself or

through its agents prepared the same, it being agreed that all parties (either

directly or by their respective counsel) have fully participated in the

negotiation and preparation of all provisions of this Agreement.


20. Titles.

              The titles set forth in this Agreement are for convenience only and

shall not be considered as part of this Agreement in any respect, nor shall they

in any way affect the substance of any provisions contained in this Agreement.


21. Inurement.

              This Agreement shall inure to the benefit of the Trustees and their




                                     -41-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 54 of 275




successors and assigns, and the participants and beneficiaries of the Plan.


22. Applicable Law.

              Except to the extent otherwise provided in ERISA, this

Agreement shall be governed by, construed and enforced in accordance with

the internal laws of the State of New York applicable to contracts made and to

be performed in the State of New York (without giving effect to the principles

thereof relating to the conflict of laws).


23. Successor Laws.

              Any references in this Agreement to a section of ERISA, the

Advisers Act or the Code (or other applicable law), or to any regulations or

administrative pronouncements thereunder, shall include a reference to any

successor provision of ERISA, the Advisers Act or the Code (or other

applicable law, or any successor regulations or administrative pronouncements

thereunder.


24. Resolution of Disputes.

              Any dispute arising under this Agreement shall be resolved by

arbitration of the American Arbitration Association in the City of New York.

The arbitrator shall be selected by the parties from a panel of persons qualified

and experienced with respect to jointly-trusted pension funds and investments




                                      -42-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 55 of 275




on their behalf.


25. Counterparts.

             This Agreement may be executed in counterpart copies, each of

which shall be deemed an original, but all of which shall be considered the

same instrument.


             IN WITNESS WHEREOF, the parties hereto have executed this

Agreement effective as of the day and year first above written.


                                 TRUSTEES OF THE NEW YORK STATE
                                 NURSES ASSOCIATION PENSION PLAN



                                 By_ _ _ _ _ _ _ _ _ _ _ __
                                   CHRISTOPHER BERNER, Chairperson


                                 By_ __ _ __ _ _ _ _ _ _ __
                                   NANCY K.ALEDA, Secretary


                                 WHITE OAK GLOBAL ADVISORS, LLC



                                B y ~~
                                B~ M C K E E ,
                                     Managing Member




                                    -43-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 56 of 275




                              SCHEDULE A

                      INVESTMENT GUIDELINES


The following constitute the current Investment Guidelines applicable to the

Investment Manager and are subject to future amendment by the Trustees (in

accordance with Paragraph 1 of the Agreement):




                                  -44-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 57 of 275




                               SCHEDULEB

                        INITIAL ALLOCATED AMOUNT


            The following amount shall constitute the initial Amount refen-ed

to in this Agreement:

             Eighty Million Dollars ($80,000,000.00)




                                                                                I
                                  -45-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 58 of 275




                                SCHEDULEC

               INVESTMENT MANAGER FEE SCHEDULE


            The compensation of the Investment Manager shall be m

accordance with the following schedule:

1.   Management Fee

     The Investment Manager shall receive a semi-annual management fee,
     payable in advance as of January 1 and July 1 of each year, and
     calculated at the annualized rate of one hundred and thirty five basis
     points (1.35%) of the initial Allocated Amount. The management fee
     shall be prorated for any semi-annual period that is less than a full six (6)
     months.

2.   Carried Interest

     Any distributable cash from a particular investment of the initial
     Allocated Amount shall be apportioned in the following manner and
     priority:

            (i)   First, one hundred percent (100%) to the Trustees of the
     NYSNA Pension Plan ("Trustees") until the cumulative distributions to
     the Trustees equals the cumulative contributions from the initial
     Allocated Amount to the investment;

            (ii)    Second, one hundred percent (100%) to the Trustees until
     the cumulative distributions to the Trustees in excess of the cumulative
     contributions to the investment provides the Trustees with a cumulative
     return of seven and one-half percent (7.5%) per annum, compounded
     annually, on the Trustees' aggregate outstanding investment calculated
     from the date that the initial Allocated Amount is contributed to the
     investment until the date on which such initial Allocated Amount is
     returned to the Trustees;

          (iii) Third, one hundred percent (100%) to the Investment
     Manager until the Investment Manager has received, with respect to the




                                    -46-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 59 of 275




     Trustees, an amount equal to twenty percent (20%) of the sum of all
     distributions made to the Trustees pursuant to subparagraph (ii) above;
     and

            (iv)  Fourth, eighty percent (80%) to the Trustees and twenty
     percent (20%) to the Investment Manger.

     The aggregate amount, if any, distributable to the Investment Manger in
     accordance with subparagraphs (iii) and (iv) above, shall be referred to as
     a "Carried Interest."

3.   Adjustment of Management Fee and Carried Interest

     If Investment Account assets are invested in the White Oak Pinnacle
     Fund, L.P., the White Oak Pinnacle Feeder Fund I, L.P. and/or any other
     collective investment fund of the Investment Manager or any parent
     company or affiliate, the Management Fee and Carried Interest set forth
     above shall be adjusted in accordance with the terms of paragraph 9 of
     this Agreement.




                                   -47-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 60 of 275
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 61 of 275




             INVESTMENT MANAGEMENT AGREEMENT ("Agreement")

made as of the 1st day of January, 2016, by and between the TRUSTEES OF

THE NEW YORK STATE NURSES ASSOCIATION PENSION PLAN

("Trustees 11 ) and WHITE OAK GLOBAL ADVISORS, LLC, (11 Investment

Manager").



                              WIT NE S S ETH:


             WHEREAS, the Trustees, as distinguished from their individual

 capacity such that the Trustees shall not be personally liable for any causes of

 action arising out of the services performed under this Agreement, entered into

 an agreement dated the 1st day of January 2014, retaining the Investment

 Manager to have fiduciary responsibility over the amount allocated by the

 Trustees (the "Allocated Amount"), for investment in private commingled

 investment vehicles such as limited liability companies anct limited

 partnerships that pursue direct lending strategies for investin~ in private credit

 opportunities, the assets of which are considered assets of the Plan by

 operation of BRISA (each, a "Vehicle,,), including the sole, exclusive and full

 discretion to invest plan assets in a total amount not to exceed the Allocated

 Amount in one or more Vehicles consistent with this Agreement, and to




                                       - 1-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 62 of 275                      '   ,,_




 maintain under its sole and exclusive investment supervision and management

  certain assets ("Investment Account Assets") (as that term is defined in

  subparagraph 2(a) hereof) of the trust ("Trust") established pursuant to the

  Agreement and Declaration of Trust ("Trust Agreement") of the New York

  State Nurses Association Pension Plan, as from time to time amended ("Plan"),

  which assets are to be deposited with The Northern Trust Company, as

  custodial agent ("Custodian"), or such other custodian or subcustodians, as

  may be designated by the Trustees or the Custodian, in accordance with the

  terms and conditions hereinafter set forth, and

              WHEREAS, said agreement has expired and the parties desire to

  renew and restate the terms and conditions of said retention.


              NOW, THEREFORE, it is agreed as follows:


  1.   Appointment.

               (a)    Effective as ofDecember 31, 2015, pursuant to the authority

  granted under Article Vll, Section l(m) of the Trust Agreement, and Section

  402(c)(3) of the Employee Retirement Income Security Act of 1974, as from

  time to time amended ("ERlSA"), the Trustees hereby appoint the Investment

  Manager and delegate to the Investment Manager fiduciary responsibility over

  the Allocated Amount listed on Schedule B, including the sole, exclusive and

  full discretion and authority to invest plan assets in a total amount not to exceed




                                        -2-
         Case 1:21-cv-08330-LAK Document 31-3
                                         11-3 Filed 11/12/21
                                                    10/20/21 Page 63 of 275
t.;...




         the Allocated Amount in one or more Vehicles consistent with the provisions of

         this Agreement, and the sole, exclusive and full discretion and authority to

         manage and invest the Investment Account Assets (as that term is defined in

         subparagraph 2(a), hereof) consistent with Investment Guidelines (as that term is

         defined in subparagraph l(c) hereof).

                      (b)    As a result of this appointment and delegation, the

         Investment Manager shall have sole responsibility for the investment of the

          Allocated Amount in one or more Vehicles and the management of the

          Investment Account Assets and, to the extent permitted under BRISA, the

          Trustees shall not be liable for any acts or omissions of the Investment Manager

          or be under any obligation to invest or otherwise manage the Investment

          Account Assets.

                      (c)     The Investment Manager hereby accepts this appointment

          and delegation and agrees to assume sole, exclusive and full discretion and

          authority to invest (including committing to invest) plan assets in a total amount

          not to exceed the Allocated Amount by committing plan assets to one or more

          Vehicles and to manage the Investment Account Assets in accordance with and

          subject to: (i) the terms and conditions of this Agreement, including any

          statement of investment policy and written investment guidelines or directions,

          which from time to time shall be promulgated by the Trustees and delivered to

          the Investment Manager, expressing the investment objectives, restrictions and




                                                 -3-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 64 of 275                     . . Ii'




  policies of the Trustees (collectively, the "Investment Guidelines"), which

  Investment Guidelines, and any future amendments thereto, shall be

  incorporated by reference into this Agreement; provided, however, that the

  issuance of any Investment Guidelines or other directions to the Investment

  Manager shall not in any manner be construed as an acceptance by the Trustees

  of any investment management discretion or authority to make investments in

  Vehicles with respect to the Allocated Amount or any investment management

  or supervisory responsibility with respect to the Investment Account by the

  Trustees (and the Trustees shall not, as a result of issuing Investment Guidelines

  or other directions, be liable for any acts or omissions of the Investment

  Manager with respect to any Investment Account Assets); (ii) compliance with

  ERISA and other applicable law; and (iii)       the current funding policy and

  method that have been established to carry out the objectives of the Trust and

  Plan.

               (d)    The current Investment Guidelines are attached hereto as

  Schedule A (and made a part hereof).

               (e)    ·B y execution of this agreement, the Investment Manager

  hereby accepts the current Investment Guidelines referred to in Subparagraph

  1(d) and any amendments thereto which may be promulgated by the Trustees

  (and not objected to in writing by the Investment Manager within five (5) days

  after receipt thereof), and agrees to be bound thereby in connection with the




                                        --4-
                     Case 1:21-cv-08330-LAK Document 31-3
                                                     11-3 Filed 11/12/21
                                                                10/20/21 Page 65 of 275
f   ..- . ~   , .•




                      performance of its duties under this Agreement.

                                    (f)     To the extent that any provision of this Agreement may be

                       inconsistent with the provisions of any Investment Guidelines, the Investment

                       Guidelines shall be controlling.

                                    (g)     The Investment Manager shall advise the Trustees

                       immediately if it determines that the Investment Guidelines are not prudent.

                                    (h)     Under no circumstances shall the Investment Manager

                       invest Investment Account Assets in any investments or strategies not

                       specifically sanctioned by, an.cl/or prohibited under, the Investment Guidelines.


                       2.   Investment Account Assets.

                                      (a)     The Investment Account Assets, shall consist of the

                       investments in Vehicles made on behalf of the Plan by the Investment

                       Manager pursuant to this agreement, including all appreciation thereof,

                       additions to the Investment Account Assets, and distributions of assets other·

                       than cash from a Vehicle (the "Investment Account") but excluding (i) cash

                       distributions returned or distributed to the Plan as an investor in a Vehicle

                       under the Vehicle's relevant partnership agreement or other governing

                       instrument, (ii) cash proceeds from the sale of securities distributed to the Plan

                       as such an investor, and (iii) that portion of the Allocated Amount that the

                       Investment Manager has either not yet committed to a Vehicle or that has been




                                                             -5-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 66 of 275
                                                                                     , I




committed but not yet called by the Vehicle's manager. The Investment

Account Assets and the Allocated Amount constitute assets of an employee

benefit plan subject to Part 4 of Title I ofERISA.

             (b)    The Trustees shall direct the Custodian to act in accordance

with the instructions of the Investment Manager. The Investment Manager shall

under no circumstances act as custodian of the Investment Account Assets or

otherwise have custody or physical control of the Investment Account Assets.

The physical possession of all securities, funds and other property which

constitute the Investment Account Assets shall at all times be held, controlled

and administered by the Custodian, and all such cash, securities, funds and other

property shall be held on the books and records of the Custodian in a manner so

as to establish clearly that they are held as part of the Investment Account

provided for in this Agreement.

             (c)    The Investment Account Assets shall remain a part of, and

subject to, the terms and conditions of the Trust Agreement and the Plan, and

shall be held at all times exclusively for the purposes for which the Trust and

Plan were established.     All advisory and management powers, duties and

responsibilities relating to the Investment Account shall be exercised exclusively

by, and circumscribed by, the Investment Manager pursuant to the provisions of

the Trust Agreement relating to such powers, duties and responsibilities, and

which are incorporated herein by reference (as if fully set forth herein).




                                      -6-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 67 of 275




 3.   Duties and Powers of Investment Manager.

              During the term of its appointment, the Investment Manager shall,

 subject to its fiduciary obligations referred to in paragraph 4, hereof, ERISA,

 and other applicable law, and in a manner consistent with the investment

 objectives, restrictions and other policies of the Trustees which shall be

 expressed in any Investment Guidelines:

              (a)   have the power and obligation to manage the Investment

 Account in its sole and absolute discretion, subject to its fiduciary obligations

 referred to in Paragraph 4 hereof, the Investment Advisers Act of 1940, all rules

 and regulations promulgated pursuant thereto and any other rule, regulation or

 order of the Securities and Exchange Commission (collectively, the "Advisers

 Act''), ERISA and other applicable law, and in a manner consistent with the

 asset classification and investment management style contemplated by this

 Agreement;

              (b)    provide investment advice and recommendations with

 respect to the Investment Policy and Guidelines;

              (c)    in the name and on behalf of the Plan, to enter into and/or

 execute agreements of limited partnership and limited liability company

  agreements, subscription agreements, investor questionnaires, and such other

  documents as the Investment Manager deems necessary or appropriate with

  respect to the Investment Account Assets and in accordance with the terms of




                                      -7-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 68 of 275




  the Investment Policy and Guidelines; and

              (d)    in the case of investments in a Vehicle, to appoint the

  person or entity with authority to manage (including the power to acquire or

  dispose of) the Vehicle's assets as an "investment manager" of the Plan

  pursuant to BRISA Section 402(c)(3) for the limited purpose of permitting

  such person or entity to engage in the administrative and management

  activities authorized under the terms of the Vehicle's organization documents

  and any agreement(s) between such person or entity and the Investment

  Manager in which event White Oak Global Advisors, LLC shall be deemed a

  "named fiduciary" of the Plan with respect to the foregoing appointment only

  (as opposed to an "investment manager") and an "investment manager'' with

  respect to investment and reinvestment of Investment Account Assets of the

  Vehicle and the monitoring of such investment.

                       (i)   Before investing in any Vehicle, the Investment

   Manager shall examine the valuation methodology utilized by that Vehicle to

   determine that the valuation methodology is independently and objectively

   verifiable and that the valuation factors used are sound and prudent.

                      (ii)    The Investment Manager shall collect information

  pertaining to investments, securities, the economy, and other matters pertinent

  to making the determinations required of it herein.       Such review shall be

  conducted to determine, in the Investment Manager's sole discretion based on




                                       -8-
                       Case 1:21-cv-08330-LAK Document 31-3
                                                       11-3 Filed 11/12/21
                                                                  10/20/21 Page 69 of 275
f'   ,~   •   ,.   ~




                         the information available to it or which would be available to it upon exercise

                         of prudent discretion under BRISA (including any information or advice given

                         to it by the Trustees pursuant to the Investment Guidelines), the advisability of

                                                       ( 1)   retaining some or all of such funds and

                         other property constituting the Allocated Amount and selling if prudent to do

                         so;

                                                       (2)    selling, exchanging, redeeming, liquid-

                         dating or disposing of some or all of the Investment Account Assets;

                                                       (3)    investing some or all of the Allocated

                         Amount in other Vehicles; or

                                                       (4)    taking such action or actions as is prudent

                         under the circumstances.

                                               (iii)   The Investment Manager shall promptly notify

                         the Plan's accounting department and the Custodian of all commitments of the

                         Allocated Amount and purchases, sales and other dispositions of the

                         Investment Account Assets.

                                               (iv)    The Investment Manager shall give the Custodian

                         (as appropriate) such instructions or direc6ons as may be necessary, and

                         thereupon execute and complete all such certificates, proxies, consents and

                         other documents necessary or appropriate to effectuate the powers of the

                         Investment Manager under this Agreement. However, no person other than




                                                               -9-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 70 of 275




the Investment Manager may make a decision with respect to the exercise of

rights appurtenant to Investment Account Assets or make commitments to

Vehicles with respect to the Allocated Amount.

                     (v)     The Investment Manager shall have the power to

make, execute, acknowledge and deliver any and all documents of transfer and

conveyance and any and all other documents or instruments that may be

necessary or appropriate to carry out the powers granted to it under this

Agreement.

                     (vi)    The Investment Manager shall have the power to

compromise or settle any claim, debt or obligation due to the Plan arising out

of the Plan's investments of Allocated Assets in Vehicles where immediate

action is necessary to prevent a loss to the Investment Account Assets.

                     (vii)   The Investment Manager shall from time to time

certify to the Trustees and the Custodian the name or names of the person or

persons authorized to act on the Investment Manager's behalf hereunder, and

shall furnish the Trustees and the Custodian with a specimen of their

signatures. Any individual so certified shall be deemed to be the Investment

Manager's authorized representative. When any individual so certified shall

cease to have authority to act on its behalf, or is replaced, the Investment

Manager shall promptly give written notice of that fact to the Trustees and the

Custodian. However, until such notice is received by the Trustees and the

                                                                                  I

                                    -10-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 71 of 275




  Custodian (pursuant to the procedures set forth in Paragraph 16), the Trustees

  and the Custodian may continue to treat such person(s) as an authorized

  representative(s) of the Investment Manager.

                        (viii) The Trustees shall certify to the Investment

  Manager the name or names of the person or persons authorized to act on the

  Trustees' behalf hereunder. When any individual so certified shall cease to

  have authority to act on the Trustees' behalf, or is replaced, the Trustees shall

  promptly give written notice to the Investment Manager. However, until such

  notice is received by the Investment Manager (pursuant to the procedures set

  forth in Paragraph 16), the Investment Manager may continue to treat such

  person(s) as an authorized representative(s) of the Trustees.

                        (ix)   The Investment Manager shall have power to:

                                (1)    exercise     any   option,   conversion   or

  subscription rights appurtenant to any securities or other property of the

  Investment Account, or to sell any such rights;

                                (2)    join in, dissent from, and oppose the

  reorganization, consolidation, recapitalization, liquidation, merger, sale,

  mortgage, pledge or lease of any securities or other property within the

  Investment Account Assets;

                                (3)    deposit any securities or other property of

  the Investment Account Assets with any protective, reorganization or similar




                                       -11-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 72 of 275




committee, and to pay or agree to pay out of the Investment Account Assets

part of the expenses and compensation of any such committee and any

assessments levied with respect to any securities or other property so

deposited; and

                             (4)    exercise all other ancillary rights or duties

in connection with the Investment Account Assets necessary to implement any

of the powers contained herein.

                      (x)    The Investment Manager shall also:

                             (1)     develop,   implement    and monitor an

investment plan with respect to the Allocated Amount which shall set forth the

steps by which the Plan will prudently and reasonably implement a Direct

Lending Strategy portfolio consistent with the long term goals and objectives

 of the Plan's overall strategy for investing in private credit opportunities and

 taking into consideration the Plan's overall fixed income investing portfolio.

 This plan shall be consistent with the Investment Guidelines provided by the

 Plan to the Investment Manager, shall provide for prudent diversification of

 Direct Lending Strategy investments, including by investment vehicles, and

 shall take into consideration economic conditions and all other relevant

 factors. The investment plan shall be reviewed as often as prudently necessary

 by the Investment Manager, who shall make modifications thereto, if any, to

 the extent necessary to meet the requirements of this Agreement.




                                      - 12-
                  Case 1:21-cv-08330-LAK Document 31-3
                                                  11-3 Filed 11/12/21
                                                             10/20/21 Page 73 of 275
'   ,   )   ...



                                                  (2)   periodically meet with and provide all

                    relevant information to the Plan's advisors, as reasonably required by the

                    advisors to monitor the activities of the Investment Manager;

                                                  (3)   provide ongoing Direct Lending Strategy

                    market trend analysis and information reasonably accessible to the Investment

                    Manager to assist the Trustees in understanding the asset class.

                                                  (4)   sell or hold, at the discretion of the

                    Investment Manager, all securities distributed to the Investment Account in

                    accordance with its policy.

                                                  (5)    anything in this Agreement to the contrary

                    notwithstanding, in acquiring interests for the Investment Account the

                    Investment Manager shall not effect any transaction without first determining

                    whether the investment is consistent with the Investment Guidelines.

                                 (e)    If the Plan should call on the Investment Manager to

                    perform services which the Investment Manager believes are not included in

                    the services set forth in this Agreement, the Investment Manager shall advise

                    the Trustees in writing and shall not undertake performance thereof without

                    the written consent of the Trustees. Except as provided in this Agreement, the

                    Plan shall not be obligated to pay any fee_s for services of the Investment

                    Manager not authorized in advance in writing.




                                                         - 13-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 74 of 275
                                                                                     ,.   (




4.   Standard of Care.

             (a)    The Investment Manager shall perform its duties hereunder

 with the care, skill, prudence and diligence under the circumstances then

 prevailing that a prudent person acting in a like capacity and familiar with

 such matters would use in the conduct of an enterprise of a like character and

 with like aims, and in such manner as to comply with Section 404(a)(l)(B) of

 ERlSA and any regulations promulgated pursuant thereto.

             (b)    The Investment Manager shall diversify the Investment

 Account Assets subject to the Investment Guidelines so as to minimize the risk

 of large losses, unless under the circumstances it is clearly prudent not to do

 so, and in such manner as shall comply with the requirements of Section

 404(a)(l)(C) of BRISA and any regulations promulgated pursuant thereto.

             (c)     The Investment Manager shall discharge its duties

 hereunder with respect to the Investment Account solely in the interest of, and

 for the exclusive purpose of providing benefits for, the participants in the Plan

 and their beneficiaries, in accordance with the Plan and Trust Agreement (and

 other documents and instruments governing the Plan), this Agreement, any

 Investment Guidelines, BRISA and other applicable law.

             (d)     The Investment Manager shall not effectuate any

 investment transaction that directly or indirectly shall cause the Plan, the

 Trustees or any other fiduciary thereof (including the Investment Manager, or




                                      -14-
f   ·"   I   1' •
                    Case 1:21-cv-08330-LAK Document 31-3
                                                    11-3 Filed 11/12/21
                                                               10/20/21 Page 75 of 275




                      any affiliate thereof), to violate Sections 406 through 408 of ERISA, or

                      Section 4975 of the Code.

                                   (e)   Notwithstanding anything herein to the contrary, in the

                      event that the Investment Manager purchases shares of an open-end

                      investment company registered under the Investment Company Act of 1940

                      for which the Investment Manager (or an affiliate thereof) is the investment

                      advisor, the Investment Manager shall comply in all respects with United

                      States Department of Labor Prohibited Transaction Class Exemption 77-4, or

                      any successor class exemption thereto.


                      5.   Procedures.

                                  (a)     All transactions in the Investment Account authorized by

                      this Agreement shall be consummated by payment to, or delivery by, the

                      Custodian, or such other subcustodian as may be designated by the Custodian,

                      of all securities or other property due to or from the Investment Account.

                                  (b)     Instructions of the Investment Manager to the Custodian,

                      or such other subcustodian, shall be made in writing, sent by first-class mail,

                      or at the option of the Investment Manager, orally and immediately confirmed

                      in writing as soon as practicable thereafter, or by such other means of

                      confirmation as may be approved, from time to time, by the Custodian.




                                                           - 15-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 76 of 275                              .
                                                                                  '   1/f   I   ._,




6.   Reports; Meetings; Accounting.

             (a)    The Investment Manager shall provide the Trustees with

quarterly reports concerning the status of the Investment Account within four

weeks after the end of each quarter. However, at the request of the Trustees,

 the Investment Manager shall provide such reports more often and shall also

 provide such other information in connection with the Investment Account as

 the Trustees may reasonably request from time to time as is available to the

 Investment Manager.

             (b)     The reports required by subparagraph 6(a), shall include

 (but shall not necessarily be limited to) a detailed description of each

 Investment Account Asset, setting forth the total commitment amount, and the

 date(s) and amount(s) of all capital calls, redemptions and other similar

 transactions with respect to the Investment Account Assets during the calendar

 quarter. However, at the request of the Trustees, the Investment Manager shall

 provide such reports more often and shall also provide such other information

 in connection with the Investment Account as the Trustees may reasonably

 request from time to time as is available to the Investment Manager.

              (c)    Representatives of the Investment Manager shall meet with

 the Trustees or Investment Committee at such times as the Trustees may

 reasonably request, at no additional cost to the Plan.

              (d)    The Trustees shall instruct the Custodian to provide the




                                      - 16-
 -               Case 1:21-cv-08330-LAK Document 31-3
                                                 11-3 Filed 11/12/21
                                                            10/20/21 Page 77 of 275
••   I   "   "




                   Investment Manager with periodic reports concerning the status of the

                   Investment Account.

                                (e)    The Investment Manager shall keep accurate and detailed

                   accounts of all investments, receipts, disbursements, actions with respect to

                   interests and other transactions relating to the Investment Account, and all

                   accounts, books and records relating thereto shall be open to inspection and

                   audit at all reasonable times by any person designated by the Trustees. On at

                   least a quarterly basis, and within thirty (30) days after the effective date of the

                   removal or resignation of the Investment Manager (as provided respectively in

                   subparagraphs 13(c) and 13(d) hereof), the Investment Manager shall file with

                   and deliver to the Trustees a written account setting forth all investments,

                   receipts, disbursements, and other transactions effected by it in connection

                   with the Investment Account (including, without limitation, the information

                   required by subparagraph 6(b), hereof), and certifying as to the accuracy of the

                   ~ormation    set forth therein. Such account may incorporate by reference any

                   and all schedules and other statements setting forth investments, receipts,

                   disbursements, and other transactions effected during the period for which

                   such account is rendered and which the Investment Manager has furnished to

                   the Trustees prior to the filing of such account. The Investment Manager shall

                   furnish the Trustees such financial statements, and other information, as the

                   Trustees may reasonably request from time to time with respect to the




                                                          - 17-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 78 of 275
                                                                                      ' •   I •   ';.




Investment Account Assets.

               (f)     The Investment Manager shall provide to the Trustees

annually a written report describing its operating procedures and controls

applicable to its services pursuant to this Agreement and any actions it has

taken during the year pursuant thereto. The Investment Manager will, upon

request of the Trustees, meet with the Plan's auditors to review that report.

               (g)     The Investment Manager shall also provide, or cause

each limited partnership or limited liability company to provide, the Trustees

 with annual reports within one hundred twenty (120) days after each calendar

 year. The reports shall include (but shall not be limited to) a status report with

 respect to each investment. To the extent that the Trustees do not receive

 reports or K-1 tax forms from the managers of each Vehicle disclosing the

 amount of unrelated business taxable income (as such term is used in Internal

 Revenue Code Sections 512 through 514) recognized by the Investment

 Account, the Investment Manager shall use reasonable effort to obtain such

 information from the applicable manager(s) as promptly as practicable.


 7.   Confidential Relationship.

              (a)     The Investment Manager shall regard as confidential all

 information concerning the affairs of the Trustees and the Plan not otherwise

 made public by the Trustees.




                                       -18-
'
    .
    ..   I   ,
                 Case 1:21-cv-08330-LAK Document 31-3
                                                 11-3 Filed 11/12/21
                                                            10/20/21 Page 79 of 275




                               (b)    Provided that the Investment Manager promptly provides

                   prior notice to the Trustees (except where such prior notice is prohibited by

                   law), it may disclose confidential information with respect to the Investment

                   Account, only if required to do so by law, regulation or other binding authority

                   (that is not superseded or preempted by BRISA), in which event the

                   Investment Manager shall provide the Trustees with prompt notice of such

                   request.   In the event that the Investment Manager discloses confidential

                   information in accordance with subparagraph 7(b) without prior notice to the

                   Trustees (because such disclosure is required by law and prior notification

                   thereof to the Trustees is prohibited by law), the Investment Manager shall

                   notify the Trustees concerning such disclosure as soon as practicable and

                   permissible by law.


                   8.   Services to Other Clients.

                                (a)      It is understood that the Investment Manager performs

                   investment advisory services for various clients. The Trustees agree that the

                   Investment Manager may give advice and take action with respect to any of its

                   other clients which may differ from the advice or action taken with respect to

                   the Investment Account, or the timing or nature of action taken with respect to

                   the Investment Account, provided that it continues to be the policy and

                   practice of the Investment Manager not to favor or disfavor consistently or




                                                        - 19-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 80 of 275




  consciously any client or class of clients in the allocation of investment

  opportunities that the Investment Manager believes would be suitable for such

  client or class of clients, so that, to the extent practical, such opportunities will

  be allocated among all of the Investment Manager's clients over a period of

  time on a fair and equitable basis and in conformity with this Agreement and

  BRISA.

               (b)     Nothing in this Agreement shall impose upon the

  Investment Manager any obligation to purchase or sell, or to recommend for

  purchase or sale, for the Investment Account any security which the

  Investment Manager, its principals, affiliates or employees, may purchase or

  sell for its or their own accounts or for the account of any other client, if,

  subject to the standards for discharge of the Investment Manager's fiduciary

  duties and terms of the Agreement, in the reasonable opinion of the Investment

  Manager such investment would be unsuitable for the Investment Account or

  if the Investment Manager determines in the best interest of the Investment

  Account it would be impractical or undesirable.

                (c)    The Investment Manager's exercise of its duties pursuant

  to this Agreement shall be given priority over the Investment Manager's

  acquiring or redeeming the same interests for its personal account, and the

  Investment Manager agrees to abide by Professional Standards of Conduct

  (internally and from industry associations such the CFA Institute) with respect




                                         -20-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 81 of 275




  to priority of transactions.


  9. Fees.

                (a)    The sole compensation of the Investment Manager for its

  services rendered hereunder shall be calculated and payable as set forth in

  Schedule C (attached hereto and made a part hereof).

                (b)    The Investment Manager shall not accept any fees or other

  compensation from any other party or source (whether directly or indirectly) in

  connection with or relating to its services hereunder without the prior express

  written consent of the Trustees. The Investment Manager shall disclose in

  writing to the Trustees any compensation paid or payable to or by the

  Investment Manager from any source (whether directly or indirectly) in

  connection with this Agreement or the services provided by the Investment

  Manager hereunder.

                (c)    Notwithstanding anything herein to the contrary, in the

  event that the Investment Manager purchases shares of an open-end

  investment company registered under the Investment Company Act of 1940,

  or otherwise invests Fund assets in a collective investment vehicle for which

  the Investment Manager (or an affiliate thereof) is the investment adviser, the

  fees otherwise payable to the Investment Manager under this Paragraph 9 shall

  be reduced by the pro rata share of the investment advisory fees or other fees




                                      -21-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 82 of 275                  ' t   l   (   '




paid by the investment company or other collective investment vehicle to the

Investment Manager (or an affiliate thereof) and the Investment Manager shall

comply in all respects with United States Department of Labor Prohibited

Transaction Class Exemption 77-4 (or any successor class exemption).

             (d)     Unless the Investment Manager obtains advance written

approval from the Trustees, the Investment Manager shall have no right to pay

(or otherwise debit) any fees, expenses or other monies (including, without

limitation, for payment of its own fees) from the Investment Account or from

any account maintained on behalf of the Plan by the Custodian.

               (e)   The   Investment    Manager     expressly   acknowledges,

represents, warrants and agrees that: (i) under no circumstances will the fee set

 forth in Schedule C result in payment by the Trustees or the Trust of fees

 exceeding those that would be payable -           for management of assets

 approximately equal in value to the Investment Account -         by any of the

 Investment Manager's other clients for whom it provides the same or similar

 services and (ii) in the event the Investment Manager (1) has already entered,

 or (2) at any time in the future enters into an agreement with another client to

 provide the same or similar services pursuant to a fee schedule that would

 produce a lower fee for investing assets approximately equal in value to, or

 less than, the Investment Account, said fee schedule shall automatically apply

 to this Agreement and shall supersede the fee schedule set forth in Schedule C.




                                     -22-
,   l   '   'f •
                   Case 1:21-cv-08330-LAK Document 31-3
                                                   11-3 Filed 11/12/21
                                                              10/20/21 Page 83 of 275




                                   (f)     The Investment Manager shall not accept any fees or

                     compensation from any parent company or affiliate of the Investment Manager

                     or any third-party or source including the collective investment fund in

                     connection with or relating to its services hereunder without the prior express

                     written consent of the Trustees and shall disclose to the Trustees any

                     compensation paid or payable to it or to a parent company or affiliate from any

                     source (whether direct or indirect) in connection with this Agreement or its

                     services hereunder.      In the event that any such fees or compensation

                     referenced in the preceding sentence are directly or indirectly paid m

                     connection with the Investment Manager's services hereunder, the fees or

                     compensation otherwise payable under this paragraph 9 shall be reduced by

                     any such payments to the Investment Manager or any parent company or

                     affiliate thereof).


                     10.      Valuation.

                                   For the purpose of any reports as hereinabove provided, all

                     property comprising the Investment Account Assets shall be valued at fair

                     market value, computed in accordance with such reasonable and commercially

                     acceptable valuation method determined by the Investment Manager, in

                     accordance with its fiduciary duties under BRISA to reflect their fair market

                     value.




                                                          - 23-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 84 of 275




11. Representations of Investment Manager.

             The Investment Manager expressly acknowledges, represents,

warrants and agrees that:

             (a)     it is an "investment manager" (as that term is defined in

Section 3(38) of ERISA) of the Trust with respect to the assets of the Trust at

any time constituting the Investment Account, and it will continue to maintain

that status and comply with all applicable provisions of ERISA as long as this

Agreement shall remain in effect; and, to the limited extent set forth in

 subparagraph 3(d) hereof, it will be a "named fiduciary" of the Plan as that

 term is defined in Section 402(a) ofERISA.

             (b)     it is a "fiduciary" (as that term is defined in Section

 3(21 )(A) of ERJSA) of the Trust with respect to the Plan and the assets of the

 Trust at any time constituting the Investment Account, and it is not ~bject to

 any of the disqualifications described in Section 411 of ERISA; or Part I(g) of

 the United States Department of Labor Prohibited Transaction Class

 Exemption 84-14 (the "QPAM Exemption");

              (c)    it is, and as long as this Agreement shall remain in effect

 will continue to qualify as, a "qualified professional asset manager" (as that

 term is defined in the QPAM Exemption) with respect to the Investment

 Account, and that it shall satisfy all of the terms and conditions of Part I of the

 QPAM Exemption unless another prohibited transaction exemption is




                                       - 24-
        Case 1:21-cv-08330-LAK Document 31-3
                                        11-3 Filed 11/12/21
                                                   10/20/21 Page 85 of 275
'   i




         available or the Investment Manager's actions with respect to the Investment

         Account will not give rise to a non-exempt prohibited transaction under

         ERISA or the Code;

                       (d)    it 1s, and will continue to be during the term of this

          Agreement (i) registered in good standing as an investment adviser under the

          Advisers Act; (ii) a bank as defined in the Advisers Act; or (iii) an insurance

          company qualified to manage, acquire or dispose of any asset of a plan under

          the laws of more than on state;

                       (e)    it will notify the Trustees immediately in writing if it ever

          ceases to be registered as an investment adviser under the Advisers Act or

          otherwise no longer meets the requirements of Section 3(38) ofERlSA;

                       (f)    it will not take any action with respect to the Investment

          Account that would require the Fund or the Investment Account to become a

          registered investment company under the Investment Company Act of 1940,

          as may be amended from time to time;

                      (g)     it has completed, obtained or performed (and, when

          required, will complete, obtain or perfonn) all registrations, filings, approvals,

          authorizations, consents or examinations required by ERISA, the Advisers Act

          or other applicable law (or any government or governmental authority) for the

          performance of the acts contemplated by this Agreement and, during the tenn

          of this Agreement, it shall comply with all existing, new or amended statutes




                                               -25-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 86 of 275
                                                                                    '   '




 of the United States (and any other government or governmental authority)

 having jurisdiction over its activities which are applicable to its performance

 under this Agreement;

              (h)    it has, by appropriate action, duly authorized the execution

 and implementation of this Agreement; such authorization or execution does

 not violate any obligation by which the Investment Manager is bound or any

 applicable law; and this Agreement has been executed on behalf of the

 Investment Manager by a person (or persons) authorized to transact business

 on behalf of the Investment Manager and shall be binding upon the Investment

 Manager in accordance with its terms;

              (i)    the personnel of the Investment Manager who will be

 responsible for carrying out the terms of this Agreement are individuals

 experienced in the making of investments of the nature contemplated by this

 Agreement and one or more bonds have been obtained by the Investment

 Manager, in accordance with and in an amount not less than the amount

 required by Section 412 of BRISA, which provides the Trust protection against

  fraud or dishonesty (either directly or through connivance with others) on the

 part of the Investment Manager, and each of its officers, directors, employees

  and agents, and such bond will be in an amount ofno less than $1,000,000;

              G)     it shall fully indemnify, defend and hold the Trustees

 harmless from, and against, any and all claims, liabilities, losses, damages,




                                     -26-
        Case 1:21-cv-08330-LAK Document 31-3
                                        11-3 Filed 11/12/21
                                                   10/20/21 Page 87 of 275
'   -


          costs, expenses (including attorneys' fees and court costs) which the Trustees

          incur or suffer as a result of, or relating to, or arising out of, claims of any

          breach by the Investment Manager of (i) its fiduciary responsibilities under

          BRISA (including, without limitation, those set forth in paragraph 4 hereof),

          the Advisers Act or other applicable law, with respect to the assets of the Plan

          at any time constituting the Investment Account; (ii) any of the

          acknowledgments, representations, warranties or agreements made in this

          Agreement; or (iii) any other provision of this Agreement. Notwithstanding

          the preceding sentence, nothing in this subparagraph 11G) is intended to or

          shall limit any rights that the Trustees may otherwise have against the

          Investment Manager under BRISA, the Advisers Act or other applicable law.

          In any claim for a breach of fiduciary duty, responsibility or obligation by the

          Investment Manager, the Investment Manager agrees to extend the applicable

          statute of limitations to the later of (i) six years from the discovery of any

          breach; (ii) three years from the final disposition of any investment to which

          the breach relates; or (iii) the period provided by the applicable statute of

          limitations;

                         (k)   there currently exists in full force and effect an insurance

          policy protecting the Investment Manager (and each of its officers, directors.,,

          partners and employees) against liability or loss for a breach of fiduciary

          responsibility, and the coverage limitations of such policy equal or exceed




                                               -27-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 88 of 275
                                                                                    J   '




Five Million Dollars $5,000,000); and the deductible of such policy does not

exceed Five Hundred Thousand Dollars ($500,000) the Investment Manager

warrants and agrees that such insurance policy shall be maintained at all times

while this Agreement is in effect; and the Investment Manager warrants and

agrees that it shall provide the Trustees with notice of any change to, or

termination of, the policy;

             (1)     There currently exists in full force and effect an insurance

 policy protecting the Investment Manager (and its officers, directors and

 employees) against liability or loss for errors and omissions, and the coverage

 limitations of such policy equal or exceed Five Million Dollars ($5,000,000);

 and the Investment Manager warrants that such insurance policy shall be

 maintained at all times while this Agreement is in effect; and the Investment

 Manager warrants and agrees that it shall provide the Trustees with notice of

 any change to, or termination of, the policy;

              (m)    where the Trustees have given written authority for the

 Investment Manager to invest in, and the Investment Account assets consist of,

 foreign currency, securities, or other property, the Investment Manager shall

 comply with all requirements of Section 404(b) of ERlSA and any regulations

 promulgated pursuant thereto (including, without limitation, 29 C.F.R.

 §2550.404b-lor any successor legislation) in the event that it invests or

 reinvests any portion of the Investment Account Assets in (i) securities of a




                                      -28-
        Case 1:21-cv-08330-LAK Document 31-3
                                        11-3 Filed 11/12/21
                                                   10/20/21 Page 89 of 275
' ...




         corporation, company or other entity or person which is not organized under

         the laws of the United States or a State, or the principal trading market for

          which is outside the jurisdiction of the district courts of the United States; (ii)

          securities issued by a government other than the government of the United

          States or of a State (or any political subdivision, agency or instrumentality of

          such a government); (iii) currency issued by a government other than the

          government of the United States; or (iv) other foreign securities or property~

                       (n)     it shall promptly advise the Trustees in the event of any (i)

          change in control of the Investment Manager or in the investment

          professionals involved in the management of the Investment Account, or (ii)

          material weakness identified in the Investment Manager's annual compliance

          review;

                       (o)     it shall promptly notify the Trustees of any threatened or

          actual material adverse change in (i) the Investment Manager's financial

          condition, or (ii) the value or nature of the Investment Account;

                       (p)     neither the Investment Manager, any of its subsidiaries,

          divisions or other affiliates, nor any of their officers, directors, partners or

          employees, ever has been (i) convicted of or pleaded guilty (or nolo

          contendere) to a felony or misdemeanor involving (1) an investment or

          investment-related business, (2) fraud, false statements or omissions, or (3) the

          wrongful taking of property, bribery, forgery, counterfeiting or extortion; (ii)




                                                 -29-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 90 of 275




found by a court to be in violation of any federal or state investment (or

investment-related) statutes or regulations; (iii) found by the U.S. Securities

and Exchange Commission, or any other federal or state regulatory agency or

self-regulating organizations, to have (1) made a false statement or omission,

(2) been involved in a violation of its regulations or statutes, (3) been a cause

of an investment-related business having its authorization to do business

denied, suspended, revoked or restricted; or (iv) found to be in violation of

 Section 411 of BRISA or Part I(q) of the QPAM Exemption; nor is any claim,

proceeding or litigation that might lead to the foregoing presently pending;

             (q)     neither the Investment Manager, any of its subsidiaries,

 divisions or other affiliates, nor any of their officers, directors, partners or

 employees ever has (i) had an insurance or bonding company deny, pay out on

 or revoke a fidelity bond or fiduciary liability insurance policy; (ii) filed a

 bankruptcy or insolvency petition (or been declared bankrupt) or had a trustee

 appointed under the Securities Investor Protection Act; or (iii) had its

 registration revoked or its activities restricted by the U.S. Securities and

 Exchange Commission; nor is any claim, proceeding or litigation which might

 lead to the foregoing presently pending;

              (r)    true and complete copies of (i) the Investment Manager' s

 current Form ADV and any supplements thereto, (ii) the fidelity bond

 described in subparagraph 11 (i) hereof or a certificate in lieu thereof, and (iii)




                                       -30-
~   I   -
            Case 1:21-cv-08330-LAK Document 31-3
                                            11-3 Filed 11/12/21
                                                       10/20/21 Page 91 of 275




              the insurance policies described in subparagraphs l l(k) and 11(1) hereof or a

              certificate in lieu thereof, have been delivered to the Trustees as of the

              effective date of this Agreement. True and complete copies of any changes,

              modifications, interpretations or new, revised or replacement issuances of such

              documents (including any annual supplements to Form ADV) will be

              delivered to the Trustees as promptly as practicable after the adoption,

              execution or submission thereof;

                           (s)    neither the Investment Manager, any of its subsidiaries,

              divisions, or other affiliates, nor any of their officers, directors, partners, or

              employees, is prevented from performing any services to the Fund under this

              Agreement as a result of Section 411 of BRISA or Part I(g) of the QPAM

              Exemption.

                           (t)    whether the Investment Manager invests Account Assets in

              one or more collective investment funds organized by White Oak Global

              Advisors, LLC, is within the sole and exclusive discretion of the Investment

              Manager, provided that investments in the Vehicle shall only be made, or

              continued, to the extent that such fund(s) are managed in accordance with the

              provisions of this Agreement, anything in the Vehicle's governing documents

              to the contrary notwithstanding, and that any such investments shall not: (i)

              give rise to a non-exempt prohibited transaction for purposes of BRISA; and

              (ii) violate Section 404 of BRISA. In that event, upon the direction of the




                                                   -31-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 92 of 275                   IL   \   \.   '




 Investment Manager, the Trustees shall execute a subscription agreement for

 each such fund as required of all portfolio participants.         The Trustees

 understand that the Investment Manger is currently considering investing

 Account Assets in the White Oak Pinnacle Fund, L.P., directly or through a

 feeder fund, the White Oak Pinnacle Feeder Fund I, L.P., and that if

 Investment Account Assets are invested in the White Oak Pinnacle Fund, L.P.

 and/or the White Oak Pinnacle Feeder Fund I, L.P., the fees for such

 investments shall be adjusted in accordance with the terms of paragraph 9. The

 Investment Manager further acknowledges that the subscription agreements

 shall not constitute a waiver of any of the obligations White Oak Global

 Advisors, LLC has as Investment Manager under this Agreement.

             (u)     it shall provide copies of all documents necessary pursuant

 to paragraph 3(c) of this Agreement.

             (v)     the    foregoing      acknowledgments,       representations,

 warranties and agreements are understood to be relied upon by the Trustees,

 shall be continuing in nature, and shall survive the expiration of this

 Agreement; and

             (w)     it shall promptly notify the Trustees in the event that any

 of the foregoing acknowledgments, representations, warranties or agreements

 shall no longer be true or accurate.




                                        -32-
                   Case 1:21-cv-08330-LAK Document 31-3
                                                   11-3 Filed 11/12/21
                                                              10/20/21 Page 93 of 275
l   t   J   II .




                     12. Representations of the Trustees.

                                   The Trustees expressly acknowledge, represent, warrant and

                     agree that:

                                   (a)   the Trustees are the "named fiduciaries" of the Plan with

                     respect to the management or disposition of Plan assets and are authorized by

                     the Trust Agreement to appoint an investment manager to manage (including

                     the power to acquire and dispose of) assets of the Plan, and to appoint a named

                     fiduciary for the limited purposes set forth in subparagraph 3(d) hereof;

                                   (b)   true and complete copies of the Plan and Trust Agreement

                     have been delivered to the Investment Manager;

                                   (c)   the Trustees have by appropriate action duly authorized the

                     appointment of the Investment Manager and the execution and implementation

                     of this Agreement, which has been executed on behalf of the Trustees by a

                     person or persons authorized to do so and, at the request of the Investment

                     Manager, shall deliver such evidence of such authority as the Investment

                     Manager shall reasonably request;

                                   (d)   in the event that the Trustees adopt any Investment

                     Guidelines (other than those set forth in Schedule A) or any amendment to

                     such Investment Guidelines, true and complete copies will be delivered to the

                     Investment Manager as promptly as practicable after the adoption thereof; and

                                   (e)   if another entity should be substituted as the Custodian of




                                                          -33-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 94 of 275




the Investment Account Assets, the Investment Manager shall be notified of

 such substitution and the substituted entity will thereafter be deemed to be the

 Custodian for purposes of this Agreement.


 13. Amendment and Termination.

             (a)     This Agreement may be modified or amended by the

 Trustees or the Investment Manager, at any time and from time to time and in

 whole or in part, but only by the mutual written agreement of the Trustees and

 the Investment Manager.

             (b)     This Agreement shall continue in full force and effect from

 the day and year first above written, unless terminated as hereinafter provided.

 Within thirty (30) days of the termination of this Agreement (in accordance

 with either subparagraphs 13(c) or 13(d) hereof), the Investment Manager

 shall transfer to the Trustees (or their duly authorized representatives) all

 books, records, accounts, cash, securities (and other evidences of ownership)

 and all other property of the Trustees and the Plan in the Investment Manager's

 possession, along with the documents and information required by paragraph 6

 hereof as directed by the Trustees (or their duly authorized representatives).

 The Investment Manager shall continue to cooperate with the Trustees to

 facilitate the transition of the Investment Account to the management of the

 Trustees, another investment manager appointed by the Trustees, or any other




                                      -34-
'   .   '   '   ,-   '   Case 1:21-cv-08330-LAK Document 31-3
                                                         11-3 Filed 11/12/21
                                                                    10/20/21 Page 95 of 275




                           duly appointed representative of the Trustees.

                                       (c)     This Agreement may be terminated at any time by the

                           Trustees without penalty by giving the Investment Manager written notice of

                           such termination date.

                                       (d)     The Investment Manager may terminate this Agreement

                           upon at least ninety (90) days prior written notice to the Trustees of such

                           termination date. Notwithstanding the foregoing, in the event of termination

                           of this Agreement by the Investment Manager, the Investment Manager agrees

                           that, if requested by the Trustees, it will continue to act as Investment Manager

                           until the earlier of the selection by the Trustees of its successor or the

                           expiration of the six (6) month period commencing with the date on which this

                           Agreement is scheduled to terminate in accordance with the Investment

                           Manager's notice.

                                       (e)     Any termination notice given by either party shall not

                           affect or preclude the consummation of any transaction initiated prior to the

                           receipt by one party of the other's termination notice (or, if the Investment

                           Manager continues to act until the selection of a successor in accordance with

                           subparagraph 13(d), hereof, any transaction initiated during the period during

                           which the Investment Manager so continues to act, in which case all of the

                           terms and conditions of this Agreement shall apply to such transaction).

                                       (f)     Any fees paid to the Investment Manager hereunder will




                                                                -35-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 96 of 275
                                                                                    "   , .   .•
                                                                                              •

be prorated to the date as of which termination of this Agreement is effective,

and any unearned portion thereof will be refunded to the Trustees.

             (g)    Unless the Trustees notify the Investment Manager that the

Trustees have decided to extend the term of this Agreement beyond December

31, 2017, this Agreement shall terminate on December 31, 2017.


 14. Non-Assignability.

             This Agreement and the duties, responsibilities and benefits

 hereunder, may not be assigned by the Investment Manager (including,

 without limitation, any assignment as defined in the Investment Act of 1940)

 without the advance express written consent of the Trustees. If a purported

 ass~gnment without the advance express written consent of the Trustees

 occurs, this Agreement shall automatically terminate as of the date of the

 purported assignment, and the provisions of subparagraph 13(f) hereof, shall

 become operative as of that date.


 15. Exculpation.

              (a)    It is understood and agreed that the individuals executing

 this Agreement on behalf of the Plan do so solely in their representative

 capacities as Trustees and fiduciaries of the Plan, and not in their personal or

 individual capacities.   In addition, it is understood and agreed that any

 obligation of the Trustees set forth in this Agreement is an obligation of the




                                     -36-
' \   t ;   Case 1:21-cv-08330-LAK Document 31-3
                                            11-3 Filed 11/12/21
                                                       10/20/21 Page 97 of 275




             Plan and performed by the Trustees solely in the representative capacity as

              Trustees of the Plan and not in their personal or individual capacities.

              Accordingly, the execution and performance of this Agreement shall impose

              no personal liability on the Trustees (or their employees, agents, or

             representatives). In the event of any breach, non-performance or other default

              by the Plan or the Trustees under this Agreement, the Investment Manager

              agrees not to seek any personal judgment against the Trustees (or their

              employees, agents      or representatives),    or their heirs, executors or

              administrators, but shall look solely to the assets of the Investment Account

              for (i) the satisfaction of any claim that the Investment Manager may have

              against the Trustees (or their employees, agents or representatives); or (ii) the

              collection of any judgment recovered against the Plan based upon a breach by

              the Plan or the Trustees of any of the terms, conditions or covenants under this

              agreement.

                           (b)    No property or assets of the Trustees (or their employees,

             agents or representatives) shall be subject in any manner whatsoever to any

             levy, judgment, execution or other enforcement proceeding for the satisfaction

             of the Investment Manager's remedies arising from or related to either this

             Agreement or the relationship between the Investment Manager and the Plan

             or the Trustees.




                                                   -37-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 98 of 275




 16. Notices.

              Unless otherwise specified herein, all notices, instructions and

 advices with respect to security transactions (or any other matters)

 contemplated by this Agreement, shall be deemed duly given to or received by

 the appropriate (i) when delivered in writing or delivered by such other means

 reasonably expected to be adequate under the circumstances (including,

 without limitation, by cable, wire, telegram, telex, telecopy, telefax, electronic

 mail or any other such system, whereby the receiver of such information is

 able to verify by codes or otherwise with a reasonable degree of certainty the

 identity of the sender of such communication) to the addresses below; or (ii)

 on the third business day after the date on which it is deposited by first-class

 mail, postage prepaid, in either case when addressed as follows:

                (a)   To the Trustees:

                           New York State Nurses Association Pension Plan
                           P. 0. Box 12430
                           Albany, New York 12212

                           Attn: Russell M. Niemie
                                 Chief Investment Officer

                (b)   To the Investment Manager:

                           White Oak Global Advisors, LLC
                           3 Embarcadero Center, Suite 550
                           San Francisco, CA 94111

                           Attn: General Counsel




                                         -38-
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 99 of 275

.
-'- '   .·"'

                or to such other address or addresses as any of the parties shall subsequently

                furnish to the other in writing.


                17. Entire Agreement.

                             This Agreement (including any agreements incorporated herein by

                reference) sets forth the entire understanding of the parties hereto and is

                intended to be the complete and exclusive statement of the terms hereof. This

                Agreement may not be modified or amended except by a writing signed by the

                parties hereto.   This Agreement supersedes and cancels any and all prior

                 agreements (including any Investment Guidelines) between the parties,

                 whether written or oral, relating to investment management of assets of the

                 Trust.


                 18. Construction and Severability.

                             If at any time subsequent to the date hereof, any provision of this

                 Agreement shall be held by any court of competent jurisdiction to be illegal,

                 void or unenforceable, such provision shall be of no force and effect, but the

                 illegality or unenforceability of such provision shall have no effect upon and

                 shall not impair the enforceability of any other provision of this Agreement.

                 Anything in this Agreement, or any amendment hereof, to the contrary

                 notwithstanding, no provision of this Agreement shall be construed so as to

                 violate the applicable provisions of the Plan, Trust Agreement, BRISA (or any




                                                      -39-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 100 of 275                  ,..   ,f,.   "
                                                                                                  .,.




 regulations promulgated pursuant thereto), or the Advisers Act. In the event of

 any inconsistency between this Agreement and the Trust Agreement, the

 provisions of the Trust Agreement shall govern.


 19. Interpretation.

               Should any provision of this Agreement require interpretation or

 construction, it is agreed by the parties hereto that the court, arbitrator,

 administrative body or other entity interpreting or construing such document

 shall not apply a presumption that the provisions hereof shall be more strictly

 construed against one party by reason of the rule of construction that a

 document is to be construed more strictly against the party who itself or

 through its agents prepared the same, it being agreed that all parties (either

 directly or by their respective counsel) have fully participated in the

 negotiation and preparation of all provisions of this Agreement.


 20. Titles.

               The titles set forth in this Agreement are for convenience only and

 shall not be considered as part of this Agreement in any respect, nor shall they

 in any way affect the substance of any provisions contained in this Agreement.


 21. Inurement.

               This Agreement shall inure to the benefit of the Trustees and their




                                       -40-
    .•.   .r
~
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 101 of 275




                 successors and assigns, and the participants and beneficiaries of the Plan.


                 22. Applicable Law.

                               Except to the extent otherwise provided in BRISA, this

                 Agreement shall be governed by, construed and enforced in accordance with

                 the internal laws of the State of New York applicable to contracts made and to

                 be performed in the State of New York (without giving effect to the principles

                 thereof relating to the conflict of laws).


                 23. Successor Laws.

                               Any references in this Agreement to a section of BRISA, the

                 Advisers Act or the Code (or other applicable law), or to any regulations or

                 administrative pronouncements thereunder, shall include a reference to any

                 successor provision of BRISA, the Advisers Act or the Code (or other

                 applicable law, or any successor regulations or administrative pronouncements

                 thereunder.


                 24. Resolution of Disputes.

                               Any dispute arising under this Agreement shall be resolved by

                 arbitration of the American Arbitration Association in the City of New York.

                 The arbitrator shall be selected by the parties from a panel of persons qualified

                 and experienced with respect to jointly-trusted pension funds and investments




                                                        -41-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 102 of 275
                                                                               '   f •




 on their behalf.


 25. Counterparts.

              This Agreement may be executed in counterpart copies, each of

 which shall be deemed an original, but all of which shall be considered the

  same instrument.


              IN WITNESS WHEREOF, the parties hereto have executed this

  Agreement effective as of the day and year first above written.


                                   TRUSTEES OF THE NEW YORK STATE
                                   NURSES ASSOCIATION PENSION PLAN



\pproved For Signature
   Albert Kalter P.C.
                                   By~u
                                        NAN~EDA, Chairperson


                                   B y ~~
                                        JEF           HEN, Secretary

                                   WHITE OAK GLOBAL ADVISORS, LLC



                                   By   .~             v+M ~
                                        BARBARA S. MCKEE,
                                        Managing Member




                                        -42-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 103 of 275




                                 SCHEDULE A

                         INVESTMENT GUIDELINES


  The following constitute the current Investment Guidelines applicable to the

   Investment Manager and are subject to future amendment by the Trustees (in

   accordance with Paragraph 1 of the Agreement):




                                     -43-
     Case 1:21-cv-08330-LAK Document 31-3
                                     11-3 Filed 11/12/21
                                                10/20/21 Page 104 of 275
.,

               NEW YORK STATE NURSES AsSOCIATION PENSION PLAN

                                    INVESTMENT GUIDELINES
                                               FOR
                                White Oak Global Advisors, LLC
                                   Originated January 9, 2014
                                    Revised February 12, 2015


     I. OVERVIEW
        The following investment objectives and portfolio guidelines are intended as a policy
        outline White Oak Global Advisors, LLC ("White Oak") in its investment of assets for
        the Trustees (the "Trustees") of the New York State Nurses Association Pension Plan
        (the "Plan"). It covers the major areas of concern to the Trustees: return objectives, risk
        control, permissible and prohibited investments. The purpose of this document is to
        make the Trustees' expectations clear and to help ensure that the assets entrusted to
        White Oak are managed at all times in accordance with the fiduciary and other
        obligations imposed on White Oak by its agreement with the Trustees and the Employee
        Retirement Income Security Act of 1974 (BRISA).

        White Oak was retained by the Trustees to invest Plan assets in a range of investment
        vehicles that pursue a direct lending strategy that are expected to generate levels of
        investment return in excess of those generally available in the public bond markets. The
        specific objectives and investment constraints for this portfolio are detailed in the
        following sections.


     Il. INvESTMENT OBJECTIVES
        The Trustees have designated the following investment objectives for White Oak:

           A. To invest Plan assets in direct lending securities which include private
               commingled investment vehicles such as limited liability companies and
               limited partnerships of which the strategies pursue only senior secured first
               lien loans with a target current income in excess of 6% annually.
           B. To maximize potential risk-adjusted return consistent with a focus on small
              to middle market borrowers and the investment constraints put forth below
              and with the Plan's tax-exempt status.
           C. To limit risk through diversification and prudent investment selection.
           D. To manage the level of commitments within the portfolio, targeting a funded
              allocation of 60% of the Alternatives sub-asset class of the Fixed Income
              allocation through time.*


               *Prior to February 1, 2015, the commitment was an initial $80.0 million
                commitment.

                                                 1
                     Case 1:21-cv-08330-LAK Document 31-3
                                                     11-3 Filed 11/12/21
                                                                10/20/21 Page 105 of 275
• .> . ·,.J. C: ',
      .,.

                     III.   ASSET ALLOCATION

                            The Trustees intend to control asset allocations at the Plan level. Thus, each investment
                            manager is selected to perform a specific role within the overall Plan, and is not
                            expected to determine gross asset allocations individually.

                            The portfolio's current target funded allocation is 60% of the Alternatives sub-asset class
                            allocation of the Fixed Income allocation...... Annually, by December 3131, White Oak will
                            review the then-current total Plan assets and expected future Plan growth (both
                            available from the Plan office). Considering the existing portfolio structure, and
                            expected d.rawdowns and distributions, White Oak will provide a written pacing plan to
                            the Plan office.

                            The White Oak pacing plan will provide 10-year annual projections of the dollar amount
                            they expect to draw from or distribute to the Plan. White Oak's annual pacing plan will
                            also include projected future commitments and redemptions and will consider
                            anticipated growth of the Plan's assets.

                                Asset-Type Assignment
                                White Oak has been selected as a manager of a direct lending strategy. White
                                Oak is expected to invest in direct lending securities, limited partnerships or
                                limited liability companies consistent with the provisions of these guidelines.
                                The private partnerships in which White Oak invests may be illiquid and may
                                hold securities that are publically traded or privately placed or otherwise
                                illiquid.


                     IV. PERMISSIBLE INVESTMENTS
                            White Oak is expected to invest only in securities, limited liability companies or limited
                            partnerships that pursue direct lending strategies, however, White Oak has complete
                            discretion as to what investment vehicles it will select.


                      V.    PROHIBITED INVESTMENTS

                            White Oak's mandate as a direct lending manager is limited to investing through
                            securities, limited liability or limited partnership structure vehicles.

                            All other investment structure types are prohibited.


                     VI. LIMITATIONS ON INVESTMENTS

                            White Oak will commit Plan assets to Permissible Invesbnents provided, however, that
                            it will not commit to aggregate commitments which would lead to a funded allocation
                            beyond the target without prior written approval by the Trustees.

                            **At December 31, 2014, total Plan assets were $2.99 billion. The Policy Allocation to
                              Fixed Income was 16%. The sub-asset class allocation to Alternative Fixed Income
                              Strategies was 30%. White Oak's allocation of 60% of the sub-asset allocation to
                              Alternatives Fixed Income equated to a current target funded amount of $86.0 million.


                                                                     2
       Case 1:21-cv-08330-LAK Document 31-3
                                       11-3 Filed 11/12/21
                                                  10/20/21 Page 106 of 275
                                                                                                 , ,. •.r. •~


          A.       Limitation on Specific Investments
                   Excluding commingled funds, no more than 8% of the total portfolio shall be
                   committed to a single investment.
          B.       Limitation on Foreign Investment Strategies
                   Non-U.S. focused invesbnent strategies may not comprise more than 25% of
                   the portfolio's targeted total commitment.

          If any of the above limitations on specific investments is violated, the manager must
          address the issue in writing with the Trustees within sixty days.


     VII. TRADING
          In accordance with the fiduciary and other obligations imposed on White Oak by its
          agreement with the Trustees and BRISA, all trades executed by the manager must be for
          the exclusive benefit of the Plan's participants and beneficiaries. The manager is
          expected to seek best execution on all trades. Further, the manager is prohibited from
          trading through its own, or any affiliated brokerage operations.


     VIII. PROXY VOTING
          The Trustees have delegated the responsibility of voting all stock proxies to White Oak.
          The Trustees believe that the voting of proxies constitutes an investment decision by
          equity managers, and that prudent voting of proxies is important to the overall
(         performance of the Plan and should be executed in a timely fashion. White Oak is
          expected to provide a full accounting of proxy votes in writing every calendar year.


      IX. ON-GOING SUITABILITY
          White Oak's suitability as an investment manager will be judged continuously from
          many perspectives: stability of professional staff and capabilities, adherence to
          investment disciplines, risk management, business practices, investment performance,
          and client communication. Failure to perform adequately in any of these areas may be
          grounds for termination.

          The return earned by White Oak will be calculated using industry standard procedures.

          During the initial capital commitment phase of the portfolio, returns will almost
          certainly be lower than the long-term objectives, due to the "J-curve" effect. Because
          such vehicles are generally priced at the lower of cost or appraised value, price
          appreciation is rarely captured until liquidation. Thus, reported performance for the
          first few years of the program may be low (and possibly negative during early periods)
          compared to the following targets.
          White Oak will be expected to meet or outperform, net of underlying management fees
          the following policy benchmarks:
               •   current income in excess of 6 % measured annually
\.             •   total return of the Barclays Universal Index plus 300 basis points measured over
                   a three-year period.


                                                   3
                      Case 1:21-cv-08330-LAK Document 31-3
                                                      11-3 Filed 11/12/21
                                                                 10/20/21 Page 107 of 275
-r      .
       ,., J A
       ,
                 •,


. .,
                      X. REPORTS

                            PERFORMANCE ANALYSES
                            A Performance Measurement Report ("PMR") shall be submitted to the Plan by the
                            Investment Manager on a quarterly basis no later than 45 days following receipt of all
                            quarterly capital statements from the underlying portfolio investments. F.ach PMR shall
                            contain historical time-weighted and/or internal rates of returns for each of the
                            Portfolios' invesbnents, as appropriate. Additionally, a comparison shall be made of
                            each investment's actual performance to its objective. Returns and current income shall
                            be aggregated, along with information on investment attributes, on a total portfolio
                            basis. Comparisons shall be made of actual results to the respective performance
                            benchmark, investment parameters and analysis of compliance with guidelines or
                            objectives contained in this statement relating to the Portfolio.

                            Each quarter, the PMR shall provide a written implementation/ pacing plan, including
                            details on the current status of the portfolio and include quarterly projections regarding
                            capital commitments, capital calls and distributions for the following one-year period.
                            Information will also be provided on prospective investments under review.


                      XI.   REPORTING REQUIREMENTS

                            The Trustees consider timely, accurate and high quality communication by the Plan's
                            Investment Managers essential and in the best interests of the Plan. Accordingly, White
                            Oak is responsible for (1) maintaining appropriate records and documentation to satisfy
                            its contractual and fiduciary obligations and to demonstrate compliance with the
                            Investment Guidelines, and (2) informing the Trustees' representatives defined as the
                            Plan's Chief Invesbnent Officer, Investment Department Staff, and any other service
                            provider(s) to the Plan as identified in writing to White Oak. Without limiting the
                            generality of the foregoing, White Oak is to:

                            A. Inform the Trustees' representatives in writing immediately following any
                               significant developments at White Oak, including without limitation, those directly
                               related to its internal operation and the management of the Plan's assets. Without
                               limiting the generality of the forgoing, the Trustees' representatives shall be notified
                               immediately in writing of:

                                   1. the loss or addition (or pending loss or addition) of key personnel
                                      who have been (or will be) providing services to the Plan's portfolio;

                                   2. all clients gained or lost and any significant change in White Oak's
                                      total assets under management for both White Oak' s consulting
                                      clients and discretionary clients;

                                   3. current or pending complaints or legal proceedings against White
                                      Oak;

                                   4. investigations of White Oak involving ERISA or other laws; or

                                   5. any other significant corporate changes affecting White Oak,
                                      including but not limited to, structure or ownership.


                                                                     4
 Case 1:21-cv-08330-LAK Document 31-3
                                 11-3 Filed 11/12/21
                                            10/20/21 Page 108 of 275



        B. Inform the Trustees' representatives in writing prior to any significant change in
           investment strategy or risk posture.

        C. Inform the Trustees representatives immediately in writing of all investment
           activities (to include new commitments, capital calls, redemptions and distributions).

        D. Inform the Trustees' representatives immediately in writing of any Investment
           Guideline deviations, along with explanations and appropriate plan for corrective
           action.

        E. Meet in person with the Trustees and/or their representatives in their offices at their
           request on reasonable notice to discuss investment results and plans or any other
           relevant matters.

        F. Respond immediately to written requests from the Trustees and/or their
           representatives for additional information on Investment Guideline matters and any
           other matters concerning.


 XII.   FIDUOARY RESPONSIBILITY AND COMPLIANCE

        White Oak shall perform its investment responsibilities consistent with its overriding
        fiduciary obligations. White Oak is responsible for all aspects of portfolio management
        as set forth in the firm's investment management agreement with the Trustees.


APPROVED BY THE INVESTMENT COMMITTEE OF THE NEW YORK STATE NURSES
ASSOCIATION PENSION PLAN


   ATIESTEDTOBY             ~       µ.£..~---
                            17' _[/ ~
                                             -. . ._           Nancy Kaleda, Chairperson



                            ~                                       Jeffrey Cohen, Secretary


   ACCEPTED BY White Oak Global Advisors LLC



                                                           a..ikKee, Managing Member




   Approved For S1gnatu: cc
        Albert K~lter P.C




                                                 5
                    Case 1:21-cv-08330-LAK Document 31-3
                                                    11-3 Filed 11/12/21
                                                               10/20/21 Page 109 of 275
,._t'     .r'I' L

 '   ..


                                                       SCHEDULE B

                                                ALLOCATED AMOUNT


                                  The following amount shall constitute the Allocated Amount

                      referred to in this Agreement:




                                                          -44-
                                                      Case 1:21-cv-08330-LAK Document 31-3
                                                                                      11-3 Filed 11/12/21
                                                                                                 10/20/21 Page 110 of 275



                                                                                                                                                                                                             Account number 2619646
Consolidated Accounting                                                                                                                                                                                            NVSNA WHITE OAK
30 Nov 15


                                                                                                                                                                                                                            Page 1 of2
• Asset Detail for Consolidations

   VenturP. r'.apjtal and Partnerships
                                                                                 Local mart<et price
  Description                                             Shares/Par Value                 Accrued                                                                      - - - - -- - - - - - l lnm;,Jized gain/lO"-"' - - - - -- - - --
  Man~er                                                          Assel lD         income/e)(J>ense            Mar1<et value                            Cost                             Market      Translation                    Total

  Partnerships
  Global Region • USO
  WHITE OAK PINNACLE FEEDER FUND I LP                                           81.463.939.00)000              8 1.463.939.00                  75.768.949.35                        5.694.989.65            0.00            5 .694.989.65
                                                             75.768.949J50
                                                          CUSIP: 991PCE992                   0.00
  NYSNA WHflE OAI<                                            75.768.949.350                0.00               81 .463.939.00                  75.768.949.35                        5.694.989.65            0.00            5.694.989.65

  Total USO                                                                                 0.00             81.463.939.00                   75.768.949.35                     5.694.989.65                 0.00           5 .694.989.65
  Total G lobal Region                                                                      0.00             81.463.939.00                   75.768.949.35                     5.694.989.65                 0.00           5.6 94.989.65

  United States • USO
  WHITE O AK SUMMIT FUND                                                        11.658.365.00)000              11.658.365.00                   11.650.903.75                           7.461.25             0.00                7.461.25
                                                             11.650.903.150
                                                          CUSIP: 991XTG!95                  0.00
  NYSNA WHITE OAK                                             11.650.903 .ISO               0.00               11.658.365.00 •                 11.650.903.75                           7.461.25             0.00                7.461 .25
                                                                         • Mar1cet value based on prices f&()e/ved from an •,rtemal manager or other cHent.<flmcted pnct,g source
  Total USO                                                                                 0.00             11 .658.365.00                  11 .650.903. 75                          7.461.25             0.00                7 .461.25
  Total United States                                                                       0.00             11.658.365.00                   11.650.903.75                            7.461 .25            0.00               7 .461 .25
  Total partnenhips                                                                         t.00             93,122,304.00                   87,419,853.10                     5,702,450.90                0.00            5,702,450.90

  Total venture capital and partnerships                                                    1.00             93,122.304.00                   87,419,853.10                     5,702,450.90                0.00            5,702,450.90



  Cm,h and rash F.quivalents
                                                                                    Exchange rate
 Description                                              Shares/Par Value                 Accrued                                                                     - - - - - -- ---Unrealized gain/loss - - - -- - - - -
 Manager                                                           Asset ID       lncome/e,;>ense             Mantel value                             Cost                             Marl<et     Transl ation                  Total

 Funds - short term investment


 USO • United Stales dollar                                                            1.0000000                      543.95                          543.95                               0.00            0.00                    0 .00

                                                          CUSIP: 19599aB16                 79.01
 NYSNA WHITE OAK                                                                           ,.o,                       543.95                          543.95                               000             OOII                    0. 00

 Total Funds - Short Term lnveslnwmt - all currencies                                     79.01                      543.95                          543.95                               0 .00            0.00                   0.00
 Total funds - short lerm investment. all countries                                       79.01                      543.95                          543.95                               0.00             0.00                   0.00

                                                                                                                                                                                                                                            ~·· ~   .
 Northern Trust                                                                                                                                                 *Generated by Norlhem Trust from periodic data on 24       15 CO099          ,p
                                                                                                                                                                                                                                            .,,,,
    Case 1:21-cv-08330-LAK Document 31-3
                                    11-3 Filed 11/12/21
                                               10/20/21 Page 111 of 275


•


                                      SCHEDULEC

                     INVESTMENT MANAGER FEE SCHEDULE


                  The compensation of the Investment Manager shall be m

      accordance with the following schedule:

      1.   Management Fee

           The Investment Manager shall receive a semi-annual management fee,
           payable in advance as of January 1 and July 1 of each year, and
           calculated at the annualized rate of one hundred and thirty five basis
           points (1.35%) of the initial Allocated Amount. The management fee
           shall be prorated for any semi-annual period that is less than a full six (6)
           months.

      2.   Carried Interest

           Any distributable cash from a particular investment of the initial
           Allocated Amount shall be apportioned in the following manner and
           priority:

                  (i)   First, one hundred percent (100%) to the Trustees of the
           NYSNA Pension Plan ("Trustees") until the cumulative distributions to
           the Trustees equals the cumulative contributions from the initial
           Allocated Amount to the investment;

                  (ii)    Second, one hundred percent (100%) to the Trustees until
           the cumulative distributions to the Trustees in excess of the cumulative
           contributions to the investment provides the Trustees with a cumulative
           return of seven and one-half percent (7.5%) per annum, compounded
           annually, on the Trustees' aggregate outstanding investment calculated
           from the date that the initial Allocated Amount is contributed to the
           investment until the date on which such initial Allocated Amount is
           returned to the Trustees;

                (iii) Third, one hundred percent (100%) to the Investment
           Manager until the Investment Manager has received, with respect to the




                                            -45-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 112 of 275


                                                                                    •


      Trustees, an amount equal to twenty percent (20%) of the sum of all
      distributions made to the Trustees pursuant to subparagraph (ii) above;
      and

             (iv) Fourth, eighty percent (80%) to the Trustees and twenty
      percent (20%) to the Investment Manger.

      The aggregate amount, if any, distributable to the Investment Manger in
      accordance with subparagraphs (iii) and (iv) above, shall be referred to as
      a "Carried Interest."

 3.   Adjustment of Management Fee and Carried Interest

      If Investment Account assets are invested in the White Oak Pinnacle
      Fund, L.P., the White Oak Pinnacle Feeder Fund I, L.P. and/or any other
      collective investment fund of the Investment Manager or any parent
      company or affiliate, the Management Fee and Carried Interest set forth
      above shall be adjusted in accordance with the terms of paragraph 9 of
      this Agreement.




                                     -46-
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 113 of 275




                  EXHIBIT B
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 114 of 275




                     WHITE OAK PINNACLE FEEDER FUND
                                  I, L.P.




                      LIMITED PARTNERSHIP AGREEMENT




                               December 31, 2013




{00245686.DOC}
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 115 of 275




                                          TABLE OF CONTENTS

ARTICLE I         DEFINITIONS................................................................................................. 1
        SECTION 1.1.              Definitions...................................................................................... 1
ARTICLE II        GENERAL PROVISIONS .............................................................................. 1
        SECTION   2.1.            Partnership Name ........................................................................... 1
        SECTION   2.2.            Registered Office; Business Address ............................................. 1
        SECTION   2.3.            Purposes of the Partnership; Master-Feeder Structure................... 1
        SECTION   2.4.            Liability of the Partners ................................................................. 2
        SECTION   2.5.            Admission of Limited Partner........................................................ 2
ARTICLE III       MANAGEMENT AND OPERATIONS OF THE PARTNERSHIP .............. 3
        SECTION   3.1.            Management Generally .................................................................. 3
        SECTION   3.2.            Authority of the General Partner.................................................... 3
        SECTION   3.3.            Management Fee ............................................................................ 5
        SECTION   3.4.            Transactions with Affiliates ........................................................... 6
        SECTION   3.5.            Other Activities; Devotion of Time ............................................... 6
        SECTION   3.6.            Books and Records; Accounting Method; Fiscal Year .................. 7
        SECTION   3.7.            Partnership Information and Tax Returns ...................................... 7
        SECTION   3.8.            Confidentiality ............................................................................... 7
        SECTION   3.9.            Reserved ......................................................................................... 8
        SECTION   3.10.           Temporary Investment of Funds .................................................... 8
        SECTION   3.11.           Certain ERISA Matters .................................................................. 8
        SECTION   3.12.           Valuation ........................................................................................ 9
        SECTION   3.13.           Reliance by Third Parties ............................................................... 9
        SECTION   3.14.           Borrowings..................................................................................... 9
        SECTION   3.15.           Conflicts of Interest...................................................................... 10
        SECTION   3.16.           Reserved ....................................................................................... 11
        SECTION   3.17.           Avoidance of UBTI...................................................................... 11
        SECTION   3.18.           Investment Committee ................................................................. 11
ARTICLE IV        INVESTMENTS AND INVESTMENT OPPORTUNITIES........................ 12
        SECTION 4.1.              Investments Generally ................................................................. 12
        SECTION 4.2.              Investment Restrictions ................................................................ 12
        SECTION 4.3.              Co-Investment Opportunities ....................................................... 12
ARTICLE V         EXPENSES .................................................................................................... 12
        SECTION 5.1.              Definition and Payment of Manager Expenses ............................ 12
        SECTION 5.2.              Partnership Expenses ................................................................... 12
ARTICLE VI        CAPITAL COMMITMENTS AND CAPITAL CONTRIBUTIONS ........... 14
        SECTION   6.1.            Capital Commitments .................................................................. 14
        SECTION   6.2.            Capital Call Procedure ................................................................. 15
        SECTION   6.3.            Default by Limited Partner .......................................................... 15
        SECTION   6.4.            Remedies Not Limited ................................................................. 17
        SECTION   6.5.            Reserved ....................................................................................... 18
        SECTION   6.6.            Excluded Limited Partners ........................................................... 18

{00245686.DOC}                                               i
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 116 of 275




ARTICLE VII       DISTRIBUTIONS; CAPITAL ACCOUNTS ................................................ 19
        SECTION   7.1.          Distributions................................................................................. 19
        SECTION   7.2.          Capital Accounts; Adjustments to Capital Accounts ................... 22
        SECTION   7.3.          Tax Allocations ............................................................................ 23
        SECTION   7.4.          Tax Credits ................................................................................... 24
        SECTION   7.5.          Loans and Withdrawal of Contribution ....................................... 24
        SECTION   7.6.          No Obligation to Restore ............................................................. 24
        SECTION   7.7.          Other Tax Matters ........................................................................ 24
ARTICLE VIII      REPORTS TO LIMITED PARTNERS ......................................................... 24
        SECTION 8.1.            Independent Public Accountants.................................................. 24
        SECTION 8.2.            Reports ......................................................................................... 24
ARTICLE IX        EXCULPATION AND INDEMNIFICATION ............................................. 25
        SECTION 9.1.            Exculpation .................................................................................. 25
        SECTION 9.2.            Indemnification ............................................................................ 25
        SECTION 9.3.            Exclusive Jurisdiction .................................................................. 26
ARTICLE X         TERM AND DISSOLUTION OF THE PARTNERSHIP............................. 26
        SECTION   10.1.         Term ............................................................................................. 26
        SECTION   10.2.         Dissolution ................................................................................... 26
        SECTION   10.3.         Liquidation of the Partnership ..................................................... 27
        SECTION   10.4.         Distribution Upon Dissolution of the Partnership ....................... 27
        SECTION   10.5.         No Voluntary Withdrawal by Limited Partner ............................ 28
        SECTION   10.6.         Required Withdrawal of Limited Partner .................................... 28
        SECTION   10.7.         Payments Upon Withdrawal ........................................................ 28
ARTICLE XI        TRANSFERABILITY OF THE GENERAL PARTNER’S INTEREST ...... 29
        SECTION 11.1.           Transferability of the General Partner’s Interest ......................... 29
        SECTION 11.2.           Withdrawal of the General Partner .............................................. 29
        SECTION 11.3.           Removal of the General Partner ................................................... 29
ARTICLE XII       TRANSFERABILITY OF A LIMITED PARTNER’S INTEREST ............. 30
        SECTION 12.1.           Conditions for Transfer ................................................................ 30
        SECTION 12.2.           Substitute Limited Partner; Recognition of Transfer ................... 31
ARTICLE XIII      MISCELLANEOUS ...................................................................................... 31
        SECTION   13.1.         Amendments ................................................................................ 31
        SECTION   13.2.         Reserved ....................................................................................... 32
        SECTION   13.3.         Notices ......................................................................................... 32
        SECTION   13.4.         Successors; Counterparts ............................................................. 33
        SECTION   13.5.         Governing Law; Severability ....................................................... 33
        SECTION   13.6.         Filings .......................................................................................... 33
        SECTION   13.7.         Power of Attorney ........................................................................ 33
        SECTION   13.8.         No Right to Partition .................................................................... 34
        SECTION   13.9.         Goodwill ...................................................................................... 34

{00245686.DOC}                                             ii
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 117 of 275




        SECTION 13.10.   Headings ...................................................................................... 34
        SECTION 13.11.   Entire Agreement ......................................................................... 34
        SECTION 13.12.   Submission to Jurisdiction ........................................................... 34




{00245686.DOC}                                     iii
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 118 of 275




                          LIMITED PARTNERSHIP AGREEMENT

                                                OF

                      WHITE OAK PINNACLE FEEDER FUND I, L.P.

              LIMITED PARTNERSHIP AGREEMENT dated as of December ___, 2013, of
WHITE OAK PINNACLE FEEDER FUND I, L.P., by and among WHITE OAK PARTNERS,
LLC, a limited liability company formed under the laws of Delaware, as General Partner, and
Pension Board of the New York State Nurses Association, as the sole Limited Partner.

               WHEREAS, the parties hereto desire to form a limited partnership in accordance
with the Partnership Act;

                 NOW, THEREFORE, the parties hereto agree as follows:


                                         ARTICLE I
                                        DEFINITIONS

               SECTION 1.1.        Definitions.    Capitalized terms used herein without
definition have the meanings assigned to such terms in Appendix A attached hereto. Unless
otherwise expressly stated herein, references to Sections are references to Sections in this
Agreement. Unless otherwise indicated or required by the context, defined terms in the singular
include the plural and vice versa.


                                      ARTICLE II
                                  GENERAL PROVISIONS

              SECTION 2.1.         Partnership Name. The name of the Partnership is “White
Oak Pinnacle Feeder Fund I, L.P.”.

                 SECTION 2.2.        Registered Office; Business Address.

                (a)    Registered Office of the Partnership. The Partnership shall maintain a
registered office at National Registered Agents, Inc., 160 Greentree Drive, Suite 101, Dover, DE
19904. National Registered Agents, Inc. will act as the registered agent of the Partnership. The
General Partner may change the registered office and registered agent in its sole discretion.

                (b)     Business Address of the Partnership and the General Partner. The
business address of the Partnership and the General Partner shall be 88 Kearny Street, 4th Floor,
San Francisco, CA 94108 or such other place as the General Partner shall determine from time to
time in its sole discretion. The General Partner shall promptly notify the Limited Partner of any
change in the business address of the Partnership or of the General Partner.

                 SECTION 2.3.        Purposes of the Partnership; Master-Feeder Structure.



{00245686.DOC}                              1
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 119 of 275




               (a)     The purposes of the Partnership are (a) to acquire, hold and dispose of
investments in Partnership Investments, (b) pending utilization or disbursement of funds, to
make Temporary Investments, and (c) to engage in such activities as the General Partner deems
necessary or desirable for the accomplishment of the above purposes or the furtherance of any of
the powers herein set forth and to do every other act and thing incident thereto or connected
therewith. The Partnership shall have the power to do any and all acts necessary, appropriate,
desirable, incidental or convenient to or for the furtherance of the purposes described in this
Section 2.3, including, without limitation, any and all of the powers that may be exercised on
behalf of the Partnership by the General Partner pursuant to this Agreement.

               (b)    The Partnership will invest all of its assets through White Oak Pinnacle
Fund, L.P. (the “Master Fund”). All Partnership Investments will be made at the Master Fund
level. The General Partner and Manager act as the “general partner” and “manager” of the
Master Fund, respectively.

                 SECTION 2.4.         Liability of the Partners.

                (a)     Liability of the General Partner. Except as otherwise provided in the
Partnership Act or this Agreement, the General Partner shall have unlimited liability with respect
to the debts, obligations and other liabilities of the Partnership.

                (b)     Liability of the Limited Partner. Except as specifically set forth in this
Agreement or as provided in the Partnership Act, (i) the Limited Partner shall not be obligated to
make any contribution to the Partnership of any amount in excess of its Capital Commitment or
other payments provided for herein, and (ii) the Limited Partner shall not have any personal
liability whatsoever in its capacity as the Limited Partner for the repayment of debts, liabilities,
losses or other obligations of the Partnership.

              SECTION 2.5.            Admission of Limited Partner. As of the date of this
Agreement, the Limited Partner hereby makes a Capital Commitment to the Partnership in the
amount of $80 million. In addition, as of the date of this Agreement, the Limited Partner shall
make a Capital Contribution in cash directly to the Master Fund in the amount of $[___] million.
The General Partner, in its sole discretion, may permit the Limited Partner to increase its Capital
Commitment to the Partnership at any time after the date of this Agreement.


                                 ARTICLE III
                 MANAGEMENT AND OPERATIONS OF THE PARTNERSHIP

               SECTION 3.1.         Management Generally. The management, administration
and control of, and the determination of policies with respect to, the Partnership and its affairs
shall be vested exclusively in the General Partner. The General Partner has delegated the
portfolio management and administrative services of the Partnership to the Manager. The
Limited Partner shall have no part in the management, administration or control of the
Partnership and shall have no authority or right to act for or on behalf of the Partnership in
connection with any matter.



{00245686.DOC}                                   2
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 120 of 275




               SECTION 3.2.          Authority of the General Partner. Subject to the other
provisions of this Agreement, the General Partner shall have the power and authority, in its own
name or on behalf of and in the name of the Partnership, to carry out any and all of the objects
and purposes of the Partnership, and to perform all acts which it may, in its sole discretion, deem
necessary or desirable in furtherance thereof, including, without limitation, the power and
authority to:

                 (a)   identify investment opportunities for the Partnership;

               (b)     invest or reinvest in, or acquire, hold, retain, manage, monitor, own, sell,
transfer, convey, assign, exchange, pledge or otherwise dispose of any assets held by or on
behalf of the Partnership, including Partnership Investments;

               (c)     employ, on behalf of and at the expense of the Partnership, any and all
financial advisers, brokers, attorneys, accountants, consultants, appraisers, servicers, custodians
of the assets of the Partnership or other agents, including, but not limited to, the Administrator,
on such terms and for such compensation as the General Partner may determine, whether or not
such Person may be an Affiliate of the General Partner or may also be otherwise employed by
the General Partner or by any Affiliate of the General Partner (but subject to Section 3.4) and
terminate such employment;

                (d)    make all elections, investigations, evaluations and other decisions, binding
the Partnership thereby, that may, in the sole discretion of the General Partner, be necessary or
desirable for the investment or reinvestment in, or acquisition, holding, retention, management,
monitoring, ownership, capitalization, merging, restructuring, sale, transfer, conveyance,
assignment, exchange, pledge or other disposition of any assets held by or on behalf of the
Partnership, including Partnership Investments;

              (e)    incur expenses and other obligations incident to the operation and
management of the Partnership, and, to the extent that funds of the Partnership are available for
such purpose, make payments on behalf of the Partnership in its own name or in the name of the
Partnership;

               (f)    lend money to the Partnership or cause the Partnership to borrow money,
on a secured or unsecured basis, pursuant to Section 3.14;

                 (g)   bring, defend, settle and dispose of any Proceeding;

                 (h)   establish reserves for contingencies and for any other Partnership purpose;

                (i)   distribute funds to the Limited Partner by way of cash or otherwise
pursuant to this Agreement;

                (j)     prepare or cause to be prepared reports, statements and other information
for distribution to the Limited Partner;

              (k)     prepare and file all necessary returns and statements, pay all taxes,
assessments and other impositions applicable to the assets of the Partnership, and withhold
amounts with respect thereto from funds otherwise distributable to the Limited Partner;

{00245686.DOC}                                   3
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 121 of 275




                 (l)    maintain records and accounts of all operations and expenditures of the
Partnership;

               (m)    determine the accounting methods and conventions to be used in the
preparation of any accounting or financial records of the Partnership as provided in Section 3.6;

                 (n)    convene a meeting with the Limited Partner;

              (o)     open, maintain and close accounts with banks, brokerage firms, custodians
or other financial institutions and deposit, maintain and withdraw funds in the name of the
Partnership and draw checks or other orders for the payment of moneys;

               (p)     enter into, execute, deliver and perform any contract, agreement or other
instrument as the General Partner shall determine, in its sole discretion, to be necessary or
desirable to further the purposes of the Partnership, including granting or refraining from
granting any waivers, consents and approvals with respect to any of the foregoing and any
matters incident thereto;

               (q)      appoint the Manager (which is an affiliate of the General Partner) to
provide portfolio management, administrative, accounting and other services to the Partnership
and to source, select, acquire, manage and dispose of the Partnership Investments;

                 (r)    value the assets and liabilities of the Partnership, in accordance with
Section 3.12;

             (s)    acquire and enter into any contract of insurance that the General Partner
deems necessary or appropriate for the protection of the Partnership, a Partnership Investment
and any Covered Person or for any purpose convenient or beneficial to the Partnership;

                (t)    require a provision in any Partnership contract that the General Partner
shall not have any personal liability therefor, but that the Person or entity contracting with the
Partnership is to look solely to the Partnership and its assets for satisfaction of any debts owed or
claims asserted;

                (u)     create a liquidating fund entity (e.g., a liquidating trust or similar vehicle),
and to transfer all or a portion of the Partnership’s assets to such entity for any reason, including
an orderly liquidation of any illiquid Partnership assets, in accordance with Section 10.4(b);

                 (v)    effect a dissolution of the Partnership as provided herein; and

                 (w)    act for and on behalf of the Partnership in all matters incidental to the
foregoing.

               Notwithstanding the foregoing provisions of this Section 3.2, the General Partner
shall have the power to do all things and discharge all duties or requirements required of or
imposed on a general partner by applicable law (whether or not on behalf of the Partnership). In
addition, the General Partner shall have the power to perform all acts that it may, in its sole
discretion, deem necessary or desirable in connection with the performance of its duties


{00245686.DOC}                                     4
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 122 of 275




hereunder. The General Partner may, in its sole discretion, delegate certain administrative duties
hereunder to such third Persons as the General Partner may designate from time to time.

                 SECTION 3.3.         Management Fee.

               (a)     In consideration for the management services to be rendered pursuant to
this Agreement, the Manager shall receive a semi-annual management fee, payable in advance as
of January 1 and July 1, each year, and calculated at the specified annualized rate set forth in
clause (b) below (the “Management Fee”). The Management Fee shall be prorated for any semi-
annual period that is less than a full six (6) months. The Manager shall receive the Management
Fee at the Partnership level. No Management Fee will be paid to the Manager at the Master
Fund level.

                (b)    During the Investment Period, the Manager shall receive at the beginning
of each semi-annual period a Management Fee equal to an annualized rate of one hundred and
thirty five basis points (1.35%) of the Limited Partner’s Capital Commitment. Following the
Investment Period, the semi-annual Management Fee will be equal to one hundred and thirty five
basis points (1.35%) per annum of the Limited Partner’s Capital Contributions invested in
Partnership Investments that have not been the subject of a disposition or write-down by the
Partnership (it being understood that a disposition shall include the writing down of a Partnership
Investment to zero for tax purposes, effective as of the effective date of such write-down).

              (c)     Any Transaction Fees earned by a member of the General Partner Group
during any semi-annual period shall be retained by such member but one hundred percent
(100%) of such Transaction Fees shall be deemed to be applied to reduce: (i) the amount of the
Management Fees in such semi-annual period or future semi-annual periods or (ii) any other
Partnership Expenses.

               SECTION 3.4.            Transactions with Affiliates. In addition to transactions
specifically contemplated by this Agreement, the General Partner, when acting in its capacity as
a general partner of the Partnership, is, to the extent legally permissible, hereby authorized to
purchase property or obtain services from, sell property to or provide services to, borrow funds
or otherwise deal with the General Partner, as well as counterparties that are Affiliates of the
General Partner (including any investment fund and managed account managed or advised by the
General Partner or its Affiliates), provided that, in connection with any such dealing, such
dealing shall (a) be on terms no less favorable to the Partnership than would be obtained on an
arm’s length basis and (b) have received the prior written approval of the Limited Partner. The
Limited Partner acknowledges and agrees that the purchase or sale of property, the performance
of such services, the borrowing of such funds, other dealings, or the receipt of such
compensation may give rise to conflicts of interest between the Partnership and the Limited
Partner, on the one hand, and the General Partner or such Affiliate, on the other hand.
Notwithstanding the foregoing, the General Partner shall not cause the Partnership to enter into
any transactions with itself or its Affiliates, unless such transactions are exempt from the
prohibited transaction restrictions under ERISA and the Code.

               SECTION 3.5.           Other Activities; Devotion of Time. Members of the
General Partner Group shall devote so much of their respective business time to the affairs of the
Partnership as they consider, in their sole discretion, to be appropriate to enable the Partnership

{00245686.DOC}                                  5
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 123 of 275




to carry out its business as contemplated herein. Except as otherwise set forth in Section 3.4, this
Agreement does not in any way restrict the ability of a member of the General Partner Group to
engage independently or with others, for its or their own accounts and for the accounts of others,
in other business ventures and activities of every nature and description, whether such ventures
are competitive with the business of the Partnership or otherwise. The Partnership and the
Limited Partner shall not have any rights or obligations by virtue of this Agreement in and to
such independent ventures and activities or the income or profits derived therefrom.

                 SECTION 3.6.         Books and Records; Accounting Method; Fiscal Year.

               (a)    Books and Records. The General Partner shall keep or cause to be kept at
the address of the General Partner set forth in Section 2.2(b) full and accurate books and records
of the Partnership. Subject to Section 3.8(b), such books and records shall be available, upon ten
Business Days notice to the General Partner, for inspection by the Limited Partner or its duly
authorized agents or representatives at the offices of the General Partner (or such other location
designated by the General Partner, in its sole discretion) during normal business hours.

               (b)    Accounting Methods. The General Partner shall determine, in its sole
discretion, the accounting methods and conventions to be used in the preparation of any
accounting or financial records or reports of the Partnership, which methods and conventions
shall be in accordance with U.S. generally accepted accounting principles (except as otherwise
specified herein).

               (c)     Fiscal Year. Unless otherwise required by applicable law, the fiscal year
of the Partnership shall end on December 31st.

               SECTION 3.7.           Partnership Information and Tax Returns. The General
Partner shall cause to be prepared and timely filed all information and tax returns required to be
filed by the Partnership, if any. The General Partner may, in its sole discretion, make, or refrain
from making, any income or other tax elections for the Partnership that it deems necessary or
advisable, including an election pursuant to Section 754 of the Code (provided that the General
Partner shall not elect for the Partnership to be treated as a corporation for federal income tax
purposes).

                 SECTION 3.8.         Confidentiality.

                (a)    Confidentiality Obligation of the Limited Partner. The Limited Partner
agrees to keep confidential and not to disclose to any Person (other than to directors, officers,
partners, employees or the Limited Partner’s plan sponsor, agents, legal counsel, independent
auditors or consultants responsible for matters relating to the Partnership (each an “Authorized
Representative”)) all information and documents relating to the Partnership and its affairs,
including, without limitation, any information (i) relating to any Partnership Investment,
(ii) provided to the Limited Partner pursuant to Article VIII, and (iii) provided to the Limited
Partner prior to or after its admission to the Partnership relating to the General Partner Group,
provided that in each case the Limited Partner may make such disclosure (x) if the information
being disclosed is otherwise generally available to the public, or (y) if such disclosure is, in the
written opinion of legal counsel (satisfactory to the General Partner) for such Limited Partner or
Authorized Representative, required by applicable law or regulation. Prior to any disclosure to

{00245686.DOC}                                   6
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 124 of 275




any Authorized Representative of the Limited Partner of any information referred to in the first
sentence of this Section 3.8(a), the Limited Partner shall advise such Authorized Representative
of the obligations set forth in this Section 3.8(a) and obtain the agreement of such Authorized
Representative to keep such information confidential and otherwise comply with this Section
3.8(a) as though such Authorized Representative were the Limited Partner. Notwithstanding the
terms of this Section 3.8(a) or any other express or implied agreement, arrangement or
understanding to the contrary, each party to this Agreement (and their respective Authorized
Representatives) may disclose to any and all persons, without limitation of any kind, the tax
treatment and tax structure of the Partnership, and all materials of any kind (including opinions
or other tax analyses) that are provided to the party to the extent related to such tax treatment and
tax structure.

               The General Partner hereby acknowledges that the Limited Partner and its
administrator have an obligation under Section 101(k) of ERISA (collectively with any
regulations thereunder, “Section 101(k)”) to provide certain information to certain interested
parties and agrees that the Limited Partner shall not be subject to any otherwise applicable
confidentiality provision in connection with its compliance with Section 101(k) requirements.
The General Partner agrees that at the time any information regarding the Partnership is
furnished to the Limited Partner, the General Partner shall indicate with specificity what (if any)
information contained therein constitutes “proprietary information” within the meaning of
Section 101(k) and the Limited Partner shall not disclose such “proprietary information” to
interested persons. The General Partner hereby expressly agrees to indemnify the Limited
Partner and its administrator against any and all claims, liabilities, damages, court costs or
reasonable expenses (including reasonable attorneys’ fees) that the Limited Partner and/or its
administrator incur or suffer as a result of the Limited Partner and/or its administrator omitting
such information in connection with a request for information made under Section 101(k) of
ERISA in the event such information is determined not to be “proprietary information” within
the meaning of Section 101(k).

                (b)     Right of General Partner to Keep Information Confidential. The General
Partner may, to the maximum extent permitted by applicable law, keep confidential from the
Limited Partner any information (including, without limitation, information requested by the
Limited Partner pursuant to Section 3.6 and information otherwise required to be delivered to the
Limited Partner pursuant to Article VIII) with respect to any Partnership Investment or potential
Partnership Investment (i) which the Partnership or the General Partner is required by law,
agreement or otherwise to keep confidential, or (ii) the disclosure of which the General Partner
reasonably believes may have an adverse effect on the ability of the Partnership to consummate
any proposed Partnership Investment or any transaction directly or indirectly related to, or giving
rise to, such Partnership Investment.

                Without the Limited Partner’s prior written consent, none of the Partnership, the
General Partner, the Manager or any of their Affiliates shall (a) use the Limited Partner’s name
or derivations thereof in advertising, publicity, marketing materials, private placement
memorandum or other offering materials or other similar publication or document and/or (b)
infer that the Partnership has been endorsed by the Limited Partner. Notwithstanding clause (a)
above, the General Partner and its Affiliates may (i) disclose the Limited Partner’s name and
subscription amount if the General Partner first determines in good faith that such disclosure is in
the best interests of the Partnership in connection with a Partnership Investment; and (ii) make

{00245686.DOC}                                   7
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 125 of 275




any other disclosure regarding the Limited Partner’s investment in the Partnership required by
law, legal process or stock exchange rule, in each case, without obtaining the prior written
consent of the Limited Partner.

                 SECTION 3.9.         Reserved.

               SECTION 3.10.          Temporary Investment of Funds. The General Partner shall
invest cash held by the Partnership in Temporary Investments, including all amounts being held
by the Partnership for future investment in Partnership Investments, payment of Partnership
Expenses or distribution to the Partners (including, without limitation, any amounts held by the
Partnership pursuant to Section 7.1(e)).

                 SECTION 3.11.        Certain ERISA Matters.

               (a)    The Partnership will hold “plan assets” for purposes of the Plan Asset
Regulation. As a result, the General Partner and the Manager both agree that they are fiduciaries
for the Limited Partner with respect to the assets of the Partnership.

               (b)     The General Partner shall use its best efforts to not engage in a “prohibited
transaction” (as defined in ERISA and the Code) on behalf of the Partnership.

                SECTION 3.12.         Valuation. Whenever the Fair Value of Securities or
property is required to be determined under this Agreement, such Fair Value shall be determined
by Navigant Consulting Inc. or such other independent Person (such as an investment banking
firm) selected by the Limited Partner. The Fair Value of any Securities distributed by the
Partnership shall take into account any related fees and expenses incurred in connection with the
disposition of such Securities.

               SECTION 3.13.           Reliance by Third Parties. Persons dealing with the
Partnership are entitled to rely conclusively upon the power and authority of the General Partner
as herein set forth, and shall not be required to inquire as to the General Partner’s authority to
bind the Partnership.

                 SECTION 3.14.       Borrowings. The Partnership may borrow funds under a
credit facility on market-based terms in order to fund the acquisition of Partnership Investments
or pay Partnership Expenses pending the Partnership’s receipt of required Capital Contributions
from the Limited Partner or other receipts of cash.

                By executing this Agreement, the Limited Partner expressly agrees that the
General Partner may pledge the assets of the Partnership and its rights hereunder as security for
any borrowing and that its Capital Commitment obligation, the right to deliver Capital Call
Notices, the right to receive all amounts in respect of Capital Contributions and any other assets
of the Partnership, may be pledged to secure any borrowings or indebtedness incurred by the
Partnership. In connection with any borrowing or indebtedness incurred by the Partnership, the
Limited Partner agrees that it shall, upon request, confirm its Remaining Capital Commitment,
and execute such other documents as may reasonably be requested by any lender; provided, that
the Limited Partner shall not be required to (i) execute any document that would subject the
Limited Partner to any obligation beyond the amount of the Limited Partner’s unfunded Capital
Commitment or (ii) execute or obtain any legal opinions prepared by legal counsel.

{00245686.DOC}                                    8
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 126 of 275




               To the extent the Limited Partner is not in default of any obligation to make
Capital Contributions or other payments, the General Partner shall give the Limited Partner the
opportunity, upon at least five (5) Business Days’ notice, to make a Capital Contribution to the
Partnership in an amount equal to any such borrowing, and such borrowing (and the interest
expense relating thereto) shall not be allocated to the Limited Partner.

                 SECTION 3.15.        Conflicts of Interest.

                 (a)     While the General Partner intends to avoid situations involving conflicts
of interest, the Limited Partner acknowledges that there may be situations in which the interests
of the Partnership conflict with the interests of the General Partner Group, including the conflicts
of interest identified in the Master Fund’s Offering Memorandum. The Limited Partner agrees
that the activities of the members of the General Partner Group not prohibited by this Agreement
may be engaged in by the General Partner Group, and will not, in any case or in the aggregate, be
deemed a breach of this Agreement or any duty owed by any member of the General Partner
Group to the Partnership or to the Limited Partner, except to the extent such party engaged in
conduct that constitutes (i) fraud, (ii) willful and material breach of the duties set forth in this
Agreement or under the Act, (iii) gross negligence or (iv) willful and material breach of any
applicable fiduciary or other duty under federal or other applicable law; provided, however, that
the Limited Partner does not agree to any conflict of interest that would be a prohibited
transaction under ERISA or the Code.

                 (b)     The Partnership and the General Partner Group will seek to resolve any
conflicts with respect to investment opportunities involving the Partnership in a manner which
the General Partner deems equitable to the extent possible under prevailing facts and
circumstances; provided that, the General Partner shall have the right, subject to Section 4.3, to
allocate any investment opportunity which comes to its attention wholly or primarily to any
entity or entities other than the Partnership.

                (c)     On any issue involving actual conflicts of interest not provided for
elsewhere in this Agreement, the General Partner will be guided by its good faith judgment as to
the best interests of the Partnership, and shall take such actions as are determined to be necessary
or appropriate to ameliorate the conflicts of interest.

                 SECTION 3.16.        Reserved.

                SECTION 3.17.          Avoidance of UBTI. The General Partner shall use
reasonable efforts to structure Partnership Investments and otherwise conduct the business of the
Partnership in a manner that is not likely to cause the Limited Partner to have any “unrelated
business taxable income” (“UBTI”), including, without limitation, any “unrelated debt-financed
income” (as those terms are defined in Sections 512 and 514 of the Code) to the extent consistent
with its goal of maximizing the pre-tax income of all investors in the Master Fund, provided that
reasonably equivalent investment structures are available to the Partnership which will not
produce UBTI. Notwithstanding the foregoing, the General Partner shall not be required to make
any effort to avoid the recognition of UBTI by the Limited Partner to the extent such recognition
would be attributable (a) to borrowings pursuant to Section 3.14, or (b) to the borrowing of
money on a short-term basis by the Partnership which is to be repaid through Capital


{00245686.DOC}                                    9
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 127 of 275




Contributions. The General Partner and its Affiliates shall not be liable to the Limited Partner in
connection with any UBTI reported by the Limited Partner.

               SECTION 3.18.           Investment Committee. The Manager has established an
investment committee (“Investment Committee”) to (a) approve potential Partnership
Investments, (b) assess and manage the risks for such Partnership Investments and (c)
continually monitor such Partnership Investments. All decisions regarding the acquisition and
disposition of Partnership Investments will be made by the unanimous decision of the Investment
Committee. The members of the Investment Committee are the Principals and such other
individuals as are selected by the Principals from time-to-time.


                                ARTICLE IV
                 INVESTMENTS AND INVESTMENT OPPORTUNITIES

                SECTION 4.1.          Investments Generally. The assets of the Partnership shall,
to the extent not required for the payment of Partnership Expenses or otherwise necessary for the
conduct of the Partnership’s business, and subject to Section 3.10, be invested through the
Master Fund in such Partnership Investments as the General Partner shall determine in its sole
discretion.

                 SECTION 4.2.         Investment Restrictions. The Master Fund generally will
not invest more than (i) twenty-five percent (25%) of its aggregate Capital Commitments in a
single market sector; or (ii) eight percent (8%) of its aggregate Capital Commitments in the
Securities of any single Portfolio Company, each measured at cost at the time of investment;
provided, however, that the General Partner has the discretion to exceed these percentage
limitations if it makes a good faith determination that such additional investment is in the best
interests of the Master Fund and the Master Fund Advisory Committee approves of such
additional investment.

                SECTION 4.3.          Co-Investment Opportunities. The General Partner may, in
its sole discretion, provide the Limited Partner, strategic investors, lenders and others with an
opportunity to co-invest with the Master Fund in Partnership Investments, provided that the
terms of any such co-investment are no more favorable than the investment terms offered to the
Master Fund. Co-investment opportunities may be effected through limited partnerships or other
entities formed to effect such co-investments (“Co-Investment Funds”). The General Partner
will allocate available co-investment opportunities among the Master Fund, any Co-Investment
Funds and any other investment fund or managed account managed by the General Partner
Group in such manner as it determines in its sole discretion, and, in the case of the Partnership,
in accordance with the requirements of ERISA.


                                          ARTICLE V
                                          EXPENSES

               SECTION 5.1.           Definition and Payment of Manager Expenses. As between
the General Partner, the Manager and the Partnership, the Manager and the General Partner shall
be solely responsible for and shall pay their own respective Manager Expenses. As used herein,

{00245686.DOC}                                  10
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 128 of 275




the term “Manager Expenses” means the organizational and operating expenses of the General
Partner and the Manager, including salaries and employee benefit expenses of employees, office
rent, supplies and telecommunication expenses.

                 SECTION 5.2.         Partnership Expenses.

                (a)     Payment of Partnership Expenses. The Partnership shall be responsible
for and shall pay all Partnership Expenses, as well as its pro rata share of Master Fund Expenses.

                (b)    Definition of Partnership Expenses and Master Fund Expenses. As used
herein, the term “Partnership Expenses” and “Master Fund Expenses” means all expenses or
obligations of the Partnership or Master Fund, respectively, or otherwise incurred by the General
Partner or Manager on behalf of the Partnership or Master Fund in connection with this
Agreement and the Master Fund LPA, respectively, other than any expense that would be
considered a Manager Expense.

                (c)    Specified Partnership Expenses and Master Fund Expenses. The parties
agree that all of the following constitute Partnership Expenses and Master Fund Expenses, and
comprise some, but not necessarily all, of the types of expenses that may constitute Partnership
Expenses and Master Fund Expenses, depending upon the context in which such expenses are
incurred:

                        (i)    all out-of-pocket expenses incurred by the Partnership and Master
        Fund or on their behalf that are directly related to the organization of the Partnership and
        the Master Fund, including, without limitation, legal, tax, accounting, filing and printing
        fees relating to such organization, travel expenses, the production of marketing materials
        and the audits of past internal rates of returns relating to such marketing materials
        (collectively, the “Organizational Expenses”);

                       (ii)    expenses related to the sourcing, due diligence, valuation and
        potential acquisition of Partnership Investments, regardless of whether such acquisition is
        actually consummated, as well as the holding, monitoring and sale of Partnership
        Investments;

                       (iii) legal, tax, auditing, consulting, accounting, valuation services, loan
        servicing, and other professional expenses;

                      (iv)   costs and expenses for the preparation of the Partnership’s and
        Master Fund’s financial statements, tax returns and IRS Schedules K-1;

                       (v)    litigation expenses of the Partnership and Master Fund;

                      (vi)    out-of-pocket expenses incurred in connection with the collection
        of amounts due to the Partnership or Master Fund from any Person;

                      (vii) insurance premiums related to protection of Covered Persons
        against any liability arising out of, related to or incurred in connection with this
        Agreement;


{00245686.DOC}                                  11
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 129 of 275




                      (viii) expenses incurred in connection with any Proceeding involving the
        Partnership and/or Master Fund (including the cost of any investigation and preparation)
        and the amount of any judgment or settlement paid in connection therewith; provided,
        however, that any such expenses which, if incurred by any Person, would not be
        indemnifiable under Article IX, shall not constitute Partnership Expenses;

                      (ix)     fees and expenses of the Administrator at the Partnership and
        Master Fund level;

                       (x)    any indemnification obligation and any other indemnity
        contribution or reimbursement obligations of the Partnership and/or Master Fund with
        respect to any Person, whether payable in connection with a Proceeding involving the
        Partnership, the Master Fund or otherwise, in each case, to the extent available under
        applicable law and the provisions of Section 9.2;

                       (xi)    Management Fees;

                       (xii)   any Borrowing Costs relating to any borrowings incurred by the
        Partnership; and

                        (xiii) all expenses incurred in connection with the dissolution and
        liquidation of the Partnership and/or Master Fund.


                                  ARTICLE VI
                 CAPITAL COMMITMENTS AND CAPITAL CONTRIBUTIONS

                  SECTION 6.1.       Capital Commitments.

                 (a)    Agreement to Contribute Capital. Subject to Sections 6.1(b) and (d), 6.2,
7.1(b) and 9.2, the Limited Partner hereby agrees to make Capital Contributions, in an aggregate
amount equal at any time to its Remaining Capital Commitment, during the Investment Period.
The Partnership may make commitments to Partnership Investments during the Investment
Period. Following the Investment Period, the Limited Partner shall cease to be obligated to
contribute capital in respect of its Remaining Capital Commitment; provided, however, that the
Limited Partner shall remain obligated to make a Capital Contribution in respect of its
Remaining Capital Commitments to (i) fund Partnership Expenses, Master Fund Expenses and
liabilities (including, without limitation, the Management Fee and any Partnership borrowings),
(ii) permit the Partnership to fulfill investment commitments made prior to the expiration of the
Investment Period, including, without limitation, for purposes of making Partnership Investments
made pursuant to rights acquired prior to the expiration of the Investment Period, and (iii) fund
Follow-On Investments. Notwithstanding anything to the contrary herein, the Limited Partner
will participate in any Follow-On Investment in the same proportion that it participates in the
original Partnership Investment to which such Follow-On Investment relates. Further, in the
event that after the expiration of the Investment Period there exists outstanding indebtedness of
the Partnership secured by the Capital Commitment of the Limited Partner, the Limited Partner’s
obligation to so contribute capital shall continue, to the extent of its pro rata portion of such


{00245686.DOC}                                 12
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 130 of 275




indebtedness, calculated as the Master Fund level, until such time as such indebtedness is paid in
full.

              (b)     Release of Commitments, etc. Notwithstanding the provisions of Section
6.1(a), the General Partner may, in its sole discretion, cancel some or all of the Remaining
Capital Commitments of the Limited Partner at any time if the General Partner determines that
changes in any applicable law or regulation make it necessary for the Partnership to do so.

               (c)    Capital Commitment of the General Partner Group. Certain principals of
the Manager have invested a significant portion of their liquid net worth into other investment
funds and managed accounts advised by the Manager and its Affiliates that pursue a substantially
similar investment strategy to the Partnership and, at times, will invest alongside the Master
Fund.

                (d)    Key Person Event. If at any time during the Investment Period (i) at least
two (2) of the Investment Committee members die, become legally incompetent or are disabled
(i.e., unable by reason of disease, illness or injury to perform his or her duties with respect to the
Partnership for 90 consecutive days, or otherwise cease to be active in the affairs of the
Partnership for 90 consecutive days) or (ii) the General Partner Transfers all or a portion of its
GP Interest to any Person not affiliated with the General Partner or its Affiliates (each, a “Key
Person Event”), then the General Partner will provide the Limited Partner with written notice of
such Key Person Event within thirty (30) days following the occurrence thereof. Thereafter, the
Investment Period will terminate if the Limited Partner elects in writing to terminate the
Investment Period; provided that any such termination shall not prevent the Partnership from: (i)
completing any proposed Partnership Investment with respect to which it has entered into a
legally binding agreement to invest in prior to such election by the Limited Partner; (ii) paying
any Partnership Expenses relating to existing or committed Partnership Investments, or (iii)
satisfying any of its obligations in respect of any borrowings or other extensions of credit which
are secured, in whole or in part, by the Limited Partner’s Capital Commitment.

                 SECTION 6.2.          Capital Call Procedure.

               (a)     Generally. The Limited Partner shall make Capital Contributions to the
Partnership and/or Master Fund as needed with respect to the Partnership Investments, to pay
Partnership Expenses and Master Fund Expenses or to maintain a reserve in such amounts, to
such account and at such times (including at a Closing) as the General Partner shall specify in
notices (“Capital Call Notices”) delivered from time to time to the Limited Partner. All Capital
Contributions shall be paid to the Partnership and/or Master Fund by wire transfer in
immediately available funds to the account specified in the Capital Call Notice by 11:00 A.M.
(New York City time) on the date specified in the applicable Capital Call Notice. Capital
Contributions may include amounts that the General Partner determines, in its sole discretion, are
necessary or desirable to establish reserves in respect of potential Partnership Investments,
Partnership Expenses or Master Fund Expenses.

                 (b)   Capital Call Notices. Each Capital Call Notice shall specify:

                       (i)     the Capital Call Amount;



{00245686.DOC}                                   13
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 131 of 275




                       (ii)    the required Capital Contribution to be made by the Limited
        Partner;

                       (iii) the date (the “Capital Call Date”) on which such Capital
        Contribution is due; and

                       (iv)    the account to which such Capital Contribution should be paid.

The General Partner shall deliver each Capital Call Notice at least ten (10) Business Days before
the Capital Call Date.

                 SECTION 6.3.         Default by Limited Partner.

                 (a)    In General. The Limited Partner agrees that (i) payment of its required
Capital Contributions and amounts required pursuant to Sections 6.2 and 9.2 when due is of the
essence, and is to be made absolutely and unconditionally in each case without any set-off,
withholding, counterclaim, defense or reduction, (ii) any Default by the Limited Partner would
cause injury to the Partnership, the Master Fund and to the other investors in the Master Fund
and (iii) that the amount of damages caused by any such injury would be extremely difficult to
calculate. Accordingly, the Limited Partner agrees that upon any Event of Default by the
Limited Partner, the Limited Partner may, in the General Partner’s sole discretion, (I) not share
in any gain realized by the Partnership or Master Fund on any disposition of a Partnership
Investment occurring after the date of Default (regardless of when the Partnership Investment
was made), (II) continue to share in any loss realized by the Partnership or Master Fund on any
disposition of any Partnership Investment in which the Limited Partner participated, and/or
(III) have the entire balance in its Capital Account forfeited (the amount of the reduction to be
distributed pro rata to all other investors in the Master Fund).

               Except as expressly provided in the Partnership Agreement, the obligations of the
Limited Partner to the Partnership, or under the Partnership Agreement, shall continue regardless
of the remedies pursued by the Partnership.

              Upon the occurrence of any Default, the General Partner shall promptly notify the
Limited Partner of its defaulting status.

               (b)     Action by General Partner. Upon the occurrence of an Event of Default,
the General Partner may take such actions as it determines, in its sole discretion, are appropriate
with respect to the defaulted amount, including, but not limited to:

                       (i)     increasing its own Capital Contribution;

                        (ii)   causing the sale, transfer or other disposition of all of the LP
        Interest of the Limited Partner or causing the Limited Partner to sell, transfer or otherwise
        dispose of all of its LP Interest, after a twenty (20) day period during which the General
        Partner will solicit bids for the purchase of such LP Interest, on such terms as are
        determined by the General Partner and the proposed transferee;

                      (iii) causing the Partnership to borrow money from third parties, the
        General Partner or any of its Affiliates in order to fund the Limited Partner’s Capital Call

{00245686.DOC}                                   14
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 132 of 275




        obligation. The Borrowing Costs with respect to any borrowing pursuant to this Section
        6.3(b)(iii) shall be charged to the Capital Account of the Limited Partner. Any such
        borrowing will constitute a separate obligation of the Limited Partner and not the
        Partnership and will be secured by (A) the Capital Commitments of the Limited Partner,
        (B) the Limited Partner’s LP Interest, and (C) a personal guarantee of the Limited
        Partner in an amount not to exceed one hundred percent (100%) of the amount of the
        borrowing attributable to the Limited Partner; or

                        (iv)     immediately institute legal procedures against the Limited Partner
        to collect all amounts owed by the Limited Partner to the Partnership or any other person,
        together with interest, at the maximum rate provided by law from the date of the Default
        plus all related collection expenses, including reasonable attorney’s fees.

               (c)    Defaulting Partner’s Remaining Capital Commitment. In its sole
discretion, the General Partner may take any or all of the following actions in respect of the
Remaining Capital Commitment of the Limited Partner if it is in Default:

                        (i)    cause the Limited Partner to forfeit all or a portion of its interest in
        distributions to be derived from Partnership Investments that have been made by the
        Partnership as of the date of the Event of Default;

                      (ii)    require the Limited Partner to sell its LP Interest to a purchaser
        determined in the sole discretion of the General Partner. In the sole discretion of the
        General Partner, such sale may be (A) at a price determined by the General Partner and
        (B) in exchange for a non-recourse, non-interest bearing note secured by the LP Interest
        sold and payable solely from distributions receivable with respect to the LP Interest sold;
        and

                      (iii) reduce or cancel the Remaining Capital Commitment of the
        Limited Partner on such terms as the General Partner determines, in its sole discretion,
        (which may include leaving the Limited Partner obligated to pay the Management Fee
        and to make Capital Contributions with respect to Partnership Expenses and Master Fund
        Expenses up to the amount of the Limited Partner’s Remaining Capital Commitment
        immediately prior to the time such Remaining Capital Commitment is so reduced or
        canceled).

               SECTION 6.4.           Remedies Not Limited. The rights and remedies referred to
in Sections 6.2 and 6.3 shall be in addition to, and not in limitation of, any other rights available
to the General Partner or the Partnership under this Agreement or at law or in equity. In
addition, unless the Remaining Capital Commitment of the Limited Partner is decreased to zero
pursuant to Section 6.3(c)(iii), an Event of Default by such Limited Partner shall not relieve the
Limited Partner of its obligation to make Capital Contributions subsequent to such Event of
Default. The Limited Partner will be obligated to pay all of the expenses incurred by the
Partnership in pursuing any remedial actions, including reasonable attorney’s fees.

                 SECTION 6.5.          Reserved.

                 SECTION 6.6.          Excluded Limited Partners.


{00245686.DOC}                                     15
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 133 of 275




               (a)     Notwithstanding anything to the contrary contained herein, the General
Partner shall cancel the obligation of the Limited Partner to make any Capital Contribution with
respect to a particular Partnership Investment if either (i) it determines based upon advice of
counsel (a copy of which advice shall be provided to the Limited Partner) that there is a
reasonable likelihood that the Limited Partner’s participation in the economics of such
Partnership Investment would (a) impose a material tax, regulatory or other burden on the
Partnership, the Master Fund or the other investors in the Master Fund (b) result in a violation of
any applicable law, regulation or administrative practice to which the Limited Partner, the
Partnership, the Master Fund or the particular Partnership Investment involved is subject, or
(ii) the Limited Partner provides to the General Partner written advice from a reputable and
experienced law firm satisfactory to the General Partner concluding that the Limited Partner’s
participation in the economics of such Partnership Investment (a) is illegal or otherwise
prohibited by statute or regulation applicable to the Limited Partner or (b) would result in
materially unfavorable tax, legal or regulatory consequences to the Limited Partner. The Limited
Partner shall not participate in the economics of any particular Partnership Investment with
respect to which it does not make a Capital Contribution pursuant to this Section 6.6(a).

                (b)     No Commitment Reduction for Limited Partner. The Remaining Capital
Commitment of the Limited Partner shall not be reduced as a result of its exclusion from
participation in a Partnership Investment pursuant to this Section 6.6.


                                    ARTICLE VII
                         DISTRIBUTIONS; CAPITAL ACCOUNTS

                 SECTION 7.1.         Distributions.

               (a)     Distribution. Subject to the following sentence, proceeds derived by the
Partnership from interest, dividend or other similar payments with respect to a Partnership
Investment or from the sale or other disposition of Partnership Investments that (i) constitute a
return of Capital Contributions (but not income or gain) and (ii) are distributed to the Limited
Partner during the Investment Period or within eighteen (18) months from the end of the
Investment Period will be added to the Limited Partner’s Remaining Capital Commitment and
again be available for drawdowns for a period of eighteen (18) months after the expiration of the
Investment Period. The Limited Partner may elect in its Subscription Agreement to receive
quarterly distributions of interest, dividend and other similar payments from Partnership
Investments. Notwithstanding the foregoing, the amount of any such quarterly distribution will
be reduced by any amounts that the General Partner considers prudent reserves to meet the future
expenses and liabilities of the Partnership. Any Distributable Cash derived by the Partnership
from a particular Partnership Investment will be apportioned in the following manner and
priority:

                      (i)     First, one hundred percent (100%) to the Limited Partner until the
        cumulative distributions to the Limited Partner equals the cumulative Capital
        Contributions of the Limited Partner to the Partnership;

                      (ii)    Second, one hundred percent (100%) to the Limited Partner until
        the cumulative distributions to the Limited Partner in excess of its cumulative Capital

{00245686.DOC}                                  16
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 134 of 275




        Contributions provides the Limited Partner with a cumulative return of seven and one-
        half percent (7.5%) per annum, compounded annually, on the Limited Partner’s aggregate
        outstanding Capital Contributions calculated from the date that such Capital
        Contributions are contributed to the Partnership until the date on which such Capital
        Contributions are returned to the Limited Partner;

                      (iii) Third, one hundred percent (100%) to the General Partner until the
        General Partner has received, with respect to the Limited Partner, an amount equal to
        twenty percent (20%) of the sum of all distributions made to the Limited Partner pursuant
        to subparagraph (ii) above; and

                      (iv)    Fourth, eighty percent (80%) to the Limited Partner and twenty
        percent (20%) to the General Partner.

The aggregate amount, if any, distributable to the General Partner in accordance with sub-
paragraphs (iii) and (iv) of this Section 7.1(a) above, shall be referred to as a “Carried Interest.”
The General Partner shall receive the Carried Interest at the Partnership level. No Carried
Interest will be allocated to the General Partner at the Master Fund level.

The General Partner will utilize its best efforts to provide at least five (5) Business Days notice
to the Limited Partner prior to making any distributions, which notice shall include the sources of
such distribution and the anticipated amount to be distributed (including detailed figures showing
the portion of such distribution attributable to return of capital, realized losses, Partnership
Expenses, Master Fund Expenses, Organizational Expenses, Management Fees, and profits and
Carried Interest distributions).

                (b)    Reinvestment of Distributed Capital. Subject to the second sentence of
Section 7.1(a), proceeds derived by the Partnership from interest, dividend or other similar
payments with respect to a Partnership Investment or from the sale or other disposition of
Partnership Investments that (i) constitute a return of Capital Contributions (but not income or
gain) and (ii) are distributed to the Limited Partner during the Investment Period or within
eighteen (18) months from the end of the Investment Period will be added to the Limited
Partner’s Remaining Capital Commitment and again be available for drawdowns for a period of
eighteen (18) months after the expiration of the Investment Period. The General Partner will
notify the Limited Partner quarterly of its Remaining Capital Commitment, including any
distributions to the Limited Partner that are being added to its Remaining Capital Commitment.

                (c)     Distributions in Kind. The Partnership may distribute property in kind and
in such amounts as the General Partner shall, at its sole discretion, determine. Any distribution
in kind shall be made to the Limited Partner in accordance with Section 10.4, and shall be treated
for purposes thereof as if such distribution in kind was a cash distribution in an amount equal to
the then Fair Value of the distributed assets. The Capital Account of the Limited Partner shall be
adjusted in accordance with Section 7.2, immediately prior to any such distribution in kind, to
reflect the gain or loss that would be recognized had the assets to be distributed in kind been sold
for their Fair Value to a third party on an arm’s-length basis. In connection with any distribution
in kind of interests in securities or other property to the Limited Partner under this Agreement
(including pursuant to this Article VII and Article X), the General Partner shall notify the
Limited Partner that the Limited Partner may request that such securities or other property not be

{00245686.DOC}                                   17
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 135 of 275




distributed to it, but instead sold for cash on its behalf. If the Limited Partner so requests, the
General Partner shall use commercially reasonable efforts to sell such securities or other property
and distribute the cash proceeds of such sale to the Limited Partner net of any relevant
reasonable costs and expenses.

                (d)     Withholding of Certain Amounts.           Notwithstanding anything else
contained in the Agreement, the General Partner may, in its sole discretion, withhold from any
distribution of cash or property by the Partnership to the Limited Partner, the following amounts:

                       (i)     any amounts then due from the Limited Partner to the Partnership
        or to the General Partner or to any other Person in connection with the Partnership; and

                       (ii)    any amounts required to pay or to reimburse the Partnership for the
        payment of any withholding or other taxes properly attributable to the Limited Partner
        (including, without limitation, withholding taxes and interest, penalties and expenses
        incurred in respect thereof).

Any withholding described in Section 7.1(d)(i) or (ii) above shall be treated for all purposes of
this Agreement as (i) having been distributed to the Limited Partner, and (ii) having been
contributed by the Limited Partner to the Partnership or paid by the Limited Partner to the
General Partner or such other Person, as the case may be (and the payment of such amounts by
the Partnership shall not constitute Partnership Expenses or Master Fund Expenses). Any
withholding described in Section 7.1(d)(ii) shall be made at the maximum applicable statutory
tax rate under applicable law unless the General Partner shall have received an opinion of
counsel or other evidence satisfactory to the General Partner to the effect that a lower tax rate is
applicable. Any amounts withheld pursuant to this Section 7.1(d) shall be applied by the General
Partner to discharge the obligation in respect of which such amounts were withheld.

               (e)     Amounts Held in Reserve. In addition to the rights set forth in Section
7.1(d), the General Partner shall have the right, in its sole discretion, to withhold amounts
otherwise distributable by the Partnership to the Limited Partner in order to make such provision
as the General Partner in its sole discretion deems necessary or advisable for Follow-On
Investments and the payment of any and all expenses, debts, liabilities and obligations,
contingent or otherwise, of the Partnership.

                (f)    Income from Temporary Investments. Income and gains realized by the
Partnership with respect to Temporary Investments will generally be reserved for future
expenses, investments in Partnership Investments and other reserves; however, the General
Partner, in its sole discretion, may from time to time distribute such income and gains to the
Limited Partner.

                (g)    Amounts Subject to Recall; Reserves. Both during and following the
Term of the Partnership, the Partnership may require the Limited Partner to recontribute to the
Partnership amounts up to the aggregate distributions previously made to it by the Partnership if
necessary to satisfy the Partnership’s obligations set forth in (i) the Partnership Act or (ii) the
indemnification and contribution obligations under Article IX of this Agreement. The
Partnership may reserve Remaining Capital Commitments or retain funds in amounts appropriate
in the sole judgment of the General Partner to provide for recalled capital, Partnership Expenses,

{00245686.DOC}                                  18
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 136 of 275




Master Fund Expenses or Follow-On Investments, as well as for contingencies. Any
distributions recalled pursuant to this Section 7.1(g) shall not be treated as Capital Contributions
but shall be treated as returns of distributions and reductions in Distributable Cash, in making
subsequent distributions pursuant to Sections 7.1(c) and Section 10.4.

                (h)     Tax Distributions. Notwithstanding Section 7.1(a), the General Partner
may, in its sole discretion, cause the Partnership, either prior to, together with or subsequent to
any distribution pursuant to Section 7.1(a), to make distributions to the Partners regardless of
their tax status, in amounts intended to enable the Partners (or any Person whose tax liability is
determined by reference to the income of the Partners) to discharge their U.S. federal, state and
local income tax liabilities arising from the allocations made (or to be made), or distributions
made, pursuant to Article VII. The amount distributable to the Partners pursuant to this
Section 7.1(h) shall be an amount equal to the product of (i) the cumulative taxable income, if
any, of the Partnership allocated to the Partners pursuant to Article VII from the inception of the
Partnership (as determined under Code Section 703(a) but including separately stated items
described in Code Section 702(a) and without taking into account any special status of the
Partners), times (ii) the Assumed Tax Rate. The amount distributable to the Partners pursuant to
Section 7.1(a) shall be reduced by the amount distributed to the Partners pursuant to this Section
7.1(h), and the amount so distributed pursuant to this Section 7.1(h) shall be deemed to have
been distributed to the extent of such reduction pursuant to Section 7.1(a) for purposes of making
the calculations required by Section 7.1(a).

               (i)     Partnership Act. Notwithstanding anything in this Agreement to the
contrary, the Partnership shall not make any distributions pursuant to this Agreement except to
the extent permitted by the Partnership Act.

               (j)    Uninvested Amounts. In the event the General Partner draws down
amounts from the Limited Partner pursuant to Capital Call Notices which are not expended by
the Partnership as originally contemplated, the General Partner may, in its sole discretion,
distribute such amounts to the Limited Partner. Any amounts so distributed prior to the end of
the Investment Period shall be treated as an unreturned Capital Contribution for purposes of
Section 7.1(a) for the period of time from the day such amounts were drawn down to the day
such amounts were so distributed.

                (k)     Partial Disposition. For all purposes of this Agreement, with respect to the
sale or other disposition of a portion of a Partnership Investment, such portion shall be treated as
having been a separate Partnership Investment from the remaining Partnership Investment
retained by the Partnership, and the related income and Capital Contributions with respect to
such portion of the Partnership Investment which was sold or otherwise disposed of shall be
treated as having been divided between the portion which was sold or disposed of and the portion
retained by the Partnership on a pro rata basis.

                 SECTION 7.2.         Capital Accounts; Adjustments to Capital Accounts.

              (a)     Capital Account. There shall be established for each Partner, on the books
and records of the Partnership, an account (a “Capital Account”), which shall initially be zero
and which shall be adjusted as set forth in this Section 7.2.


{00245686.DOC}                                  19
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 137 of 275




                (b)     Adjustments to Capital Account. The Capital Accounts of the Partners
shall be adjusted as follows:

                       (i)     Cash Contributions. The amount of cash contributed or deemed
        contributed to the Partnership by the Partners shall be credited to the Capital Account of
        such Partners;

                       (ii)  Distributions. The amount of cash and the Fair Value of other
        property distributed or deemed distributed by the Partnership to the Partners in
        accordance with this Agreement shall be debited against the Capital Account of such
        Partners;

                      (iii) Net Profit. The amount of any Net Profit allocated to the Partners
        under this Agreement shall be credited to the Capital Account of such Partners; and

                      (iv)   Net Loss. The amount of any Net Loss allocated to the Partners
        under this Agreement shall be debited against the Capital Account of such Partners.

                (c)    Allocation of Net Profit and Net Loss. Except as provided elsewhere in
this Agreement, Net Profits (and items thereof) for any fiscal year (or portion thereof) shall be
allocated among the Partners in a manner so as to conform, in the sole judgment of the General
Partner, as nearly as practicable with the related distributions that would be made to the Partners
during such fiscal year pursuant to Section 7.1(a) if the Partnership had distributed all of such
Net Profits. Except as provided elsewhere in this Agreement, Net Losses (and items thereof) for
any fiscal year shall be allocated among the Partners in the following order and priority: (i) first,
among the Partners in proportion to, and in reverse order of, the amount of the cumulative Net
Profits previously allocated to them until the cumulative amount of Net Losses equals the
cumulative amount of Net Profits, and (ii) thereafter, any remaining Net Losses shall be allocated
among the Partners in proportion to their respective Capital Account balances.

               (d)    Determination of Net Profits and Net Losses. “Net Profits” or “Net
Losses” of the Partnership shall mean the net operating profits or net operating losses, as the case
may be, for a fiscal year determined on the basis of accounting utilized by the Partnership in
accordance with U.S. generally accepted accounting principles consistently applied (except as
otherwise specified herein) and further in accordance with the following: there shall be deducted
in computing Net Profits and Net Losses the Partnership Expenses and Master Fund Expenses
incurred pursuant to Section 5.2 and the Management Fee accrued pursuant to Section 3.3.

               (e)     Capital Account Adjustments. All matters concerning the computation of
Capital Accounts, the allocation of items of Partnership income, gain, loss, deduction and
expense for all purposes of this Agreement and the adoption of any accounting procedures not
expressly provided for by the terms of this Agreement shall be determined by the General
Partner in its sole discretion. Such determinations shall be final and conclusive as to all the
Partners. Notwithstanding anything expressed or implied to the contrary in this Agreement, in
the event the General Partner shall determine, in its sole discretion, that it is prudent to modify
the manner in which the Capital Accounts, or any debits or credits thereto, are computed in order
to effectuate the intended economic sharing arrangement of the Partners, the General Partner
may make such modification.

{00245686.DOC}                                   20
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 138 of 275




                 SECTION 7.3.         Tax Allocations.

                (a)     For U.S. federal, state and local income tax purposes, each item of
income, gain, loss and deduction of the Partnership shall be allocated among the Partners as
nearly as possible in the same manner as the corresponding item of income, expense, gain or loss
is allocated pursuant to the other provisions of this Article VII.

               (b)     Notwithstanding anything else to the contrary contained herein, if any
Partner has a deficit Capital Account for any fiscal year as a result of any unexpected adjustment,
allocation or distribution of the type described in Treasury Regulation Section
1.704-1(b)(2)(d)(4) through (6), then items of the Partnership’s income and gain shall be
specially allocated to each Partner in an amount and manner sufficient to eliminate, to the extent
required by the Treasury Regulations, the deficit, if any, as quickly as possible, provided that an
allocation pursuant to this subsection (b) shall be made only if and to the extent that such Partner
would have such Capital Account deficit after all other allocations provided for in subsection
(a) of this Section 7.3 have been tentatively made as if this subsection (b) were not in this
Agreement. This subsection (b) is intended to comply with the qualified income offset
provisions in Treasury Regulations Section 1.704-1(b)(2)(ii)(d) and shall be interpreted
consistently therewith.

                SECTION 7.4.          Tax Credits. Tax credits, if any, shall be equitably
allocated among the Partners by the General Partner. It is intended that the Capital Accounts
will be maintained at all times in accordance with Section 704 of the Code and applicable
Treasury Regulations thereunder, and that the provisions hereof relating to the Capital Accounts
be interpreted in a manner consistent therewith. The General Partner shall be authorized to make
appropriate amendments to the allocations of items pursuant to this Section 7.4 if necessary in
order to comply with Section 704 of the Code or applicable Treasury Regulations, provided that
no such change shall have an adverse effect upon the amount distributable to any Partner
hereunder.

               SECTION 7.5.          Loans and Withdrawal of Contribution.           Except as
expressly provided herein, the Limited Partner shall not be permitted to borrow or make an early
withdrawal of, any portion of the Capital Contributions made by it.

               SECTION 7.6.            No Obligation to Restore. The General Partner shall have
no obligation to restore a negative balance in its Capital Account.

                 SECTION 7.7.         Other Tax Matters.

               (a)      The General Partner is hereby designated as the “Tax Matters Partner” of
the Partnership within the meaning of Section 6231(a)(7) of the Code (and any similar provisions
under any applicable state or local or foreign tax laws). The Tax Matters Partner shall have the
discretionary authority to make all tax elections on behalf of the Partnership and the Limited
Partner. The Tax Matters Partner shall make all decisions in such capacity and in such manner
as it determines to be in the best interests of all of the Partners. All expenses incurred by the Tax
Matters Partner while acting in such capacity shall be paid or reimbursed by the Partnership.

               (b)     It is the intention of the Partners that the Partnership be treated as a
partnership for all relevant tax purposes. The General Partner shall therefore not permit the
{00245686.DOC}                                   21
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 139 of 275




Partnership to elect, and the Partnership shall not elect, to be treated as an association taxable as
a corporation for U.S. federal income, state or local income tax purposes under Treasury
Regulations Section 301.7701-3(a) or under any corresponding provision of state or local law.


                                       ARTICLE VIII
                               REPORTS TO LIMITED PARTNERS

               SECTION 8.1.           Independent Public Accountants. The financial statements
of the Partnership shall be audited as of the end of each fiscal year by a firm of independent
public accountants as shall be selected from time to time by the General Partner.

                 SECTION 8.2.          Reports.

                (a)     Audited Financial Statements. Within one hundred twenty (120) days
after the end of each fiscal year, the General Partner, or its designee, shall prepare, and shall
cause the independent auditors to audit, and shall deliver to the Limited Partner, audited financial
statements (prepared in accordance with U.S. generally accepted accounting principles) setting
forth as of the end of such fiscal year:

                       (i)      a balance sheet of the Partnership;

                       (ii)     an income statement of the Partnership; and

                       (iii)    a statement of the Partnership’s capital.

                (b)     Additional Reports. Within ninety (90) days after the end of each calendar
quarter or calendar year, as applicable, the Limited Partner will be sent, as applicable, (i) a
quarterly unaudited report comprised of the Partnership’s balance sheet and income statement,
and the Limited Partner’s capital account statement, which will include the Limited Partner’s
remaining Capital Commitment, and a specific statement of any distributions made to the
Limited Partner that are subject to recall for reinvestment pursuant to Section 7.1 of this
Agreement, as applicable; and (ii) the Partnership’s holdings summary report. In addition, the
General Partner’s quarterly report shall disclose to the Limited Partner if any investment
restrictions set forth in Section 4.2 have been exceeded by the Master Fund at any time during
the prior quarter and the Master Fund Advisory Committee’s approval of such transactions.

                (c)     Tax and ERISA Information. Within one hundred twenty (120) days after
the end of each fiscal year, the General Partner shall cause the independent public accountants to
prepare and transmit, as promptly as possible, a report setting forth in sufficient detail such
transactions effected by the Partnership during such fiscal year as shall enable the Limited
Partner to prepare its U.S. federal income tax return, if any. In addition, the General Partner
agrees to timely provide the Limited Partner such information regarding its investment in the
Partnership as may be reasonably requested by the Limited Partner for purposes of completing its
annual Form 5500 (including any schedules or attachments thereto) or any other information
reports or filings required by the U.S. Department of Labor or the Internal Revenue Service. In
addition, the General Partner agrees to timely provide to the Limited Partner such information


{00245686.DOC}                                    22
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 140 of 275




and disclosures as may be required under, and in accordance with, Section 408(b)(2) of ERISA
and the regulations thereunder, to the extent applicable.


                                  ARTICLE IX
                        EXCULPATION AND INDEMNIFICATION

               SECTION 9.1.          Exculpation. No Covered Person will be liable to the
Partnership or to the Limited Partner for any act or omission taken or suffered by such Covered
Person, to the extent that such act or omission is not attributable to such Covered Person’s (i)
gross negligence, (ii) willful misconduct or bad faith, (iii) losses due to the gross negligence of
employees, brokers or other agents of the Partnership or (iv) any intentional and material breach
of the Partnership Agreement (each of items (i) through (iv) are hereinafter referred to as
“Disabling Conduct”). Notwithstanding the foregoing, Covered Persons shall be liable to the
Partnership and the Limited Partner for any breach of fiduciary duty under ERISA.

                 SECTION 9.2.         Indemnification.

                (a)    The Partnership will indemnify, to the maximum extent permitted by law,
each Covered Person against any and all claims, liabilities, damages and related expenses,
including legal fees, incurred by them by reason of any action performed or omitted in
connection with the activities of the Partnership or in dealing with third parties on behalf of the
Partnership unless such action or omission is determined pursuant to a final, non-appealable
judgment to constitute Disabling Conduct. Notwithstanding the foregoing, Covered Persons
shall not be indemnified for any breach of fiduciary duty under ERISA.

               (b)    Notwithstanding anything to the contrary contained herein, in the case of
any Proceeding instituted against the Partnership or a Covered Person on or before the third
anniversary of the expiration of the Partnership’s Term, the Partnership may require the Limited
Partner to recontribute to the Partnership amounts up to fifty percent (50%) of the aggregate
amount of the distributions previously made to it in order to satisfy the Partnership’s
indemnification obligations under subsection (a); provided, however, that the Limited Partner
will not individually be obligated with respect to such indemnification obligations beyond the
amount of its aggregate unfunded Capital Commitments and Capital Account balances.

                (c)     The Partnership will, in the sole discretion of the General Partner and
upon advice of counsel to the effect that a Covered Person is likely to be found entitled to
indemnification pursuant to this Section 9.2, advance to any Covered Person reasonable
attorneys’ fees and other costs and expenses incurred in connection with the defense of any
Proceeding. Any such advance will be subject to repayment to the extent that it is finally
judicially determined that the Covered Person was not entitled to indemnification. The
Partnership will indemnify and hold harmless each Person that is a responsible withholding agent
against all claims, liabilities and expenses (not resulting from such Person’s willful misconduct)
relating to such Person’s obligation to withhold and pay any withholding or other taxes payable
by the Partnership or as a result of the Limited Partner’s participation in the Partnership.

               (d)    All of the foregoing contribution or recontribution obligations shall
survive the termination of this Agreement.

{00245686.DOC}                                  23
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 141 of 275




                SECTION 9.3.           Exclusive Jurisdiction. To the fullest extent permitted by
applicable law, the General Partner and the Limited Partner hereby agrees that any claim, action
or proceeding by the Limited Partner seeking any relief whatsoever against any Covered Person
based on, arising out of, or in connection with, this Agreement or the Partnership’s business or
affairs shall be brought only in the U.S. federal courts located in California and not in any other
State or U.S. federal court in the United States of America or any court in any other country.
The General Partner and each Limited Partner acknowledges that, in the event of any breach of
this provision, the Covered Persons have no adequate remedy at law and shall be entitled to
injunctive relief to enforce the terms of this Section 9.3.


                                      ARTICLE X
                       TERM AND DISSOLUTION OF THE PARTNERSHIP

               SECTION 10.1.           Term. Unless sooner dissolved pursuant to Section 10.2,
the Partnership shall continue for seven (7) years from December 31, 2013, subject to extension,
in the sole discretion of the General Partner, of up to three (3) additional one (1) year periods
(the “Term”) as determined to be reasonably necessary by the General Partner to effect an
orderly liquidation of the Partnership Investments and consented to by the Limited Partner.

                SECTION 10.2.           Dissolution. Subject to the Partnership Act, the Partnership
shall be dissolved and its affairs shall be wound up upon the earliest of:

              (a)        the expiration of the Term of the Partnership as determined in accordance
with Section 10.1;

                 (b)     the bankruptcy, liquidation, dissolution or insolvency of the General
Partner;

                 (c)     the withdrawal of the General Partner pursuant to Section 11.2; and

                 (d)     any date determined by the General Partner in its sole discretion.

Upon the occurrence of an event specified in clauses (b) or (c) above, the Limited Partner may
agree to continue the Partnership and in such event will select a new general partner.

               SECTION 10.3.           Liquidation of the Partnership. Upon dissolution, the
Partnership’s business shall be liquidated in an orderly manner. Except as provided in the
second succeeding sentence, the General Partner shall be the liquidator to wind up the affairs of
the Partnership pursuant to this Agreement. The responsibilities of the General Partner shall be
consistent with the responsibilities provided for it in this Agreement. If there shall be no General
Partner, the Limited Partner may appoint one or more Persons to act as the liquidator in carrying
out such liquidation. In performing its duties, the General Partner or such other appointed
person, as the case may be (the “Liquidator”), is authorized to sell, distribute, exchange or
otherwise dispose of the assets of the Partnership in any reasonable manner that the Liquidator
shall determine to be in the best interest of the Partners.

                 SECTION 10.4.          Distribution Upon Dissolution of the Partnership.

{00245686.DOC}                                    24
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 142 of 275




                  (a)    Liquidating Distribution. Upon dissolution of the Partnership, the
Liquidator winding up the affairs of the Partnership shall determine, in its sole discretion, which
assets of the Partnership shall be sold and which assets of the Partnership shall be retained for
distribution in kind to the Partners. The Capital Accounts shall be adjusted in accordance with
Section 7.2, immediately prior to any such distribution in kind to reflect the gain or loss that
would be recognized had the assets to be distributed in kind been sold for their Fair Value. After
all liabilities (contingent or otherwise) of the Partnership have been satisfied or duly provided for
(as determined by the Liquidator in its sole discretion), the remaining assets of the Partnership
shall be distributed to the Partners in accordance with Article VII. Any goodwill of the
Partnership, and any right to use of the Partnership’s name, shall belong exclusively to the
General Partner.

                (b)    Liquidating Trust, etc. If the Partnership is unable to dispose of all of its
interests in a Partnership Investment prior to its termination, the Liquidator may, in its sole
discretion, and subject to the Partnership Act, transfer such interests to a trust established for the
benefit of the Partners for purposes of liquidating Partnership assets, collecting amounts owed to
the Partnership and paying any debts, liabilities or other obligations of the Partnership or the
General Partner arising out of, or in connection with, this Agreement or the Partnership’s
business or affairs.

                The assets of any trust established pursuant to this Section 10.4(b) shall be
distributed to the Partners from time to time, in the sole discretion of the Liquidator, in the same
proportions as the amount distributed to such trust by the Partnership would otherwise have been
distributed to the Partners pursuant to this Agreement.

               (c)     No Priority. The Limited Partner shall look solely to the assets of the
Partnership for the return of the Limited Partner’s aggregate Capital Contributions in Partnership
Investments.

              SECTION 10.5.          No Voluntary Withdrawal by Limited Partner. The
Limited Partner may not voluntarily withdraw from the Partnership prior to its dissolution and
winding up, and no LP Interest is redeemable or repurchasable by the Partnership at the option of
the Limited Partner. Except as expressly provided in this Agreement, no event affecting the
Limited Partner (including death, bankruptcy or insolvency) shall affect its obligations under this
Agreement or affect the Partnership.

               SECTION 10.6.           Required Withdrawal of Limited Partner. The General
Partner, upon thirty (30) Business Days’ prior written notice, may require the Limited Partner to
withdraw from the Partnership at the end of any fiscal quarter in which such notice is given if the
General Partner determines, in its sole discretion, that the continued participation of the Limited
Partner in the Partnership would adversely affect either the Partnership, the Master Fund, the
General Partner or the Manager (e.g., by involving the Partnership, the Master Fund, the General
Partner or the Manager in litigation or causing the Partnership to be required to register under the
Investment Company Act). In such an instance, the Limited Partner shall not contribute
additional capital to the Partnership in respect of subsequent Capital Calls and its LP Interest will
be entirely terminated. Any required withdrawal pursuant to this Section 10.6 shall be based on
the Fair Value of the withdrawing Limited Partner’s LP Interest.


{00245686.DOC}                                   25
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 143 of 275




                 SECTION 10.7.         Payments Upon Withdrawal.          Upon the required
withdrawal of the Limited Partner (assuming not in Default), ninety percent (90%) of the
Limited Partner’s Capital Account balance on the termination date shall be paid to the Limited
Partner within ninety (90) days thereof or as soon thereafter as the Partnership has funds
available therefore. The remaining ten percent (10%) of the balance of the Limited Partner’s
Capital Account on the termination date shall be paid to the Limited Partner upon completion of
the audit of the Partnership’s financial statements for the fiscal year involved or as soon
thereafter as is reasonably practicable. Such Capital Account balance may not necessarily reflect
the market value of a Partnership Investment. The Limited Partner shall not be entitled to
receive or demand any other or further distributions, including any distributions pursuant to
Section 17-604 of the Partnership Act. Any incremental legal or accounting expenses incurred
by the Partnership as a result of the Limited Partner’s required withdrawal may, in the sole
discretion of the General Partner, be charged to the Limited Partner through a reduction of the
distributions to the Limited Partner.


                                ARTICLE XI
            TRANSFERABILITY OF THE GENERAL PARTNER’S INTEREST

                 SECTION 11.1.          Transferability of the General Partner’s Interest. The
General Partner may not, directly or indirectly, Transfer all or a portion of its general partner
interest in the Partnership (the “GP Interest”) to any Person. Notwithstanding the foregoing, the
General Partner may make a Transfer of all or any portion of its GP Interest (i) to an Affiliate or
to a Person which succeeds to the private equity business of the General Partner as an entirety,
(ii) to any Person in connection with a pledge securing a loan made to the Partnership, or
(iii) with the prior written consent of the Limited Partner. The General Partner may at any time,
in its sole discretion, admit any Person to whom the General Partner is permitted to make a
Transfer pursuant to the immediately preceding sentence as an additional general partner of the
Partnership, and such transferee shall be deemed admitted to the Partnership as a General Partner
of the Partnership immediately prior to such Transfer and shall continue the business of the
Partnership without dissolution. Except as otherwise provided in Sections 11.2 and 11.3, the
General Partner may not withdraw from the Partnership or be removed as a general partner of the
Partnership.

                SECTION 11.2.         Withdrawal of the General Partner. The General Partner
shall be permitted to withdraw as a general partner of the Partnership, unless, in the opinion of
counsel to the Partnership, the General Partner’s withdrawal as a general partner would result in
a violation of any law or regulation of the U.S. or any State thereof. In the event that the General
Partner withdraws from the Partnership pursuant to this Section 11.2, the Partnership shall
dissolve and its affairs wound up in accordance with Article X (subject to the right that the
Limited Partner has to continue the Partnership and elect a new general partner in accordance
with Section 10.2).

                 SECTION 11.3.        Removal of the General Partner.

              (a)     The General Partner may be removed upon the occurrence of a “Cause
Event” on not less than thirty (30) days’ written notice from the Limited Partner; provided,
however, that (i) the General Partner will not be removed if, within the thirty (30) day period

{00245686.DOC}                                  26
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 144 of 275




following such written notice, the General Partner cures the Cause Event to the satisfaction of the
Limited Partner. For this purpose, the term “Cause Event” shall mean Disabling Conduct by the
General Partner or Manager as determined by a final, non-appealable judgment of any court or
governmental body referenced in Section 13.12 that has a material adverse effect on the
Partnership.

               (b)     Within fifteen (15) days after the removal of the General Partner, the
Partnership shall distribute to the General Partner an amount in cash equal to the value of the
General Partner’s Capital Account balance as of the date of such removal; provided, however
that such amounts owed in respect of the General Partner’s Capital Account may be reduced to
reflect any damages suffered by the Partnership as a result of the General Partner’s breach of its
duties as described in Section 11.3(a), as finally determined in a judgment by any court or
governmental body referenced in Section 13.12.

                (c)     Upon the removal of the General Partner for a Cause Event pursuant to
clause (a) above, (i) the Management Agreement among the Manager, the Partnership and the
Master Fund shall immediately be amended to remove the Partnership and the Manager shall be
entitled to receive the Management Fee accrued through the date of such removal with respect to
the Partnership but shall not be entitled to receive any Management Fee accruing from the
Partnership after such date, (ii) the General Partner shall be entitled to receive fifty percent
(50%) of the Carried Interest with respect to the amount of the appreciation in the value of the
Partnership Investments attributable to the Partnership on the date of the General Partner’s
removal that has accrued as of such date, but shall not be entitled to receive the remaining fifty
percent (50%) of the Carried Interest on the existing investment appreciation through the date of
removal or any Carried Interest on any appreciation in the value of any Partnership Investment
attributable to the Partnership that accrues after such removal date, and (iii) the General Partner
and the Manager shall be entitled to receive from the Partnership any reimbursements or
expenses due and owing to it by the Partnership.


                                ARTICLE XII
             TRANSFERABILITY OF THE LIMITED PARTNER’S INTEREST

                 SECTION 12.1.         Conditions for Transfer.

                (a)    Consent of the General Partner. The Limited Partner may Transfer all or
any part of its LP Interest only with the consent in writing of the General Partner, which consent
may not be unreasonably withheld, and only upon the satisfaction of the conditions specified in
Section 12.1(b). The General Partner hereby agrees that it shall consent to the transfer of all or
any part of the Limited Partner’s LP Interest to a successor trustee or trustees, or a successor trust
or trusts and to the admission and substitution of any such successor trustee or successor trust as
a Limited Partner of the Partnership; provided that any such transfer otherwise complies with this
Article XII, provided, however, that notwithstanding Section 12.1(b), the General Partner shall
not require the delivery of an opinion of counsel in connection with any such transfer.

                (b)     Conditions Required to be Satisfied. Unless required by applicable law or
permitted in the sole discretion of the General Partner, the Limited Partner may not Transfer all
or any part of its LP Interest, and no attempted or purported Transfer of such LP Interest shall be

{00245686.DOC}                                   27
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 145 of 275




effective, unless (i) after giving effect thereto, such Transfer would not otherwise terminate the
Partnership for the purposes of Section 708 of the Code, (ii) such Transfer would not result in a
violation of applicable law, including any federal and state securities laws and provided that, if
such Transfer would cause the General Partner to violate any covenant of this Agreement or any
Subscription Agreement and the General Partner has taken all reasonable steps to prevent such
violation, the General Partner shall not be liable to the Partnership as a result thereof and the
General Partner shall be indemnified by the Limited Partner for any losses, costs, damages or
expenses incurred as a result of such violation, (iii) such Transfer would not cause the
Partnership to lose its status as a partnership that is not a publicly-traded partnership for federal
income tax purposes or cause the Partnership to become subject to the Investment Company Act,
(iv) such Transfer would not result in the Limited Partner losing its limited liability under the
Partnership Act, (v) if requested by the General Partner, the Limited Partner has delivered a
favorable opinion in form and substance satisfactory to the General Partner from counsel
satisfactory to the General Partner as to the matters referred to in clauses (ii), (iii) and (iv) above;
and (vi) such Transfer occurs on a date approved by the General Partner.

                SECTION 12.2.         Substitute Limited Partner; Recognition of Transfer. A
purchaser, assignee or transferee of the Limited Partner’s LP Interest (a “Transferee”) shall have
the right to become a Substitute Limited Partner only if the following conditions (in addition to
those set forth in Section 12.1 above) are satisfied:

                (a)    A duly executed and acknowledged written instrument of assignment or
document of transfer satisfactory in form and substance to the General Partner shall have been
filed with the Partnership;

                (b)    The Limited Partner and the Transferee shall have executed and
acknowledged such other instruments and documents and taken such other action as the General
Partner shall reasonably deem necessary or desirable to effect such substitution;

               (c)     The Limited Partner or the Transferee shall have paid to the Partnership
such amount of money as is sufficient to cover all costs, fees and expenses (including attorneys
fees) incurred by or on behalf of the Partnership in connection with such substitution; and

                 (d)   The General Partner shall have consented to such substitution.

              In the event of the admission of a Transferee as a Substitute Limited Partner, all
references herein to the Limited Partner shall be deemed to apply to such Substitute Limited
Partner and such Substitute Limited Partner shall succeed to all rights and obligations of the
Limited Partner hereunder, including the Capital Account balance of the Limited Partner.

               A Transferee who is not admitted to the Partnership as a Substitute Limited
Partner shall have none of the rights of, and no liability as, a Partner and the assignor in such
case shall remain fully liable for the unpaid portion of its Capital Commitment.




{00245686.DOC}                                    28
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 146 of 275




                                       ARTICLE XIII
                                      MISCELLANEOUS

                 SECTION 13.1.        Amendments.

               (a)     Except as otherwise expressly provided herein, this Agreement may be
modified or amended, and any provision hereof may be waived, by a writing signed by or on
behalf of the General Partner; provided that, no such modification, amendment or waiver shall
(a) materially increase or extend any financial obligation or liability of the Limited Partner
beyond that set forth herein or permitted hereby without the consent of the Limited Partner,
(b) materially and adversely affect the rights of the Limited Partner without the consent of the
Limited Partner, or (c) change the provisions of this Section 13.1 without the consent of the
Limited Partner.

                (b)    The Limited Partner authorizes the General Partner to elect to apply the
safe harbor set forth in proposed Treasury Regulation Section 1.83-3(l) (under which the fair
value of a GP Interest that is Transferred in connection with the performance of services is
treated as being equal to the liquidation value of the GP Interest) if such proposed Treasury
Regulation or a similar Treasury Regulation is promulgated as a final or temporary Treasury
Regulation. If the General Partner determines that the Partnership should make such election,
the General Partner is hereby authorized to amend this Agreement without the consent of the
Limited Partner (so long as such amendment is not reasonably expected to have a material
adverse effect on the Limited Partner) to provide that (i) the Partnership is authorized and
directed to elect the safe harbor, (ii) the Partnership and the Limited Partner (including any
Person to whom a GP Interest is Transferred in connection with the performance of services) will
comply with all requirements of the safe harbor with respect to all Partnership interests
Transferred in connection with the performance of services while such election remains in effect,
and (iii) the Partnership and the Limited Partner will take all actions necessary, including
providing the Partnership with any required information, to permit the Partnership to comply
with the requirements set forth or referred to in the applicable Treasury Regulations for such
election to be effective until such time (if any) as the General Partner determines, in its sole
discretion, that the Partnership should terminate such election. The General Partner is further
authorized to amend this Agreement to modify Article VII to the extent the General Partner
determines in its discretion that such modification is necessary or desirable as a result of the
issuance of Treasury Regulations relating to the tax treatment of the transfer of a Partnership
interest in connection with the performance of services. Notwithstanding anything to the
contrary in this Agreement, the Limited Partner expressly confirms and agrees that it will be
legally bound by any such amendment.

                 SECTION 13.2.        Reserved.

                SECTION 13.3.          Notices. All notices, requests and other communications to
any party hereunder shall be in writing (including facsimile or similar writing) and shall be given
to such party (a) if such party is the Limited Partner, at its address or facsimile number set forth
in a schedule filed with the records of the Partnership or such other address or facsimile number
as the Limited Partner may hereafter specify by notice to the General Partner for such purpose,
or (b) if such party is the General Partner or the Partnership, at the address set forth in Section
2.2(b). Each such notice, request or other communication shall be effective (i) if given by

{00245686.DOC}                                    29
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 147 of 275




facsimile, when such facsimile is transmitted to the facsimile number specified and the
appropriate answerback or confirmation is received, (ii) if given by mail, five (5) days after such
communication is deposited in the mails with first class postage prepaid, addressed as aforesaid,
(iii) if given by overnight courier, forty-eight (48) hours after such communication is received by
such courier, or (iv) if given by any other means, when delivered at the address specified
pursuant to this Section 13.3.

               SECTION 13.4.         Successors; Counterparts. This Agreement (i) shall be
binding upon the successors and permitted assigns of the Partners, and (ii) may be executed in
several counterparts with the same effect as if the parties executing the several counterparts had
all executed one counterpart.

                SECTION 13.5.          Governing Law; Severability. This Agreement shall be
governed by and construed in accordance with the laws of the State of Delaware (without regard
to the conflict of laws principles thereof). In particular, it shall be construed to the maximum
extent possible to comply with all of the terms and conditions of the Partnership Act. If it shall
be determined by a court of competent jurisdiction that any provision or wording of this
Agreement shall be invalid or unenforceable under the Partnership Act or other applicable law,
such invalidity or unenforceability shall not invalidate the entire Agreement, in which case this
Agreement shall be construed so as to limit any term or provision so as to make it enforceable or
valid within the requirements of applicable law, and, in the event such term or provision cannot
be so limited, this Agreement shall be construed to omit such invalid or unenforceable
provisions.

               SECTION 13.6.          Filings. The General Partner shall promptly prepare,
following the execution and delivery of this Agreement, any documents required to be filed and
recorded, or which the General Partner determines, in its sole discretion, are appropriate for
filing and recording, under the Partnership Act, and the General Partner shall promptly cause
each such document to be filed and recorded in accordance with the Partnership Act and, to the
extent required by local law, to be filed and recorded or notice thereof to be published in the
appropriate place in each jurisdiction in which the Partnership may hereafter establish a place of
business. The General Partner shall also promptly cause to be filed, recorded and published such
statements of fictitious business name and other notices, certificates, statements or other
instruments required by any provision of applicable law of any jurisdiction which governs the
conduct of the General Partner’s business from time to time.

                 SECTION 13.7.        Power of Attorney.

                (a)      Appointment of Attorney-In-Fact. The Limited Partner does hereby
constitute and appoint the General Partner as its true and lawful representative and
attorney-in-fact, in its name, place and stead to make, execute, sign and file (i) any amendment to
the Certificate of Limited Partnership of the Partnership required because of an amendment to
this Agreement or in order to effectuate any change in the membership of the Partnership,
(ii) any amendments to this Agreement in accordance with Section 13.1, (iii) all such other
instruments, documents and certificates which may from time to time be required by the laws of
the State of Delaware to effectuate, implement and continue the valid and subsisting existence of
the Partnership or to dissolve the Partnership, and (iv) any agreements, documents, guarantees,
or other instruments relating to any such borrowings or indebtedness incurred by the Partnership

{00245686.DOC}                                  30
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 148 of 275




and the Limited Partner agrees to cooperate with the Partnership in providing all relevant
documentation in connection with such borrowings or indebtedness; provided, the General
Partner may not make, execute, sign or file any document, agreement, guarantee or other
instrument that would subject the Limited Partner to any obligation beyond the amount of the
Limited Partner’s unfunded Capital Commitment.

                 (b)    Power Coupled With an Interest. The power of attorney granted pursuant
to this Section 13.7 shall (i) survive and not be affected by the subsequent death, legal
incapacity, disability, dissolution, termination or bankruptcy of the Limited Partner granting such
power of attorney or the Transfer of all or any portion of the Limited Partner’s LP Interest, and
(ii) extend to the Limited Partner’s successors, permitted assigns and legal representatives.

                SECTION 13.8.          No Right to Partition. To the extent permitted by law, and
except as otherwise expressly provided in this Agreement, the Limited Partner, on behalf of itself
and its shareholders, partners, heirs, executors, administrators, personal or legal representatives,
successors and permitted assigns, if any, hereby specifically renounce, waive and forfeit all
rights, whether arising under contract or statute or by operation of law, to seek, bring or maintain
any action in any court of law or equity for partition or similar action of the Partnership or any
asset of the Partnership, or any interest which is considered to be partnership property, regardless
of the manner in which title to such property may be held.

               SECTION 13.9.          Goodwill.      No value shall be placed on the name or
goodwill of the Partnership.

               SECTION 13.10.          Headings. Section and other headings contained in this
Agreement are for reference purposes only and are not intended to describe, interpret, define or
limit the scope or intent of this Agreement or any provision hereof.

                SECTION 13.11.       Entire Agreement. This Agreement and the Subscription
Agreement constitutes the entire agreement among the Partners with respect to the subject matter
hereof, and supersede any prior agreement or understanding among them with respect to such
subject matter.

               SECTION 13.12.          Submission to Jurisdiction.        Each party irrevocably
consents and agrees that any legal action or proceeding with respect to this Agreement and any
action for enforcement of any judgment in respect thereof may be brought in the courts of the
State of California or the U.S. federal courts for California and, by execution and delivery of this
Agreement, each party hereby submits to and accepts for itself and in respect of its property,
generally and unconditionally, the non-exclusive jurisdiction of the aforesaid courts and
appellate courts from any appeal thereof. Each party hereby irrevocably waives any objection
which it may now or hereafter have to the laying of venue of any of the aforesaid actions or
proceedings arising out of or in connection with this Agreement brought in the courts referred to
above and hereby further irrevocably waives and agrees not to plead or claim in any such court
that any such action or proceeding brought in any such court has been brought in an inconvenient
forum. Nothing in this Section shall be deemed to constitute a submission to jurisdiction,
consent or waiver with respect to any matter not specifically referred to herein.




{00245686.DOC}                                  31
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 149 of 275




             IN WITNESS WHEREOF, the undersigned have executed and delivered this
document dated as of 31st Day of December 31, 2013.

GENERAL PARTNER:

WHITE OAK PARTNERS, LLC



By: _________________________________
     Name: Barbara J. S. McKee
     Title: Managing Member


LIMITED PARTNER:

TRUSTEES OF THE NEW YORK STATE NURSES ASSOCIATION PENSION PLAN

BY: WHITE OAK GLOBAL ADVISORS, LLC

ITS: INVESTMENT MANAGER

By: _________________________________
     Name: Barbara J. S. McKee
     Title: Managing Member




{00245686.DOC}                          32
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 150 of 275




                                                                                      Appendix A
                                           DEFINITIONS


                “Administrator” shall mean any administrator selected by the General Partner for
the Partnership from time to time.

                “Affiliate” of any specified Person means any other Person that, directly or
indirectly through one or more intermediaries, controls, is controlled by or is under common
control with the Person specified. The term “control” means the possession, directly or
indirectly, of the power to direct or cause the direction of the management and policies of a
Person, whether through the ownership of voting securities, by contract or otherwise.

               “Agreement” means this Limited Partnership Agreement, as amended or restated
from time to time.

                “Assumed Tax Rate” means the highest effective marginal combined federal,
state and local income tax rate for the calendar year involved applicable to any individual
resident in New York City (taking into account the deductibility of state and local income taxes
for federal income tax purposes).

                 “Authorized Representative” has the meaning set forth in Section 3.8(a).

               “Borrowing Costs” means with respect to any borrowing, any interest, fees or
expenses attributable to such borrowing, but shall not include any repayment of principal.

             “Business Day” means any day except a Saturday, Sunday or other day on which
commercial banks in New York City are authorized by law to close.

                 “Capital Account” has the meaning set forth in Section 7.2(a).

               “Capital Call” means a capital call of cash contributions from the Limited Partner
except as otherwise provided pursuant to a Capital Call Notice in accordance with Article VI.

               “Capital Call Amount” means the aggregate Capital Contributions to be made on
any date by the Limited Partner pursuant to Article VI.

                 “Capital Call Date” has the meaning set forth in Section 6.2(b).

                 “Capital Call Notice” has the meaning set forth in Section 6.2(a).

             “Capital Commitment” means an amount equal to $80 million that the Limited
Partner committed to the Partnership as of the date of this Agreement pursuant to Section 2.5.

               “Capital Contribution” means, with respect to the Limited Partner, a cash
contribution (or deemed cash contribution) made by the Limited Partner to the Partnership
pursuant to Section 2.5, Article VI and Article IX.

                 “Carried Interest” has the meaning set forth in Section 7.1(a).
{00245686.DOC}                                33
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 151 of 275




                 “Cause Event” has the meaning set forth in Section 11.3(a).

                 “Code” means the Internal Revenue Code of 1986, as amended from time to time.

                 “Co-Investment Funds” has the meaning set forth in Section 4.3.

             “Covered Person” means a member of the General Partner Group and/or Master
Fund Advisory Committee.

               “Default” means any failure of the Limited Partner to make all or a portion of any
required Capital Contribution on the applicable Capital Call Date or other due date.

                 “Distributable Cash” means cash receipts of all kinds derived by the Partnership
from its ownership or disposition of Partnership Investments (whether or not distributed pursuant
to Section 7.1(a)) less (x) any amounts retained by the Partnership in accordance with Section
7.1(e), and (y) any income derived by the Partnership from Temporary Investments.

              “ERISA” means the Employee Retirement Income Security Act of 1974, as
amended from time to time.

                “Event of Default” means any Default that shall have not been (i) cured by the
Limited Partner within ten (10) Business Days after the occurrence of such Default, or
(ii) waived by the General Partner on such terms as determined by the General Partner in its sole
discretion before such Default has otherwise become an Event of Default pursuant to clause (i)
hereof.

               “Fair Value” means the valuation of a Partnership Investment or other
Partnership property by Navigant Consulting Inc. or such other independent Person (such as an
investment banking firm) selected by the Limited Partner in accordance with Section 3.12.

               “Follow-On Investments” means an additional investment of capital by the
Partnership in an existing Partnership Investment.

              “General Partner” means White Oak Partners, LLC, a Delaware limited liability
company, and its successors.

               “General Partner Group” means the General Partner, the Manager and their
respective Affiliates, officers, directors, members, principals, stockholders, employees,
controlling persons, representatives or other agents.

                 “GP Interest” has the meaning set forth in Section 11.1.

                 “Investment Committee” has the meaning set forth in Section 3.18.

             “Investment Company Act” means the Investment Company Act of 1940, as
amended from time to time.




{00245686.DOC}                                   34
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 152 of 275




              “Investment Period” means the period during which the Partnership may make
commitments to Partnership Investments. The Investment Period shall commence on the date of
this Agreement and end twenty four (24) months following December 31, 2013.

                 “Key Person Event” has the meaning set forth in Section 6.1(d).

             “Limited Partner” means Pension Board of the New York State Nurses
Association and any Transferee approved by the General Partner to be admitted to the
Partnership.

                 “Liquidator” has the meaning set forth in Section 10.3.

                 “LP Interest” means a limited partnership interest in the Partnership.

             “Management Agreement” shall mean the investment management agreement by
and among the Partnership, the Master Fund and the Manager.

                 “Management Fee” has the meaning set forth in Section 3.3(a).

                 “Manager” means White Oak Global Advisors, LLC, a Delaware limited liability
company.

                 “Manager Expenses” has the meaning set forth in Section 5.1.

                 “Marketable Securities” means securities for which a public market (national
exchange or NASDAQ national market) exists and which may be traded by the Limited Partner
without restrictions.

                 “Master Fund” means White Oak Pinnacle Fund, L.P., a Delaware limited
partnership.

              “Master Fund Advisory Committee” means the advisory committee established at
the Master Fund level.

                 “Master Fund Expenses” has the meaning set forth in Section 5.2(b).

                 “Master Fund LPA” has the meaning set forth in Section 3.16.

                 “Net Losses” has the meaning set forth in Section 7.2(d).

                 “Net Profits” has the meaning set forth in Section 7.2(d).

             “Offering Memorandum” means the Confidential Offering Memorandum of the
Master Fund and any amendments or supplements thereto.

                 “Organizational Expenses” has the meaning set forth in Section 5.2(c)(i).

                 “Partners” means the General Partner and the Limited Partner.



{00245686.DOC}                                    35
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 153 of 275




                 “Partnership” means White Oak Pinnacle Feeder Fund I, L.P., a Delaware limited
partnership.

              “Partnership Act” means the Delaware Revised Uniform Limited Partnership Act,
as amended from time to time.

                 “Partnership Expenses” has the meaning set forth in Section 5.2(b).

              “Partnership Investment” means an investment by the Partnership in accordance
with the Master Fund’s Offering Memorandum.

              “Person” means any individual, partnership, corporation, trust, limited liability
company, limited liability partnership, joint stock company or other legal entity.

              “Plan Asset Regulation” means Department of Labor Regulation Section 2510.3-
101 or any successor thereto.

                 “Portfolio Company” means companies that the Partnership invests in through the
Master Fund.

                “Prime Rate” means the rate of interest published from time to time on the
Bloomberg U.S. Treasury and Money Markets page under the heading “Prime Rate,” or if not so
published, the rate of interest publicly announced from time to time by any money center bank as
its prime rate in effect at its principal office, as identified in writing by the General Partner to the
Limited Partner.

              “Principals” means, collectively, Andre Hakkak, Barbara McKee, Ali Amiry and
David Hackett.

              “Proceeding” means any action, claim, suit, investigation, arbitration or
proceeding, whether at law or in equity, and whether by or before any court, arbitrator,
governmental body or other administrative, regulatory or other agency or commission.

                “Remaining Capital Commitment” means, with respect to the Limited Partner at
any time, the excess, if any, of (i) the Limited Partner’s Capital Commitment at such time over
(ii) the Limited Partner’s aggregate Capital Contributions made prior to such time. For purposes
of this definition, the Limited Partner’s aggregate Capital Contributions shall be reduced by the
aggregate amount theretofore distributed to the Limited Partner pursuant to Section 7.1(a) prior
to the end of the Investment Period in accordance with Section 7.1(b).

               “Securities” means shares of capital stock, limited partnership interests, warrants,
options, bonds, notes, debentures, other securities and equity interests of whatever kind of any
Person, whether or not publicly traded or readily marketable, and any other financial instruments
which exist now or are hereafter created.

              “Subscription Agreement” means the subscription agreement entered into by the
Limited Partner in connection with its purchase of LP Interests.



{00245686.DOC}                                    36
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 154 of 275




                 “Substitute Limited Partner” means any purchaser, assignee, transferee or other
recipient of all or any portion of the Limited Partner’s LP Interest who is admitted as a Limited
Partner to the Partnership in accordance with this Agreement.

                 “Tax Matters Partner” has the meaning set forth in Section 7.7.

                “Temporary Investment” means investments in (i) short-term money market
investments issued by issuers in the two highest rating categories as stated by nationally
recognized statistical ratings organizations, (ii) obligations backed by full faith and credit of the
U.S. federal government and with a maturity date not in excess of eighteen (18) months from the
date of purchase by the Partnership, (iii) interest-bearing bank or brokerage accounts and/or
certificates of deposit issued by banks with undivided capital and surplus of $100,000,000 or
more, and (iv) other comparable investments as determined by the General Partner in its sole
discretion.

                 “Term” of the Partnership has the meaning set forth in Section 10.1.

               “Transaction Fees” means any directors’ fees from Portfolio Companies,
transaction fees, closing fees, monitoring fees, amendment fees, break-up fees or any other
similar advisory fees in connection with any services provided by a member of the General
Partner Group to a Portfolio Company in which the Partnership has invested.

               “Transfer” means a direct or indirect sale, exchange, transfer, assignment, pledge,
hypothecation or other disposition of all or any portion of a GP Interest or a LP Interest, other
than in connection with a pledge by the General Partner of any such interests made in connection
with a borrowing by the Partnership.

                 “Transferee” has the meaning set forth in Section 12.2.

              “Treasury Regulations” means the regulations of the U.S. Treasury Department
issued pursuant to the Code.

                 “UBTI” has the meaning set forth in Section 3.17.

                 “U.S.” means the United States of America.




{00245686.DOC}                                   37
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 155 of 275




                  EXHIBIT C
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 156 of 275




                       WHITE OAK PINNACLE FUND, L.P.




                      LIMITED PARTNERSHIP AGREEMENT




                                 March 15, 2012




{00190096.DOC}
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 157 of 275




                                          TABLE OF CONTENTS

ARTICLE I         DEFINITIONS ................................................................................................. 1
        SECTION 1.1.              Definitions...................................................................................... 1
ARTICLE II        GENERAL PROVISIONS .............................................................................. 1
        SECTION   2.1.            Partnership Name ........................................................................... 1
        SECTION   2.2.            Registered Office; Business Address ............................................. 1
        SECTION   2.3.            Purposes of the Partnership ............................................................ 1
        SECTION   2.4.            Liability of the Partners ................................................................. 2
        SECTION   2.5.            Admission of Limited Partners ...................................................... 2
ARTICLE III       MANAGEMENT AND OPERATIONS OF THE PARTNERSHIP .............. 3
        SECTION   3.1.            Management Generally .................................................................. 3
        SECTION   3.2.            Authority of the General Partner.................................................... 3
        SECTION   3.3.            Management Fee ............................................................................ 6
        SECTION   3.4.            Transactions with Affiliates ........................................................... 6
        SECTION   3.5.            Other Activities; Devotion of Time ............................................... 7
        SECTION   3.6.            Books and Records; Accounting Method; Fiscal Year .................. 7
        SECTION   3.7.            Partnership Information and Tax Returns ...................................... 7
        SECTION   3.8.            Confidentiality ............................................................................... 8
        SECTION   3.9.            Meetings of Limited Partners......................................................... 9
        SECTION   3.10.           Temporary Investment of Funds .................................................... 9
        SECTION   3.11.           Certain ERISA Matters .................................................................. 9
        SECTION   3.12.           Valuation ...................................................................................... 10
        SECTION   3.13.           Reliance by Third Parties ............................................................. 10
        SECTION   3.14.           Borrowings ................................................................................... 10
        SECTION   3.15.           Conflicts of Interest...................................................................... 11
        SECTION   3.16.           Advisory Committee .................................................................... 11
        SECTION   3.17.           Avoidance of UBTI...................................................................... 13
        SECTION   3.18.           Investment Committee ................................................................. 13
ARTICLE IV        INVESTMENTS AND INVESTMENT OPPORTUNITIES ........................ 13
        SECTION 4.1.              Investments Generally ................................................................. 13
        SECTION 4.2.              Investment Restrictions ................................................................ 13
        SECTION 4.3.              Co-Investment Opportunities ....................................................... 13
ARTICLE V         EXPENSES .................................................................................................... 14
        SECTION 5.1.              Definition and Payment of Manager Expenses ............................ 14
        SECTION 5.2.              Partnership Expenses ................................................................... 14
ARTICLE VI        CAPITAL COMMITMENTS AND CAPITAL CONTRIBUTIONS ........... 15
        SECTION   6.1.            Capital Commitments .................................................................. 15
        SECTION   6.2.            Capital Call Procedure ................................................................. 16
        SECTION   6.3.            Default by Limited Partners ......................................................... 17
        SECTION   6.4.            Remedies Not Limited ................................................................. 19
        SECTION   6.5.            Special Provisions Related to ERISA Partners ............................ 19
        SECTION   6.6.            Excluded Limited Partners ........................................................... 20

{00190096.DOC}                                               i
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 158 of 275




ARTICLE VII       DISTRIBUTIONS; CAPITAL ACCOUNTS ................................................ 21
        SECTION   7.1.          Distributions................................................................................. 21
        SECTION   7.2.          Capital Accounts; Adjustments to Capital Accounts ................... 24
        SECTION   7.3.          Tax Allocations ............................................................................ 25
        SECTION   7.4.          Tax Credits ................................................................................... 26
        SECTION   7.5.          Loans and Withdrawal of Contribution ....................................... 26
        SECTION   7.6.          No Obligation to Restore ............................................................. 26
        SECTION   7.7.          Other Tax Matters ........................................................................ 26
ARTICLE VIII      REPORTS TO LIMITED PARTNERS ......................................................... 27
        SECTION 8.1.            Independent Public Accountants.................................................. 27
        SECTION 8.2.            Reports ......................................................................................... 27
ARTICLE IX        EXCULPATION AND INDEMNIFICATION ............................................. 28
        SECTION 9.1.            Exculpation .................................................................................. 28
        SECTION 9.2.            Indemnification ............................................................................ 28
        SECTION 9.3.            Exclusive Jurisdiction .................................................................. 29
ARTICLE X         TERM AND DISSOLUTION OF THE PARTNERSHIP ............................ 29
        SECTION   10.1.         Term ............................................................................................. 29
        SECTION   10.2.         Dissolution ................................................................................... 29
        SECTION   10.3.         Liquidation of the Partnership ..................................................... 30
        SECTION   10.4.         Distribution Upon Dissolution of the Partnership ....................... 30
        SECTION   10.5.         No Voluntary Withdrawal by Limited Partners ........................... 31
        SECTION   10.6.         Required Withdrawal of Limited Partners ................................... 31
        SECTION   10.7.         Payments Upon Withdrawal ........................................................ 32
ARTICLE XI        TRANSFERABILITY OF THE GENERAL PARTNER’S INTEREST ...... 32
        SECTION 11.1.           Transferability of the General Partner’s Interest ......................... 32
        SECTION 11.2.           Withdrawal of the General Partner .............................................. 32
        SECTION 11.3.           Removal of the General Partner ................................................... 33
ARTICLE XII       TRANSFERABILITY OF A LIMITED PARTNER’S INTEREST ............. 34
        SECTION 12.1.           Conditions for Transfer ................................................................ 34
        SECTION 12.2.           Substitute Limited Partner; Recognition of Transfer ................... 34
ARTICLE XIII      MISCELLANEOUS ...................................................................................... 35
        SECTION   13.1.         Amendments ................................................................................ 35
        SECTION   13.2.         Approvals ..................................................................................... 36
        SECTION   13.3.         Notices ......................................................................................... 36
        SECTION   13.4.         Successors; Counterparts ............................................................. 37
        SECTION   13.5.         Governing Law; Severability ....................................................... 37
        SECTION   13.6.         Filings .......................................................................................... 37
        SECTION   13.7.         Power of Attorney ........................................................................ 37
        SECTION   13.8.         No Right to Partition .................................................................... 38
        SECTION   13.9.         Goodwill ...................................................................................... 38

{00190096.DOC}                                             ii
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 159 of 275




        SECTION 13.10.   Headings ...................................................................................... 38
        SECTION 13.11.   Entire Agreement ......................................................................... 38
        SECTION 13.12.   Submission to Jurisdiction ........................................................... 38




{00190096.DOC}                                     iii
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 160 of 275




                          LIMITED PARTNERSHIP AGREEMENT

                                                OF

                            WHITE OAK PINNACLE FUND, L.P.

                LIMITED PARTNERSHIP AGREEMENT dated as of March 15, 2012, of
WHITE OAK PINNACLE FUND, L.P., by and among WHITE OAK PARTNERS, LLC, a
limited liability company formed under the laws of Delaware, as General Partner, and the
Persons who sign copies of the Agreement to become Limited Partners.

               WHEREAS, the parties hereto desire to form a limited partnership in accordance
with the Partnership Act;

                 NOW, THEREFORE, the parties hereto agree as follows:


                                         ARTICLE I
                                        DEFINITIONS

               SECTION 1.1.         Definitions.   Capitalized terms used herein without
definition have the meanings assigned to such terms in Appendix A attached hereto. Unless
otherwise expressly stated herein, references to Sections are references to Sections in this
Agreement. Unless otherwise indicated or required by the context, defined terms in the singular
include the plural and vice versa.


                                      ARTICLE II
                                  GENERAL PROVISIONS

              SECTION 2.1.           Partnership Name. The name of the Partnership is “White
Oak Pinnacle Fund, L.P.”.

                 SECTION 2.2.        Registered Office; Business Address.

                (a)  Registered Office of the Partnership. The Partnership shall maintain a
registered office at Corporation Service Company, 2711 Centerville Road, Suite 400,
Wilmington, DE 19808. Corporation Service Company will act as the registered agent of the
Partnership. The General Partner may change the registered office and registered agent in its
sole discretion.

                (b)      Business Address of the Partnership and the General Partner. The
business address of the Partnership and the General Partner shall be 88 Kearny Street, 4th Floor,
San Francisco, CA 94108 or such other place as the General Partner shall determine from time to
time in its sole discretion. The General Partner shall promptly notify the Limited Partners of any
change in the business address of the Partnership or of the General Partner.

               SECTION 2.3.           Purposes of the Partnership.      The purposes of the
Partnership are (a) to acquire, hold and dispose of investments in Partnership Investments, (b)
{00190096.DOC}                              1
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 161 of 275




pending utilization or disbursement of funds, to make Temporary Investments, and (c) to engage
in such activities as the General Partner deems necessary or desirable for the accomplishment of
the above purposes or the furtherance of any of the powers herein set forth and to do every other
act and thing incident thereto or connected therewith. The Partnership shall have the power to do
any and all acts necessary, appropriate, desirable, incidental or convenient to or for the
furtherance of the purposes described in this Section 2.3, including, without limitation, any and
all of the powers that may be exercised on behalf of the Partnership by the General Partner
pursuant to this Agreement.

                 SECTION 2.4.         Liability of the Partners.

                (a)     Liability of the General Partner. Except as otherwise provided in the
Partnership Act or this Agreement, the General Partner shall have unlimited liability with respect
to the debts, obligations and other liabilities of the Partnership.

                 (b)     Liability of the Limited Partners. Except as specifically set forth in this
Agreement or as provided in the Partnership Act, (i) a Limited Partner shall not be obligated to
make any contribution to the Partnership of any amount in excess of its Capital Commitment or
other payments provided for herein, and (ii) no Limited Partner (or former Limited Partner) shall
have any personal liability whatsoever in its capacity as a Limited Partner for the repayment of
debts, liabilities, losses or other obligations of the Partnership.

                 SECTION 2.5.         Admission of Limited Partners.

               (a)    Initial Closing. The Initial Closing will be held on such date as
determined by the General Partner in its sole discretion. On the Initial Closing Date, each Person
whose subscription for an LP Interest has been accepted by the General Partner on behalf of the
Partnership shall make a Capital Contribution in cash to the Partnership in an amount determined
by the General Partner, in its sole discretion. Upon making such Capital Contribution, each such
Person shall become a Limited Partner and shall be shown as such in the Partnership’s records.

                (b)    Subsequent Closings. Through the Final Closing Date, the General
Partner may admit one or more Additional Limited Partners, upon satisfaction of the following
conditions: (i) each such Additional Limited Partner shall execute this Agreement and such
other documents determined by the General Partner, (ii) the Partnership would not be required to
register as an investment company under the Investment Company Act, and (iii) the Additional
Limited Partner makes a Capital Contribution equal to the aggregate amount that the Limited
Partner would have been required to contribute to the Partnership from the Initial Closing Date
through the date of the Subsequent Closing if it had been admitted to the Partnership as a
Limited Partner on the Initial Closing Date (net of, with respect to those Limited Partners who
participated in prior Closings (“Existing Limited Partners”), any distributions actually made by
the Partnership to the Existing Limited Partners during such period). Notwithstanding anything
contained herein to the contrary, in the event that the General Partner determines, in its sole
discretion, that there has been a material change or significant event relating to a Partnership
Investment held by the Partnership on the date of a Subsequent Closing, then the amount of the
Capital Contributions made by an Additional Limited Partner pursuant to clause (iii) of the
immediately preceding sentence shall then be appropriately adjusted to reflect such a different
valuation. The aggregate amount of Capital Contributions contributed by an Additional Limited

{00190096.DOC}                                   2
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 162 of 275




Partner to the Partnership pursuant to the first sentence of this subsection (b) that are attributable
to the cumulative amount of the Management Fees that would have been payable if such
Additional Limited Partner had been admitted to the Partnership on the Initial Closing Date shall
be paid by the Partnership to the Manager. The General Partner will distribute the remaining
amount of such Capital Contributions to the Existing Limited Partners in proportion to their
respective prior Capital Contributions. Any amount so distributed to an Existing Limited Partner
that represents a recovery of previously made Capital Contributions, will result in a
corresponding increase in the amount of such Existing Limited Partner’s Remaining Capital
Commitment which is subject to subsequent drawdown by the Partnership during the Investment
Period. Except in accordance with Article XII, no Limited Partner will be admitted to the
Partnership after the Final Closing.

               (c)    Increase in Capital Commitments. Through the Final Closing Date, the
General Partner may permit any Existing Limited Partner to increase its Capital Commitment on
the date of Subsequent Closing, provided that all conditions of Section 2.5(b) have been satisfied
as though such Limited Partner were an Additional Limited Partner with respect to such increase.
For purposes of subsection (b) above, such an Existing Limited Partner shall be treated as an
Additional Limited Partner with respect to its additional Capital Commitments.


                                 ARTICLE III
                 MANAGEMENT AND OPERATIONS OF THE PARTNERSHIP

               SECTION 3.1.         Management Generally. The management, administration
and control of, and the determination of policies with respect to, the Partnership and its affairs
shall be vested exclusively in the General Partner. The General Partner has delegated the
portfolio management and administrative services of the Partnership to the Manager. The
Limited Partners shall have no part in the management, administration or control of the
Partnership and shall have no authority or right to act for or on behalf of the Partnership in
connection with any matter.

               SECTION 3.2.          Authority of the General Partner. Subject to the other
provisions of this Agreement, the General Partner shall have the power and authority, in its own
name or on behalf of and in the name of the Partnership, to carry out any and all of the objects
and purposes of the Partnership, and to perform all acts which it may, in its sole discretion, deem
necessary or desirable in furtherance thereof, including, without limitation, the power and
authority to:

                 (a)   identify investment opportunities for the Partnership;

               (b)     invest or reinvest in, or acquire, hold, retain, manage, monitor, own, sell,
transfer, convey, assign, exchange, pledge or otherwise dispose of any assets held by or on
behalf of the Partnership, including Partnership Investments;

               (c)     employ, on behalf of and at the expense of the Partnership, any and all
financial advisers, brokers, attorneys, accountants, consultants, appraisers, servicers, custodians
of the assets of the Partnership or other agents, including, but not limited to, the Administrator,
on such terms and for such compensation as the General Partner may determine, whether or not

{00190096.DOC}                                    3
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 163 of 275




such Person may be an Affiliate of the General Partner or may also be otherwise employed by
the General Partner or by any Affiliate of the General Partner (but subject to Section 3.4) and
terminate such employment;

                (d)    make all elections, investigations, evaluations and other decisions, binding
the Partnership thereby, that may, in the sole discretion of the General Partner, be necessary or
desirable for the investment or reinvestment in, or acquisition, holding, retention, management,
monitoring, ownership, capitalization, merging, restructuring, sale, transfer, conveyance,
assignment, exchange, pledge or other disposition of any assets held by or on behalf of the
Partnership, including Partnership Investments;

              (e)    incur expenses and other obligations incident to the operation and
management of the Partnership, and, to the extent that funds of the Partnership are available for
such purpose, make payments on behalf of the Partnership in its own name or in the name of the
Partnership;

               (f)    lend money to the Partnership or cause the Partnership to borrow money,
on a secured or unsecured basis, pursuant to Section 3.14;

                 (g)   bring, defend, settle and dispose of any Proceeding;

                 (h)   establish reserves for contingencies and for any other Partnership purpose;

              (i)      distribute funds to the Partners by way of cash or otherwise pursuant to
this Agreement;

                (j)     prepare or cause to be prepared reports, statements and other information
for distribution to the Partners;

              (k)     prepare and file all necessary returns and statements, pay all taxes,
assessments and other impositions applicable to the assets of the Partnership, and withhold
amounts with respect thereto from funds otherwise distributable to any Partner;

                 (l)   maintain records and accounts of all operations and expenditures of the
Partnership;

               (m)    determine the accounting methods and conventions to be used in the
preparation of any accounting or financial records of the Partnership as provided in Section 3.6;

                 (n)   convene meetings of the Limited Partners as provided in Section 3.9;

               (o)    open, maintain and close accounts with banks, brokerage firms, custodians
or other financial institutions and deposit, maintain and withdraw funds in the name of the
Partnership and draw checks or other orders for the payment of moneys;

                 (p)    enter into, execute, deliver and perform any contract, agreement or other
instrument as the General Partner shall determine, in its sole discretion, to be necessary or
desirable (i) in connection with the sale of LP Interests, including the Subscription Agreements,
or (ii) to further the purposes of the Partnership, including granting or refraining from granting

{00190096.DOC}                                  4
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 164 of 275




any waivers, consents and approvals with respect to any of the foregoing and any matters
incident thereto;

               (q)      appoint the Manager (which is an affiliate of the General Partner) to
provide portfolio management, administrative, accounting and other services to the Partnership
and to source, select, acquire, manage and dispose of the Partnership Investments;

                 (r)    value the assets and liabilities of the Partnership, in accordance with
Section 3.12;

              (s)     establish separate classes of LP Interests with such rights and privileges as
the General Partner shall determine;

             (t)     acquire and enter into any contract of insurance that the General Partner
deems necessary or appropriate for the protection of the Partnership, a Partnership Investment
and any Covered Person or for any purpose convenient or beneficial to the Partnership;

                (u)    require a provision in any Partnership contract that the General Partner
shall not have any personal liability therefor, but that the Person or entity contracting with the
Partnership is to look solely to the Partnership and its assets for satisfaction of any debts owed or
claims asserted;

                (v)     create a liquidating fund entity (e.g., a liquidating trust or similar vehicle),
and to transfer all or a portion of the Partnership’s assets to such entity for any reason, including
an orderly liquidation of any illiquid Partnership assets, in accordance with Section 10.4(b);

                (w)     convert the Partnership into a feeder fund, and establish other feeder funds
in parallel with the Partnership, that implement their investment programs and other activities
through a master fund, and to amend this Agreement pursuant thereto to reflect such “master-
feeder” structure; provided, however, that if the Partnership is converted into a feeder fund
pursuant to this Section 3.2 (w), and an ERISA Partner invests directly or indirectly through or in
a feeder fund or master fund, the ERISA Partner shall be afforded substantially the same
protections in respect to such funds as is afforded by the Partnership by virtue of the ERISA
Partner’s status as an ERISA Partner;

                 (x)    effect a dissolution of the Partnership as provided herein; and

                 (y)    act for and on behalf of the Partnership in all matters incidental to the
foregoing.

               Notwithstanding the foregoing provisions of this Section 3.2, the General Partner
shall have the power to do all things and discharge all duties or requirements required of or
imposed on a general partner by applicable law (whether or not on behalf of the Partnership). In
addition, the General Partner shall have the power to perform all acts that it may, in its sole
discretion, deem necessary or desirable in connection with the performance of its duties
hereunder. The General Partner may, in its sole discretion, delegate certain administrative duties
hereunder to such third Persons as the General Partner may designate from time to time.



{00190096.DOC}                                     5
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 165 of 275




                 SECTION 3.3.        Management Fee.

               (a)      In consideration for the management services to be rendered pursuant to
this Agreement, the Manager shall receive a semi-annual management fee, payable in advance as
of January 1 and July 1, each year, and calculated at the specified annualized rate set forth in
clause (b) below (the “Management Fee”). The Management Fee shall be prorated for any semi-
annual period that is less than a full six (6) months.

                (b)    During the Investment Period, the Manager shall receive at the beginning
of each semi-annual period a Management Fee equal to an annualized rate of (i) for a Capital
Commitment under $100 million (in the aggregate), one hundred and seventy five basis points
(1.75%) of the aggregate Capital Commitment of each Limited Partner, or (ii) for a Capital
Commitment equal to or in excess of $100 million (in the aggregate), one hundred and fifty basis
points (1.50%) of the aggregate Capital Commitment of each Limited Partner. Following the
Investment Period, the semi-annual Management Fee will be equal to one hundred and seventy
five basis points (1.75%) or one hundred and fifty basis points (1.50%) per annum, as the case
may be, of the Capital Contributions of each Limited Partner invested in Partnership Investments
attributable to such Limited Partner that have not been the subject of a disposition or write-down
by the Partnership (it being understood that a disposition shall include the writing down of a
Partnership Investment to zero for tax purposes, effective as of the effective date of such write-
down).

              (c)     Any Transaction Fees earned by a member of the General Partner Group
during any semi-annual period shall be retained by such member but one hundred percent
(100%) of such Transaction Fees shall be deemed to be applied to reduce: (i) the amount of the
Management Fees in such semi-annual period or future semi-annual periods or (ii) any other
Partnership Expenses.

            (d)    Waiver, etc. The Manager may, in its sole discretion, waive or reduce the
Management Fee for certain Limited Partners. The General Partner will not be assessed a
Management Fee with respect to its capital invested in the Partnership.

                SECTION 3.4.          Transactions with Affiliates. In addition to transactions
specifically contemplated by this Agreement, the General Partner, when acting in its capacity as
a general partner of the Partnership, is, to the extent legally permissible, hereby authorized to
purchase property or obtain services from, sell property to or provide services to, borrow funds
or otherwise deal with the General Partner, as well as counterparties that are Affiliates of the
General Partner (including any investment fund and managed account managed or advised by the
General Partner or its Affiliates), provided that, in connection with any such dealing, such
dealing shall (a) be on terms no less favorable to the Partnership than would be obtained on an
arm’s length basis and (b) have received the prior written approval of the Advisory Committee or
the approval of a majority of the Limited Partners who are not affiliated with the General Partner
or its Affiliates. Each Limited Partner acknowledges and agrees that the purchase or sale of
property, the performance of such services, the borrowing of such funds, other dealings, or the
receipt of such compensation may give rise to conflicts of interest between the Partnership and
the Limited Partners, on the one hand, and the General Partner or such Affiliate, on the other
hand. Notwithstanding the foregoing, at any time that the assets of the Partnership are “plan
assets,” the General Partner shall not cause the Partnership to enter into any transactions with

{00190096.DOC}                                  6
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 166 of 275




itself or its Affiliates, unless such transactions are exempt from the prohibited transactions
restrictions under ERISA and the Code.

                 SECTION 3.5.         Other Activities; Devotion of Time. Members of the
General Partner Group shall devote so much of their respective business time to the affairs of the
Partnership as they consider, in their sole discretion, to be appropriate to enable the Partnership
to carry out its business as contemplated herein. Except as otherwise set forth in Section 3.4, this
Agreement does not in any way restrict the ability of a member of the General Partner Group to
engage independently or with others, for its or their own accounts and for the accounts of others,
in other business ventures and activities of every nature and description, whether such ventures
are competitive with the business of the Partnership or otherwise. Neither the Partnership nor
any Limited Partner shall have any rights or obligations by virtue of this Agreement in and to
such independent ventures and activities or the income or profits derived therefrom.

                 SECTION 3.6.         Books and Records; Accounting Method; Fiscal Year.

               (a)    Books and Records. The General Partner shall keep or cause to be kept at
the address of the General Partner set forth in Section 2.2(b) full and accurate books and records
of the Partnership. Each Limited Partner shall be shown as a limited partner of the Partnership
on such books and records. Subject to Section 3.8(b), such books and records shall be available,
upon ten Business Days notice to the General Partner, for inspection by each Limited Partner or
its duly authorized agents or representatives at the offices of the General Partner (or such other
location designated by the General Partner, in its sole discretion) at reasonable times during
business hours. Any such inspection must be in good faith without any intent to damage the
Partnership or any of its Partners in any manner. Notwithstanding the forgoing, a Limited
Partner shall not have the ability to identify any other Limited Partner in the Partnership. As a
result, each Limited Partner agrees and acknowledges that any books and records of the
Partnership made available to a Limited Partner for inspection may be redacted to exclude any
identifying information of the other Limited Partners in the Partnership and, if such books and
records cannot be redacted, such books and records will not be made available for inspection to
such Limited Partner.

               (b)    Accounting Methods. The General Partner shall determine, in its sole
discretion, the accounting methods and conventions to be used in the preparation of any
accounting or financial records or reports of the Partnership, which methods and conventions
shall be in accordance with U.S. generally accepted accounting principles (except as otherwise
specified herein).

               (c)     Fiscal Year. Unless otherwise required by applicable law, the fiscal year
of the Partnership shall end on December 31st.

               SECTION 3.7.           Partnership Information and Tax Returns. The General
Partner shall cause to be prepared and timely filed all information and tax returns required to be
filed by the Partnership, if any. The General Partner may, in its sole discretion, make, or refrain
from making, any income or other tax elections for the Partnership that it deems necessary or
advisable, including an election pursuant to Section 754 of the Code (provided that the General
Partner shall not elect for the Partnership to be treated as a corporation for federal income tax
purposes).

{00190096.DOC}                                   7
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 167 of 275




                 SECTION 3.8.         Confidentiality.

               (a)      Confidentiality Obligation of Limited Partners. Each Limited Partner
agrees to keep confidential and not to disclose to any Person (other than to directors, officers,
partners or employees of (or, in the case of any ERISA Partner, the plan sponsor of), or agents,
legal counsel, independent auditors or consultants for, such Limited Partner responsible for
matters relating to the Partnership (each an “Authorized Representative”)) all information and
documents relating to the Partnership and its affairs, including, without limitation, any
information (i) relating to any Partnership Investment, (ii) provided to such Limited Partner
pursuant to Article VIII, and (iii) provided to such Limited Partner prior to or after its admission
to the Partnership relating to the General Partner Group, provided that in each case such Limited
Partner may make such disclosure (x) if the information being disclosed is otherwise generally
available to the public, or (y) if such disclosure is, in the written opinion (satisfactory to the
General Partner) of legal counsel (satisfactory to the General Partner) for such Limited Partner or
Authorized Representative, required by applicable law or regulation. Prior to any disclosure to
any Authorized Representative of a Limited Partner of any information referred to in the first
sentence of this Section 3.8(a), such Limited Partner shall advise such Authorized Representative
of the obligations set forth in this Section 3.8(a) and obtain the agreement of such Authorized
Representative to keep such information confidential and otherwise comply with this Section
3.8(a) as though such Authorized Representative were a Limited Partner. Notwithstanding the
terms of this Section 3.8(a) or any other express or implied agreement, arrangement or
understanding to the contrary, each party to this Agreement (and their respective Authorized
Representatives) may disclose to any and all persons, without limitation of any kind, the tax
treatment and tax structure of the Partnership, and all materials of any kind (including opinions
or other tax analyses) that are provided to the party to the extent related to such tax treatment and
tax structure.

               The General Partner hereby acknowledges that each ERISA Partner and its
administrator have an obligation under Section 101(k) of ERISA (collectively with any
regulations thereunder, “Section 101(k)”) to provide certain information to certain interested
parties and agrees that each ERISA Partner shall not be subject to any otherwise applicable
confidentiality provision in connection with the ERISA Partner’s compliance with Section
101(k) requirements. The General Partner agrees that at the time any information regarding the
Partnership is furnished to an ERISA Partner, the General Partner shall indicate with specificity
what (if any) information contained therein constitutes “proprietary information” within the
meaning of Section 101(k) and the ERISA Partner shall not disclose such “proprietary
information” to interested persons. The General Partner hereby expressly agrees to indemnify
each ERISA Partner and its administrator against any and all claims, liabilities, damages, court
costs or reasonable expenses (including reasonable attorneys’ fees) that the ERISA Partner
and/or its administrator incur or suffer as a result of the ERISA Partner and/or its administrator
omitting such information in connection with a request for information made under Section
101(k) of ERISA in the event such information is determined not to be “proprietary information”
within the meaning of Section 101(k).

              (b)    Right of General Partner to Keep Information Confidential. The General
Partner may, to the maximum extent permitted by applicable law, keep confidential from any
Limited Partner any information (including, without limitation, information requested by such
Limited Partner pursuant to Section 3.6 and information otherwise required to be delivered to

{00190096.DOC}                                   8
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 168 of 275




such Limited Partner pursuant to Article VIII) with respect to any Partnership Investment or
potential Partnership Investment (i) which the Partnership or the General Partner is required by
law, agreement or otherwise to keep confidential, or (ii) the disclosure of which the General
Partner reasonably believes may have an adverse effect on the ability of the Partnership to
consummate any proposed Partnership Investment or any transaction directly or indirectly
related to, or giving rise to, such Partnership Investment.

                Without a Limited Partner’s prior written consent, none of the Partnership, the
General Partner, the Manager or any of their Affiliates shall (a) use the Limited Partner’s name
or derivations thereof in advertising, publicity, marketing materials, private placement
memorandum or other offering materials or other similar publication or document and/or (b)
infer that the Partnership has been endorsed by the Limited Partner. Notwithstanding clause (a)
above, the General Partner and its Affiliates may inform other Limited Partners and prospective
investors in the Partnership of the fact and amount of the Limited Partner’s subscription to the
Partnership; disclose the Limited Partner’s name and subscription amount if the General Partner
first determines in good faith that such disclosure is in the best interests of the Partnership in
connection with a Partnership Investment; and make any other disclosure regarding the Limited
Partner’s investment in the Partnership required by law, legal process or stock exchange rule, in
each case, without obtaining the prior written consent of the Limited Partner.

               SECTION 3.9.             Meetings of Limited Partners. The General Partner or
Limited Partners holding at least 25% of the LP Interests in the Partnership may call a meeting of
the Limited Partners at any time for any purpose of the Partnership. The General Partner will
give timely notice of such meeting to each Limited Partner. Such notice shall specify the time
and place of such meeting. Actions may be approved at any such meeting upon the approval of a
majority of the Limited Partners not affiliated with the General Partner or its Affiliates present at
such meeting; provided that greater than 50% of the Limited Partners not affiliated with the
General Partner or its Affiliates are present in person or by proxy at such meeting.

               SECTION 3.10.          Temporary Investment of Funds. The General Partner shall
invest cash held by the Partnership in Temporary Investments, including all amounts being held
by the Partnership for future investment in Partnership Investments, payment of Partnership
Expenses or distribution to the Partners (including, without limitation, any amounts held by the
Partnership pursuant to Section 7.1(e)).

                 SECTION 3.11.         Certain ERISA Matters.

                (a)     If the General Partner determines, in its sole discretion, that the interests of
ERISA Partners would be “significant” for purposes of the Plan Asset Regulation, the General
Partner is authorized to take any action it considers appropriate under the circumstances,
including (i) reducing the interests of ERISA Partners in the Partnership pursuant to Section 6.5
so that the participation in the Partnership of ERISA Partners is not significant for purposes of
the Regulation, or (ii) the permitting the Partnership to hold plan assets for purposes of the Plan
Asset Regulation. At any time that the Partnership holds “plan assets” for purposes of the Plan
Asset Regulation, the General Partner and the Manager both agree that they are fiduciaries for all
ERISA Partners with respect to the assets of the Partnership.



{00190096.DOC}                                     9
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 169 of 275




                (b)    In the event the General Partner permits the Partnership to hold “plan
assets” for purposes of the Plan Asset Regulation, and notwithstanding any provision of this
Agreement to the contrary, the General Partner (i) shall promptly notify each ERISA Partner as
soon as it has reason to believe that the Partnership’s assets may constitute plan assets for ERISA
purposes, and (ii) shall use its best efforts to conduct the business of the Partnership so that the
Partnership does not cause the Partnership and/or any ERISA Partner to engage in a “prohibited
transaction” as defined in ERISA and the Code; provided that the General Partner shall be
permitted to rely on any information provided by an ERISA Partner in its Subscription
Agreement or in supplemental requests for information from the General Partner with respect to
the requirements of this clause (ii).

               (c)     The General Partner will notify all Limited Partners within ten (10)
Business Days of the Final Closing Date whether or not the Partnership will be deemed to be
holding “plan assets” for purposes of the Plan Asset Regulation.

                 SECTION 3.12.           Valuation. Whenever the Fair Value of property is required
to be determined under this Agreement, such Fair Value shall be determined by the General
Partner, in its sole discretion, in a reasonable manner. Such valuations and determinations shall
be final and binding on the Partners.

               Any Securities distributed by the Partnership shall be valued by the General
Partner at the Fair Value thereof as reasonably determined by the General Partner, taking into
account any related fees and expenses incurred in connection with the disposition of such
Securities. The General Partner will employ an independent pricing service (such as an
investment banking firm) for purposes of consulting on the Fair Value of any Partnership
Investments or any Securities. Notwithstanding the foregoing, at any time that the Partnership
holds “plan assets” for purposes of the Plan Asset Regulation, the Fair Value of such Securities
and other Partnership property shall be determined by an independent Person selected by Limited
Partners not affiliated with the General Partner or its Affiliates owning at least fifty-one percent
(51%) of the LP Interests to the extent necessary to comply with the provisions of ERISA.

               SECTION 3.13.           Reliance by Third Parties. Persons dealing with the
Partnership are entitled to rely conclusively upon the power and authority of the General Partner
as herein set forth, and shall not be required to inquire as to the General Partner’s authority to
bind the Partnership.

                 SECTION 3.14.       Borrowings. The Partnership may borrow funds under a
credit facility on market-based terms in order to fund the acquisition of Partnership Investments
or pay Partnership Expenses pending the Partnership’s receipt of required Capital Contributions
from Limited Partners or other receipts of cash.

               By executing this Agreement, each Limited Partner expressly agrees that the
General Partner may pledge the assets of the Partnership and its rights hereunder as security for
any borrowing and that its Capital Commitment obligation, the right to deliver Capital Call
Notices to the Limited Partners, the right to receive all amounts in respect of Capital
Contributions and any other assets of the Partnership, may be pledged to secure any borrowings
or indebtedness incurred by the Partnership. In connection with any borrowing or indebtedness
incurred by the Partnership, each Limited Partner agrees that it shall, upon request, confirm its

{00190096.DOC}                                  10
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 170 of 275




Remaining Capital Commitment, and execute such other documents as may reasonably be
requested by any lender; provided, that a Limited Partner shall not be required to (i) execute any
document that would subject such Limited Partner to any obligation beyond the amount of such
Limited Partner’s unfunded Capital Commitment or (ii) execute or obtain any legal opinions
prepared by legal counsel.

                The General Partner shall be required to give each Limited Partner that is exempt
from income taxation pursuant to Section 501 of the Code (a “Tax-Exempt Limited Partner”)
who has previously requested in writing that the General Partner do so and who is not then in
default on any obligation to make Capital Contributions or other payments, the opportunity, upon
at least five (5) Business Days’ notice, to make a Capital Contribution to the Partnership in the
amount equal to such Tax-Exempt Limited Partner’s pro rata share of such borrowing, and such
borrowing (and the interest expense relating thereto) shall not be allocated to such Tax-Exempt
Limited Partner.

                 SECTION 3.15.         Conflicts of Interest.

                 (a)     While the General Partner intends to avoid situations involving conflicts
of interest, each Limited Partner acknowledges that there may be situations in which the interests
of the Partnership conflict with the interests of the General Partner Group, including the conflicts
of interest identified in the Offering Memorandum. Each Limited Partner agrees that the
activities of the members of the General Partner Group not prohibited by this Agreement may be
engaged in by the General Partner Group, and will not, in any case or in the aggregate, be
deemed a breach of this Agreement or any duty owed by any member of the General Partner
Group to the Partnership or to any Partner, except to the extent such Affiliate engaged in conduct
that constitutes (i) fraud, (ii) willful and material breach of the duties set forth in this Agreement
or under the Act, (iii) gross negligence or (iv) willful and material breach of any applicable
fiduciary or other duty under federal or other applicable law; provided, however, that the Limited
Partners do not agree to any conflicts of interest at any time that the assets of the Partnership are
“plan assets” to the extent that such conflict of interest would be a prohibited transaction under
ERISA or the Code.

                 (b)     The Partnership and the General Partner Group will seek to resolve any
conflicts with respect to investment opportunities involving the Partnership in a manner which
the General Partner deems equitable to the extent possible under prevailing facts and
circumstances; provided that, the General Partner shall have the right, subject to Section 4.3, to
allocate any investment opportunity which comes to its attention wholly or primarily to any
entity or entities other than the Partnership.

                (c)     On any issue involving actual conflicts of interest not provided for
elsewhere in this Agreement, the General Partner will be guided by its good faith judgment as to
the best interests of the Partnership, and shall take such actions as are determined to be necessary
or appropriate to ameliorate the conflicts of interest.

                SECTION 3.16.        Advisory Committee. The General Partner shall establish
an advisory committee either comprised of (i) individual representatives of selected Limited
Partners, at least a majority of whom are not affiliated with the General Partner or its Affiliates
(the “Limited Partner Advisory Committee”) or (ii) an independent third party selected by a

{00190096.DOC}                                   11
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 171 of 275




majority of the Limited Partners not affiliated with the General Partner or its Affiliates (the
“Third Party Advisory Committee” and, together with the Limited Partner Advisory Committee,
the “Advisory Committee”), in each case, to provide approval (as specified in Section 3.4 of this
Agreement) or advice to the General Partner on matters relating to the resolution of potential
conflicts of interest involving the Partnership and the General Partner Group and such other
matters as may be referred to it from time to time by the General Partner. Subject to the terms
and conditions set forth in this Section, the size, terms of appointment and all other matters
relating to the Limited Partner Advisory Committee shall be determined in the sole discretion of
the General Partner. Any member of the Limited Partner Advisory Committee (i) may resign by
giving the General Partner prior written notice, and (ii) shall be deemed removed upon the
designating Limited Partner becoming a Defaulting Partner. The General Partner may, in its sole
discretion, disapprove of any individual representative on the Limited Partner Advisory
Committee designated by any Limited Partner and shall have the right to remove any such
Person from the Limited Partner Advisory Committee at any time upon notice to such Person
and the other members of the Limited Partner Advisory Committee with an explanation for such
removal; provided, that the General Partner may not remove any Person from the Limited
Partner Advisory Committee that is not affiliated with the General Partner or its Affiliates
without the consent of (i) a majority of the members of the Limited Partner Advisory Committee
that are not affiliated with the General Partner or its Affiliates or (ii) the Limited Partner whose
representative is proposed to be removed. The Advisory Committee shall have the authority to
(i) provide approval with respect to the affiliated party transactions contemplated by Section 3.4
of this Agreement, (ii) review and investigate any related party transactions identified in the
Partnership’s quarterly, annual or other reports or financial statements and (iii) approve any
waiver of the default provisions set forth in Section 6.3 of this Agreement by the General Partner
in favor of the General Partner or any Affiliate of the General Partner. The approval of the
Limited Partner Advisory Committee (including any formal advice or guidance provided to the
General Partner) shall require the affirmative vote of a majority of the members thereof that are
not affiliated with the General Partner or its Affiliates. The formal advice or guidance of the
Advisory Committee specifically regarding conflicts of interest shall be binding upon the
General Partner. Members of the Advisory Committee may participate in a meeting of the
Advisory Committee by means of conference telephone or similar communications equipment
by means of which all persons participating in the meeting can hear each other. Except as set
forth below, members of the Advisory Committee will not be acting in a fiduciary capacity with
respect to the Partnership or any Limited Partners in connection with the functions of the
Advisory Committee. The Partnership will bear any expenses related to the functions of the
Advisory Committee. Notwithstanding the foregoing, at any time that the assets of the
Partnership are “plan assets,” the powers granted to the General Partner with respect to the
Limited Partner Advisory Committee, specifically the powers to appoint and remove members of
the Limited Partner Advisory Committee shall instead be exercisable by a majority of Limited
Partners not affiliated with the General Partner or its Affiliates. At any time that the assets of the
Partnership are “plan assets,” the Advisory Committee shall be a fiduciary with respect to the
Partnership, and the members of the Advisory Committee may receive such compensation from
the Partnership as determined by a majority of the Limited Partners that are not affiliated with
the General Partner or its Affiliates. The General Partner shall provide to each Limited Partner
(a) a detailed description of conflicts of interests reviewed by the Advisory Committee promptly
following each meeting thereof, and (b) upon such Limited Partner’s request, a detailed
description of the topics discussed at any Advisory Committee meeting along with copies of all
written materials provided to the Advisory Committee in connection with any such meeting.
{00190096.DOC}                                   12
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 172 of 275




               SECTION 3.17.           Avoidance of UBTI. The General Partner shall use
reasonable efforts to structure Partnership Investments and otherwise conduct the business of the
Partnership in a manner that is not likely to cause any Tax-Exempt Limited Partner to have any
“unrelated business taxable income” (“UBTI”), including, without limitation, any “unrelated
debt-financed income” (as those terms are defined in Sections 512 and 514 of the Code) to the
extent consistent with its goal of maximizing the pre-tax income of all Partners, provided that
reasonably equivalent investment structures are available to the Partnership which will not
produce UBTI and will not have an adverse impact on a significant number of the other Limited
Partners. Notwithstanding the foregoing, the General Partner shall not be required to make any
effort to avoid the recognition of UBTI by a Tax-Exempt Limited Partner to the extent such
recognition would be attributable (a) to borrowings pursuant to Section 3.14, or (b) to the
borrowing of money on a short-term basis by the Partnership which is to be repaid through
Capital Contributions. The General Partner and its Affiliates shall not be liable to any Tax-
Exempt Limited Partners in connection with any UBTI reported by such Limited Partners.

               SECTION 3.18.           Investment Committee. The Manager has established an
investment committee (“Investment Committee”) to (a) approve potential Partnership
Investments, (b) assess and manage the risks for such Partnership Investments and (c)
continually monitor such Partnership Investments. All decisions regarding the acquisition and
disposition of Partnership Investments will be made by the unanimous decision of the Investment
Committee. The members of the Investment Committee are the Principals and such other
individuals as are selected by the Principals from time-to-time.


                                ARTICLE IV
                 INVESTMENTS AND INVESTMENT OPPORTUNITIES

                SECTION 4.1.          Investments Generally. The assets of the Partnership shall,
to the extent not required for the payment of Partnership Expenses or otherwise necessary for the
conduct of the Partnership’s business, and subject to Section 3.10, be invested in such
Partnership Investments as the General Partner shall determine in its sole discretion.

               SECTION 4.2.            Investment Restrictions. The Partnership generally will not
invest more than (i) twenty-five percent (25%) of its aggregate Capital Commitments in a single
market sector; or (ii) eight percent (8%) of its aggregate Capital Commitments in the Securities
of any single Portfolio Company, each measured at cost at the time of investment; provided,
however, that the General Partner has the discretion to exceed these percentage limitations if it
makes a good faith determination that such additional investment is in the best interests of the
Partnership and the Advisory Committee approves of such additional investment.

                 SECTION 4.3.           Co-Investment Opportunities. The General Partner may, in
its sole discretion, provide certain of the Limited Partners, strategic investors, lenders and others
with an opportunity to co-invest with the Partnership in Partnership Investments, provided that
the terms of any such co-investment are no more favorable than the investment terms offered to
the Partnership. Co-investment opportunities may be effected through limited partnerships or
other entities formed to effect such co-investments (“Co-Investment Funds”). The General
Partner will allocate available co-investment opportunities among the Partnership, any Co-
Investment Funds and any other investment fund or managed account managed by the General

{00190096.DOC}                                   13
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 173 of 275




Partner Group in such manner as it determines in its sole discretion, and, at any time that the
assets of the Partnership are “plan assets,” in accordance with the requirements of ERISA.


                                           ARTICLE V
                                           EXPENSES

                SECTION 5.1.          Definition and Payment of Manager Expenses. As between
the General Partner, the Manager and the Partnership, the Manager and the General Partner shall
be solely responsible for and shall pay their own respective Manager Expenses. As used herein,
the term “Manager Expenses” means the organizational and operating expenses of the General
Partner and the Manager, including salaries and employee benefit expenses of employees, office
rent, supplies and telecommunication expenses.

                 SECTION 5.2.          Partnership Expenses.

                (a)     Payment of Partnership Expenses. The Partnership shall be responsible
for and shall pay all Partnership Expenses.

              (b)     Definition of Partnership Expenses. As used herein, the term “Partnership
Expenses” means all expenses or obligations of the Partnership or otherwise incurred by the
General Partner or Manager on behalf of the Partnership in connection with this Agreement other
than any expense that would be considered a Manager Expense.

               (c)     Specified Partnership Expenses. The parties agree that all of the following
constitute Partnership Expenses, and comprise some, but not necessarily all, of the types of
expenses that may constitute Partnership Expenses, depending upon the context in which such
expenses are incurred:

                        (i)     all out-of-pocket expenses incurred by the Partnership or on its
        behalf that are directly related to the organization of the Partnership and the marketing of
        LP Interests to prospective Limited Partners, including, without limitation, legal, tax,
        accounting, filing and printing fees relating to such organization, travel expenses, the
        production of marketing materials and the audits of past internal rates of returns relating
        to such marketing materials (collectively, the “Organizational Expenses”); provided, that
        any fees payable to a placement agent engaged by the Partnership to offer and sell LP
        Interests shall either be borne (i) by the Partnership, in which event the Management Fee
        otherwise payable to the Manager shall be reduced by an amount equal to 100% of the
        placement fees paid by the Partnership or (ii) directly by the Limited Partner referred to
        the Partnership by the placement agent;

                       (ii)    expenses related to the sourcing, due diligence, valuation, and
        potential acquisition of Partnership Investments, regardless of whether such acquisition is
        actually consummated, the holding, monitoring and sale of Partnership Investments;

                       (iii)   legal, tax, auditing, consulting, accounting, valuation services, loan
        servicing, and other professional expenses;


{00190096.DOC}                                   14
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 174 of 275




                        (iv)    costs and expenses for the preparation of the Partnership’s
        financial statements, tax returns and IRS Schedules K-1;

                       (v)     litigation expenses of the Partnership;

                      (vi)    out-of-pocket expenses incurred in connection with the collection
        of amounts due to the Partnership from any Person;

                      (vii) insurance premiums related to protection of Covered Persons
        against any liability arising out of, related to or incurred in connection with this
        Agreement;

                       (viii) expenses incurred in connection with any Proceeding involving the
        Partnership (including the cost of any investigation and preparation) and the amount of
        any judgment or settlement paid in connection therewith; provided, however, that any
        such expenses which, if incurred by any Person, would not be indemnifiable under
        Article IX, shall not constitute Partnership Expenses;

                       (ix)    fees and expenses of the Administrator;

                       (x)    any indemnification obligation and any other indemnity
        contribution or reimbursement obligations of the Partnership with respect to any Person,
        whether payable in connection with a Proceeding involving the Partnership or otherwise,
        in each case, to the extent available under applicable law and the provisions of Section
        9.2;

                      (xi)   Management Fees (to be allocated among Limited Partners as
        contemplated by Section 3.3);

                       (xii)   any Borrowing Costs relating to any borrowings incurred by the
        Partnership; and

                        (xiii) all expenses incurred in connection with the dissolution and
        liquidation of the Partnership.


                                  ARTICLE VI
                 CAPITAL COMMITMENTS AND CAPITAL CONTRIBUTIONS

                  SECTION 6.1.        Capital Commitments.

                (a)     Agreement to Contribute Capital. Subject to Sections 6.1(b) and (d), 6.2,
6.5, 7.1(b) and 9.2, each Partner hereby agrees to make Capital Contributions, in an aggregate
amount equal at any time to its Remaining Capital Commitment, during the Investment Period.
The Partnership may make commitments to Partnership Investments during the Investment
Period. Following the Investment Period, Partners shall cease to be obligated to contribute
capital in respect of their Remaining Capital Commitment; provided, however, that Partners shall
remain obligated to make a Capital Contribution in respect of their Remaining Capital
Commitments to (i) fund Partnership Expenses and liabilities (including, without limitation, the

{00190096.DOC}                                   15
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 175 of 275




Management Fee and any Partnership borrowings), (ii) permit the Partnership to fulfill
investment commitments made prior to the expiration of the Investment Period, including,
without limitation, for purposes of making Partnership Investments made pursuant to rights
acquired prior to the expiration of the Investment Period, and (iii) fund Follow-On Investments.
Notwithstanding anything to the contrary herein, each Limited Partner will participate in any
Follow-On Investment in the same proportion that it participates in the original Partnership
Investment to which such Follow-On Investment relates. Further, in the event that after the
expiration of the Investment Period there exists outstanding indebtedness of the Partnership
secured by the Capital Commitments of the Limited Partners, the Limited Partners obligation to
so contribute capital shall continue, to the extent of its pro rata portion of such indebtedness vis-
à-vis all other Limited Partners, until such time as such indebtedness is paid in full.

               (b)    Release of Commitments, etc. Notwithstanding the provisions of Section
6.1(a), the General Partner may, in its sole discretion, cancel some or all of the Remaining
Capital Commitments of all Partners at any time if the General Partner determines that changes
in any applicable law or regulation make it necessary for the Partnership to do so.

               (c)     Capital Commitment of the General Partner Group. Certain principals of
the Manager have invested a significant portion of their liquid net worth into other investment
funds and managed accounts advised by the Manager and its Affiliates that pursue a substantially
similar investment strategy to the Partnership and, at times, invest alongside the Partnership.
Such principals will also invest into the Partnership.

                (d)     Key Person Event. If at any time during the Investment Period (i) at least
two (2) of the Principals die, become legally incompetent or are disabled (i.e., unable by reason
of disease, illness or injury to perform his or her duties with respect to the Partnership for 90
consecutive days, or otherwise cease to be active in the affairs of the Partnership for 90
consecutive days) or (ii) the General Partner Transfers all or a portion of its GP Interest to any
Person not affiliated with the General Partner or its Affiliates (each, a “Key Person Event”), then
the General Partner will provide the Limited Partners with written notice of such Key Person
Event within thirty (30) days following the occurrence thereof. Thereafter, the Investment
Period will terminate if Limited Partners representing at least two-thirds (66-2/3%) of the
aggregate Capital Commitments of the Limited Partners not affiliated with the General Partner
and its Affiliates affirmatively elect in writing to terminate the Investment Period; provided that
any such termination shall not prevent the Partnership from: (i) completing any proposed
Partnership Investment with respect to which it has entered into a legally binding agreement to
invest in prior to such election by the Limited Partners; (ii) paying any Partnership Expenses
relating to existing or committed Partnership Investments, or (iii) satisfying any of its obligations
in respect of any borrowings or other extensions of credit which are secured, in whole or in part,
by the Capital Commitments.

                 SECTION 6.2.         Capital Call Procedure.

               (a)    Generally. Each Limited Partner shall make Capital Contributions to the
Partnership as needed with respect to the Partnership Investments, to pay Partnership Expenses
or to maintain a reserve in such amounts, to such account and at such times (including at a
Closing) as the General Partner shall specify in notices (“Capital Call Notices”) delivered from
time to time to such Limited Partner. All Capital Contributions shall be paid to the Partnership

{00190096.DOC}                                   16
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 176 of 275




by wire transfer in immediately available funds to the account specified in the Capital Call
Notice by 11:00 A.M. (New York City time) on the date specified in the applicable Capital Call
Notice. Capital Contributions may include amounts that the General Partner determines, in its
sole discretion, are necessary or desirable to establish reserves in respect of potential Partnership
Investments or Partnership Expenses.

                 (b)   Capital Call Notices. Each Capital Call Notice shall specify:

                       (i)     the Capital Call Amount;

                       (ii)    the required Capital Contribution to be made by such Limited
        Partner;

                       (iii)   the date (the “Capital Call Date”) on which such Capital
        Contribution is due; and

                       (iv)    the account to which such Capital Contribution should be paid.

The General Partner shall deliver each Capital Call Notice at least ten (10) Business Days before
the Capital Call Date (other than a Capital Call Notice relating to a Capital Contribution payable
at a Closing) including the date of delivery of the Capital Call Notice.

                 (c)   Amounts of Required Capital Contributions for each Partner. Subject to
Section 2.5, in connection with any Capital Call, each Partner shall be required to make a Capital
Contribution equal to the product of (i) such Partner’s Remaining Commitment Percentage and
(ii) the Capital Call Amount specified in the applicable Capital Call Notice.

                 SECTION 6.3.         Default by Limited Partners.

                (a)     In General. Each Partner agrees that (i) payment of its required Capital
Contributions and amounts required pursuant to Sections 6.2 and 9.2 when due is of the essence,
and is to be made absolutely and unconditionally in each case without any set-off, withholding,
counterclaim, defense or reduction, (ii) any Default by any Limited Partner would cause injury to
the Partnership and to the other Partners, and (iii) that the amount of damages caused by any
such injury would be extremely difficult to calculate. Accordingly, each Partner agrees that upon
any Event of Default by a Limited Partner, such Defaulting Partner may, in the General Partner’s
sole discretion, (I) not share in any gain realized by the Partnership on any disposition of a
Partnership Investment occurring after the date of Default (regardless of when the Partnership
Investment was made), (II) continue to share in any loss realized by the Partnership on any
disposition of any Partnership Investment in which the Defaulting Partner participated, and/or
(III) have the entire balance in its Capital Account forfeited (the amount of the reduction to be
distributed pro rata to all Partners, other than the Defaulting Partner).

                Except as expressly provided in the Partnership Agreement, the obligations of any
Defaulting Partner to the Partnership, or under the Partnership Agreement, shall continue
regardless of the remedies pursued by the Partnership.

              Upon the occurrence of any Default, the General Partner shall promptly notify the
Limited Partner who has committed such Default of its status as a Defaulting Partner.

{00190096.DOC}                                   17
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 177 of 275




               (b)     Action by General Partner. Upon the occurrence of an Event of Default,
the General Partner may take such actions as it determines, in its sole discretion, are appropriate
with respect to the defaulted amount, including, but not limited to:

                       (i)     drawing-down additional capital from non-Defaulting Partners;

                       (ii)    increasing its own Capital Contribution;

                       (iii)  causing the sale, transfer or other disposition of all of the LP
        Interest of the Defaulting Partner or causing the Defaulting Partner to sell, transfer or
        otherwise dispose of all of its LP Interest, after a twenty (20) day period during which the
        General Partner will solicit bids for the purchase of such LP Interest, to another non-
        Defaulting Partner or to a third-party on such terms as are determined by the General
        Partner and the proposed transferee;

                       (iv)    causing the Partnership to borrow money from third parties, non-
        Defaulting Partners, the General Partner or any of its Affiliates in order to fund the
        Defaulting Limited Partner’s Capital Call obligation. The Borrowing Costs with respect
        to any borrowing pursuant to this Section 6.3(b)(iv) shall be charged to the Capital
        Account of the Defaulting Partner. Any such borrowing will constitute a separate
        obligation of the Defaulting Partner and not the Partnership and will be secured by
        (A) the Capital Commitments of the Defaulting Partner, (B) the Defaulting Partner’s LP
        Interest, and (C) a personal guarantee of the Defaulting Partner in an amount not to
        exceed one hundred percent (100%) of the amount of the borrowing attributable to the
        Defaulting Partner; or

                        (v)     immediately institute legal procedures against the Defaulting
        Partner to collect all amounts owed by such Defaulting Partner to the Partnership or any
        other person, together with interest, at the maximum rate provided by law from the date
        of the Default plus all related collection expenses, including reasonable attorney’s fees.

               (c)     Additional Capital Call Notice. If additional capital is drawn down
pursuant to Section 6.3(b)(i) with respect to any amount that is in Default, the General Partner
shall deliver an additional Capital Call Notice in accordance with Section 6.2(b) to the non-
Defaulting Limited Partners, and the required Capital Contribution of each such Limited Partner
shall be increased by an amount calculated with respect to the amount that remains to be funded
in accordance with Section 6.2(c) (determined without regard to the Capital Commitment of the
Defaulting Partner); provided that no Limited Partner can be required to contribute in excess of
its Remaining Capital Commitment.

               (d)    Defaulting Partner’s Remaining Capital Commitment. In its sole
discretion, the General Partner may take any or all of the following actions in respect of the
Remaining Capital Commitment of any Defaulting Partner:

                        (i)    cause the Defaulting Partner to forfeit all or a portion of its interest
        in distributions to be derived from Partnership Investments that have been made by the
        Partnership as of the date of the Event of Default;



{00190096.DOC}                                    18
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 178 of 275




                      (ii)    require the Defaulting Partner to sell its LP Interest to a purchaser
        determined in the sole discretion of the General Partner. In the sole discretion of the
        General Partner, such sale may be (A) at a price determined by the General Partner and
        (B) in exchange for a non-recourse, non-interest bearing note secured by the LP Interest
        sold and payable solely from distributions receivable with respect to the LP Interest sold;

                       (iii)  seek commitments of capital from additional investors (which
        may, in the General Partner’s sole discretion, include Existing Limited Partners or the
        General Partner) up to the amount of the Defaulting Partner’s Remaining Capital
        Commitment. If any such commitment is received from any Existing Limited Partner,
        such Limited Partner’s Capital Commitment and Remaining Capital Commitment shall
        be increased accordingly. If any such commitment is received from an investor that is
        not an Existing Limited Partner, such investor shall, after executing such instruments and
        delivering such opinions and other documents (including an executed counterpart to this
        Agreement) as are in form and substance satisfactory to the General Partner, be admitted
        to the Partnership as a Substitute Limited Partner and shown as such on the books and
        records of the Partnership and shall be deemed to have a Capital Commitment and a
        Remaining Capital Commitment equal to the commitment for which such investor has
        subscribed. After the appropriate adjustment of the Capital Commitment and the
        Remaining Capital Commitment of the Limited Partner or admission of the Substitute
        Limited Partner as more fully provided in Section 12.2, the Capital Commitment and
        Remaining Capital Commitment of the Defaulting Partner shall be decreased
        accordingly; and

                      (iv)    reduce or cancel the Remaining Capital Commitment of the
        Defaulting Partner on such terms as the General Partner determines, in its sole discretion,
        (which may include leaving such Defaulting Partner obligated to pay the Management
        Fee and to make Capital Contributions with respect to Partnership Expenses up to the
        amount of such Partner’s Remaining Capital Commitment immediately prior to the time
        such Remaining Capital Commitment is so reduced or canceled).

                (e)    Waiver of Default Provisions in favor of the General Partner or its
Affiliates. The General Partner may waive any or all of the actions set forth in this Section 6.3
for any Defaulting Partner that is affiliated with the General Partner or its Affiliates only upon
the prior written approval of the Advisory Committee.

               SECTION 6.4.            Remedies Not Limited. The rights and remedies referred to
in Sections 6.2 and 6.3 shall be in addition to, and not in limitation of, any other rights available
to the General Partner or the Partnership under this Agreement or at law or in equity. In
addition, unless the Remaining Capital Commitment of any Defaulting Partner is decreased to
zero pursuant to Section 6.3(d)(iv), an Event of Default by such Limited Partner shall not relieve
such Defaulting Partner of its obligation to make Capital Contributions subsequent to such Event
of Default. A Defaulting Partner will be obligated to pay all of the expenses incurred by the
Partnership in pursuing any remedial actions, including reasonable attorney’s fees.

               SECTION 6.5.           Special Provisions Related to ERISA Partners. In the event
that the General Partner determines that absent action pursuant to this Section 6.5, LP Interests in
the Partnership of ERISA Partners will be “significant” under the Plan Asset Regulation, the

{00190096.DOC}                                   19
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 179 of 275




General Partner, in its sole discretion, may reduce the Capital Commitment of each ERISA
Partner (pro rata based upon the amount of each such Capital Commitment) so that the interests
of ERISA Partners in the Partnership are not “significant” for purposes of the Plan Asset
Regulation.

                 SECTION 6.6.         Excluded Limited Partners.

                (a)     Notwithstanding anything to the contrary contained herein, the General
Partner shall cancel the obligation of any Limited Partner (an “Excluded Limited Partner”) to
make any Capital Contribution with respect to a particular Partnership Investment if either (i) it
determines based upon advice of counsel (a copy of which advice shall be provided to the
Excluded Limited Partner to be excluded) that there is a reasonable likelihood that the Excluded
Limited Partner’s participation in the economics of such Partnership Investment would (a)
impose a material tax, regulatory or other burden on the Partnership or the other Limited Partners
or (b) result in a violation of any applicable law, regulation or administrative practice to which
the Excluded Limited Partner, the Partnership or the particular Partnership Investment involved
is subject, or (ii) the Excluded Limited Partner provides to the General Partner written advice
from a reputable and experienced law firm satisfactory to the General Partner concluding that the
Excluded Limited Partner’s participation in the economics of such Partnership Investment (a) is
illegal or otherwise prohibited by statute or regulation applicable to such Excluded Limited
Partner or (b) would result in materially unfavorable tax, legal or regulatory consequences to
such Excluded Limited Partner. An Excluded Limited Partner shall not participate in the
economics of any particular Partnership Investment with respect to which it does not make a
Capital Contribution pursuant to this Section 6.6(a).

                Any determination pursuant to clause (i) of the immediately preceding paragraph
shall, if possible, be communicated to such Excluded Limited Partner at or prior to the time that
the General Partner delivers Capital Call Notices relating to the Capital Contributions in question
to the other Limited Partners. Such Capital Call Notices shall provide the amount of any
additional capital which such other Limited Partners shall be required to contribute as a result of
the developments set forth above or, if such determination is not made until after a Capital Call
Notice for such Partnership Investment has been delivered to the other Limited Partners (but in
any event within ten (10) calendar days after the consummation of such Partnership Investment),
the General Partner may then deliver a new Capital Call Notice to each other Limited Partner
which is able to participate in such Partnership Investment indicating the additional Capital
Contribution to be made in respect of such Partnership Investment, and, subject to the proviso set
forth in this Section 6.6, each such Limited Partner shall make an additional Capital Contribution
in respect of such Partnership Investment as soon as practicable but in no even later than five (5)
calendar days after having been given such new Capital Call Notice. Additional Capital
Contributions called for pursuant to this Section 6.6 shall be made by each such other Limited
Partner in an amount which bears the same ratio to the aggregate additional Capital
Contributions of all other Limited Partners as such other Limited Partner’s Remaining Capital
Commitment bears to the Remaining Capital Commitments of all such other Limited Partners;
provided that no Limited Partner shall be obligated to contribute an amount in excess of such
Limited Partner’s Remaining Capital Commitment.




{00190096.DOC}                                  20
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 180 of 275




                (b)    No Commitment Reduction for Excluded Limited Partner.                  The
Remaining Capital Commitment of any Excluded Limited Partner shall not be reduced as a result
of its exclusion from participation in a Partnership Investment pursuant to this Section 6.6.


                                    ARTICLE VII
                         DISTRIBUTIONS; CAPITAL ACCOUNTS

                 SECTION 7.1.         Distributions.

               (a)     Distribution. Subject to the following sentence, proceeds derived by the
Partnership from interest, dividend or other similar payments with respect to a Partnership
Investment or from the sale or other disposition of Partnership Investments that (i) constitute a
return of Capital Contributions (but not income or gain) and (ii) are distributed to a Limited
Partner during the Investment Period or within eighteen (18) months from the end of the
Investment Period will be added to the Limited Partner’s Remaining Capital Commitment and
again be available for drawdowns for a period of eighteen (18) months after the expiration of the
Investment Period. Limited Partners may elect in the Subscription Agreements to receive
quarterly distributions of interest, dividend and other similar payments from Partnership
Investments (any Limited Partner electing to receive such quarterly distributions, an “Electing
Partner”). Notwithstanding the foregoing, the amount of any such quarterly distribution will be
reduced by any amounts that the General Partner considers prudent reserves to meet the future
expenses and liabilities of the Partnership. Any Distributable Cash derived by the Partnership
from a particular Partnership Investment will initially be apportioned among the Partners in
proportion to their respective Capital Contributions relating to the acquisition of the Partnership
Investment. The amount so apportioned to the General Partner shall be distributed to the General
Partner. The amount so apportioned to each Limited Partner shall then be immediately
reapportioned between the Limited Partner and the General Partner in the following manner and
priority:

                      (i)     First, one hundred percent (100%) to the Limited Partner until the
        cumulative distributions to such Limited Partner equals the cumulative Capital
        Contributions of such Limited Partner to the Partnership;

                       (ii)    Second, one hundred percent (100%) to the Limited Partner until
        the cumulative distributions to such Limited Partner in excess of its cumulative Capital
        Contributions provides such Limited Partner with a cumulative return of seven and one-
        half percent (7.5%) per annum, compounded annually, on such Limited Partner’s
        aggregate outstanding Capital Contributions calculated from the date that such Capital
        Contributions are contributed to the Partnership until the date on which such Capital
        Contributions are returned to such Limited Partner;

                      (iii)   Third, one hundred percent (100%) to the General Partner until the
        General Partner has received, with respect to the Limited Partner, an amount equal to
        twenty percent (20%) of the sum of all distributions made to (x) such Limited Partner
        pursuant to subparagraph (ii) above and (y) the General Partner with respect to such
        Limited Partner pursuant to this subparagraph (iii); and


{00190096.DOC}                                  21
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 181 of 275




                      (iv)    Fourth, eighty percent (80%) to the Limited Partner and twenty
        percent (20%) to the General Partner.

The aggregate amount, if any, distributable to the General Partner in accordance with sub-
paragraphs (iii) and (iv) of this Section 7.1(a) above, shall be referred to as a “Carried Interest.”
The General Partner may, in its sole discretion reduce or waive the Carried Interest for any
Limited Partner.

The General Partner will utilize its best efforts to provide at least five (5) Business Days notice
to Limited Partners prior to making any distribution to Limited Partners, which notice shall
include the sources of such distribution and the anticipated amount to be distributed (including
detailed figures showing the portion of such distribution attributable to return of capital, realized
losses, Partnership Expenses, Organizational Expenses, Management Fees, and profits and
Carried Interest distributions).

                (b)      Reinvestment of Distributed Capital. Subject to the second sentence of
Section 7.1(a), proceeds derived by the Partnership from interest, dividend or other similar
payments with respect to a Partnership Investment or from the sale or other disposition of
Partnership Investments that (i) constitute a return of Capital Contributions (but not income or
gain) and (ii) are distributed to a Limited Partner during the Investment Period or within eighteen
(18) months from the end of the Investment Period will be added to the Limited Partner’s
Remaining Capital Commitment and again be available for drawdowns for a period of eighteen
(18) months after the expiration of the Investment Period. The General Partner will notify the
Limited Partners quarterly of their Remaining Capital Commitment, including any distributions
to Limited Partners that are being added to their Remaining Capital Commitment.

                (c)     Distributions in Kind. The Partnership may distribute property in kind and
in such amounts as the General Partner shall, at its sole discretion, determine. Any distribution
in kind shall be made to the Partners in accordance with Section 10.4, and shall be treated for
purposes thereof as if such distribution in kind was a cash distribution in an amount equal to the
then Fair Value of the distributed assets. The Capital Accounts of the Partners shall be adjusted
in accordance with Section 7.2, immediately prior to any such distribution in kind, to reflect the
gain or loss that would be recognized had the assets to be distributed in kind been sold for their
Fair Value to a third party on an arm’s-length basis. In connection with any distribution in kind
of interests in securities or other property to a Limited Partner under this Agreement (including
pursuant to this Article VII and Article X), the General Partner shall notify the Limited Partner
that the Limited Partner may request that such securities or other property not be distributed to it,
but instead sold for cash on its behalf. If the Limited Partner so requests, the General Partner
shall use commercially reasonable efforts to sell such securities or other property and distribute
the cash proceeds of such sale to the Limited Partner net of any relevant reasonable costs and
expenses. In each such event, such securities or other property shall be deemed to have been
distributed to the Limited Partner at the same time and at the same valuation that the securities or
other property were distributed to the other Limited Partners.

                (d)    Withholding of Certain Amounts.         Notwithstanding anything else
contained in the Agreement, the General Partner may, in its sole discretion, withhold from any
distribution of cash or property by the Partnership to any Limited Partner contemplated by this
Agreement, the following amounts:

{00190096.DOC}                                   22
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 182 of 275




                       (i)     any amounts then due from such Limited Partner to the Partnership
        or to the General Partner or to any other Person in connection with the Partnership; and

                       (ii)    any amounts required to pay or to reimburse the Partnership for the
        payment of any withholding or other taxes properly attributable to such Limited Partner
        (including, without limitation, withholding taxes and interest, penalties and expenses
        incurred in respect thereof).

Any withholding described in Section 7.1(d)(i) or (ii) above shall be treated for all purposes of
this Agreement as (i) having been distributed to the Limited Partner, and (ii) having been
contributed by such Limited Partner to the Partnership or paid by such Limited Partner to the
General Partner or such other Person, as the case may be (and the payment of such amounts by
the Partnership shall not constitute Partnership Expenses). Any withholding described in Section
7.1(d)(ii) shall be made at the maximum applicable statutory tax rate under applicable law unless
the General Partner shall have received an opinion of counsel or other evidence satisfactory to
the General Partner to the effect that a lower tax rate is applicable. Any amounts withheld
pursuant to this Section 7.1(d) shall be applied by the General Partner to discharge the obligation
in respect of which such amounts were withheld.

                (e)    Amounts Held in Reserve. In addition to the rights set forth in Section
7.1(d), the General Partner shall have the right, in its sole discretion, to withhold amounts
otherwise distributable by the Partnership to the Partners in order to make such provision as the
General Partner in its sole discretion deems necessary or advisable for Follow-On Investments
and the payment of any and all expenses, debts, liabilities and obligations, contingent or
otherwise, of the Partnership.

                (f)     Income from Temporary Investments. Income and gains realized by the
Partnership with respect to Temporary Investments will generally be reserved for future
expenses, investments in Partnership Investments and other reserves; however, the General
Partner, in its sole discretion, may from time to time distribute such income and gains pro rata
among the Partners based on their respective Capital Contributions.

                (g)    Amounts Subject to Recall; Reserves. Both during and following the
Term of the Partnership, the Partnership may require the Partners to recontribute to the
Partnership amounts up to the aggregate distributions previously made to them by the
Partnership if necessary to satisfy the Partnership’s obligations set forth in (i) the Partnership Act
or (ii) the indemnification and contribution obligations under Article IX of this Agreement. The
Partnership may reserve Remaining Capital Commitments or retain funds in amounts appropriate
in the sole judgment of the General Partner to provide for recalled capital, Partnership Expenses
or Follow-On Investments, as well as for contingencies. Any distributions recalled pursuant to
this Section 7.1(g) shall not be treated as Capital Contributions but shall be treated as returns of
distributions and reductions in Distributable Cash, in making subsequent distributions pursuant
to Sections 7.1(c) and Section 10.4.

                (h)     Tax Distributions. Notwithstanding Section 7.1(a), the General Partner
may, in its sole discretion, cause the Partnership, either prior to, together with or subsequent to
any distribution pursuant to Section 7.1(a), to make distributions to all Partners regardless of
their tax status, in amounts intended to enable such Partners (or any Person whose tax liability is

{00190096.DOC}                                   23
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 183 of 275




determined by reference to the income of any such Partner) to discharge their U.S. federal, state
and local income tax liabilities arising from the allocations made (or to be made), or distributions
made, pursuant to Article VII. The amount distributable to any Partner pursuant to this
Section 7.1(h) shall be an amount equal to the product of (i) the cumulative taxable income, if
any, of the Partnership allocated to the Partner pursuant to Article VII from the inception of the
Partnership (as determined under Code Section 703(a) but including separately stated items
described in Code Section 702(a) and without taking into account any special status of any
Partner), times (ii) the Assumed Tax Rate. The amount distributable to any Partner pursuant to
Section 7.1(a) shall be reduced by the amount distributed to such Partner pursuant to this Section
7.1(h), and the amount so distributed pursuant to this Section 7.1(h) shall be deemed to have
been distributed to the extent of such reduction pursuant to Section 7.1(a) for purposes of making
the calculations required by Section 7.1(a).

               (i)     Partnership Act. Notwithstanding anything in this Agreement to the
contrary, the Partnership shall not make any distributions pursuant to this Agreement except to
the extent permitted by the Partnership Act.

               (j)     Uninvested Amounts. In the event the General Partner draws down
amounts from the Partners pursuant to Capital Call Notices which are not expended by the
Partnership as originally contemplated, the General Partner may, in its sole discretion, distribute
such amounts among the Partners pro rata in accordance with the manner in which they funded
such amounts. Any amounts so distributed prior to the end of the Investment Period shall be
treated as an unreturned Capital Contribution for purposes of Section 7.1(a) for the period of
time from the day such amounts were drawn down to the day such amounts were so distributed.

                (k)     Partial Disposition. For all purposes of this Agreement, with respect to the
sale or other disposition of a portion of a Partnership Investment, such portion shall be treated as
having been a separate Partnership Investment from the remaining Partnership Investment
retained by the Partnership, and the related income and Capital Contributions with respect to
such portion of the Partnership Investment which was sold or otherwise disposed of shall be
treated as having been divided between the portion which was sold or disposed of and the portion
retained by the Partnership on a pro rata basis.

                 SECTION 7.2.         Capital Accounts; Adjustments to Capital Accounts.

              (a)     Capital Account. There shall be established for each Partner, on the books
and records of the Partnership, an account (a “Capital Account”), which shall initially be zero
and which shall be adjusted as set forth in this Section 7.2.

                (b)     Adjustments to Capital Account. The Capital Accounts of the Partners
shall be adjusted as follows:

                       (i)     Cash Contributions. The amount of cash contributed or deemed
        contributed to the Partnership by any Partner shall be credited to the Capital Account of
        such Partner;

                       (ii)  Distributions. The amount of cash and the Fair Value of other
        property distributed or deemed distributed by the Partnership to any Partner in


{00190096.DOC}                                  24
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 184 of 275




        accordance with this Agreement shall be debited against the Capital Account of such
        Partner;

                       (iii) Net Profit. The amount of any Net Profit allocated to any Partner
        under this Agreement shall be credited to the Capital Account of such Partner; and

                       (iv)  Net Loss. The amount of any Net Loss allocated to any Partner
        under this Agreement shall be debited against the Capital Account of such Partner.

                (c)     Allocation of Net Profit and Net Loss. Except as provided elsewhere in
this Agreement, Net Profits (and items thereof) for any fiscal year (or portion thereof) shall be
allocated among the Partners in a manner so as to conform, in the sole judgment of the General
Partner, as nearly as practicable with the related distributions that would be made to the Partners
during such fiscal year pursuant to Section 7.1(a) if the Partnership had distributed all of such
Net Profits. Except as provided elsewhere in this Agreement, Net Losses (and items thereof) for
any fiscal year shall be allocated among the Partners in the following order and priority: (i) first,
among the Partners in proportion to, and in reverse order of, the amount of the cumulative Net
Profits previously allocated to them until the cumulative amount of Net Losses equals the
cumulative amount of Net Profits, and (ii) thereafter, any remaining Net Losses shall be allocated
among the Partners in proportion to their respective Capital Account balances.

               (d)    Determination of Net Profits and Net Losses. “Net Profits” or “Net
Losses” of the Partnership shall mean the net operating profits or net operating losses, as the case
may be, for a fiscal year determined on the basis of accounting utilized by the Partnership in
accordance with U.S. generally accepted accounting principles consistently applied (except as
otherwise specified herein) and further in accordance with the following: there shall be deducted
in computing Net Profits and Net Losses the Partnership Expenses incurred pursuant to Section
5.2 and the Management Fee accrued pursuant to Section 3.3.

                (e)    Capital Account Adjustments. All matters concerning the computation of
Capital Accounts, the allocation of items of Partnership income, gain, loss, deduction and
expense for all purposes of this Agreement and the adoption of any accounting procedures not
expressly provided for by the terms of this Agreement shall be determined by the General
Partner in its sole discretion. Such determinations shall be final and conclusive as to all the
Partners. Notwithstanding anything expressed or implied to the contrary in this Agreement, in
the event the General Partner shall determine, in its sole discretion, that it is prudent to modify
the manner in which the Capital Accounts, or any debits or credits thereto, are computed in order
to effectuate the intended economic sharing arrangement of the Partners, the General Partner
may make such modification.

                 SECTION 7.3.         Tax Allocations.

                (a)     For U.S. federal, state and local income tax purposes, each item of
income, gain, loss and deduction of the Partnership shall be allocated among the Partners as
nearly as possible in the same manner as the corresponding item of income, expense, gain or loss
is allocated pursuant to the other provisions of this Article VII.

               (b)     Notwithstanding anything else to the contrary contained herein, if any
Partner has a deficit Capital Account for any fiscal year as a result of any unexpected adjustment,
{00190096.DOC}                                   25
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 185 of 275




allocation or distribution of the type described in Treasury Regulation Section
1.704-1(b)(2)(d)(4) through (6), then items of the Partnership’s income and gain shall be
specially allocated to each Partner in an amount and manner sufficient to eliminate, to the extent
required by the Treasury Regulations, the deficit, if any, as quickly as possible, provided that an
allocation pursuant to this subsection (b) shall be made only if and to the extent that such Partner
would have such Capital Account deficit after all other allocations provided for in subsection
(a) of this Section 7.3 have been tentatively made as if this subsection (b) were not in this
Agreement. This subsection (b) is intended to comply with the qualified income offset
provisions in Treasury Regulations Section 1.704-1(b)(2)(ii)(d) and shall be interpreted
consistently therewith.

                SECTION 7.4.          Tax Credits. Tax credits, if any, shall be equitably
allocated among the Partners by the General Partner. It is intended that the Capital Accounts
will be maintained at all times in accordance with Section 704 of the Code and applicable
Treasury Regulations thereunder, and that the provisions hereof relating to the Capital Accounts
be interpreted in a manner consistent therewith. The General Partner shall be authorized to make
appropriate amendments to the allocations of items pursuant to this Section 7.4 if necessary in
order to comply with Section 704 of the Code or applicable Treasury Regulations, provided that
no such change shall have an adverse effect upon the amount distributable to any Partner
hereunder.

               SECTION 7.5.           Loans and Withdrawal of Contribution.         Except as
expressly provided herein, no Partner shall be permitted to borrow or make an early withdrawal
of, any portion of the Capital Contributions made by it.

               SECTION 7.6.            No Obligation to Restore. The General Partner shall have
no obligation to restore a negative balance in its Capital Account.

                 SECTION 7.7.         Other Tax Matters.

               (a)     The General Partner is hereby designated as the “Tax Matters Partner” of
the Partnership within the meaning of Section 6231(a)(7) of the Code (and any similar provisions
under any applicable state or local or foreign tax laws). The Tax Matters Partner shall have the
discretionary authority to make all tax elections on behalf of the Partnership and the other
Partners. The Tax Matters Partner shall make all decisions in such capacity in such manner as it
determines to be in the best interests of all of the Partners. All expenses incurred by the Tax
Matters Partner while acting in such capacity shall be paid or reimbursed by the Partnership.

               (b)     It is the intention of the Partners that the Partnership be treated as a
partnership for all relevant tax purposes. The General Partner shall therefore not permit the
Partnership to elect, and the Partnership shall not elect, to be treated as an association taxable as
a corporation for U.S. federal income, state or local income tax purposes under Treasury
Regulations Section 301.7701-3(a) or under any corresponding provision of state or local law.

               (c)    With respect to any issue raised in a tax audit, which primarily affects
Tax-Exempt Limited Partners, the General Partner shall consult with such Limited Partners
through the course of the tax audit and shall not settle any such issue nor extend any statute of
limitations with respect thereto without the consent of Tax-Exempt Limited Partners owning at

{00190096.DOC}                                   26
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 186 of 275




least two-thirds of the LP Interests held by Tax-Exempt Limited Partners not affiliated with the
General Partner or its Affiliates.


                                       ARTICLE VIII
                               REPORTS TO LIMITED PARTNERS

               SECTION 8.1.           Independent Public Accountants. The financial statements
of the Partnership shall be audited as of the end of each fiscal year by a firm of independent
public accountants as shall be selected from time to time by the General Partner.

                 SECTION 8.2.          Reports.

                (a)     Audited Financial Statements. Within one hundred twenty (120) days
after the end of each fiscal year, the General Partner, or its designee, shall prepare, and shall
cause the independent auditors to audit, and shall deliver to each Partner, audited financial
statements (prepared in accordance with U.S. generally accepted accounting principles) setting
forth as of the end of such fiscal year:

                       (i)      a balance sheet of the Partnership;

                       (ii)     an income statement of the Partnership; and

                       (iii)    a statement of the Partnership’s capital.

               (b)      Additional Reports. Within ninety (90) days after the end of each calendar
quarter or calendar year, as applicable, each Limited Partner will be sent, as applicable, (i) a
quarterly unaudited report comprised of the Partnership’s balance sheet and income statement,
and the Limited Partner’s capital account statement, which will include the Limited Partner’s
remaining capital commitment, and a specific statement of any distributions made to each
Partner that are subject to recall for reinvestment pursuant to Section 7.1 of this Agreement, as
applicable; and (ii) the Partnership’s holdings summary report. In addition, the General Partner’s
quarterly report shall disclose to Limited Partners if any investment restrictions set forth in
Section 4.2 have been exceeded by the Partnership at any time during the prior quarter and the
Advisory Committee’s approval of such transactions.

               (c)     Tax Information. Within one hundred twenty (120) days after the end of
each fiscal year, the General Partner shall cause the independent public accountants to prepare
and transmit, as promptly as possible, a report setting forth in sufficient detail such transactions
effected by the Partnership during such fiscal year as shall enable each Partner to prepare its U.S.
federal income tax return, if any. The General Partner shall mail such materials to (i) each
Partner, and (ii) each former Partner (or its successors or assigns) who may require such
information in preparing its U.S. federal income tax return, if any.

              (d)     Reporting for ERISA Partners. The General Partner agrees to timely
provide each ERISA Partner such information regarding its investment in the Partnership as may
be reasonably requested by the ERISA Partner for purposes of completing its annual Form 5500
(including any schedules or attachments thereto) or any other information reports or filings
required by the U.S. Department of Labor or the Internal Revenue Service. In addition, the
{00190096.DOC}                                    27
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 187 of 275




General Partner agrees to timely provide to each ERISA Partner such information and
disclosures as may be required under, and in accordance with, Section 408(b)(2) of ERISA and
the regulations thereunder, to the extent applicable.


                                  ARTICLE IX
                        EXCULPATION AND INDEMNIFICATION

               SECTION 9.1.           Exculpation. No Covered Person will be liable to the
Partnership or to any Limited Partner for any act or omission taken or suffered by such Covered
Person, to the extent that such act or omission is not attributable to such Covered Person’s (i)
gross negligence, (ii) willful misconduct or bad faith, (iii) losses due to the gross negligence of
employees, brokers or other agents of the Partnership or (iv) any intentional and material breach
of the Partnership Agreement (each of items (i) through (iv) are hereinafter referred to as
“Disabling Conduct”). No Limited Partner will be liable to the Partnership or any Limited
Partner for any action taken by any other Limited Partner in its capacity as such.
Notwithstanding the foregoing, at any time that the assets of the Partnership constitute “plan
assets,” Covered Persons shall be liable to the Partnership and the ERISA Partners for any breach
of fiduciary duty under ERISA.

                 SECTION 9.2.         Indemnification.

               (a)     The Partnership will indemnify, to the maximum extent permitted by law,
each Covered Person against any and all claims, liabilities, damages and related expenses,
including legal fees, incurred by them by reason of any action performed or omitted in
connection with the activities of the Partnership or in dealing with third parties on behalf of the
Partnership unless such action or omission is determined pursuant to a final, non-appealable
judgment to constitute Disabling Conduct. Notwithstanding the foregoing, at any time that the
assets of the Partnership constitute “plan assets,” Covered Persons shall not be indemnified for
any breach of fiduciary duty under ERISA.

               (b)     Notwithstanding anything to the contrary contained herein, in the case of
any Proceeding instituted against the Partnership or a Covered Person on or before the third
anniversary of the expiration of the Partnership’s Term, the Partnership may require Limited
Partners to recontribute to the Partnership amounts up to fifty percent (50%) of the aggregate
amount of the distributions previously made to them in order to satisfy the Partnership’s
indemnification obligations under subsection (a); provided, however, that Limited Partners will
not individually be obligated with respect to such indemnification obligations beyond the amount
of their aggregate unfunded Capital Commitments and Capital Account balances.

               (c)    The Partnership will, in the sole discretion of the General Partner and
upon advice of counsel to the effect that a Covered Person is likely to be found entitled to
indemnification pursuant to this Section 9.2, advance to any Covered Person reasonable
attorneys’ fees and other costs and expenses incurred in connection with the defense of any
Proceeding which arises out of such conduct, unless such Proceeding (x) alleges Disabling
Conduct and (y) was brought against the Covered Person by Limited Partners representing at
least 66.66% of the aggregate LP Interests of Limited Partners other than the LP Interests of
Defaulting Partners and the LP Interests held by the General Partner and its Affiliates, in which

{00190096.DOC}                                  28
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 188 of 275




event such advance may only be made with the consent of the Advisory Committee. Any such
advance will be subject to repayment to the extent that it is finally judicially determined that the
Covered Person was not entitled to indemnification. The Partnership will indemnify and hold
harmless each Person that is a responsible withholding agent against all claims, liabilities and
expenses (not resulting from such Person’s willful misconduct) relating to such Person’s
obligation to withhold and pay any withholding or other taxes payable by the Partnership or as a
result of a Limited Partner’s participation in the Partnership.

               (d)    All of the foregoing contribution or recontribution obligations shall
survive the termination of this Agreement.

                SECTION 9.3.            Exclusive Jurisdiction. To the fullest extent permitted by
applicable law, the General Partner and each Limited Partner hereby agrees that any claim,
action or proceeding by any Limited Partner seeking any relief whatsoever against any Covered
Person based on, arising out of, or in connection with, this Agreement or the Partnership’s
business or affairs shall be brought only in the U.S. federal courts located in California and not in
any other State or U.S. federal court in the United States of America or any court in any other
country. The General Partner and each Limited Partner acknowledges that, in the event of any
breach of this provision, the Covered Persons have no adequate remedy at law and shall be
entitled to injunctive relief to enforce the terms of this Section 9.3. Notwithstanding anything to
the contrary, a government sponsored retirement plan shall not be treated as having submitted
hereby to the jurisdiction of the U.S. federal courts in California when law, regulation or policy
prohibits such a plan from submitting to the jurisdiction of courts beyond its own jurisdiction.


                                      ARTICLE X
                       TERM AND DISSOLUTION OF THE PARTNERSHIP

                SECTION 10.1.          Term. Unless sooner dissolved pursuant to Section 10.2,
the Partnership shall continue for seven (7) years from the Final Closing Date, subject to
extension, in the sole discretion of the General Partner, of up to three (3) additional one (1) year
periods (the “Term”) as determined to be reasonably necessary by the General Partner to effect
an orderly liquidation of the Partnership Investments and consented to by the Advisory
Committee.

                SECTION 10.2.           Dissolution. Subject to the Partnership Act, the Partnership
shall be dissolved and its affairs shall be wound up upon the earliest of:

              (a)        the expiration of the Term of the Partnership as determined in accordance
with Section 10.1;

                 (b)     the bankruptcy, liquidation, dissolution or insolvency of the General
Partner;

                 (c)     the withdrawal of the General Partner pursuant to Section 11.2; and

                 (d)     any date determined by the General Partner in its sole discretion.


{00190096.DOC}                                    29
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 189 of 275




Upon the occurrence of an event specified in clauses (b) or (c) above, Limited Partners not
affiliated with the General Partner or its Affiliates owning at least seventy five percent (75%) of
the LP Interests may agree to continue the Partnership and in such event will select a new
general partner.

                SECTION 10.3.           Liquidation of the Partnership. Upon dissolution, the
Partnership’s business shall be liquidated in an orderly manner. Except as provided in the
second succeeding sentence, the General Partner shall be the liquidator to wind up the affairs of
the Partnership pursuant to this Agreement. The responsibilities of the General Partner shall be
consistent with the responsibilities provided for it in this Agreement. If there shall be no General
Partner, the Limited Partners, upon the approval of the Required Limited Partners, may appoint
one or more Persons to act as the liquidator in carrying out such liquidation. In performing its
duties, the General Partner or such other appointed person, as the case may be (the “Liquidator”),
is authorized to sell, distribute, exchange or otherwise dispose of the assets of the Partnership in
any reasonable manner that the Liquidator shall determine to be in the best interest of the
Partners.

                 SECTION 10.4.         Distribution Upon Dissolution of the Partnership.

                  (a)    Liquidating Distribution. Upon dissolution of the Partnership, the
Liquidator winding up the affairs of the Partnership shall determine, in its sole discretion, which
assets of the Partnership shall be sold and which assets of the Partnership shall be retained for
distribution in kind to the Partners. The Capital Accounts shall be adjusted in accordance with
Section 7.2, immediately prior to any such distribution in kind to reflect the gain or loss that
would be recognized had the assets to be distributed in kind been sold for their Fair Value. After
all liabilities (contingent or otherwise) of the Partnership have been satisfied or duly provided for
(as determined by the Liquidator in its sole discretion), the remaining assets of the Partnership
shall be distributed to the Partners in accordance with Article VII. Any goodwill of the
Partnership, and any right to use of the Partnership’s name, shall belong exclusively to the
General Partner.

                (b)    Liquidating Trust, etc. If the Partnership is unable to dispose of all of its
interests in a Partnership Investment prior to its termination, the Liquidator may, in its sole
discretion, and subject to the Partnership Act, transfer such interests to a trust established for the
benefit of the Partners for purposes of liquidating Partnership assets, collecting amounts owed to
the Partnership and paying any debts, liabilities or other obligations of the Partnership or the
General Partner arising out of, or in connection with, this Agreement or the Partnership’s
business or affairs.

                The assets of any trust established pursuant to this Section 10.4(b) shall be
distributed to the Partners from time to time, in the sole discretion of the Liquidator, in the same
proportions as the amount distributed to such trust by the Partnership would otherwise have been
distributed to the Partners pursuant to this Agreement.

               (c)     Clawback Payments. Upon the dissolution of the Partnership, the General
Partner will be obligated to make a payment to the Limited Partners (the “Clawback Payment”)
equal to the amount of any Carried Interest received by the General Partner to the extent that
either (i) the General Partner has received Carried Interest distributions in excess of twenty

{00190096.DOC}                                   30
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 190 of 275




percent (20%) of the aggregate amount of the Net Profits of the Partnership or (ii) the Limited
Partners have not received a return of their Capital Contributions to the Partnership plus a
cumulative return on such Capital Contributions equal to seven and one-half percent (7.5%) as
set forth in Section 7.1(a), and such calculation of any required payment shall be made if and to
the extent such Limited Partners ultimately have to return any amounts to the Partnership due to
the Limited Partner clawback provisions set forth in Section 7.1(g) and 9.2(b). The Partnership
shall distribute the Clawback Payment to the Limited Partners in proportion to their respective
Capital Contributions. Notwithstanding the foregoing, the amount of the Clawback Payment
shall not exceed the aggregate amount of the Carried Interest received by the General Partner
with respect to all Partnership Investments, net of applicable income taxes.

               (d)     No Priority. Each Partner shall look solely to the assets of the Partnership
for the return of such Partner’s aggregate Capital Contributions in Partnership Investments and
no Partner shall have priority over any other Partner as to the return of such Capital
Contributions.

                SECTION 10.5.          No Voluntary Withdrawal by Limited Partners. A Limited
Partner may not voluntarily withdraw from the Partnership prior to its dissolution and winding
up, and no LP Interest is redeemable or repurchasable by the Partnership at the option of a
Limited Partner. Except as expressly provided in this Agreement, no event affecting a Limited
Partner (including death, bankruptcy or insolvency) shall affect its obligations under this
Agreement or affect the Partnership. Notwithstanding the foregoing, at any time during which
the assets of the Partnership constitute “plan assets,” any ERISA Partner may elect to withdraw
from the Partnership by providing written notice to the General Partner of its request for such a
withdrawal at least sixty (60) days prior to the requested withdrawal date. On such withdrawal
date, the withdrawing ERISA Partner shall be paid the Fair Value of its LP Interest; provided,
however, that, at the sole discretion of the General Partner, all or a portion of such payment may
be made in the form of a note issued by the Partnership, which note shall bear interest at the rate
of seven and one-half percent (7.5%) per annum, compounded annually, shall be pre-payable at
any time, and shall have a final maturity date no later than seven (7) years from the Final Closing
Date.

                SECTION 10.6.          Required Withdrawal of Limited Partners. The General
Partner, upon thirty (30) Business Days’ prior written notice, may require any Limited Partner to
withdraw from the Partnership at the end of any fiscal quarter in which such notice is given if the
General Partner determines, in its sole discretion, that the continued participation of such
Limited Partner in the Partnership would adversely affect either the Partnership, the General
Partner or the Manager (e.g., by involving the Partnership, the General Partner, the Manager or
any Partner in litigation, or causing the Partnership to be required to register under the
Investment Company Act or other reasons including, without limitation, if the General Partner,
in its sole discretion, determines that the holding of a LP Interest by any Limited Partner could
result in the Partnership being subject to ERISA). In such an instance, the withdrawing Limited
Partner shall not contribute additional capital to the Partnership in respect of subsequent Capital
Calls and the withdrawing Limited Partner’s LP Interest will be entirely terminated. Any
required withdrawal of ERISA Partners to avoid the assets of the Partnership being “plan assets”
shall be pro rata among the ERISA Partners. Any required withdrawal pursuant to this Section
10.6 shall be based on the Fair Value of the withdrawing Limited Partner’s LP Interest.


{00190096.DOC}                                  31
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 191 of 275




                SECTION 10.7.         Payments Upon Withdrawal. Upon the withdrawal of a
Limited Partner who is not a Defaulting Partner, ninety percent (90%) of the withdrawing
Limited Partner’s Capital Account balance on the termination date shall be paid to such Limited
Partner within ninety (90) days thereof or as soon thereafter as the Partnership has funds
available therefore. The remaining ten percent (10%) of the balance of such withdrawing
Limited Partner’s Capital Account on the termination date shall be paid to such Limited Partner
upon completion of the audit of the Partnership’s financial statements for the fiscal year involved
or as soon thereafter as is reasonably practicable. Such Capital Account balance may not
necessarily reflect the market value of a Partnership Investment. Such Limited Partner shall not
be entitled to receive or demand any other or further distributions, including any distributions
pursuant to Section 17-604 of the Partnership Act. All expenses of a withdrawal of capital from
the Partnership by a Limited Partner generally will be borne by the Partnership; provided,
however, that any incremental legal or accounting expenses incurred by the Partnership as a
result of withdrawals of capital of a Limited Partner may, in the sole discretion of the General
Partner, be charged to such Limited Partner through a reduction of the distributions to such
withdrawing Limited Partner; and, provided further, that any expenses of a withdrawal of capital
from the Partnership by an ERISA Partner required to avoid the assets of the Partnership being
“plan assets” shall be borne by the General Partner.


                                ARTICLE XI
            TRANSFERABILITY OF THE GENERAL PARTNER’S INTEREST

                 SECTION 11.1.          Transferability of the General Partner’s Interest. The
General Partner may not, directly or indirectly, Transfer all or a portion of its general partner
interest in the Partnership (the “GP Interest”) to any Person. Notwithstanding the foregoing, the
General Partner may make a Transfer of all or any portion of its GP Interest (i) to an Affiliate or
to a Person which succeeds to the private equity business of the General Partner as an entirety,
(ii) to any Person in connection with a pledge securing a loan made to the Partnership, or
(iii) with the prior written consent of the Required Limited Partners. The General Partner may at
any time, in its sole discretion, admit any Person to whom the General Partner is permitted to
make a Transfer pursuant to the immediately preceding sentence as an additional general partner
of the Partnership, and such transferee shall be deemed admitted to the Partnership as a General
Partner of the Partnership immediately prior to such Transfer and shall continue the business of
the Partnership without dissolution. Except as otherwise provided in Sections 11.2 and 11.3, the
General Partner may not withdraw from the Partnership or be removed as a general partner of the
Partnership.

                SECTION 11.2.         Withdrawal of the General Partner. The General Partner
shall be permitted to withdraw as a general partner of the Partnership, unless, in the opinion of
counsel to the Partnership, the General Partner’s withdrawal as a general partner would result in
a violation of any law or regulation of the U.S. or any State thereof. In the event that the General
Partner withdraws from the Partnership pursuant to this Section 11.2, the Partnership shall
dissolve and its affairs wound up in accordance with Article X (subject to the right that Limited
Partners have to continue the Partnership and elect a new general partner in accordance with
Section 10.2).



{00190096.DOC}                                  32
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 192 of 275




                 SECTION 11.3.        Removal of the General Partner.

                (a)     The General Partner may be removed upon the occurrence of a “Cause
Event” on not less than thirty (30) days’ written notice from Limited Partners not affiliated with
the General Partner or its Affiliates owning at least seventy-five percent (75%) of the aggregate
Capital Commitments of the Limited Partners; provided, however, that (i) the General Partner
will not be removed if, within the thirty (30) day period following such written notice, the
General Partner cures the Cause Event to the satisfaction of at least seventy-five percent (75%)
of the aggregate Capital Commitments of the Limited Partners not affiliated with the General
Partner or its Affiliates, and (ii) the General Partner may call a meeting of the Limited Partners
for the purpose of a confirmatory vote on the removal of the General Partner which may override
or confirm the removal decision. For this purpose, the term “Cause Event” shall mean Disabling
Conduct by the General Partner or Manager as determined by a final, non-appealable judgment
of any court or governmental body referenced in Section 13.12 that has a material adverse effect
on the Partnership. Notwithstanding the foregoing, at any time that the assets of the Partnership
are “plan assets,” the General Partner may be removed without the occurrence of a Cause Event
on not less than sixty (60) days’ written notice from Limited Partners not affiliated with the
General Partner or its Affiliates owning at least eighty-five percent (85%) of the aggregate
Capital Commitments of the Limited Partners.

               (b)    Within fifteen (15) days after the removal of the General Partner and upon
a vote of the Required Limited Partners, the Partnership shall distribute to the General Partner an
amount in cash equal to the value of the General Partner’s Capital Account balance as of the date
of such removal; provided, however that such amounts owed in respect of the General Partner’s
Capital Account may be reduced to reflect any damages suffered by the Partnership as a result of
the General Partner’s breach of its duties as described in Section 11.3(a), as finally determined in
a judgment by any court or governmental body referenced in Section 13.12.

                (c)     Upon the removal of the General Partner for a Cause Event pursuant to
clause (a) above, (i) the Management Agreement between the Manager and the Partnership shall
immediately be terminated and the Manager shall be entitled to receive the Management Fee
accrued through the date of such removal but shall not be entitled to receive any Management
Fee accruing after such date, (ii) the General Partner shall be entitled to receive fifty percent
(50%) of the Carried Interest with respect to the amount of the appreciation in the value of the
Partnership Investments that are held by the Partnership on the date of the General Partner’s
removal that has accrued as of such date, but shall not be entitled to receive the remaining fifty
percent (50%) of the Carried Interest on the existing investment appreciation through the date of
removal or any Carried Interest with respect to any appreciation in the value of any Partnership
Investment accruing after such removal date, and (iii) the General Partner and the Manager shall
be entitled to receive from the Partnership any reimbursements or expenses due and owing to it
by the Partnership.

               (d)    Upon the removal of the General Partner without a Cause Event pursuant
to clause (a) above, (i) the Management Agreement between the Manager and the Partnership
shall immediately be terminated and the Manager shall be entitled to receive the Management
Fee accrued through the date of such removal but shall not be entitled to receive any
Management Fee accruing after such date, (ii) the General Partner shall be entitled to receive one
hundred percent (100%) of the Carried Interest with respect to the amount of the appreciation in

{00190096.DOC}                                  33
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 193 of 275




the value of the Partnership Investments that are held by the Partnership on the date of the
General Partner’s removal that has accrued as of such date, but shall not be entitled to receive the
Carried Interest with respect to any appreciation in the value of any Partnership Investment
accruing after such removal date, and (iii) the General Partner and the Manager shall be entitled
to receive from the Partnership any reimbursements or expenses due and owing to it by the
Partnership.




                                   ARTICLE XII
                 TRANSFERABILITY OF A LIMITED PARTNER’S INTEREST

                 SECTION 12.1.         Conditions for Transfer.

                 (a)    Consent of the General Partner. A Limited Partner may Transfer all or
any part of its LP Interest only with the consent in writing of the General Partner, which consent
may be withheld by the General Partner in its sole discretion, and only upon the satisfaction of
the conditions specified in Section 12.1(b). The General Partner hereby agrees that it shall (i)
consent to the transfer of all or any part of an ERISA Partner’s LP Interest to a successor trustee
or trustees, or a successor trust or trusts and (ii) to the admission and substitution of any such
successor trustee or successor trust as a Limited Partner or Limited Partners of the Partnership;
provided that any such transfer otherwise complies with this Article XII, provided, however, that
notwithstanding Section 12.1(b), the General Partner shall not require the delivery of an opinion
of counsel in connection with any such transfer. The General Partner further agrees not to
unreasonably withhold its consent to a transfer of all or any part of an ERISA Partner’s LP
Interest to the extent such transfer otherwise complies with this Article XII.

                (b)     Conditions Required to be Satisfied. Unless required by applicable law or
permitted in the sole discretion of the General Partner, no Limited Partner may Transfer all or
any part of its LP Interest, and no attempted or purported Transfer of such LP Interest shall be
effective, unless (i) after giving effect thereto, such Transfer would not otherwise terminate the
Partnership for the purposes of Section 708 of the Code, (ii) such Transfer would not result in a
violation of applicable law, including any federal and state securities laws and provided that, if
such Transfer would cause the General Partner to violate any covenant of this Agreement or any
Subscription Agreement and the General Partner has taken all reasonable steps to prevent such
violation, the General Partner shall not be liable to the Partnership as a result thereof and the
General Partner shall be indemnified by such Limited Partner for any losses, costs, damages or
expenses incurred as a result of such violation, (iii) such Transfer would not cause the
Partnership to lose its status as a partnership that is not a publicly-traded partnership for federal
income tax purposes or cause the Partnership to become subject to the Investment Company Act,
(iv) such Transfer would not result in Limited Partners losing their limited liability under the
Partnership Act, (v) if requested by the General Partner, such Limited Partner has delivered a
favorable opinion in form and substance satisfactory to the General Partner from counsel
satisfactory to the General Partner as to the matters referred to in clauses (ii), (iii) and (iv) above;
and (vi) such Transfer occurs on a date approved by the General Partner.



{00190096.DOC}                                    34
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 194 of 275




                SECTION 12.2.         Substitute Limited Partner; Recognition of Transfer. A
purchaser, assignee or transferee of a Limited Partner’s LP Interest (a “Transferee”) shall have
the right to become a Substitute Limited Partner only if the following conditions (in addition to
those set forth in Section 12.1 above) are satisfied:

                (a)    A duly executed and acknowledged written instrument of assignment or
document of transfer satisfactory in form and substance to the General Partner shall have been
filed with the Partnership;

                (b)    The Limited Partner and the Transferee shall have executed and
acknowledged such other instruments and documents and taken such other action as the General
Partner shall reasonably deem necessary or desirable to effect such substitution;

               (c)     The Limited Partner or the Transferee shall have paid to the Partnership
such amount of money as is sufficient to cover all costs, fees and expenses (including attorneys
fees) incurred by or on behalf of the Partnership in connection with such substitution; and

                 (d)   The General Partner shall have consented to such substitution.

               In the event of the admission of a Transferee as a Substitute Limited Partner, all
references herein to the Limited Partners shall be deemed to apply to such Substitute Limited
Partner and such Substitute Limited Partner shall succeed to all rights and obligations of the
transferor Limited Partner hereunder, including the Capital Account balance of such transferor.

               A Transferee who is not admitted to the Partnership as a Substitute Limited
Partner shall have none of the rights of, and no liability as, a Partner and the assignor in such
case shall remain fully liable for the unpaid portion of its Capital Commitment.

                If a Limited Partner requests the General Partner’s assistance in identifying a
possible purchaser of all or any portion of such Limited Partner’s LP Interest, then, subject to
any applicable confidentiality obligations and avoidance of the assets of the Partnership
constituting ERISA “plan assets” (if they are not already prior to such transfer), the General
Partner shall use commercially reasonable efforts to (a) inform such Limited Partner that the
other Limited Partners might be interested in acquiring such LP Interest, and (b) provide written
notice to the other Limited Partners of such Limited Partner’s interest in selling all or any portion
of the LP Interest, it being understood no Limited Partner shall have any obligation to purchase
the LP Interest from such Limited Partner by reason of this provision.


                                        ARTICLE XIII
                                       MISCELLANEOUS

                 SECTION 13.1.        Amendments.

                (a)     Except as otherwise expressly provided herein, this Agreement may be
modified or amended, and any provision hereof may be waived, by a writing signed by or on
behalf of the General Partner; provided that, no such modification, amendment or waiver shall
(a) materially increase or extend any financial obligation or liability of a Limited Partner beyond
that set forth herein or permitted hereby without the consent of such adversely affected Limited
{00190096.DOC}                                   35
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 195 of 275




Partner, (b) materially and adversely affect the rights of a Limited Partner without the consent of
such adversely affected Limited Partner, or (c) change the provisions of this Section 13.1 without
the consent of each Limited Partner. Any consent required by this Section 13.1 may be obtained
by the Partnership sending notice to the Limited Partners of the proposed amendment and
instructing the Limited Partners who object to such amendment to notify the Partnership of their
objection in writing within thirty (30) days after such notice. In such case, Limited Partners who
have not so objected to the proposed amendment will be deemed to have approved the
amendment.

                 (b)    Each Partner authorizes the General Partner to elect to apply the safe
harbor set forth in proposed Treasury Regulation Section 1.83-3(l) (under which the Fair Value
of a GP Interest that is Transferred in connection with the performance of services is treated as
being equal to the liquidation value of the GP Interest) if such proposed Treasury Regulation or a
similar Treasury Regulation is promulgated as a final or temporary Treasury Regulation. If the
General Partner determines that the Partnership should make such election, the General Partner is
hereby authorized to amend this Agreement without the consent of any other Partner or other
Person (so long as such amendment is not reasonably expected to have a material adverse effect
on any Limited Partner) to provide that (i) the Partnership is authorized and directed to elect the
safe harbor, (ii) the Partnership and each of its Partners (including any Person to whom a GP
Interest is Transferred in connection with the performance of services) will comply with all
requirements of the safe harbor with respect to all Partnership interests Transferred in connection
with the performance of services while such election remains in effect, and (iii) the Partnership
and each of its Partners will take all actions necessary, including providing the Partnership with
any required information, to permit the Partnership to comply with the requirements set forth or
referred to in the applicable Treasury Regulations for such election to be effective until such time
(if any) as the General Partner determines, in its sole discretion, that the Partnership should
terminate such election. The General Partner is further authorized to amend this Agreement to
modify Article VII to the extent the General Partner determines in its discretion that such
modification is necessary or desirable as a result of the issuance of Treasury Regulations relating
to the tax treatment of the transfer of a Partnership interest in connection with the performance of
services. Notwithstanding anything to the contrary in this Agreement, each Partner expressly
confirms and agrees that it will be legally bound by any such amendment.

               SECTION 13.2.            Approvals. Except as otherwise specifically provided
herein, each Limited Partner agrees that, to the extent permitted by applicable law, for purposes
of granting the approval of the Limited Partners with respect to any proposed action of the
Partnership, the General Partner or any Affiliate of the General Partner, the written approval of
the Required Limited Partners shall bind the Partnership and each Limited Partner and shall have
the same legal effect as the written approval of each Partner. The General Partner may request
the written approval of the Required Limited Partners to approve any matter that the General
Partner determines, in its sole discretion, necessary or desirable to be so approved.

               SECTION 13.3.           Notices. All notices, requests and other communications to
any party hereunder shall be in writing (including facsimile or similar writing) and shall be given
to such party (a) if such party is a Limited Partner, at its address or facsimile number set forth in
a schedule filed with the records of the Partnership or such other address or facsimile number as
such Limited Partner may hereafter specify by notice to the General Partner for such purpose, or
(b) if such party is the General Partner or the Partnership, at the address set forth in Section

{00190096.DOC}                                   36
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 196 of 275




2.2(b). Each such notice, request or other communication shall be effective (i) if given by
facsimile, when such facsimile is transmitted to the facsimile number specified and the
appropriate answerback or confirmation is received, (ii) if given by mail, five (5) days after such
communication is deposited in the mails with first class postage prepaid, addressed as aforesaid,
(iii) if given by overnight courier, forty-eight (48) hours after such communication is received by
such courier, or (iv) if given by any other means, when delivered at the address specified
pursuant to this Section 13.3.

               SECTION 13.4.         Successors; Counterparts. This Agreement (i) shall be
binding upon the successors and permitted assigns of the Partners, and (ii) may be executed in
several counterparts with the same effect as if the parties executing the several counterparts had
all executed one counterpart.

                SECTION 13.5.          Governing Law; Severability. This Agreement shall be
governed by and construed in accordance with the laws of the State of Delaware (without regard
to the conflict of laws principles thereof). In particular, it shall be construed to the maximum
extent possible to comply with all of the terms and conditions of the Partnership Act. If it shall
be determined by a court of competent jurisdiction that any provision or wording of this
Agreement shall be invalid or unenforceable under the Partnership Act or other applicable law,
such invalidity or unenforceability shall not invalidate the entire Agreement, in which case this
Agreement shall be construed so as to limit any term or provision so as to make it enforceable or
valid within the requirements of applicable law, and, in the event such term or provision cannot
be so limited, this Agreement shall be construed to omit such invalid or unenforceable
provisions.

               SECTION 13.6.          Filings. The General Partner shall promptly prepare,
following the execution and delivery of this Agreement, any documents required to be filed and
recorded, or which the General Partner determines, in its sole discretion, are appropriate for
filing and recording, under the Partnership Act, and the General Partner shall promptly cause
each such document to be filed and recorded in accordance with the Partnership Act and, to the
extent required by local law, to be filed and recorded or notice thereof to be published in the
appropriate place in each jurisdiction in which the Partnership may hereafter establish a place of
business. The General Partner shall also promptly cause to be filed, recorded and published such
statements of fictitious business name and other notices, certificates, statements or other
instruments required by any provision of applicable law of any jurisdiction which governs the
conduct of the General Partner’s business from time to time.

                 SECTION 13.7.        Power of Attorney.

                (a)      Appointment of Attorney-In-Fact. Each Limited Partner does hereby
constitute and appoint the General Partner as its true and lawful representative and
attorney-in-fact, in its name, place and stead to make, execute, sign and file (i) any amendment to
the Certificate of Limited Partnership of the Partnership required because of an amendment to
this Agreement or in order to effectuate any change in the membership of the Partnership,
(ii) any amendments to this Agreement in accordance with Section 13.1, (iii) all such other
instruments, documents and certificates which may from time to time be required by the laws of
the State of Delaware to effectuate, implement and continue the valid and subsisting existence of
the Partnership or to dissolve the Partnership, and (iv) any agreements, documents, guarantees,

{00190096.DOC}                                  37
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 197 of 275




or other instruments relating to any such borrowings or indebtedness incurred by the Partnership
and each Limited Partner agrees to cooperate with the Partnership in providing all relevant
documentation in connection with such borrowings or indebtedness; provided, the General
Partner may not make, execute, sign or file any document, agreement, guarantee or other
instrument that would subject a Limited Partner to any obligation beyond the amount of such
Limited Partner’s unfunded Capital Commitment.

                (b)     Power Coupled With an Interest. The power of attorney granted pursuant
to this Section 13.7 shall (i) survive and not be affected by the subsequent death, legal
incapacity, disability, dissolution, termination or bankruptcy of the Limited Partner granting such
power of attorney or the Transfer of all or any portion of such Limited Partner’s LP Interest, and
(ii) extend to such Limited Partner’s successors, permitted assigns and legal representatives.

                SECTION 13.8.          No Right to Partition. To the extent permitted by law, and
except as otherwise expressly provided in this Agreement, the Partners, on behalf of themselves
and their shareholders, partners, heirs, executors, administrators, personal or legal
representatives, successors and permitted assigns, if any, hereby specifically renounce, waive
and forfeit all rights, whether arising under contract or statute or by operation of law, to seek,
bring or maintain any action in any court of law or equity for partition or similar action of the
Partnership or any asset of the Partnership, or any interest which is considered to be partnership
property, regardless of the manner in which title to such property may be held.

               SECTION 13.9.          Goodwill.      No value shall be placed on the name or
goodwill of the Partnership.

               SECTION 13.10.          Headings. Section and other headings contained in this
Agreement are for reference purposes only and are not intended to describe, interpret, define or
limit the scope or intent of this Agreement or any provision hereof.

               SECTION 13.11.        Entire Agreement. This Agreement and the Subscription
Agreement constitutes the entire agreement among the Partners with respect to the subject matter
hereof, and supersede any prior agreement or understanding among them with respect to such
subject matter. Notwithstanding the provisions of this Agreement, including without limitation
Section 13.1, or the provisions of any Subscription Agreements, the parties hereto agree that the
General Partner, without the approval of any Limited Partner or any other Person, may enter into
a side letter or similar written agreement (an “Other Agreement”) on its own behalf and on
behalf of the Partnership with Limited Partners which have the effect of establishing rights
under, or altering or supplementing the terms of, this Agreement or any Subscription
Agreements. The parties hereto agree that any terms contained in an Other Agreement with a
Limited Partner shall govern with respect to such Limited Partner notwithstanding the provisions
of this Agreement or any Subscription Agreements. The representations and warranties of the
General Partner and the Limited Partners in, and the other provisions of, the Subscription
Agreements and any Other Agreements, and the obligations of the Partners pursuant to Article
IX of this Agreement, shall survive the termination or expiration of this Agreement and the
termination, dissolution and winding up of the Partnership.

              SECTION 13.12.         Submission to Jurisdiction.       Each party irrevocably
consents and agrees that any legal action or proceeding with respect to this Agreement and any

{00190096.DOC}                                  38
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 198 of 275




action for enforcement of any judgment in respect thereof may be brought in the courts of the
State of California or the U.S. federal courts for California and, by execution and delivery of this
Agreement, each party hereby submits to and accepts for itself and in respect of its property,
generally and unconditionally, the non-exclusive jurisdiction of the aforesaid courts and
appellate courts from any appeal thereof. Each party hereby irrevocably waives any objection
which it may now or hereafter have to the laying of venue of any of the aforesaid actions or
proceedings arising out of or in connection with this Agreement brought in the courts referred to
above and hereby further irrevocably waives and agrees not to plead or claim in any such court
that any such action or proceeding brought in any such court has been brought in an inconvenient
forum. Nothing in this Section shall be deemed to constitute a submission to jurisdiction,
consent or waiver with respect to any matter not specifically referred to herein.




{00190096.DOC}                                  39
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 199 of 275




             IN WITNESS WHEREOF, the undersigned have executed and delivered this
document dated as of ________________ __, 20__.

GENERAL PARTNER:

WHITE OAK PARTNERS, LLC




LIMITED PARTNERS:

     [SIGNATURES OF LIMITED PARTNERS ARE SET FORTH ON SEPARATE
     SIGNATURE PAGES]




{00190096.DOC}                         40
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 200 of 275




                                                                                      Appendix A
                                           DEFINITIONS


               “Additional Limited Partner” means a Limited Partner admitted to the Partnership
at a Closing subsequent to the Initial Closing.

               “Administrator” shall mean any administrator selected by the General Partner for
the Partnership from time to time.

                 “Advisory Committee” has the meaning set forth in Section 3.16.

                “Affiliate” of any specified Person means any other Person that, directly or
indirectly through one or more intermediaries, controls, is controlled by or is under common
control with the Person specified. The term “control” means the possession, directly or
indirectly, of the power to direct or cause the direction of the management and policies of a
Person, whether through the ownership of voting securities, by contract or otherwise.

               “Agreement” means this Limited Partnership Agreement, as amended or restated
from time to time.

                “Assumed Tax Rate” means the highest effective marginal combined federal,
state and local income tax rate for the calendar year involved applicable to any individual
resident in New York City (taking into account the deductibility of state and local income taxes
for federal income tax purposes).

                 “Authorized Representative” has the meaning set forth in Section 3.8(a).

               “Borrowing Costs” means with respect to any borrowing, any interest fees or
expenses attributable to such borrowing, but shall not include any repayment of principal.

             “Business Day” means any day except a Saturday, Sunday or other day on which
commercial banks in New York City are authorized by law to close.

                 “Capital Account” has the meaning set forth in Section 7.2(a).

               “Capital Call” means a capital call of cash contributions from all Partners except
as otherwise provided pursuant to a Capital Call Notice in accordance with Article VI.

               “Capital Call Amount” means the aggregate Capital Contributions to be made on
any date by the Partners pursuant to Article VI.

                 “Capital Call Date” has the meaning set forth in Section 6.2(b).

                 “Capital Call Notice” has the meaning set forth in Section 6.2(a).

               “Capital Commitment” means, with respect to any Partner at any time, the amount
specified as such Partner’s Capital Commitment at the time such Partner was admitted to the
Partnership.
{00190096.DOC}                                41
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 201 of 275




               “Capital Contribution” means, with respect to any Partner, a cash contribution (or
deemed cash contribution) made by such Partner to the Partnership pursuant to Section 2.5,
Article VI and Article IX.

                 “Carried Interest” has the meaning set forth in Section 7.1(a).

                 “Cause Event” has the meaning set forth in Section 11.3(a).

                 “Clawback Payment” has the meaning set forth in Section 10.4(c).

              “Closing” means a closing of the sale of LP Interests to investors and such
investors’ admission as Limited Partners, or an Existing Limited Partner’s increase of its Capital
Commitment.

                 “Code” means the Internal Revenue Code of 1986, as amended from time to time.

                 “Co-Investment Funds” has the meaning set forth in Section 4.3.

                 “Covered Person” means a member of the General Partner Group or the Advisory
Committee.

               “Default” means any failure of a Limited Partner to make all or a portion of any
required Capital Contribution on the applicable Capital Call Date or other due date.

               “Defaulting Partner” means, at any time, each Limited Partner, who, at or prior to
such time, has committed or has been deemed to have committed a Default that has become an
Event of Default.

                 “Disposed Investment” has the meaning set forth in Section 7.1(a)(i).

                “Distributable Cash” means cash receipts of all kinds derived by the Partnership
from its ownership or disposition of Partnership Investments (whether or not distributed pursuant
to Section 7.1(a)) less (x) any amounts retained by the Partnership in accordance with Section
7.1(e), and (y) any income derived by the Partnership from Temporary Investments.

                 “Electing Partner” has the meaning set forth in Section 7.1(a).

             “ERISA” means the Employee Retirement Income Security Act of 1974, as
amended from time to time.

               “ERISA Election Date” means the date, if any, on or before the Final Closing
Date on which the General Partner elects to rely upon the twenty-five percent (25%) limit
contained in the Plan Asset Regulation to avoid having the Partnership’s assets be deemed to be
subject to ERISA.

                “ERISA Partner” means any Limited Partner that is (i) an employee benefit plan
which is subject to the provisions of Part 4 of Subtitle B of Title I of ERISA, (ii) a plan or
individual retirement account which is subject to Section 4975 of the Code, or (iii) a nominee



{00190096.DOC}                                    42
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 202 of 275




for, or is using the assets of, or is a trust established pursuant to, one or more employee benefit
plans, or other such plans or individual retirement accounts.

               “Event of Default” means any Default that shall have not been (i) cured by the
Limited Partner who committed such Default within ten (10) Business Days after the occurrence
of such Default, or (ii) waived by the General Partner on such terms as determined by the
General Partner in its sole discretion before such Default has otherwise become an Event of
Default pursuant to clause (i) hereof and, to the extent required pursuant to Section 6.3 with
respect to any Defaulting Partner that is affiliated with the General Partner or its Affiliates, only
upon the prior written approval of the Advisory Committee.

                 “Excluded Limited Partner” has the meaning set forth in Section 6.6(a).

                 “Existing Limited Partners” has the meaning set forth in Section 2.5(b).

               “Fair Value” means the valuation of a Partnership Investment or other Partnership
property by the General Partner (or other Person) in good faith in accordance with Section 3.12.

               “Final Closing” means the last Closing which shall take place not later than
eighteen (18) months after the Initial Closing Date.

                 “Final Closing Date” means the date of the Final Closing.

               “Follow-On Investments” means an additional investment of capital by the
Partnership in an existing Partnership Investment.

              “General Partner” means White Oak Partners, LLC, a Delaware limited liability
company, and its successors.

               “General Partner Group” means the General Partner, the Manager and their
respective Affiliates, officers, directors, members, principals, stockholders, employees,
controlling persons, representatives or other agents.

                 “GP Interest” has the meaning set forth in Section 11.1.

                 “Initial Closing” means the first Closing.

                 “Initial Closing Date” means the date of the Initial Closing.

               “Initial Investment Date” means the date of the Partnership’s first investment in a
Partnership Investment.

                 “Investment Committee” has the meaning set forth in Section 3.18.

             “Investment Company Act” means the Investment Company Act of 1940, as
amended from time to time.

               “Investment Period” means the period during which the Partnership may make
commitments to Partnership Investments. The Investment Period shall commence on the date of
the Initial Closing and end twenty-four (24) months following the last day of the month that
{00190096.DOC}                                    43
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 203 of 275




includes the Final Closing Date; provided, however, that at any time after the second anniversary
of the Initial Closing Date, Limited Partners not affiliated with the General Partner or its
Affiliates owning at least eighty-five percent (85%) of the aggregate Capital Commitments of the
Limited Partners not affiliated with the General Partner or its Affiliates may elect to terminate
the Investment Period.

                 “Key Person Event” has the meaning set forth in Section 6.1(d).

                “Limited Partner” means, at any time, any Person who is at such time a limited
partner of the Partnership.

                 “Limited Partner Advisory Committee” has the meaning set forth in Section 3.16.

                 “Liquidator” has the meaning set forth in Section 10.3.

                 “LP Interest” means an interest in the Partnership as a Limited Partner.

              “Management Agreement” shall mean the investment management agreement by
and between the Partnership and the Manager.

                 “Management Fee” has the meaning set forth in Section 3.3(a).

                 “Manager” means White Oak Global Advisors, LLC, a Delaware limited liability
company.

                 “Manager Expenses” has the meaning set forth in Section 5.1.

                 “Marketable Securities” means securities for which a public market (national
exchange or NASDAQ national market) exists and which may be traded by the Limited Partners
without restrictions.

                 “Net Losses” has the meaning set forth in Section 7.2(d).

                 “Net Profits” has the meaning set forth in Section 7.2(d).

               “Offering Memorandum” means the Confidential Offering Memorandum of the
Partnership and any amendments or supplements thereto.

                 “Organizational Expenses” has the meaning set forth in Section 5.2(c)(i).

                 “Other Agreement” has the meaning set forth in Section 13.11.

                 “Partners” means the General Partner and the Limited Partners.

                 “Partnership” means White Oak Pinnacle Fund, L.P., a Delaware limited
partnership.

              “Partnership Act” means the Delaware Revised Uniform Limited Partnership Act,
as amended from time to time.


{00190096.DOC}                                    44
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 204 of 275




                 “Partnership Expenses” has the meaning set forth in Section 5.2(b).

               “Partnership Investment” means an investment by the Partnership in accordance
with the Partnership’s Offering Memorandum.

              “Person” means any individual, partnership, corporation, trust, limited liability
company, limited liability partnership, joint stock company or other legal entity.

              “Plan Asset Regulation” means Department of Labor Regulation Section 2510.3-
101 or any successor thereto.

                 “Portfolio Company” means companies that the Partnership invests in.

                “Prime Rate” means the rate of interest published from time to time on the
Bloomberg U.S. Treasury and Money Markets page under the heading “Prime Rate,” or if not so
published, the rate of interest publicly announced from time to time by any money center bank as
its prime rate in effect at its principal office, as identified in writing by the General Partner to the
Limited Partners.

              “Principals” means, collectively, Andre Hakkak, Barbara McKee, Ali Amiry and
David Hackett.

              “Proceeding” means any action, claim, suit, investigation, arbitration or
proceeding, whether at law or in equity, and whether by or before any court, arbitrator,
governmental body or other administrative, regulatory or other agency or commission.

                “Remaining Capital Commitment” means, with respect to any Partner at any time,
the excess, if any, of (i) such Partner’s Capital Commitment at such time over (ii) such Partner’s
aggregate Capital Contributions made prior to such time. For purposes of this definition, any
Partner’s aggregate Capital Contributions shall be reduced by the aggregate amount theretofore
distributed to such Partner pursuant to Section 7.1(a) prior to the end of the Investment Period in
accordance with Section 7.1(b).

               “Remaining Commitment Percentage” means, with respect to any Partner at any
time, the percentage derived by (i) dividing such Partner’s Remaining Capital Commitment at
such time by (ii) the aggregate amount of all Partners’ Remaining Capital Commitments.

               “Required Limited Partners” means, at any time, Limited Partners (other than
Defaulting Partners and Limited Partners affiliated with the General Partner or its Affiliates)
representing at least a majority of the aggregate amount of all Limited Partners’ (other than
Defaulting Partners’ and Limited Partners affiliated with the General Partner or its Affiliates)
Capital Commitments at such time.

              “Securities” means shares of capital stock, limited partnership interests, warrants,
options, bonds, notes, debentures, other securities and equity interests of whatever kind of any
Person, whether or not publicly traded or readily marketable, and any other financial instruments
which exist now or are hereafter created.



{00190096.DOC}                                    45
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 205 of 275




              “Subscription Agreements” mean the subscription agreements entered into by the
respective Limited Partners in connection with their purchases of LP Interests.

               “Subsequent Closings” means each Closing held after the Initial Closing up to and
including the Final Closing.

                “Substitute Limited Partner” means any purchaser, assignee, transferee or other
recipient of all or any portion of any Limited Partner’s Interest who is admitted as a Limited
Partner to the Partnership in accordance with Sections 6.3(d)(iii) or 12.2.

                 “Tax-Exempt Limited Partner” has the meaning set forth in Section 3.14.

                 “Tax Matters Partner” has the meaning set forth in Section 7.7.

                “Temporary Investment” means investments in (i) short-term money market
investments issued by issuers in the two highest rating categories as stated by nationally
recognized statistical ratings organizations, (ii) obligations backed by full faith and credit of the
U.S. federal government and with a maturity date not in excess of eighteen (18) months from the
date of purchase by the Partnership, (iii) interest-bearing bank or brokerage accounts and/or
certificates of deposit issued by banks with undivided capital and surplus of $100,000,000 or
more, and (iv) other comparable investments as determined by the General Partner in its sole
discretion.

                 “Term” of the Partnership has the meaning set forth in Section 10.1.

                 “Third Party Advisory Committee” has the meaning set forth in Section 3.16.

               “Transaction Fees” means any directors’ fees from Portfolio Companies,
transaction fees, closing fees, monitoring fees, amendment fees, break-up fees or any other
similar advisory fees in connection with any services provided by a member of the General
Partner Group to a Portfolio Company in which the Partnership has invested.

               “Transfer” means a direct or indirect sale, exchange, transfer, assignment, pledge,
hypothecation or other disposition of all or any portion of a GP Interest or a LP Interest, other
than in connection with a pledge by the General Partner of any such interests made in connection
with a borrowing by the Partnership.

                 “Transferee” has the meaning set forth in Section 12.2.

              “Treasury Regulations” means the regulations of the U.S. Treasury Department
issued pursuant to the Code.

                 “UBTI” has the meaning set forth in Section 3.17.

                 “U.S.” means the United States of America.




{00190096.DOC}                                   46
Case 1:21-cv-08330-LAK Document 31-3
                                11-3 Filed 11/12/21
                                           10/20/21 Page 206 of 275




                  EXHIBIT D
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 207 of 275

                                                                                     Final




                                 WHITE OAK SUMMIT FUND, L.P.




                               SECOND AMENDED AND RESTATED



                               LIMITED PARTNERSHIP AGREEMENT




                                          March 1, 2016




4811-7067-2931.36
                Case 1:21-cv-08330-LAK Document 31-3
                                                11-3 Filed 11/12/21
                                                           10/20/21 Page 208 of 275




                                                        TABLE OF CONTENTS

        ARTICLE I DEFINITIONS ............................................................................................................1

                    SECTION 1.1.                Definitions........................................................................................1

        ARTICLE II GENERAL PROVISIONS .........................................................................................1

                    SECTION      2.1.           Partnership Name. ............................................................................1
                    SECTION      2.2.           Registered Office; Principal Office. ................................................1
                    SECTION      2.3.           Purposes of the Partnership..............................................................2
                    SECTION      2.4.           Liability of the Partners. ..................................................................2
                    SECTION      2.5.           Admission of Limited Partners. .......................................................2

        ARTICLE III MANAGEMENT AND OPERATIONS OF THE PARTNERSHIP .......................4

                    SECTION      3.1.           Management Generally. ...................................................................4
                    SECTION      3.2.           Authority of the General Partner......................................................4
                    SECTION      3.3.           Parallel Funds...................................................................................7
                    SECTION      3.4.           Manager; Management Fee..............................................................7
                    SECTION      3.5.           Administrator; Administration Fee. .................................................9
                    SECTION      3.6.           Transactions with Affiliates. ..........................................................10
                    SECTION      3.7.           Other Activities; Successor Vehicles; Devotion of Time. .............10
                    SECTION      3.8.           Key Person Event. ..........................................................................11
                    SECTION      3.9.           Books and Records; Accounting Method; Fiscal Year. .................12
                    SECTION      3.10.          Partnership Information; Tax Elections; Tax Returns; Tax Basis
                                                Adjustments. ..................................................................................13
                    SECTION      3.11.          Confidentiality. ..............................................................................14
                    SECTION      3.12.          Meetings of Limited Partners.........................................................15
                    SECTION      3.13.          Temporary Investment of Funds. ...................................................15
                    SECTION      3.14.          Certain ERISA Matters. .................................................................16
                    SECTION      3.15.          UBTI, ECI and Other Tax Considerations. ....................................16
                    SECTION      3.16.          Reliance by Third Parties. ..............................................................16
                    SECTION      3.17.          Borrowings; Financings .................................................................16
                    SECTION      3.18.          Conflicts of Interest........................................................................17
                    SECTION      3.19.          Independent Investor Representative. ............................................18
                    SECTION      3.20.          Investment Committee. ..................................................................19
                    SECTION      3.21.          Valuation. .......................................................................................20

        ARTICLE IV INVESTMENTS AND INVESTMENT OPPORTUNITIES.................................20

                    SECTION 4.1.                Investments Generally. ..................................................................20
                    SECTION 4.2.                Investment Restrictions. .................................................................20
                    SECTION 4.3.                Co-Investment Opportunities. ........................................................20

        ARTICLE V EXPENSES ..............................................................................................................21


                                                                           i
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 209 of 275




                    SECTION 5.1.              Definition and Payment of Manager Expenses. .............................21
                    SECTION 5.2.              Partnership Expenses. ....................................................................21

        ARTICLE VI CAPITAL COMMITMENTS AND CAPITAL CONTRIBUTIONS ....................23

                    SECTION     6.1.          Capital Commitments. ...................................................................23
                    SECTION     6.2.          Capital Call Procedure. ..................................................................24
                    SECTION     6.3.          Default by Limited Partners. ..........................................................24
                    SECTION     6.4.          Remedies Not Limited. ..................................................................27
                    SECTION     6.5.          Excluded Limited Partners. ............................................................27
                    SECTION     6.6.          Maximum Capital Commitments... ................................................28

        ARTICLE VII DISTRIBUTIONS; CAPITAL ACCOUNTS .......................................................28

                    SECTION     7.1.          Distributions...................................................................................28
                    SECTION     7.2.          Capital Accounts; Adjustments to Capital Accounts. ....................32
                    SECTION     7.3.          Book Allocations. ..........................................................................32
                    SECTION     7.4.          Tax Allocations. .............................................................................34
                    SECTION     7.5.          Tax Credits. ....................................................................................34
                    SECTION     7.6.          Loans and Withdrawal of Contribution. ........................................34
                    SECTION     7.7.          Other Tax Matters. .........................................................................34

        ARTICLE VIII REPORTS TO LIMITED PARTNERS ...............................................................35

                    SECTION 8.1.              Independent Public Accountants....................................................35
                    SECTION 8.2.              Reports. ..........................................................................................35

        ARTICLE IX EXCULPATION AND INDEMNIFICATION; RETURN OF CERTAIN
                   DISTRIBUTIONS ..................................................................................................36

                    SECTION     9.1.          Exculpation. ...................................................................................36
                    SECTION     9.2.          Indemnification. .............................................................................36
                    SECTION     9.3.          Insufficiency of Damages. .............................................................37
                    SECTION     9.4.          Return of Certain Distributions......................................................37

        ARTICLE X TERM AND DISSOLUTION OF THE PARTNERSHIP .......................................40

                    SECTION     10.1.         Term. ..............................................................................................40
                    SECTION     10.2.         Dissolution. ....................................................................................40
                    SECTION     10.3.         Liquidation of the Partnership. ......................................................40
                    SECTION     10.4.         Distribution Upon Dissolution of the Partnership. ........................40
                    SECTION     10.5.         No Voluntary Withdrawal by Limited Partners. ............................42
                    SECTION     10.6.         Required Withdrawal of Limited Partners. ....................................42
                    SECTION     10.7.         Payments Upon Withdrawal. .........................................................42

        ARTICLE XI TRANSFERABILITY OF THE GENERAL PARTNER’S INTEREST ...............43

                    SECTION 11.1.             Transferability of the General Partner’s Interest. ..........................43
                                                                 ii
4811-7067-2931.36
                Case 1:21-cv-08330-LAK Document 31-3
                                                11-3 Filed 11/12/21
                                                           10/20/21 Page 210 of 275




                    SECTION 11.2.                  Withdrawal of the General Partner. ...............................................43
                    SECTION 11.3.                  Removal of the General Partner. ....................................................43

        ARTICLE XII TRANSFERABILITY OF A LIMITED PARTNER’S INTEREST.....................45

                    SECTION 12.1.                  Conditions for Transfer. .................................................................45
                    SECTION 12.2.                  Substitute Limited Partner; Recognition of Transfer. ....................46

        ARTICLE XIII MISCELLANEOUS ............................................................................................46

                    SECTION        13.1.           Amendments. .................................................................................46
                    SECTION        13.2.           Approvals. ......................................................................................47
                    SECTION        13.3.           Notices. ..........................................................................................47
                    SECTION        13.4.           Successors; Counterparts. ..............................................................48
                    SECTION        13.5.           Governing Law; Severability. ........................................................48
                    SECTION        13.6.           Filings. ...........................................................................................48
                    SECTION        13.7.           No Right to Partition. .....................................................................48
                    SECTION        13.8.           Goodwill. .......................................................................................48
                    SECTION        13.9.           Headings. .......................................................................................48
                    SECTION        13.10.          Entire Agreement. ..........................................................................49
                    SECTION        13.11.          Submission to Jurisdiction. ............................................................49
                    SECTION        13.12.          $200 Million Capital Commitments. .............................................49

        APPENDIX A ................................................................................................................................56




                                                                             iii
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 211 of 275




                                  SECOND AMENDED AND RESTATED

                                LIMITED PARTNERSHIP AGREEMENT

                                                       OF

                                    WHITE OAK SUMMIT FUND, L.P.

                      This SECOND AMENDED AND RESTATED LIMITED PARTNERSHIP
        AGREEMENT dated as of March 1, 2016 amends and restates in its entirety the Amended and
        Restated Limited Partnership Agreement dated as of June 30, 2015, of WHITE OAK SUMMIT
        FUND, L.P., by and among White Oak Partners 2, LLC, a limited liability company formed
        under the laws of Delaware, as General Partner, and the Persons who sign copies of the
        Agreement to become Limited Partners.

                       WHEREAS, the parties hereto desire to form a limited partnership in accordance
        with the Partnership Act.

                      WHEREAS, pursuant to Section 3.2(x) hereof the General Partner may amend
        this Agreement in certain circumstances subject to certain provisos as set forth therein.

                       WHEREAS, the General Partner hereby amends and restates the Partnership
        Agreement in accordance with Section 3.2(x) in accordance with the General Partner’s authority
        to amend the terms hereof pursuant to Section 13.1.

                      NOW, THEREFORE, the parties hereto agree as follows:

                                                ARTICLE I
                                               DEFINITIONS

                       SECTION 1.1.         Definitions.   Capitalized terms used herein without
        definition have the meanings assigned to such terms in Appendix A attached hereto. Unless
        otherwise expressly stated herein, references to Sections are references to Sections in this
        Agreement. Unless otherwise indicated or required by the context, defined terms in the singular
        include the plural and vice versa.

                                             ARTICLE II
                                         GENERAL PROVISIONS

                   SECTION 2.1.             Partnership Name. The name of the Partnership is “White
        Oak Summit Fund, L.P.”.

                      SECTION 2.2.          Registered Office; Principal Office.

                         (a)   Registered Office of the Partnership. The Partnership shall maintain a
          registered office at Corporation Service Company, 2711 Centerville Road, Suite 400,
          Wilmington, DE 19808. Corporation Service Company will act as the registered agent of the


                                                   1
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 212 of 275




          Partnership. The General Partner may change the registered office and registered agent in its
          sole discretion.

                         (b)     Business Address of the Partnership and the General Partner. The
          principal office of the Partnership and the General Partner shall be 3 Embarcadero Center,
          Suite 550, San Francisco, CA 94111 or such other place as the General Partner shall determine
          from time to time in its sole discretion. The General Partner shall promptly notify the Limited
          Partners of any change in the principal office of the Partnership or of the General Partner.

                        SECTION 2.3.           Purposes of the Partnership.         The purposes of the
        Partnership are (a) to originate, acquire, hold and dispose of Partnership Investments on behalf of
        the Limited Partners in the manner determined by the Manager in its sole and absolute discretion,
        (b) pending utilization or disbursement of funds, to make Temporary Investments, and (c) to
        engage in any lawful activity for which limited partnerships may be organized under the laws of
        the state of Delaware as the General Partner deems necessary or desirable for the
        accomplishment of the above purposes or the furtherance of any of the powers herein set forth
        and to do every other act and thing incident thereto or connected therewith. The Partnership
        shall have all the powers available to it as a limited partnership organized under the laws of the
        state of Delaware to do any and all acts necessary, appropriate, desirable, incidental or
        convenient to or for the furtherance of the purposes described in this Section 2.3. Without
        prejudice to the generality of the foregoing the General Partner shall have the power, for and on
        behalf of the Partnership, to issue loan notes, incur indebtedness and grant security and give
        guarantees in respect thereof.

                       SECTION 2.4.           Liability of the Partners.

                          (a)     Liability of the General Partner. Except as otherwise provided in the
          Partnership Act or this Agreement, the General Partner shall have unlimited liability with
          respect to the debts, obligations and other liabilities of the Partnership.

                         (b)     Liability of the Limited Partners. Except as specifically set forth in this
          Agreement or as provided in the Partnership Act, (i) a Limited Partner shall not be obligated to
          make any contribution to the Partnership of any amount in excess of its Capital Commitment or
          other payments provided for herein, and (ii) no Limited Partner (or former Limited Partner)
          shall have any personal liability whatsoever in its capacity as a Limited Partner for the
          repayment of debts, liabilities, losses or other obligations of the Partnership. Except as
          provided for in Section 3.17(b), no person other than the General Partner (including any
          creditor of the Partnership or the General Partner) may call capital or require any Limited
          Partner to meet its Capital Commitment.

                       SECTION 2.5.           Admission of Limited Partners.

                        (a)     Initial Closing. The Initial Closing will be held on such date as
          determined by the General Partner in its sole discretion. On the Initial Closing Date, each
          Person whose subscription for an LP Interest has been accepted by the General Partner on
          behalf of the Partnership shall make a Capital Contribution in cash to the Partnership in an
          amount determined by the General Partner, in its sole discretion. Upon making such Capital


                                                         2
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 213 of 275




          Contribution, each such Person shall become a Limited Partner and shall be shown as such in
          the Partnership’s records.

                           (b)     Subsequent Closings. Through the Final Closing Date, the General
          Partner may admit one or more Additional Limited Partners on such fixed dates as determined
          exclusively by the General Partner, upon satisfaction of the following conditions: (i) each such
          Additional Limited Partner or its attorney-in-fact shall execute a counterpart signature page to
          this Agreement, which shall be deemed for all purposes to constitute an amendment to this
          Agreement providing for such admission, and such other documents determined by the General
          Partner, (ii) the Partnership would not be required to register as an investment company under
          the Investment Company Act, and (iii) the Additional Limited Partner makes a Capital
          Contribution equal to the aggregate amount that the Limited Partner would have been required
          to contribute to the Partnership from the Initial Closing Date through the date of the applicable
          Subsequent Closing if it had been admitted to the Partnership as a Limited Partner on the Initial
          Closing Date (such amount, the “Subsequent LP Capital Contribution”) (net of, with respect
          to those Limited Partners who participated in prior Closings (“Existing Limited Partners”),
          (yy) any distributions actually made by the Partnership to the Existing Limited Partners during
          such period and (zz) any amount distributed to the Existing Limited Partners pursuant to clause
          (iii) of this Section 2.5(b) that represents a Capital Contribution Recovery), calculated from the
          Initial Closing Date to the date of applicable the Subsequent Closing Date.

                                   (i)     Notwithstanding anything contained herein to the contrary, in the
                    event that the General Partner determines, in its sole discretion, that there has been a
                    material change or significant event relating to one or more Partnership Investments held
                    by the Partnership (either directly or through a Subsidiary Fund) on the date of a
                    Subsequent Closing, then the amount of the Subsequent LP Capital Contributions shall
                    then be appropriately adjusted to reflect such a different valuation.

                                   (ii)   The aggregate amount of Subsequent LP Capital Contributions
                    contributed by an Additional Limited Partner to the Partnership pursuant to the first
                    sentence of Section 2.5(b) that is attributable to the cumulative amount of the
                    Management Fees and Administration Fees, if any, that would have been payable if such
                    Additional Limited Partner had been admitted to the Partnership on the Initial Closing
                    Date shall be paid by the Partnership to the Manager out of the Additional Limited
                    Partner’s Capital Account in the manner specified in Section 3.4 as though the Additional
                    Limited Partner invested on the Initial Closing Date.

                                    (iii) The General Partner may distribute up to the remaining amount of
                    such Subsequent LP Capital Contributions to the Existing Limited Partners in proportion
                    to such Existing Limited Partners’ respective prior Capital Contributions. Any amount so
                    distributed to an Existing Limited Partner that represents a recovery of previously made
                    Capital Contributions (such amount, a “Capital Contribution Recovery”), will result in
                    a corresponding increase in the amount of such Existing Limited Partner’s Remaining
                    Capital Commitment which is subject to subsequent drawdown by the Partnership during
                    the Investment Period. Except in accordance with Article XII, no Limited Partner will be
                    admitted to the Partnership after the Final Closing.

                                  (iv)    [Reserved].
                                                            3
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 214 of 275




                          (c)   Increase in Capital Commitments. Through the Final Closing Date, the
          General Partner may permit any Existing Limited Partner to increase its Capital Commitment
          on the date of a Subsequent Closing, provided that all conditions of Section 2.5(b) have been
          satisfied as though such Limited Partner were an Additional Limited Partner with respect to
          such increase. For purposes of Section 2.5(b), such an Existing Limited Partner shall be
          treated as an Additional Limited Partner with respect to its additional Capital Commitments.

                          (d)    Final Closing. The General Partner shall use its reasonable efforts to
          hold the Partnership’s Final Closing within 12 months of the Initial Closing Date; provided,
          however, that the General Partner shall in its discretion be entitled to hold the Final Closing, to
          the extent that the General Partner determines necessary or appropriate, up to and including on
          the 18-month anniversary of the Initial Closing Date.

                                     ARTICLE III
                     MANAGEMENT AND OPERATIONS OF THE PARTNERSHIP

                        SECTION 3.1.           Management Generally. As among the Partners, the
        management, administration and control of, and the determination of policies with respect to, the
        Partnership and its affairs shall be vested exclusively in the General Partner. The General
        Partner has delegated, and will continue to delegate, the portfolio management of the
        Partnership’s investments to the Manager pursuant to such Manager’s corresponding
        Management Agreement. The General Partner will provide administrative services to the
        Partnership or may serve as Administrator. The Limited Partners shall have no part in the
        management, administration or control of the Partnership and shall have no authority or right to
        act for or on behalf of the Partnership in connection with any matter.

                       SECTION 3.2.         Authority of the General Partner. Subject to the other
        provisions of this Agreement, the General Partner shall have the power and authority, in its own
        name or on behalf of and in the name of the Partnership, to carry out any and all of the objects
        and purposes of the Partnership, and to perform all acts that it may, in its sole discretion, deem
        necessary or desirable in furtherance thereof, including, without limitation, the power and
        authority to:

                         (a)     identify investment opportunities for the Partnership;

                         (b)     originate or make loans, invest or reinvest in, or acquire, hold, retain,
          manage, monitor, own, sell, transfer, convey, assign, exchange, pledge or otherwise dispose of
          any assets held by or on behalf of the Partnership, including Partnership Investments;

                         (c)     employ, on behalf of and at the expense of the Partnership, any and all
          financial advisers, brokers, dealers, attorneys, accountants, consultants, appraisers, servicers,
          custodians of the assets of the Partnership or other agents, including, but not limited to,
          administrative agent(s) as may be described from time to time in addition to the Administrator,
          on such terms and for such compensation as the General Partner may determine, whether or not
          such Person may be an Affiliate of the General Partner or may also be otherwise employed by
          the General Partner or by any Affiliate of the General Partner (but subject to Section 3.6) and
          terminate such employment;

                                                         4
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 215 of 275




                         (d)     make all elections, investigations, evaluations and other decisions,
          binding the Partnership thereby, that may, in the sole discretion of the General Partner, be
          necessary or desirable for the investment or reinvestment in, or acquisition, holding, retention,
          management, monitoring, ownership, capitalization, merging, restructuring, sale, transfer,
          conveyance, assignment, exchange, pledge or other disposition of any assets held by or on
          behalf of the Partnership, including Partnership Investments;

                         (e)  incur expenses and other obligations incident to the operation and
          management of the Partnership, and, to the extent that funds of the Partnership are available for
          such purpose, make payments on behalf of the Partnership in its own name or in the name of
          the Partnership;

                         (f)    lend money to the Partnership or cause the Partnership to borrow money,
          on a secured or unsecured basis, pursuant to Section 3.17;

                         (g)    bring, defend, settle and dispose of any Proceeding;

                         (h)    establish reserves for contingencies and for any other Partnership
          purpose;

                        (i)     distribute funds to the Partners by way of cash or otherwise pursuant to
          this Agreement;

                          (j)     prepare or cause to be prepared reports, statements and other information
          for distribution to the Partners;

                        (k)     prepare and file all necessary returns and statements, pay all taxes,
          assessments and other impositions applicable to the assets of the Partnership, and withhold
          amounts with respect thereto from funds otherwise distributable to any Partner;

                         (l)    maintain records and accounts of all operations and expenditures of the
          Partnership;

                         (m)   determine the accounting methods and conventions to be used in the
          preparation of any accounting or financial records of the Partnership as provided in Section
          3.9;

                         (n)    convene meetings of the Limited Partners as provided in Section 3.12;

                         (o)     open, maintain and close accounts with banks, brokerage firms,
          custodians or other financial institutions and deposit, maintain and withdraw funds in the name
          of the Partnership and draw checks or other orders for the payment of moneys;

                         (p)     enter into, execute, deliver and perform any contract, agreement or other
          instrument as the General Partner shall determine, in its sole discretion, to be necessary or
          desirable (i) in connection with the sale of LP Interests, including the Subscription
          Agreements, or (ii) to further the purposes of the Partnership, including granting or refraining
          from granting any waivers, consents and approvals with respect to any of the foregoing and
          any matters incident thereto;
                                                        5
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 216 of 275




                       (q)     appoint the Initial Manager (which is an affiliate of the General Partner)
          to serve as Manager, and, subject to Section 3.4, terminate the Manager and appoint a
          replacement Manager;

                          (r)    appoint the Initial Administrator to serve as Administrator, and, subject
          to Section 3.5, terminate such appointment and appoint a replacement Administrator;

                          (s)    value the assets and liabilities of the Partnership, in accordance with
          Section 3.21;

                         (t)     establish separate classes of LP Interests with such rights and privileges
          as the General Partner shall determine;

                       (u)     acquire and enter into any contract of insurance that the General Partner
          deems necessary or appropriate for the protection of the Partnership, a Partnership Investment
          and any Covered Person or for any purpose convenient or beneficial to the Partnership;

                          (v)    require a provision in any Partnership contract that the General Partner
          shall not have any personal liability therefor, but that the Person or entity contracting with the
          Partnership is to look solely to the Partnership and its assets for satisfaction of any debts owed
          or claims asserted;

                          (w)     create a liquidating fund entity (e.g., a liquidating trust or similar
          vehicle), and to transfer all or a portion of the Partnership’s assets to such entity for any reason,
          including an orderly liquidation of any illiquid Partnership assets, in accordance with Section
          10.4(b);

                         (x)     convert the Partnership into a feeder fund, and/or establish other feeder
          funds to carry out their investment programs through investment in the Partnership or
          otherwise, and to amend this Agreement pursuant thereto to reflect such “master-feeder”
          structure; provided, however, that if the Partnership is converted into a feeder fund pursuant to
          this Section 3.2(w), and an ERISA Partner invests directly or indirectly through or in a feeder
          fund or master fund, the ERISA Partner shall be afforded substantially the same protections in
          respect to such funds as is afforded by the Partnership by virtue of the ERISA Partner’s status
          as an ERISA Partner; provided, further, that if the Partnership is converted into a feeder fund
          pursuant to this Section 3.2(w), in no event shall the material terms hereof be altered by such
          conversion; provided still further that if other feeder funds are established, the General Partner
          may enter into arrangements with such feeder funds that have different terms than those set
          forth herein;

                          (y)    invest all or substantially all of the Partnership’s assets in a Subsidiary
          Fund;

                          (z)    effect a dissolution of the Partnership as provided herein; and

                          (aa)   act for and on behalf of the Partnership in all matters incidental to the
          foregoing.


                                                          6
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 217 of 275




                       Notwithstanding the foregoing provisions of this Section 3.2, the General Partner
        shall have the power to do all things and discharge all duties or requirements required of or
        imposed on a general partner by applicable law (whether or not on behalf of the Partnership). In
        addition, the General Partner shall have the power to perform all acts that it may, in its sole
        discretion, deem necessary or desirable in connection with the performance of its duties
        hereunder. The General Partner may, in its sole discretion, delegate certain administrative duties
        hereunder to such third Persons as the General Partner may designate from time to time.

                       SECTION 3.3.           Parallel Funds. In order to facilitate investment by certain
        investors including, without limitation, foreign investors, tax-exempt investors and investors
        subject to ERISA, the General Partner has established one or more parallel funds (collectively,
        the “Parallel Funds”) and may establish similar vehicles in the future. Each Parallel Fund shall
        be controlled by the General Partner or one of its Affiliates to the extent practicable in light of
        such legal, tax, contractual and regulatory considerations. The General Partner and/or the
        Manager may enter into arrangements with any Parallel Fund that vary any of the terms set forth
        herein with respect to such Parallel Funds or any investors therein. For avoidance of doubt, no
        Limited Partner will be obliged to invest in a Parallel Fund.

                           SECTION 3.4.          Manager; Management Fee.

                             (a)    Appointment of the Manager.

                                  (i)      The Initial Manager will serve as the Manager pursuant to the
                    terms and conditions of its corresponding Management Agreement until and unless the
                    Initial Manager is terminated as the Manager in accordance with this Section 3.4.

                                    (ii)   Subject to the conditions set out in this Section 3.4: (A) the
                    Limited Partners may, by means of a vote of a majority in interest of the Required
                    Limited Partners terminate the current Manager and direct the General Partner to
                    terminate its corresponding Management Agreement, subject to the terms and conditions
                    set forth such Management Agreement; and (B) upon any such termination, the Limited
                    Partners will, by means of a vote of a majority in interest of the Required Limited
                    Partners, select a new Manager and determine the terms and conditions under which such
                    new Manager will serve the Partnership. Upon such selection and determination, the
                    General Partner will appoint such new Manager to serve in such capacity and negotiate in
                    good faith and execute such new Manager’s Management Agreement on behalf of the
                    Partnership.

                         (b)     Management Services. The Manager will provide portfolio management,
          and other services to the Partnership and to source, select, acquire, manage and dispose of the
          Partnership Investments.

                         (c)    Management Fee Calculation. In consideration for the management
          services to be rendered pursuant to the Management Agreement, the Partnership out of each
          Limited Partner’s Capital Account may bear quarterly management fees (the “Management
          Fee”), payable in advance as of January 1, April 1, July 1, October 1 of each year (periods
          during the Partnership’s term that conclude on such days, each a “Quarterly Period”). The
          Management Fee shall be prorated for any Quarterly Period that is less than a full three (3)

                                                           7
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 218 of 275




          months. In the event of any proration, any pre-paid Management Fee shall be repaid promptly.
          Except as provided in Section 13.12, the Management Fee with respect to the individual
          Limited Partners shall be equal to the following amounts:

                                   (i)    with respect to a Limited Partner whose aggregate Capital
                    Commitment is less than $25 million: the sum of (a) 0.125% (corresponding to an annual
                    rate of 0.50%) of such Limited Partner’s Capital Commitment less such Limited Partner’s
                    Capital Contributions invested in Partnership Investments attributable to such Limited
                    Partner; plus (b) 0.3125% (corresponding to an annual rate of 1.25%) of such Limited
                    Partner’s Capital Contributions invested in Partnership Investments attributable to such
                    Limited Partner, valued at their fair market value as of the start of each Quarterly Period;
                    plus (c) such Limited Partner’s Carried Interest; and

                                   (ii)    with respect to a Limited Partner whose aggregate Capital
                    Commitment is $25 million or more: the sum of (a) 0.25% (corresponding to an annual
                    rate of 1.00%) of such Limited Partner’s Capital Contributions invested in Partnership
                    Investments attributable to such Limited Partner valued at their fair market value as of the
                    start of each Quarterly Period. Fair market value shall be determined in the same manner
                    as used in determining the Partnership’s net asset value; plus (b) such Limited Partner’s
                    Carried Interest.

                        Clauses (a) and (b) of Section 3.4(c)(i) and clause (a) of Section 3.4(c)(ii) shall be
        referred to herein as the “Fixed Management Fee.”

                          (d)     Management Fee Reduction.            Limited Partners admitted to the
          Partnership at the Initial Closing shall be entitled to a 10% reduction in the amount of the Fixed
          Management Fee that would otherwise be borne by such Limited Partner for a period
          beginning on the date the Partnership’s first Partnership Investment is made and concluding on
          the one-year anniversary thereof.

                          (e)     Transaction Fees. Any Transaction Fees earned by a member of the
          General Partner Group during any Quarterly Period shall be retained by such member but one
          hundred percent (100%) of such Transaction Fees shall be applied to reduce: (i) the amount of
          the Fixed Management Fees in the next Quarterly Period and, if such Transaction Fees have
          not been fully offset in such Quarterly Period, in future Quarterly Periods (ii) any other
          Partnership Expenses and/or (iii) the Carried Interest. Transaction Fees shall not in any case
          include the Administration Fee. Transaction Fees that are not fully offset pursuant to this
          Section 3.4(e)(i), (ii) or (iii), upon termination of the Partnership shall be distributed to the
          Limited Partners pro rata in accordance with their respective Capital Account balances, except
          that Limited Partners will be given the opportunity by the General Partner to decline to receive
          such Transaction Fee distributions, in which case any remaining Transaction Fee offsets will
          be distributed to the non-electing Limited Partners, pro rata.

                         (f)    Management Fee Waiver. The Manager may, in its sole discretion,
          waive or reduce the Management Fee for Affiliates and for certain Limited Partners, including
          with respect to Limited Partners who have been advised to invest in the Partnership by a
          common consulting firm(s) or other intermediary and whose aggregate Capital Commitments
          exceed certain thresholds and for the General Partner and its affiliates. Except for its share of
                                                             8
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 219 of 275




          Management Fees payable by or on behalf of a Subsidiary Fund, the General Partner will not
          be assessed a Management Fee with respect to its capital invested in the Partnership.

                         (g)    Commonly Advised Entities. To the extent that: (i) any single Limited
          Partner or group of Limited Partners have engaged a third party consultant, adviser, or other
          intermediary (each such party, a “Third Party Consultant”); (ii) each such Limited Partner
          has been introduced to the Partnership by such Third Party Consultant; (iii) each such Limited
          Partner has decided to make its Capital Commitment based exclusively upon and directly as a
          result of such Third Party Consultant’s introduction and recommendation; and (iv) the
          aggregate Capital Commitments to the Partnership of all Limited Partners advised by any
          particular Third Party Consultant exceed such thresholds as the General Partner may, from
          time to time, determine, then, notwithstanding Section 3.4(c), the Management Fee to be borne
          by such Limited Partners shall as specified in a separate agreement between the Manager and
          the applicable Third Party Consultant.

                         (h)     Management Fee Offset. In the event that a Subsidiary Fund bears a
          management or similar fee, then such fee will be credited on a dollar-for-dollar basis against
          the Management Fee otherwise chargeable to a Limited Partner (the “Fixed Management Fee
          Offset”) such that the aggregate Fixed Management Fee paid by the Limited Partner directly
          from its Capital Account or indirectly by virtue of its investment in the Subsidiary Funds shall
          not exceed the applicable amount specified in Section 3.4(c) after giving effect to the Fixed
          Management Fee Offset. In the event that a Subsidiary Fund bears a carried interest or similar
          performance-based fee, then such interest or fee will be credited on a dollar-for-dollar basis
          against the Carried Interest otherwise chargeable to a Limited Partner (the “Carried Interest
          Offset”) such that the aggregate Carried Interest paid by the Limited Partner directly from its
          Capital Account or indirectly by virtue of its investment in the Subsidiary Funds shall not
          exceed the applicable amount specified in Section 3.4(c) and as set forth in the definition of
          “Carried Interest” after giving effect to the Carried Interest Offset.

                        (i)     Management Fee Not Affected by Defaulting Limited Partners.
        Notwithstanding anything in the Partnership Agreement to the contrary, in no event shall a
        Limited Partner have any obligation to pay Management Fees in respect of any amount other
        than in respect of that Limited Partner’s Capital Account(s) including, without limitation, that the
        Limited Partner shall in no event be required to pay Management Fees on interests of any
        Defaulting Partner absent that Limited Partner’s prior written consent.

                           SECTION 3.5.          Administrator; Administration Fee.

                             (a)    Appointment of the Administrator.

                                  (i)     The Initial Administrator will serve as the Administrator pursuant
                    to this Agreement until and unless the Initial Administrator is terminated as the
                    Administrator in accordance with this Section 3.5.

                                  (ii)    Subject to the conditions set out in this Section 3.5: (A) the
                    Limited Partners may, by means of a vote of a majority in interest of the Required
                    Limited Partners direct the General Partner to terminate its appointment; and (B) upon
                    any such termination, the Limited Partners will, by means of a vote of a majority in

                                                           9
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 220 of 275




                    interest of the Required Limited Partners, select a new Administrator and determine the
                    terms and conditions under which such new Administrator shall serve the Partnership.
                    Upon such selection and determination, the General Partner will appoint such new
                    Administrator to serve in such capacity and negotiate in good faith and execute an
                    administration agreement on behalf of the Partnership.

                         (b)   Administration Services. The Administrator will provide administrative,
          accounting and other services to the Partnership mutually agreed upon by the General Partner
          and the Partnership.

                         (c)     Administration Fee. In consideration for the administration services to
          be rendered, the Partnership out of each Limited Partner’s Capital Account may bear an
          aggregate administration fee for each Quarterly Period, in advance, (the “Administration
          Fee”) equal to 1.25 basis points (0.0125%) of aggregate Capital Commitments. The General
          Partner may waive the Administration Fee with respect to certain Limited Partners or Affiliates
          and, in such cases, pro rata in proportion to such Person(s)’ applicable portion thereof.

                        SECTION 3.6.          Transactions with Affiliates. In addition to transactions
        specifically contemplated by this Agreement, the General Partner, when acting in its capacity as
        a general partner of the Partnership, is, to the extent legally permissible, hereby authorized to
        purchase property or obtain services from, sell property to or provide services to, borrow funds
        or otherwise deal with the itself, as well as counterparties that are Affiliates of the General
        Partner (including the Manager and any investment fund or account managed or advised by the
        General Partner or its Affiliates, including any Subsidiary Fund), provided that, in connection
        with any such dealing, such dealing shall (a) be on terms no less favorable to the Partnership than
        would be obtained on an arm’s length basis and (b) have received the prior written approval of
        the Independent Investor Representative or the approval of a majority of the Limited Partners
        who are not affiliated with the General Partner or its Affiliates. Each Limited Partner
        acknowledges and agrees that the purchase or sale of property, the performance of such services,
        the borrowing of such funds, other dealings, or the receipt of such compensation may give rise to
        conflicts of interest between the Partnership and the Limited Partners, on the one hand, and the
        General Partner or such Affiliate, on the other hand. Notwithstanding the foregoing, the General
        Partner shall not cause the Partnership to enter into any transactions with itself or its Affiliates,
        unless such transactions are exempt from the prohibited transactions restrictions under ERISA
        and the Code.

                           SECTION 3.7.         Other Activities; Successor Vehicles; Devotion of Time.

                         (a)     Except as otherwise explicitly provided for herein, no member of the
          General Partner Group shall be required to manage the Partnership or any Subsidiary Fund as
          its sole and exclusive function. Members of the General Partner Group and their respective
          Affiliates may engage in and possess interests in other business ventures and investment
          opportunities of every kind, nature or description, independently or with others, including, but
          not limited to: management of other investment partnerships; investments in, financing,
          acquisition or disposition of securities; investment and management counseling; providing
          brokerage and investment banking services; or serving as officers, directors, managers,
          consultants, advisors or agents of other companies, partners of any partnership, members of
          any limited liability company or trustees of any trust (and may receive fees, commissions,
                                                          10
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 221 of 275




          remunerations or reimbursement of expenses in connection with such activities), whether or
          not such activities may conflict with any interest of the Partnership or any of the Partners. The
          General Partner shall, and shall cause the Manager and any of its Affiliates to, devote such
          time to the Partnership’s business as the General Partner, in its sole discretion, shall deem to be
          necessary to manage and supervise the Partnership’s business and affairs in an efficient
          manner.

                           (b)    Notwithstanding anything to the contrary herein, the Manager and its
          Affiliates will not call capital for any Successor Fund prior to the earlier of (A) the end of the
          Investment Period and (B) the date on which (x) at least 70% of the aggregate Capital
          Commitments have been drawn down or committed by a legally binding written agreement
          (including, without limitation, a letter of intent) to be invested, or (y) at least 80% of the
          aggregate Capital Commitments have been drawn down or committed by a legally binding
          written agreement (including, without limitation, a letter of intent) to be invested, or reserved
          (by prior written notification to the Independent Investor Representative) for Partnership
          Expenses and/or Follow-On Investments; provided that any reservation of Capital
          Commitments for Partnership Expenses and/or Follow-On Investments shall be approved by
          the Independent Investor Representative. The term “Successor Funds” shall mean any new (i)
          small business investment companies, (ii) business development companies, (iii) collateralized
          loan obligations or series thereof, (iv) so-called “master-custody agreements,” (v) any
          investment fund, limited partnership or other similar investment vehicle and, (vi) separately
          managed accounts and coinvestment funds for specific investors except for (a) any pre-existing
          entities as of the date of such investor’s subscription or (b) any Parallel Fund existing prior to
          the Final Closing Date that is subject to the provisions of Section 6.6, hereof. For the avoidance
          of doubt, this provision shall not restrict the Manager from marketing or accepting capital
          commitments for a Successor Fund prior to the events described in clause (x) or clause (y) of
          this Section 3.7(b).

                           (c)     The General Partner and its Affiliates (and their respective principals,
          officers, directors, partners, shareholders, members, managers, employees, agents, affiliates or
          other representatives) may serve as general partner, investment adviser, manager, or in a
          similar capacity to Successor Funds, investment funds, managed accounts, capital pools, and
          may have, make, or maintain investments in their own name or through other entities and may
          serve as a principal officer, director, partner, shareholder, member, manager, employee, agent,
          affiliate or other representative of one or more investment funds, partnerships, securities firms,
          or advisory firms (all such other vehicles and entities, “Other Clients”). The General Partner
          and its Affiliates (and their respective principals, officers, directors, partners, shareholders,
          members, managers, employees, agents, affiliates or other representatives) may give advice or
          take action with respect to the Other Clients that differs significantly from the advice given
          with respect to the Partnership. Neither the Partnership nor any Limited Partner shall have any
          rights or obligations by virtue of this Agreement in or to the independent ventures and
          activities as related to the Other Clients or to the income or profits derived therefrom.

                       SECTION 3.8.           Key Person Event.
                         (a)    A Primary Key Person Event shall be deemed to have occurred if, at any
          time during the Investment Period, both of Andre Hakkak and Barbara McKee become legally
          incompetent or are disabled (i.e., unable by reason of disease, illness or injury to perform his or

                                                         11
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 222 of 275




          her duties with respect to the Partnership for 90 consecutive days) or otherwise cease to be
          active in the affairs of the Partnership for 90 consecutive days (collectively “Disabled”).

                         (b)     A Secondary Key Person Event shall be deemed to have occurred if at
          any time during the Investment Period (i) either of Andre Hakkak or Barbara McKee and at
          least two (2) of Ali Amiry, David Hackett, or Darius Mozaffarian (collectively, the
          “Principals”) become Disabled, or (ii) the General Partner transfers all or a portion of its
          general partner interest to any person not under common control (as defined under the Advisers
          Act) with the General Partner or its affiliates). A Primary Key Person Event and a Secondary
          Key Person Event are referred to collectively as a Key Person Event.

                          (c)    Should a Key Person Event take place, the General Partner will provide
          the Limited Partners with written notice (the “Key Person Event Notice”) specifying the
          occurrence of either a Primary Key Person Event or a Secondary Key Person Event within
          thirty (30) days following the occurrence thereof.

                         (d)      Upon the issuance of a Key Person Event Notice occasioned by a
          Primary Key Person Event, the Investment Period will terminate unless Limited Partners
          representing at least a majority (50.01%) of the aggregate Capital Commitments of the Limited
          Partners not affiliated with the General Partner and its affiliates affirmatively elect in writing to
          continue the Investment Period (a “Primary Key Person Event Waiver”). A waiver shall
          only be effective if a Primary Key Person Event Waiver is obtained within 90 days of the date
          of the Primary Key Person Event Notice.

                         (e)     Upon the occurrence of a Secondary Key Person Event, the Investment
          Period will terminate if Limited Partners representing at least two thirds (66 2/3%) of the
          aggregate Capital Commitments of the Limited Partners not affiliated with the General Partner
          and its affiliates affirmatively elect in writing to terminate the Investment Period (a
          “Secondary Key Person Event Termination”). A Secondary Key Person Event Termination
          shall only be effective if the Secondary Key Person Event election is made within 90 days of
          the issuance of the Secondary Key Person Event Notice.

                         (f)     Notwithstanding the occurrence of either the failure to obtain a Primary
          Key Person Event Waiver or the occurrence of a Secondary Key Person Event Termination, as
          the case may be, any termination of the Investment Period as a result of either circumstance
          shall not prevent the Partnership from: (i) completing any proposed investment with respect to
          which it has entered into a legally binding agreement to invest in prior to such election by the
          Limited Partners; (ii) paying any Partnership Expenses (as defined herein) relating to existing
          or committed investments, or (iii) satisfying any of its obligations in respect of any borrowings
          or other extensions of credit which are secured, in whole or in part, by the Capital
          Commitments.

                       SECTION 3.9.            Books and Records; Accounting Method; Fiscal Year.

                          (a)     Books and Records. The General Partner shall keep or cause to be kept
          at the principal office of the General Partner set forth in Section 2.2(b) full and accurate books
          and records of the Partnership. Each Limited Partner shall be shown as a limited partner of the
          Partnership on such books and records. Subject to Section 3.11(b), such books and records

                                                          12
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 223 of 275




          shall be available, upon ten (10) Business Days’ notice to the General Partner, for inspection
          by each Limited Partner or its duly authorized agents or representatives at the principal offices
          of the General Partner (or such other location designated by the General Partner, in its sole
          discretion) at reasonable times during business hours. Any such inspection must be in good
          faith without any intent to damage the Partnership or any of its Partners in any manner.
          Notwithstanding the forgoing, a Limited Partner shall not have the ability to identify any other
          Limited Partner in the Partnership. As a result, each Limited Partner agrees and acknowledges
          that any books and records of the Partnership made available to a Limited Partner for
          inspection may be redacted to exclude any identifying information of the other Limited
          Partners in the Partnership and, if such books and records cannot be redacted, such books and
          records will not be made available for inspection to such Limited Partner. The General Partner
          shall retain the Partnership’s books and records for a period of six years after termination of the
          Partnership or any longer period as may be required by ERISA.

                         (b)    Accounting Methods. The General Partner shall determine, in its sole
          discretion, the accounting methods and conventions to be used in the preparation of any
          accounting or financial records or reports of the Partnership, which methods and conventions
          shall be in accordance with U.S. generally accepted accounting principles (except as otherwise
          specified herein).

                         (c)     Fiscal Year. Unless otherwise required by applicable law, the fiscal year
          of the Partnership shall end on December 31.

                     SECTION 3.10.            Partnership Information; Tax Elections; Tax Returns; Tax
        Basis Adjustments.

                         (a)     General. The General Partner shall cause to be prepared and timely filed
          all information and tax returns required to be filed by the Partnership, if any. The General
          Partner may, in its sole discretion, make, or refrain from making, any income or other tax
          elections for the Partnership that it deems necessary or advisable, including an election
          pursuant to Section 754 of the Code (provided that the General Partner shall not elect for the
          Partnership to be treated as a corporation for federal income tax purposes).

                         (b)     Tax Basis Adjustments. The General Partner may make an election to
          have the Partnership treated as an “electing investment partnership” for purposes of Section
          743 of the Code. If the General Partner elects to have the Partnership treated as an “electing
          investment partnership,” the other Partners shall cooperate with the General Partner to maintain
          that status and shall not knowingly take any action that would be inconsistent with such
          election. Upon reasonable request, the Partners shall provide the General Partner with any
          information available to them necessary to allow the Partnership to comply with (a) its
          obligations to make tax basis adjustments under Section 734 or 743 of the Code or (b) its
          obligations as an electing investment partnership. Each Limited Partner agrees that it shall not
          make an election under Section 732(d) of the Code with respect to any property distributed to it
          by the Partnership without the prior written consent of the General Partner.




                                                         13
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 224 of 275




                       SECTION 3.11.          Confidentiality.

                          (a)    Confidentiality Obligation of Limited Partners. Each Limited Partner
          agrees to keep confidential and not to disclose to any Person (other than to directors, officers,
          partners or employees of (or, in the case of any ERISA Partner, the plan sponsor of), or agents,
          legal counsel, independent auditors or consultants for, such Limited Partner responsible for
          matters relating to the Partnership (each an “Authorized Representative”)) all information
          and documents relating to the Partnership and its affairs, including, without limitation, any
          information (i) relating to any Partnership Investment, (ii) provided to such Limited Partner
          pursuant to Article VIII, and (iii) provided to such Limited Partner prior to or after its
          admission to the Partnership relating to the General Partner Group, provided that in each case
          such Limited Partner may make such disclosure (x) if the information being disclosed is
          otherwise generally available to the public, or (y) if such disclosure is, in the written opinion
          (satisfactory to the General Partner) of legal counsel (satisfactory to the General Partner) for
          such Limited Partner or Authorized Representative, required by applicable law or regulation.
          Prior to any disclosure to any Authorized Representative of a Limited Partner of any
          information referred to in the first sentence of this Section 3.11(a), such Limited Partner shall
          advise such Authorized Representative of the obligations set forth in this Section 3.11(a) and
          obtain the agreement of such Authorized Representative to keep such information confidential
          and otherwise comply with this Section 3.11(a) as though such Authorized Representative were
          a Limited Partner. Notwithstanding the terms of this Section 3.11(a) or any other express or
          implied agreement, arrangement or understanding to the contrary, each party to this Agreement
          (and their respective Authorized Representatives) may disclose to any and all Persons, without
          limitation of any kind, the tax treatment and tax structure of the Partnership, and all materials
          of any kind (including opinions or other tax analyses) that are provided to the party to the
          extent related to such tax treatment and tax structure. Notwithstanding the foregoing, a
          Limited Partner may discuss otherwise confidential information about the Partnership with
          other Limited Partners.

                        The General Partner hereby acknowledges that each ERISA Partner and its
        administrator have an obligation under Section 101(k) of ERISA (collectively with any
        regulations thereunder, “Section 101(k)”) to provide certain information to certain interested
        parties and agrees that each ERISA Partner shall not be subject to any otherwise applicable
        confidentiality provision in this Agreement in connection with the ERISA Partner’s compliance
        with Section 101(k) requirements. The General Partner agrees that at the time any information
        regarding the Partnership is furnished to an ERISA Partner, the General Partner shall indicate
        with specificity what (if any) information contained therein constitutes “proprietary information”
        within the meaning of Section 101(k), and the ERISA Partner shall not disclose such
        “proprietary information” to interested persons. The General Partner hereby expressly agrees to
        indemnify each ERISA Partner and its administrator against any and all claims, liabilities,
        damages, court costs or reasonable expenses (including reasonable attorneys’ fees) that the
        ERISA Partner and/or its administrator incur or suffer as a result of the ERISA Partner and/or its
        administrator omitting such information in connection with a request for information made under
        Section 101(k) of ERISA in the event such information is determined not to be “proprietary
        information” within the meaning of Section 101(k).

                        (b)    Right of General Partner to Keep Information Confidential. The General
          Partner may, to the maximum extent permitted by applicable law, keep confidential from any
                                                     14
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 225 of 275




          Limited Partner any information (including, without limitation, information requested by such
          Limited Partner pursuant to Section 3.9 and information otherwise required to be delivered to
          such Limited Partner pursuant to Article VIII) with respect to any Partnership Investment or
          potential Partnership Investment (i) that the Partnership or the General Partner is required by
          law, agreement or otherwise to keep confidential, or (ii) the disclosure of which the General
          Partner reasonably believes may have an adverse effect on the ability of the Partnership to
          consummate any proposed Partnership Investment or any transaction directly or indirectly
          related to, or giving rise to, such Partnership Investment.

                        Without a Limited Partner’s prior written consent, none of the Partnership, the
        General Partner, the Manager or any of their Affiliates shall (a) use the Limited Partner’s name
        or derivations thereof in advertising, publicity, marketing materials, private placement
        memorandum or other offering materials or other similar publication or document and/or (b)
        infer that the Partnership has been endorsed by the Limited Partner. Notwithstanding clause (a)
        above, the General Partner and its Affiliates may inform other Limited Partners and prospective
        investors in the Partnership of the fact and amount of the Limited Partner’s subscription to the
        Partnership; disclose the Limited Partner’s name and subscription amount if the General Partner
        first determines in good faith that such disclosure is in the best interests of the Partnership in
        connection with a Partnership Investment; and make any other disclosure regarding the Limited
        Partner’s investment in the Partnership required by law, legal process or stock exchange rule, in
        each case, without obtaining the prior written consent of the Limited Partner.

                       SECTION 3.12.          Meetings of Limited Partners.

                          (a)     Calling a Meeting.        The General Partner or Limited Partners
          representing at least 75% of the LP Interests in the Partnership may call a meeting of the
          Limited Partners at any time for any purpose relating to the business of the Partnership. The
          General Partner will give timely notice of such meeting to each Limited Partner in accordance
          with Section 13.3. Such notice shall specify the time and place of such meeting. Actions may
          be approved at any such meeting upon the approval of Limited Partners representing at least
          75% of the LP Interests and not affiliated with the General Partner or its Affiliates present at
          such meeting; provided that Limited Partners representing at least 50% of the LP Interests and
          not affiliated with the General Partner or its Affiliates are present in person or by proxy at such
          meeting.

                         (b)     Election of Subsidiary Fund Directors. In the event that a Subsidiary
          Fund holds an annual or special meeting of the holders of its voting securities for the purpose
          of voting on the election or re-election of one or more directors of such Subsidiary Fund, the
          General Partner will call a meeting of the Limited Partners for the purpose of voting in
          connection with the election of each such director. Each Limited Partner shall be entitled to
          vote “for”, “withhold” or to “abstain”. The General Partner will vote the securities of the
          Subsidiary Fund held by the Partnership “for” the election of each such director and shall cast
          votes “withholding” or “abstaining” in the same proportion as the Interests of the Limited
          Partners vote in such election.

                      SECTION 3.13.         Temporary Investment of Funds. The General Partner shall
        invest in Temporary Investments cash held by the Partnership, including all amounts being held
        by the Partnership for future investment in Partnership Investments, payment of Partnership
                                                         15
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 226 of 275




        Expenses or distribution to the Partners (including, without limitation, any amounts held by the
        Partnership pursuant to Section 7.1(f)).

                       SECTION 3.14.          Certain ERISA Matters.

                         (a)     The General Partner, on its own behalf and on behalf of the Manager,
          agrees that both the General Partner and the Manager are fiduciaries of all ERISA Partners
          with respect to the assets of the Partnership.

                         (b)    The General Partner shall use commercially reasonable efforts to
          conduct the business of the Partnership so that it does not cause the Partnership and/or any
          ERISA Partner to engage in a “prohibited transaction” as defined in ERISA and the Code;
          provided that the General Partner shall be permitted to rely on any information provided by an
          ERISA Partner in its Subscription Agreement or in supplemental requests for information from
          the General Partner with respect to the requirements of this clause (b).

                       SECTION 3.15.          UBTI, ECI and Other Tax Considerations.

                         (a)    Notwithstanding any other provision of this Agreement, the Partnership
          shall use commercially reasonable efforts to avoid the incurrence of any item of “unrelated
          business taxable income,” within the meaning of Section 512 of the Code (“UBTI”).

                         (b)     Notwithstanding any other provision of this Agreement, the Partners
          understand that the Partnership’s income may be treated as, and the Partnership’s investment
          activities may cause non-U.S. Limited Partners to incur, income that is “effectively connected”
          to the conduct of a trade or business in the United States within the meaning of Sections 864,
          871, 882 and 897 of the Code.

                          (c)     For the avoidance of doubt, the Partnership will be deemed to have
          satisfied its undertakings pursuant to Section 3.16(a) in connection with the incurrence of any
          item of UBTI by reason of: (i) any workout or restructuring of a Partnership Investment or
          bankruptcy of an issuer, including, but not limited to, the receipt of securities that may generate
          UBTI; (ii) any borrowing, hedging, financing or payments specifically permitted or provided
          for in the Offering Memorandum or this Agreement (or similar borrowing, hedging, financing
          or payments by a Subsidiary Fund); (iii) any loan origination activity deemed to be undertaken
          by the Partnership; (iv) any fees received from the issuer of a debt obligation held by the
          Partnership (or a Subsidiary Fund); or (v) any securities received in connection with the
          origination of a debt obligation.

                       SECTION 3.16.           Reliance by Third Parties. Persons dealing with the
        Partnership are entitled to rely conclusively upon the power and authority of the General Partner
        as herein set forth, and shall not be required to inquire as to the General Partner’s authority to
        bind the Partnership.

                       SECTION 3.17.          Borrowings; Financings

                         (a)     The Partnership may either borrow funds under a credit facility or enter
          into a financing (including, but not limited to, pursuant to a forward contract) on market-based
          terms in order to fund the acquisition of Partnership Investments or pay Partnership Expenses,
                                                         16
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 227 of 275




          in each case pending the Partnership’s receipt of required Capital Contributions from Limited
          Partners or other receipts of cash.

                         (b)     By executing this Agreement, each Limited Partner expressly agrees that
          the General Partner may pledge, secure, or otherwise encumber the assets of the Partnership
          and such Limited Partner’s rights hereunder as security for any borrowing and that such
          Limited Partner’s Capital Commitment obligation, the right to deliver Capital Call Notices to
          the Limited Partners, the right to receive all amounts in respect of Capital Contributions and
          any other assets of the Partnership, may be pledged to secure any borrowings or indebtedness
          incurred by the Partnership. In connection with any borrowing or indebtedness incurred by the
          Partnership, each Limited Partner agrees that it shall, upon request, confirm its Remaining
          Capital Commitment, and execute such other documents as may reasonably be requested by
          any lender; provided, that a Limited Partner shall not be required to (i) execute any document
          that would subject such Limited Partner to any obligation beyond the amount of such Limited
          Partner’s unfunded Capital Commitment or (ii) execute or obtain any legal opinions prepared
          by legal counsel. The General Partner shall not pledge its interest in the Partnership under any
          circumstances.

                           (c)    The Partnership’s borrowing of money, issuance of guarantees and
          taking on leverage directly or through its Subsidiaries is limited to borrowings under a credit
          facility or a financing on market-based terms in order to fund the acquisition of investments or
          the payment of fund expenses by the Partnership or its Subsidiaries, in each case pending the
          Subsidiary’s receipt of capital contributions from its limited partners and for not longer than 90
          days and not in excess of the lower amount of (i) 10% of the aggregate Capital Commitments
          or (ii) the amount of the aggregate Capital Commitments that is available for draw down from
          such limited partners.

                       SECTION 3.18.           Conflicts of Interest.

                          (a)    While the General Partner intends to avoid situations involving conflicts
          of interest, each Limited Partner acknowledges that there may be situations in which the
          interests of the Partnership conflict with the interests of the General Partner Group, including
          the conflicts of interest identified in the Offering Memorandum. Each Limited Partner (i)
          acknowledges that the General Partner, the Manager and their respective Affiliates are engaged
          in a broad spectrum of activities, including providing investment management services,
          financial advisory services and brokerage services and engaging in principal investing
          activities and the business of sponsoring and managing investment funds and in the ordinary
          course of their business may engage in activities in which their interests or the interests of their
          clients or customers may conflict with the interests of the Partnership or a Partnership
          Investment; and (ii) agrees that the activities of any Other Clients (or other related investment
          vehicles), the General Partner, the Manager and their respective Affiliates authorized or
          contemplated by this Section 3.18 or in any other provision of this Agreement may be engaged
          in by such Other Client, the General Partner, the Manager or any such Affiliate, as the case
          may be, and will not, in any case or in the aggregate, be deemed a breach of this Agreement or
          any other agreement contemplated herein or any duty that might be owed by any such Person
          to the Partnership or to any Partner at law or in equity or otherwise except to the extent such
          Affiliate engaged in conduct that constitutes (i) a breach of such party’s fiduciary duty under
          ERISA, (ii) negligence, (iii) willful and material breach of the duties set forth in this
                                                         17
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 228 of 275




          Agreement or under the Partnership Act, or (iv) willful and material breach of any applicable
          fiduciary or other duty under federal or other applicable law.

                          (b)     The Partnership and the General Partner Group will seek to resolve any
          conflicts with respect to investment opportunities involving the Partnership in a manner which
          the General Partner deems equitable to the extent possible under prevailing facts and
          circumstances; provided that, the General Partner shall have the right, subject to Section 4.3, to
          allocate any investment opportunity which comes to its attention wholly or primarily to any
          Other Client, entity or entities other than the Partnership.

                          (c)    On any matter involving a conflict of interest not provided for in this
          Section 3.18 or elsewhere in this Agreement, each of the General Partner and the Manager will
          be guided by its good faith judgment as to the best interests of the Partnership and shall take
          such actions as are determined by the General Partner or the Manager, as the case may be, after
          giving consideration to issues that may arise under ERISA (if applicable), to be necessary or
          appropriate to ameliorate such conflicts of interest. If the General Partner or the Manager
          consults with the Independent Investor Representative with respect to a matter giving rise to a
          conflict of interest, and if the Independent Investor Representative waives such conflict of
          interest or the General Partner or the Manager acts in a manner, or pursuant to standards or
          procedures, approved by the Independent Investor Representative with respect to such conflict
          of interest, then, subject to ERISA (if applicable), none of the Other Clients, the General
          Partner, the Manager or any of their respective Affiliates shall have any liability to the
          Partnership or any Partner for such actions in respect of such matter taken in good faith by
          them, including actions in the pursuit of their own interests, and such actions shall not
          constitute a breach of this Agreement or any other agreement contemplated herein or of any
          duty or obligation of such Person at law or in equity or otherwise.

                       SECTION 3.19.          Independent Investor Representative.

                          (a)      The General Partner shall establish an investor representative body
          comprised of third party individuals that are not members of the General Partner Group or its
          Affiliates, or officers, directors, or employees thereof, to act on each Limited Partner’s behalf
          and on behalf of the Partnership (the “Independent Investor Representative”).

                          (b)    The Independent Investor Representative is specifically empowered, in
          its independent fiduciary determination, to: (i) provide approval or advice to the General
          Partner on matters relating to the resolution of potential conflicts of interest, including with
          respect to transactions between the Partnership and members of the General Partner Group (as
          specified in Section 3.6 of this Agreement), including those that may be identified in the
          Partnership’s quarterly, annual or other reports of financial statements; (ii) approve any waiver
          of the default provisions set forth in Section 6.3 of this Agreement by the General Partner in
          favor of the General Partner or any Affiliate of the General Partner; (iii) originate certain term
          and asset-backed loans if the Manager and General Partner are prohibited from doing so under
          ERISA rules and regulations; and (iv) provide approval or advice with respect to such other
          matters as may be referred to it from time to time by the Manager and the General Partner. In
          connection with the exercise of the foregoing rights and responsibilities, the Independent
          Investor Representative may consult with the Partnership’s auditor and other professional

                                                        18
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 229 of 275




          advisers and may engage independent legal, accounting or other similar professional advisers
          at the Partnership’s reasonable expense.

                          (c)      The Independent Investor Representative shall be Harrison Fiduciary
          Group, an independent fiduciary management firm. Subject to the terms and conditions set
          forth in this Section, the terms of appointment (including, for the avoidance of doubt, successor
          appointments) and all other matters relating to the Independent Investor Representative
          (including removal of members of the Independent Investor Representative) (i) shall be
          determined by a vote of a majority in interest of LP Interests not affiliated with the Manager or
          the General Partner or (ii) with respect to the replacement of a member of the Independent
          Investor Representative, shall be nominated by the remaining member(s) of the Independent
          Investor Representative (if any) or, if all members are disabled or otherwise unable to
          participate in such nomination, by a vote of a majority in interest of the LP Interests not
          affiliated with the Manager or the General Partner.

                         (d)    The approval of the Independent Investor Representative (including any
          formal advice or guidance provided to the General Partner) shall require the affirmative vote of
          a majority of the members thereof. The formal advice or guidance of the Independent Investor
          Representative specifically regarding conflicts of interest shall be binding upon the General
          Partner. Members of the Independent Investor Representative may participate in a meeting of
          the Independent Investor Representative by means of conference telephone or similar
          communications equipment by means of which all persons participating in the meeting can
          hear each other.

                        (e)    The Partnership will bear any expenses related to the functioning of the
          Independent Investor Representative.

                         (f)     The Independent Investor Representative shall be a fiduciary with
          respect to the Partnership, and the members of the Independent Investor Representative may
          receive such compensation from the Partnership as determined by a majority in interest of the
          LP Interests that are not affiliated with the General Partner or its Affiliates.

                        (g)     The General Partner shall provide to each Limited Partner, upon such
          Limited Partner’s request, a detailed description of the topics discussed at any Independent
          Investor Representative meeting along with copies of all written materials provided to the
          Independent Investor Representative in connection with any such meeting.

                       SECTION 3.20.           Investment Committee. The Manager has established an
        investment committee (“Investment Committee”) to (a) approve potential Partnership
        Investments, (b) assess and manage the risks for such Partnership Investments and (c)
        continually monitor such Partnership Investments. All decisions regarding the acquisition and
        disposition of Partnership Investments will be made by a majority decision of the Investment
        Committee. The members of the Investment Committee are the Principals and such other
        individuals as are selected by the Principals from time-to-time.




                                                        19
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 230 of 275




                       SECTION 3.21.          Valuation.

                          (a)    The Partnership’s valuation agent (the “Valuation Agent”) shall provide
          third-party valuations of the Partnership Investments. The valuations assigned to the
          Partnership Investments by the Valuation Agent(s) shall be conclusive and binding as to all
          parties. The Partnership’s initial Valuation Agent shall be Navigant Consulting, Inc. The
          Independent Investor Representative shall have the full authority to appoint successor
          Valuation Agent(s); provided, however, that any such successor Valuation Agent shall: (i) not
          be affiliated with the Manager or the General Partner; and (ii) be reasonably and commercially
          qualified to engage in the duties required of the Valuation Agent.

                         (b)    Any Securities distributed by the Partnership shall be valued by the
          Valuation Agent at the Fair Value thereof as reasonably determined by the Valuation Agent,
          taking into account any related fees and expenses incurred in connection with the disposition of
          such Securities.

                         (c)     The net asset value of the Partnership shall be determined by the fund’s
          administrator, using the valuations given to Partnership Investments by the Valuation Agent.

                                        ARTICLE IV
                         INVESTMENTS AND INVESTMENT OPPORTUNITIES

                        SECTION 4.1.          Investments Generally. The assets of the Partnership shall,
        to the extent not required for the payment of Partnership Expenses or otherwise necessary for the
        conduct of the Partnership’s business, and subject to Section 3.13, be invested in such
        Partnership Investments as the General Partner shall determine in its sole discretion.

                        SECTION 4.2.           Investment Restrictions. The Partnership (looking through
        any Subsidiary Fund) generally will not invest more than (i) twenty-five percent (25%) of its
        aggregate Capital Commitments in a single market sector; (ii) eight percent (8%) of its aggregate
        Capital Commitments in any single Partnership Investment or (iii) twenty-five percent (25%) of
        its aggregate Capital Commitments in Partnership Investments primarily organized and/or
        operating outside of the United States and Canada each measured at cost at the time of
        investment; provided, however, that the General Partner has the discretion to exceed these
        percentage limitations if it makes a good faith determination that such additional investment is in
        the best interests of the Partnership and the Independent Investor Representative approves of
        such additional investment. The Partnership will not engage in venture capital lending deals
        with borrowers that have less than $20 million of revenue unless there are meaningful assets
        (e.g., cash, accounts receivable, inventory or property plant and equipment) that support a given
        loan on net orderly liquidation value (NOLV) basis.

                        SECTION 4.3.           Co-Investment Opportunities. At any time, the General
        Partner or an Affiliate thereof may in its sole discretion provide any person (including any
        Limited Partner) (a “Third Party Co-Investor”) with the opportunity to co-invest (other than in
        their capacity as Partners, if applicable, and no such co-investment shall be considered a Capital
        Contribution) with the Partnership in the Partnership Investments. Any such co-investment may,
        if the General Partner so requires, be made directly through managed accounts or through one or
        more investment partnerships or other vehicles or accounts (each a “Co-Investment Fund”)
                                                        20
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 231 of 275




        formed to facilitate such co-investment. Any such offer may be made to such Persons in such
        proportions as the General Partner shall determine in its sole discretion, and the General Partner
        may allocate such portion of an investment opportunity to a Co-Investment Fund as the General
        Partner determines in its sole discretion to be appropriate. Participation by a Third Party Co-
        Investor in a co-investment opportunity, whether directly or through a Co-Investment Fund: (i)
        shall be made on such terms and conditions that the General Partner shall deem in its sole
        discretion to be appropriate (which, for the avoidance of doubt, may be more favorable than the
        terms upon which the Partnership participates in such applicable Partnership Investment); and
        (ii) shall be entirely the responsibility and investment decision of such Third Party Co-Investor,
        and none of the Partnership, the General Partner, the Manager or any of their respective
        Affiliates shall assume any risk, responsibility or expense, or be deemed to have provided any
        investment advice, in connection therewith. The General Partner will allocate available co-
        investment opportunities among the Partnership, any Co-Investment Funds and any other
        investment fund or managed account managed by the General Partner Group in such manner as it
        determines in its sole discretion (but subject to compliance with the requirements of ERISA).

                                                       ARTICLE V
                                                       EXPENSES

                       SECTION 5.1.           Definition and Payment of Manager Expenses. As between
        the General Partner, the Manager and the Partnership, the Manager and the General Partner shall
        be solely responsible for and shall pay their own respective Manager Expenses. As used herein,
        the term “Manager Expenses” means the organizational and operating expenses (including
        compliance or regulatory costs (including, for avoidance of doubt, all costs and expenses
        associated with the Manager’s or the General Partner’s compliance with the Advisers Act)) of
        the General Partner and the Manager, including salaries and employee benefit expenses of
        employees, office rent, supplies and telecommunication expenses.

                           SECTION 5.2.            Partnership Expenses.

                          (a)     Payment of Partnership Expenses. The Partnership shall be responsible
          for and shall pay all Partnership Expenses.

                         (b)    Definition of Partnership Expenses.        As used herein, the term
          “Partnership Expenses” means all expenses or obligations of the Partnership or otherwise
          incurred by the General Partner or Manager on behalf of the Partnership in connection with this
          Agreement other than any expense that would be considered a Manager Expense.

                        (c)     Specified Partnership Expenses. The parties agree that all of the
          following constitute Partnership Expenses, and comprise some, but not necessarily all, of the
          types of expenses that may constitute Partnership Expenses, depending upon the context in
          which such expenses are incurred:

                                     (i)    Certain out-of-pocket expenses incurred by the Partnership or on
                    its behalf that are directly related to the organization of the Partnership and the marketing
                    of LP Interests to prospective Limited Partners, including, without limitation, legal and
                    auditor fees, filing fees, blue sky fees and foreign registration fees for the Partnership (if
                    applicable) (collectively, the “Organizational Expenses”); provided, that the aggregate
                                                             21
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 232 of 275




                    of such Organizational Expenses shall not exceed $2 million; provided further, that any
                    fees payable to a placement agent engaged by the Partnership to offer and sell LP
                    Interests shall be borne directly by the General Partner or Manager;

                                   (ii)    expenses related to the sourcing, due diligence, valuation, and
                    potential acquisition of Partnership Investments, provided that such acquisition is actually
                    consummated, the holding, monitoring and sale of Partnership Investments;

                                   (iii) legal, tax, auditing, consulting, accounting, valuation services, loan
                    servicing, and other professional expenses (including, at the General Partner’s discretion,
                    with respect to individual Partnership Investments);

                                    (iv)    costs and expenses for the preparation of the Partnership’s
                    financial statements, tax returns and IRS Schedules K-1;

                                   (v)     litigation expenses of the Partnership;

                                  (vi)    out-of-pocket expenses incurred in connection with the collection
                    of amounts due to the Partnership from any Person;

                                  (vii) insurance premiums related to protection of Covered Persons
                    against any liability arising out of, related to or incurred in connection with this
                    Agreement;

                                   (viii) expenses incurred in connection with any Proceeding involving the
                    Partnership (including the cost of any investigation and preparation) and the amount of
                    any judgment or settlement paid in connection therewith; provided, however, that any
                    such expenses which, if incurred by any Person, would not be indemnifiable under
                    Article IX, shall not constitute Partnership Expenses;

                                   (ix)    fees and expenses of the Administrator;

                                   (x)    any indemnification obligation and any other indemnity
                    contribution or reimbursement obligations of the Partnership with respect to any Person,
                    whether payable in connection with a Proceeding involving the Partnership or otherwise,
                    in each case, to the extent available under applicable law and the provisions of Section
                    9.2;

                                   (xi)  Management Fees (to be allocated among Limited Partners as
                    contemplated by Section 3.4) and Administration Fees (to be allocated as contemplated
                    by Section 3.5);

                                   (xii)   any Borrowing Costs relating to any borrowings incurred by the
                    Partnership;

                                   (xiii) any costs charged or borne by a Subsidiary Fund to its investors
                    (except as provided in clause (d) below; and,


                                                             22
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 233 of 275




                                    (xiv) all expenses incurred in connection with the dissolution and
                    liquidation of the Partnership.

                       (d) Master Fund Expenses. Limited Partners shall not bear any portion of a
        Subsidiary Fund’s organizational expenses and/or a Subsidiary Fund’s operational expenses
        except to the extent that such expenses are substantially equivalent to and in lieu of a Partnership
        Expense as periodically determined by the General Partner with the approval of the Independent
        Investor Representative. To the extent that such expenses are charged to the Partnership that are
        not so determined by the General Partner, the General Partner shall rebate or refund the amount
        of such expenses to the Partnership.

                                         ARTICLE VI
                        CAPITAL COMMITMENTS AND CAPITAL CONTRIBUTIONS

                          SECTION 6.1.         Capital Commitments.

                          (a)     Agreement to Contribute Capital. Subject to Sections 3.8, 6.1(b), 6.2,
          6.5, 7.1(c) and 9.2, each Partner hereby agrees to make Capital Contributions, in an aggregate
          amount equal at any time to its Remaining Capital Commitment, during the Investment Period.
          The Partnership may make commitments to Partnership Investments during the Investment
          Period. Following the Investment Period, Partners shall cease to be obligated to contribute
          capital in respect of their Remaining Capital Commitment; provided, however, that Partners
          shall remain obligated to make a Capital Contribution in respect of their Remaining Capital
          Commitments to (i) fund Partnership Expenses and liabilities (including, without limitation, the
          Management Fee and any Partnership borrowings), (ii) permit the Partnership to fulfill
          investment commitments made prior to the expiration of the Investment Period, including,
          without limitation, for purposes of making Partnership Investments made pursuant to rights
          acquired prior to the expiration of the Investment Period, and (iii) fund Follow-On
          Investments. Notwithstanding anything to the contrary herein, each Limited Partner will
          participate in any Follow-On Investment in the same proportion that it participates in the
          original Partnership Investment to which such Follow-On Investment relates. Further, in the
          event that after the expiration of the Investment Period there exists outstanding indebtedness of
          the Partnership secured by the Capital Commitments of the Limited Partners, the Limited
          Partners obligation to so contribute capital shall continue, to the extent of its pro rata portion of
          such indebtedness vis-à-vis all other Limited Partners, until such time as such indebtedness is
          paid in full.

                         (b)    Release of Capital Commitments. Notwithstanding the provisions of
          Section 6.1(a), the General Partner may, in its sole discretion, cancel some or all of the
          Remaining Capital Commitments of all Partners at any time if the General Partner determines
          that changes in any applicable law or regulation make it necessary for the Partnership to do so.

                         (c)    Minimum Capital Commitment. The minimum Capital Commitment of
          any Limited Partner shall be $5 million, though the General Partner, in its sole discretion, may
          (i) accept Capital Commitments in lesser amounts, or (ii) demand a higher minimum Capital
          Commitment from some or all Limited Partners.


                                                          23
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 234 of 275




                          (d)     Capital Commitment of the General Partner Group. Certain principals
          of the Manager have invested a significant portion of their liquid net worth into other
          investment funds and managed accounts advised by the Manager and its Affiliates that pursue
          a substantially similar investment strategy to the Partnership and, at times, invest alongside the
          Partnership. Such principals will also invest into the Partnership.

                           SECTION 6.2.             Capital Call Procedure.

                          (a)    Generally. Each Limited Partner shall make Capital Contributions to the
          Partnership with respect to the Partnership Investments, to pay Partnership Expenses or to
          maintain a reserve in such amounts, to such account and at such times (including at a Closing)
          as the General Partner shall specify in notices (“Capital Call Notices”) delivered from time to
          time to such Limited Partner. All Capital Contributions shall be paid to the Partnership by wire
          transfer in immediately available funds to the account specified in the Capital Call Notice by
          11:00 A.M. (New York City time) on the date specified in the applicable Capital Call Notice.
          Capital Contributions may include amounts that the General Partner determines, in its sole
          discretion, are necessary or desirable to establish reserves in respect of potential Partnership
          Investments or Partnership Expenses.

                               (b)     Capital Call Notices. Each Capital Call Notice shall specify:

                                     (i)    the Capital Call Amount;

                                     (ii)   the required Capital Contribution to be made by such Limited
                    Partner;

                                   (iii) the date (the “Capital Call Date”) on which such Capital
                    Contribution is due; and

                                     (iv)   the account to which such Capital Contribution should be paid.

        The General Partner shall deliver each Capital Call Notice at least seven (7) Business Days
        before the Capital Call Date (other than a Capital Call Notice relating to a Capital Contribution
        payable at a Closing) including the date of delivery of the Capital Call Notice.

                          (c)    Amounts of Required Capital Contributions for each Partner. Subject to
        Section 2.5, in connection with any Capital Call, each Partner shall be required to make a Capital
        Contribution equal to the product of (i) such Partner’s Remaining Commitment Percentage and
        (ii) the Capital Call Amount specified in the applicable Capital Call Notice.

                           SECTION 6.3.             Default by Limited Partners.

                         (a)    In General. Each Partner agrees that (i) payment of its required Capital
          Contributions and amounts required pursuant to Sections 6.2 and 9.2 when due is of the
          essence, and is to be made absolutely and unconditionally in each case without any set-off,
          withholding, counterclaim, defense or reduction, (ii) any Default by any Limited Partner would
          cause injury to the Partnership and to the other Partners, and (iii) that the amount of damages
          caused by any such injury would be extremely difficult to calculate. Accordingly, each Partner
          agrees that upon any Event of Default by a Limited Partner, such Defaulting Partner may, in
                                                              24
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 235 of 275




          the General Partner’s sole discretion, (I) not share in any gain realized by the Partnership on
          any disposition of a Partnership Investment occurring after the date of Default (regardless of
          when the Partnership Investment was made), (II) continue to share in any loss realized by the
          Partnership on any disposition of any Partnership Investment in which the Defaulting Partner
          participated, and/or (III) have the entire balance in its Capital Account forfeited (the amount of
          the reduction to be distributed pro rata to all Partners, other than the Defaulting Partner).

                        Except as expressly provided in the Partnership Agreement, the obligations of any
        Defaulting Partner to the Partnership, or under the Partnership Agreement, shall continue
        regardless of the remedies pursued by the Partnership.

                      Upon the occurrence of any Default, the General Partner shall promptly notify the
        Limited Partner who has committed such Default of its status as a Defaulting Partner.

                         (b)    Action by General Partner. Upon the occurrence of an Event of Default,
          the General Partner may take such actions as it determines, in its sole discretion, are
          appropriate with respect to the defaulted amount, including, but not limited to:

                                   (i)   drawing-down additional capital from non-Defaulting Partners up
                    to their Remaining Capital Commitment;

                                   (ii)   increasing its own or its Affiliates Capital Contributions;

                                   (iii) causing the sale, transfer or other disposition of all of the LP
                    Interest of the Defaulting Partner or causing the Defaulting Partner to sell, transfer or
                    otherwise dispose of all of its LP Interest, after a twenty (20) day period during which the
                    General Partner will solicit bids for the purchase of such LP Interest, to another non-
                    Defaulting Partner or to a third-party on such terms as are determined by the General
                    Partner and the proposed transferee;

                                   (iv)    causing the Partnership to borrow money from third parties, non-
                    Defaulting Partners, the General Partner or any of its Affiliates in order to fund the
                    Defaulting Limited Partner’s Capital Call obligation. The Borrowing Costs with respect
                    to any borrowing pursuant to this Section 6.3(b)(iv) shall be charged to the Capital
                    Account of the Defaulting Partner. Any such borrowing will constitute a separate
                    obligation of the Defaulting Partner and not the Partnership and will be secured by
                    (A) the Capital Commitments of the Defaulting Partner, (B) the Defaulting Partner’s LP
                    Interest, and (C) a personal guarantee of the Defaulting Partner in an amount not to
                    exceed one hundred percent (100%) of the amount of the borrowing attributable to the
                    Defaulting Partner; or

                                   (v)      immediately institute legal procedures against the Defaulting
                    Partner to collect all amounts owed by such Defaulting Partner to the Partnership or any
                    other person, together with interest, at the maximum rate provided by law from the date
                    of the Default plus all related collection expenses, including reasonable attorney’s fees.

                         (c)     Additional Capital Call Notice. If additional capital is drawn down
          pursuant to Section 6.3(b)(i) with respect to any amount that is in Default, the General Partner
          shall deliver an additional Capital Call Notice in accordance with Section 6.2(b) to the non-
                                                         25
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 236 of 275




          Defaulting Limited Partners, and the required Capital Contribution of each such Limited
          Partner shall be increased by an amount calculated with respect to the amount that remains to
          be funded in accordance with Section 6.2(c) (determined without regard to the Capital
          Commitment of the Defaulting Partner); provided that no Limited Partner can be required to
          contribute in excess of its Remaining Capital Commitment.

                          (d)   Defaulting Partner’s Remaining Capital Commitment. In its sole
          discretion, the General Partner may take any or all of the following actions in respect of the
          Remaining Capital Commitment of any Defaulting Partner:

                                    (i)    cause the Defaulting Partner to forfeit all or a portion of its interest
                    in distributions to be derived from Partnership Investments that have been made by the
                    Partnership as of the date of the Event of Default;

                                   (ii)    require the Defaulting Partner to sell its LP Interest to a purchaser
                    determined in the sole discretion of the General Partner. In the sole discretion of the
                    General Partner, such sale may be (A) at a price determined by the General Partner or the
                    Independent Investor Representative at the General Partner’s request and (B) in exchange
                    for a non-recourse, non-interest bearing note secured by the LP Interest sold and payable
                    solely from distributions receivable with respect to the LP Interest sold;

                                   (iii) seek commitments of capital from additional investors (which
                    may, in the General Partner’s sole discretion, include Existing Limited Partners or the
                    General Partner) up to the amount of the Defaulting Partner’s Remaining Capital
                    Commitment. If any such commitment is received from any Existing Limited Partner,
                    such Limited Partner’s Capital Commitment and Remaining Capital Commitment shall
                    be increased accordingly. If any such commitment is received from an investor that is
                    not an Existing Limited Partner, such investor shall, after executing such instruments and
                    delivering such opinions and other documents (including an executed counterpart to this
                    Agreement) as are in form and substance satisfactory to the General Partner, be admitted
                    to the Partnership as a Substitute Limited Partner and shown as such on the books and
                    records of the Partnership and shall be deemed to have a Capital Commitment and a
                    Remaining Capital Commitment equal to the commitment for which such investor has
                    subscribed. After the appropriate adjustment of the Capital Commitment and the
                    Remaining Capital Commitment of the Limited Partner or admission of the Substitute
                    Limited Partner as more fully provided in Section 12.2, the Capital Commitment and
                    Remaining Capital Commitment of the Defaulting Partner shall be decreased
                    accordingly; and

                                  (iv)    reduce or cancel the Remaining Capital Commitment of the
                    Defaulting Partner on such terms as the General Partner or the Independent Investor
                    Representative at the General Partner’s request determines, in its sole discretion, (which
                    may include leaving such Defaulting Partner obligated to pay the Management Fee and to
                    make Capital Contributions with respect to Partnership Expenses up to the amount of
                    such Partner’s Remaining Capital Commitment immediately prior to the time such
                    Remaining Capital Commitment is so reduced or canceled).



                                                              26
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 237 of 275




                        (e)    Waiver of Default Provisions in favor of the General Partner or its
        Affiliates. The General Partner may waive any or all of the actions set forth in this Section 6.3
        for any Defaulting Partner that is affiliated with the General Partner or its Affiliates only upon
        the prior written approval of the Independent Investor Representative.

                       SECTION 6.4.           Remedies Not Limited. The rights and remedies referred to
        in Sections 6.2 and 6.3 shall be in addition to, and not in limitation of, any other rights available
        to the General Partner or the Partnership under this Agreement or at law or in equity. In
        addition, unless the Remaining Capital Commitment of any Defaulting Partner is decreased to
        zero pursuant to Section 6.3(d)(iv), an Event of Default by such Limited Partner shall not relieve
        such Defaulting Partner of its obligation to make Capital Contributions subsequent to such Event
        of Default. A Defaulting Partner will be obligated to pay all of the expenses incurred by the
        Partnership in pursuing any remedial actions, including reasonable attorney’s fees.

                       SECTION 6.5.           Excluded Limited Partners.

                         (a)     Notwithstanding anything to the contrary contained herein, the General
        Partner shall cancel the obligation of any Limited Partner (an “Excluded Limited Partner”) to
        make any Capital Contribution with respect to a particular Partnership Investment if either (i) the
        General Partner determines based upon advice of counsel (a copy of which advice shall be
        provided to the Excluded Limited Partner to be excluded) that there is a reasonable likelihood
        that the Excluded Limited Partner’s participation in the economics of such Partnership
        Investment would (a) impose a material tax, regulatory or other burden on the Partnership or the
        other Limited Partners or (b) result in a violation of any applicable law, regulation or
        administrative practice to which the Excluded Limited Partner, the Partnership or the particular
        Partnership Investment involved is subject, or (ii) the Excluded Limited Partner provides to the
        General Partner written advice from a reputable and experienced law firm satisfactory to the
        General Partner concluding that the Excluded Limited Partner’s participation in the economics of
        such Partnership Investment (a) is illegal or otherwise prohibited by statute or regulation
        applicable to such Excluded Limited Partner or (b) would result in materially unfavorable tax,
        legal or regulatory consequences to such Excluded Limited Partner. An Excluded Limited
        Partner shall not participate in the economics of any particular Partnership Investment with
        respect to which it does not make a Capital Contribution pursuant to this Section 6.5(a).

                        Any determination pursuant to clause (i) of the immediately preceding paragraph
        shall, if possible, be communicated to such Excluded Limited Partner at or prior to the time that
        the General Partner delivers Capital Call Notices relating to the Capital Contributions in question
        to the other Limited Partners. Such Capital Call Notices shall provide the amount of any
        additional capital which such other Limited Partners shall be required to contribute as a result of
        the developments set forth above or, if such determination is not made until after a Capital Call
        Notice for such Partnership Investment has been delivered to the other Limited Partners (but in
        any event within ten (10) calendar days after the consummation of such Partnership Investment),
        the General Partner may then deliver a new Capital Call Notice to each other Limited Partner
        which is able to participate in such Partnership Investment indicating the additional Capital
        Contribution to be made in respect of such Partnership Investment, and, subject to the proviso set
        forth in the ultimate sentence of this Section 6.5, each such Limited Partner shall make an
        additional Capital Contribution in respect of such Partnership Investment as soon as practicable
        but in no even later than five (5) calendar days after having been given such new Capital Call
                                                         27
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 238 of 275




        Notice. Additional Capital Contributions called for pursuant to this Section 6.5 shall be made by
        each such other Limited Partner in an amount which bears the same ratio to the aggregate
        additional Capital Contributions of all other Limited Partners as such other Limited Partner’s
        Remaining Capital Commitment bears to the Remaining Capital Commitments of all such other
        Limited Partners; provided that no Limited Partner shall be obligated to contribute an amount in
        excess of such Limited Partner’s Remaining Capital Commitment.

                          (b)    No Commitment Reduction for Excluded Limited Partner. The
        Remaining Capital Commitment of any Excluded Limited Partner shall not be reduced as a result
        of its exclusion from participation in a Partnership Investment pursuant to this Section 6.5.

                      SECTION 6.6.            Maximum Capital Commitments. The Partnership shall not
        accept aggregate Capital Commitments to the Partnership in excess of $2 billion without the
        approval of the Independent Investor Representative. Capital commitments to any Subsidiary
        Fund or Parallel Fund will be included, without duplication, when determining whether the
        foregoing $2 billion threshold has been met.

                                            ARTICLE VII
                                 DISTRIBUTIONS; CAPITAL ACCOUNTS

                       SECTION 7.1.           Distributions.

                          (a)    Distribution. Subject to the following sentence, proceeds derived by the
        Partnership from interest, dividend or other similar payments with respect to a Partnership
        Investment or from the sale or other disposition of Partnership Investments (directly or by a
        Subsidiary Fund) that (i) constitute a return of Capital Contributions (but not income or gain) and
        (ii) are distributed to a Limited Partner during the Investment Period or within twelve (12)
        months from the end of the Investment Period will be added to the Limited Partner’s Remaining
        Capital Commitment and again be available for drawdowns for a period of twelve (12) months
        after the expiration of the Investment Period. Limited Partners may elect in the Subscription
        Agreements to receive quarterly distributions of interest, dividend and other similar payments
        from Partnership Investments (any Limited Partner electing to receive such quarterly
        distributions, an “Electing Partner”); provided that such amounts will: (i) not be added to the
        Limited Partner’s Remaining Capital Commitment; (ii) be capped at 2% per quarter of such
        Limited Partner’s Capital Contributions invested in Partnership Investments; and (iii) be
        apportioned and distributed as set forth in this Section 7.1. Notwithstanding the foregoing, the
        amount of any such quarterly distribution will be reduced by any amounts that the General
        Partner considers prudent reserves to meet the future expenses and liabilities of the Partnership.
        Distributable Cash derived by the Partnership from a particular Partnership Investment will
        initially be apportioned among the Partners in proportion to their respective Capital
        Contributions relating to the acquisition of the Partnership Investment (as determined by the
        General Partner in its reasonable discretion, taking into account the terms of this Agreement,
        including, but not limited to the admission of Additional Limited Partners and Defaults). The
        amount so apportioned to the General Partner shall be distributed to the General Partner. The
        amount so apportioned to each Limited Partner (net of Partnership Expenses and the
        Management Fee and Administration Fee borne by such Limited Partner, if any) shall then be
        distributed to such Limited Partner.

                                                        28
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 239 of 275




        The General Partner will utilize commercially reasonable efforts to provide at least five (5)
        Business Days’ notice to Limited Partners prior to making any distribution to Limited Partners,
        which notice shall include the sources of such distribution and the anticipated amount to be
        distributed (including detailed figures showing the portion of such distribution attributable to
        return of capital, realized losses, Partnership Expenses, Organizational Expenses, Management
        Fees and profits).

                         (b)     Distributions Prior to the Final Closing Date. Distributable Cash earned
        during the period between the Initial Closing Date and the next Subsequent Closing Date
        (“Initial Period Distributable Cash”) shall be allocated among the Partners such that Initial
        Closing Date Capital Contributions shall be entitled to a priority return paid out of such Initial
        Period Distributable Cash equal to the full amount of the Initial Period Distributable Cash earned
        with respect to Partnership Investments made prior to the next Subsequent Closing and allocated
        only to Members as of the Initial Closing Date (the “Initial Closing Priority Return”) in
        proportion to which their Capital Commitments bears to the aggregate Capital Commitments
        from all such Initial Closing Date investors (“Initial Closing Date Investors”).

        Initial Closing Date Investors and investors who made Capital Commitments at the next
        Subsequent Closing Date shall receive a priority return equal to the Distributable Cash earned
        with respect to Partnership Investments made on or after the such Subsequent Closing, and prior
        to the second Subsequent Closing, pro rata, in proportion to which their Capital Commitments
        bears to the aggregate Capital Commitments.

        Initial Closing Date Investors and Investors who made Capital Commitments at the first
        Subsequent Closing, together with Investors who made Capital Commitments at the second
        Subsequent Closing, shall receive a priority return equal to the Distributable Cash earned on or
        after the second Subsequent Closing and before the third Subsequent Closing, pro rata, in the
        manner described above.

        This methodology shall be applied as to each Subsequent Closing in a similar manner.

        Investors who purchase on the Final Closing Date will not receive any distributions from
        Distributable Cash earned prior to the Final Closing Date.

        After the Final Closing Date, the Initial Closing Date Investors and those who purchased at
        Subsequent Closing dates will not be entitled to priority returns of Distributable Cash and
        Distributable Cash will be apportioned as noted above, initially based on Partner Capital
        Commitments.

                       (c)    Reinvestment of Distributed Capital. Subject to the second sentence of
        Section 7.1(a), proceeds derived by the Partnership or the Master Fund from interest, dividend or
        other similar payments with respect to a Partnership Investment or from the sale or other
        disposition of Partnership Investments that (i) constitute a return of Capital Contributions (but
        not income or gain) and (ii) are distributed to a Limited Partner during the Investment Period or
        within twelve (12) months from the end of the Investment Period will be added to the Limited
        Partner’s Remaining Capital Commitment and again be available for drawdowns for a period of
        twelve (12) months after the expiration of the Investment Period. The General Partner will


                                                       29
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 240 of 275




        notify the Limited Partners quarterly of their Remaining Capital Commitment, including any
        distributions to Limited Partners that are being added to their Remaining Capital Commitment.

                           (d)    Distributions in Kind. The Partnership may distribute property in kind
        and in such amounts as the General Partner shall, at its sole discretion, determine provided that
        in the event that the General Partner distributes property in-kind other than pursuant to Sections
        10.4 or 10.5 hereof, the General Partner will distribute property that it believes in good faith to
        be marketable. Any distribution in kind made to the Partners in accordance with Section 10.4
        shall be treated for purposes thereof as if such distribution in kind was a cash distribution in an
        amount equal to the then Fair Value of the distributed assets. In connection with any distribution
        in kind of interests in securities or other property to a Limited Partner under this Agreement
        (including pursuant to this Article VII and Article X), the General Partner shall notify the
        Limited Partner that the Limited Partner may request that such securities or other property not be
        distributed to it, but instead sold for cash on its behalf. If the Limited Partner so requests, the
        General Partner shall use commercially reasonable efforts to sell such securities or other property
        and distribute the cash proceeds of such sale to the Limited Partner net of any relevant
        reasonable costs and expenses. In each such event, such securities or other property shall be
        deemed to have been distributed to the Limited Partner at the same time and at the same
        valuation that the securities or other property were distributed to the other Limited Partners.

                          (e)    Withholding of Certain Amounts. Notwithstanding anything else
          contained in the Agreement, the General Partner may, in its sole discretion, withhold from any
          distribution of cash or property by the Partnership to any Limited Partner contemplated by this
          Agreement, the following amounts:

                                   (i)     any amounts then due from such Limited Partner to the Partnership
                    or to the General Partner or to any other Person in connection with the Partnership; and

                                   (ii)    any amounts required to pay or to reimburse the Partnership for the
                    payment of any withholding or other taxes properly attributable to such Limited Partner
                    (including, without limitation, withholding taxes and interest, penalties and expenses
                    incurred in respect thereof).

        Any withholding described in Section 7.1(e)(i) or (ii) above shall be treated for all purposes of
        this Agreement as (i) having been distributed to the Limited Partner, and (ii) having been
        contributed by such Limited Partner to the Partnership or paid by such Limited Partner to the
        General Partner or such other Person, as the case may be (and the payment of such amounts by
        the Partnership shall not constitute Partnership Expenses). Any withholding described in Section
        7.1(e)(ii) shall be made at the maximum applicable statutory tax rate under applicable law unless
        the General Partner shall have received an opinion of counsel or other evidence satisfactory to
        the General Partner to the effect that a lower tax rate is applicable. Any amounts withheld
        pursuant to this Section 7.1(e) shall be applied by the General Partner to discharge the obligation
        in respect of which such amounts were withheld.

                         (f)     Amounts Held in Reserve. In addition to the rights set forth in Section
          7.1(e), the General Partner shall have the right, in its sole discretion, to withhold amounts
          otherwise distributable by the Partnership to the Partners in order to make such provision as the
          General Partner in its sole discretion deems necessary or advisable for Follow-On Investments
                                                           30
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 241 of 275




          and the payment of any and all expenses, debts, liabilities and obligations, contingent or
          otherwise, of the Partnership

                        (g)      Income from Temporary Investments. Income and gains realized by the
          Partnership with respect to Temporary Investments will generally be reserved for future
          expenses, investments in Partnership Investments and other reserves; provided, however, the
          General Partner, in its sole discretion, may from time to time distribute such income and gains
          pro rata among the Partners based on their respective Capital Contributions with respect to
          such Temporary Investments.

                         (h)      Tax Distributions. Notwithstanding Section 7.1(a), the General Partner
          shall cause the Partnership, either prior to, together with or subsequent to any distribution
          pursuant to Section 7.1(a), to make distributions to all Partners regardless of their tax status, in
          amounts intended to enable such Partners (or any Person whose tax liability is determined by
          reference to the income of any such Partner) to discharge their U.S. federal, state and local
          income tax liabilities arising from the allocations made (or to be made), or distributions made,
          pursuant to Article VII. The amount distributable to any Partner pursuant to this Section 7.1(h)
          shall be an amount equal to the product of (i) the cumulative taxable income, if any, of the
          Partnership allocated to the Partner pursuant to Article VII from the inception of the
          Partnership (as determined under Code Section 703(a) but including separately stated items
          described in Code Section 702(a) and without taking into account any special status of any
          Partner), multiplied by (ii) the Assumed Tax Rate. The amount distributable to any Partner
          pursuant to Section 7.1(a) shall be reduced by the amount distributed to such Partner pursuant
          to this Section 7.1(h), and the amount so distributed pursuant to this Section 7.1(h) shall be
          deemed to have been distributed to the extent of such reduction pursuant to Section 7.1(a) for
          purposes of making the calculations required by Section 7.1(a).

                         (i)     Partnership Act. Notwithstanding anything in this Agreement to the
          contrary, the Partnership shall not make any distributions pursuant to this Agreement except to
          the extent permitted by the Partnership Act.

                          (j)    Uninvested Amounts. In the event the General Partner draws down
          amounts from the Partners pursuant to Capital Call Notices which are not expended by the
          Partnership as originally contemplated, the General Partner may, in its sole discretion,
          distribute such amounts among the Partners pro rata in accordance with the manner in which
          they funded such amounts. Any amounts so distributed prior to the end of the Investment
          Period shall be treated as an unreturned Capital Contribution for purposes of Section 7.1(a) for
          the period of time from the day such amounts were drawn down to the day such amounts were
          so distributed.

                          (k)    Partial Disposition. For all purposes of this Agreement, with respect to
          the sale or other disposition of a portion of a Partnership Investment, such portion shall be
          treated as having been a separate Partnership Investment from the remaining Partnership
          Investment retained by the Partnership, and the related income and Capital Contributions with
          respect to such portion of the Partnership Investment which was sold or otherwise disposed of
          shall be treated as having been divided between the portion which was sold or disposed of and
          the portion retained by the Partnership on a pro rata basis.

                                                         31
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 242 of 275




                           SECTION 7.2.           Capital Accounts; Adjustments to Capital Accounts.

                         (a)     Capital Accounts. There shall be established on the books of the
          Partnership a capital account for each Partner (a “Capital Account”).

                                   (i)    There shall be added to the Capital Account of each Partner (A)
                    such Partner’s Capital Contributions (including liabilities of the Partnership assumed by
                    such Partner as provided in Treasury Regulation Section 1.704-1(b)(2)(iv)(c)) to the
                    Partnership and (B) such Partner’s distributive share of Net Income and any item in the
                    nature of income or gain that is specially allocated to the Partner pursuant to Section 7.3.

                                     (ii)   There shall be subtracted from the Capital Account of each Partner
                    (x) the amount of any money (including liabilities of such Partner assumed by the
                    Partnership as provided in Treasury Regulations Section 1.704-1(b)(2)(iv)(c)), and the
                    Gross Asset Value of any other property, distributed to such Partner and (y) such
                    Partner’s distributive share of Net Loss and any item in the nature of loss or expense that
                    is specially allocated to such Partner pursuant to Section 7.3.

                                    (iii) The foregoing provisions and the other provisions of this
                    Agreement relating to the maintenance of Capital Accounts are intended to comply with
                    Section 704(b) of the Code and Treasury Regulation Section 1.704-1(b), and shall be
                    interpreted and applied in a manner consistent with such regulations. If the General
                    Partner determines that it is prudent to modify the manner in which the Capital Accounts,
                    or any debits or credits thereto, are computed in order to comply with such regulations,
                    the General Partner may make such modifications. Capital Accounts also shall be
                    adjusted as set forth in other provisions of this Agreement.

                          (b)    No Deficit Restoration Obligation. Notwithstanding anything in this
          Agreement to the contrary, no Partner shall have any obligation to make up or otherwise make
          a capital contribution with respect to a deficit balance in its Capital Account. A negative
          balance in a Partner’s Capital Account shall not create any liability on the part of that Partner
          to any third party.

                          (c)    Capital Account Adjustments. All matters concerning the computation
          of Capital Accounts, the allocation of items of Partnership income, gain, loss, deduction and
          expense for all purposes of this Agreement and the adoption of any accounting procedures not
          expressly provided for by the terms of this Agreement shall be determined by the General
          Partner in its sole discretion. Such determinations shall be final and conclusive as to all the
          Partners. Notwithstanding anything expressed or implied to the contrary in this Agreement, in
          the event the General Partner shall determine, in its sole discretion, that it is prudent to modify
          the manner in which the Capital Accounts, or any debits or credits thereto, are computed in
          order to effectuate the intended economic sharing arrangement of the Partners, the General
          Partner may make such modification.

                           SECTION 7.3.           Book Allocations.

                        (a)    Allocation of Net Profit and Net Loss, Generally. Except as explicitly
          provided elsewhere in this Agreement, the items of income, gain, loss or deduction of the

                                                            32
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 243 of 275




          Partnership comprising Net Income or Net Loss for a fiscal year shall be allocated by the
          General Partner among the Partners in a manner such that the Capital Account of each Partner,
          immediately after making such allocation, is, as nearly as possible, equal (proportionately) to:

                                    (i)     the distributions that would be made to such Partner pursuant to
                    Section 7.1(b) (as adjusted by the other provision of Article VII) if (x) the Partnership
                    were dissolved, its affairs wound up and its assets sold for cash equal to their Gross Asset
                    Values, (y) all Partnership liabilities were satisfied (limited in the case of each
                    Nonrecourse Liability to the Gross Asset Value of the assets securing such liability) and
                    (z) the net assets of the Partnership were distributed in accordance with Section 7.1(b) (as
                    adjusted by the other provision of Article VII) to the Partners immediately after making
                    such allocations, minus

                                   (ii) such Partner’s share of Partnership Minimum Gain and Partner
                    Nonrecourse Debt Minimum Gain, computed immediately prior to the hypothetical sale
                    of the assets.

        The foregoing allocations shall be adjusted in the sole and absolute discretion of the General
        Partner to take into account any charges or adjustments to be made to a Partner’s Capital
        Account under this Agreement, including but not limited to, expenses specially charged to a
        Partner or a Partner’s Capital Account and Defaults.

                          (b)    Loss Limitation. Notwithstanding anything to the contrary in
          Section 7.3(a), the amount of items of Partnership expense and loss allocated pursuant to
          Section 7.3(a) to any Partner shall not exceed the maximum amount of such items that can be
          so allocated without causing such Partner to have an Adjusted Capital Account Deficit at the
          end of any fiscal year, unless each Partner would have an Adjusted Capital Account Deficit.
          All such items in excess of the limitation set forth in this Section 7.3(b) shall be allocated first,
          to the other Partners until they would not be entitled to any further allocation, and thereafter to
          the Partners as determined by the General Partner in its sole and absolute discretion.

                          (c)     Special Allocations. Notwithstanding anything to the contrary contained
          in this Article VII, special allocations shall be made in respect of any minimum gain
          chargeback as required by Section 1.704-2 of the Treasury Regulations, and any qualified
          income offset as required by Section 1.704-1(b)(2)(ii)(d)(3) of the Treasury Regulations. If
          any Partner has a deficit Capital Account at the end of any fiscal year which is in excess of the
          sum of (i) the amount, if any, that such Partner is obligated to restore pursuant to this
          Agreement, and (ii) the amount such Partner is deemed obligated to restore pursuant to the
          penultimate sentences of Sections 1.704-2(g)(1) and 1.704-2(i)(5) of the Treasury Regulations,
          each such Partner shall be specially allocated items of Partnership income and gain in the
          amount of such excess as quickly as possible; provided, that, such an allocation shall be made
          only if and to the extent that a Partner would have a deficit Capital Account in excess of such
          sum after all other allocations provided for in this Article VII have been tentatively made as if
          this sentence were not in this Agreement. Nonrecourse Deductions shall be allocated to the
          Partners as determined by the General Partner. Partner Nonrecourse Deductions shall be
          allocated to the Partner who bears the economic risk of loss with respect to the Liability to
          which such Partner Nonrecourse Deductions are attributable in accordance with Section 1.704-
          2(j) of the Treasury Regulations. Each Partner’s share of any Nonrecourse Liabilities, for
                                                            33
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 244 of 275




          purposes of Section 1.752-3(a)(3) of the Treasury Regulations, shall be determined by the
          General Partner.

                       SECTION 7.4.           Tax Allocations.

                         (a)    General. Each item of income, gain, loss, deduction or credit for federal
          income tax purposes that corresponds to an item of income, gain, loss or expense that is either
          taken into account in computing Net Income or Net Loss or is specially allocated pursuant to
          Section 7.3 (a “Book Item”) shall be allocated among the Partners in the same proportion as
          the corresponding Book Item; provided, that, in the case of any Partnership asset the Gross
          Asset Value of which differs from its adjusted tax basis for federal income tax purposes,
          income, gain, loss and deduction with respect to such asset shall be allocated solely for federal
          income tax purposes in accordance with the principles of Sections 704(b) and (c) of the Code
          (using any permissible method determined by the General Partner) so as to take account of the
          difference between the Gross Asset Value and the adjusted tax basis of such asset.

                        (b)      All tax credits shall be allocated among the Partners as determined by
          the General Partner, in its sole and absolute discretion, consistent with applicable law.

                          (c)    The tax allocations made pursuant to this Section 7.4 shall be solely for
          tax purposes and shall not affect any Partner’s Capital Account or share of non-tax allocations
          or distributions under this Agreement.

                         (d)     The Partners are aware of the income tax consequences of the
          allocations made by this Agreement and will report their shares of Net Income and Net Loss
          and other items of Partnership gross income, gain, loss and deduction for income tax purposes
          consistently with this Agreement as determined by the General Partner and as reported to them
          (or to be reported to them) on Internal Revenue Service Form 1065 Schedule K-1 (or such
          successor form).

                        SECTION 7.5.          Tax Credits. Tax credits, if any, shall be equitably
        allocated among the Partners by the General Partner. It is intended that the Capital Accounts
        will be maintained at all times in accordance with Section 704 of the Code and applicable
        Treasury Regulations thereunder, and that the provisions hereof relating to the Capital Accounts
        be interpreted in a manner consistent therewith. The General Partner shall be authorized to make
        appropriate amendments to the allocations of items pursuant to this Section 7.5 if necessary in
        order to comply with Section 704 of the Code or applicable Treasury Regulations, provided that
        no such change shall have an adverse effect upon the amount distributable to any Partner
        hereunder.

                       SECTION 7.6.           Loans and Withdrawal of Contribution.         Except as
        expressly provided herein, no Partner shall be permitted to borrow or make an early withdrawal
        of, any portion of the Capital Contributions made by it.

                       SECTION 7.7.           Other Tax Matters.

                        (a)    The General Partner is hereby designated as the “Tax Matters Partner”
          of the Partnership within the meaning of Section 6231(a)(7) of the Code (and any similar
          provisions under any applicable state or local or foreign tax laws). The Tax Matters Partner
                                                       34
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 245 of 275




          shall have the discretionary authority to make all tax elections on behalf of the Partnership and
          the other Partners. The Tax Matters Partner shall make all decisions in such capacity in such
          manner as it determines to be in the best interests of all of the Partners. All expenses incurred
          by the Tax Matters Partner while acting in such capacity shall be paid or reimbursed by the
          Partnership.

                         (b)     It is the intention of the Partners that the Partnership be treated as a
          partnership for all relevant tax purposes. The General Partner shall therefore not permit the
          Partnership to elect, and the Partnership shall not elect, to be treated as an association taxable
          as a corporation for U.S. federal income, state or local income tax purposes under Treasury
          Regulation Section 301.7701-3(a) or under any corresponding provision of state or local law.

                         (c)      With respect to any issue raised in a tax audit, which primarily affects
          Tax-Exempt Limited Partners, the General Partner shall consult with such Limited Partners
          through the course of the tax audit and shall not settle any such issue nor extend any statute of
          limitations with respect thereto without the consent of Tax-Exempt Limited Partners owning at
          least two-thirds of the LP Interests held by Tax-Exempt Limited Partners not affiliated with the
          General Partner or its Affiliates.

                          (d)     Notwithstanding anything in this Agreement to the contrary, subject to
          acting in the interest of the Partners of the Partnership as a whole, the General Partner agrees to
          elect, or to cause the Partnership or any Alternative Investment Vehicle to elect to pass on any
          imputed underpayment of tax (including any penalties and interest thereon) to the Partners
          under Section 6226 of the Code as enacted in P.L. 114-74, as long as such law continues to be
          in effect, and, thereafter, in accordance with any superseding law, (and, in each case, in
          accordance with any Treasury Regulations promulgated or other guidance issued
          thereunder). In the event that the General Partner determines that it is in the best interest of the
          Partners to have the Partnership pay an assessed imputed underpayment of tax, the General
          Partner shall use reasonable best efforts to allocate the burden of (or any reduction or
          diminution in distributable proceeds resulting from) any imputed underpayment to the Partners
          to whom such amounts are specifically attributable (whether as a result of their tax status,
          actions, inactions, or otherwise), as determined by the General Partner.

                                             ARTICLE VIII
                                     REPORTS TO LIMITED PARTNERS

                       SECTION 8.1.           Independent Public Accountants. The financial statements
        of the Partnership shall be audited as of the end of each fiscal year by a firm of independent
        public accountants as shall be selected from time to time by the General Partner.

                       SECTION 8.2.            Reports.

                         (a)     Audited Financial Statements. Within one hundred twenty (120) days
          after the end of each fiscal year, the General Partner, or its designee, shall prepare, and shall
          cause the independent auditors to audit, and shall deliver to each Partner, audited financial
          statements (prepared in accordance with U.S. generally accepted accounting principles) setting
          forth as of the end of such fiscal year (i) a balance sheet of the Partnership; (ii) an income
        statement of the Partnership; and (iii) a statement of the Partnership’s capital.
                                                          35
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 246 of 275




                         (b)    Additional Reports. Within ninety (90) days after the end of each
          calendar quarter or calendar year, as applicable, (except the end of the calendar quarter or
          calendar year coincident with the end of the fiscal year) each Limited Partner will be sent, (i) a
          quarterly unaudited report including the Partnership’s balance sheet and income statement, and
          a statement, which will include the Limited Partner’s Remaining Capital Commitment, and a
          specific statement of any distributions made to each Partner that are subject to recall for
          reinvestment pursuant to Section 7.1 of this Agreement, as applicable; and (ii) the Partnership’s
          holdings summary report. In addition, the General Partner’s quarterly report shall disclose to
          Limited Partners if any investment restrictions set forth in Section 4.2 have been exceeded by
          the Partnership at any time during the prior quarter and the Independent Investor
          Representative’s approval of such transactions.

                         (c)     Tax Information. Within one hundred twenty (120) days after the end of
          each fiscal year, the General Partner shall cause the independent public accountants to prepare
          and transmit, as promptly as possible, a report setting forth in sufficient detail such transactions
          effected by the Partnership during such fiscal year as shall enable each Partner to prepare its
          U.S. federal income tax return, if any. The General Partner shall mail such materials to (i) each
          Partner, and (ii) each former Partner (or its successors or assigns) who may require such
          information in preparing its U.S. federal income tax return, if any.

                          (d)    Reporting for ERISA Partners. The General Partner agrees to timely
          provide each ERISA Partner such information regarding its investment in the Partnership as
          may be reasonably requested by the ERISA Partner for purposes of completing its annual Form
          5500 (including any schedules or attachments thereto) or any other information reports or
          filings required by the U.S. Department of Labor or the Internal Revenue Service. In addition,
          the General Partner agrees to timely provide to each ERISA Partner such information and
          disclosures as may be required under, and in accordance with, Section 408(b)(2) of ERISA and
          the regulations thereunder, to the extent applicable.

                                        ARTICLE IX
                    EXCULPATION AND INDEMNIFICATION; RETURN OF CERTAIN
                                      DISTRIBUTIONS

                        SECTION 9.1.           Exculpation.     To the fullest extent permitted under
        applicable law (including ERISA) no Covered Person will be liable to the Partnership or to any
        Limited Partner for any act or omission taken or suffered by such Covered Person, to the extent
        that such act or omission is not attributable to such Covered Person’s (i) violation of its fiduciary
        duties under ERISA, (ii) negligence, (iii) willful misconduct or bad faith, (iv) losses due to the
        gross negligence of employees, brokers or other agents of the Partnership or (v) material breach
        of the Partnership Agreement, (vi) or fraud (each of items (i) through (vi) are hereinafter referred
        to as “Disabling Conduct”). No Limited Partner will be liable to the Partnership or any Limited
        Partner for any action taken by any other Limited Partner in its capacity as such.

                       SECTION 9.2.            Indemnification.

                         (a)    The Partnership will indemnify, to the maximum extent permitted under
          applicable law, each Covered Person against any and all claims, liabilities, damages and related
          expenses, including legal fees, incurred by them by reason of any action performed or omitted
                                                        36
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 247 of 275




          in connection with the activities of the Partnership or in dealing with third parties on behalf of
          the Partnership unless such action or omission is determined pursuant to a final, non-
          appealable judgment of a court or governmental body referenced in Section 13.11 to constitute
          Disabling Conduct. Notwithstanding the foregoing, Covered Persons shall not be indemnified
          for any breach of fiduciary duty under ERISA, and no Covered Person shall be indemnified for
          actions or omissions on behalf of a Partnership Investment unless (i) such action or omission
          was taken on behalf of the Partnership and (ii) such action or omission occurred no later than
          six months after the Partnership’s ultimate disposition of such Partnership Investment in its
          entirety and any claims related thereto. Prior to requesting indemnification payments under
          this Section 9.2, each Covered Person shall use commercially reasonable efforts to seek
          indemnification from other available sources. Notwithstanding the foregoing, Covered Persons
          shall not be indemnified for any breach of fiduciary duty under ERISA or for Proceedings
          solely among members of the General Partner Group (“Internal Disputes”). For avoidance of
          doubt, a Covered Person’s losses in their Capital Account in the Partnership or any Parallel
          Fund shall not be indemnifiable.

                          (b)     The Partnership will, in the sole discretion of the General Partner and
          upon advice of counsel to the effect that a Covered Person is likely to be found entitled to
          indemnification pursuant to this Section 9.2, advance to any Covered Person reasonable
          attorneys’ fees and other costs and expenses incurred in connection with the defense of any
          Proceeding which arises out of such conduct, unless such Proceeding (i) is an Internal Dispute
          or (ii) (x) alleges Disabling Conduct and (y) was brought against the Covered Person by
          Limited Partners representing at least 66.66% of the aggregate LP Interests of Limited Partners
          other than the LP Interests of Defaulting Partners and the LP Interests held by the General
          Partner and its Affiliates, in which event such advance may only be made with the consent of
          the Independent Investor Representative. Any such advance will be subject to repayment to
          the extent that it is determined pursuant to a final, non-appealable judgment that the Covered
          Person was not entitled to indemnification. The Partnership will indemnify and hold harmless
          each Person that is a responsible withholding agent against all claims, liabilities and expenses
          (not resulting from such Person’s willful misconduct) relating to such Person’s obligation to
          withhold and pay any withholding or other taxes payable by the Partnership or as a result of a
          Limited Partner’s participation in the Partnership.

                         (c)    All of the contribution obligations herein set forth shall survive the
          termination of this Agreement.

                        SECTION 9.3.            Insufficiency of Damages. The General Partner and each
        Limited Partner acknowledges that, in the event of any breach of this provision, the rights and
        remedies available at law to the Covered Persons are hereby stipulated and deemed to be
        insufficient, and in the case of any action to enforce this Article IX, the Covered Persons shall be
        entitled to injunctive relief to enforce the terms thereof.

                       SECTION 9.4.           Return of Certain Distributions.

                        Subject to the provisions of this Section 9.4, each Partner (including any former
        Partner) and the Manager (together, the Giveback Participants) may be required to return
        distributions made to such Giveback Participant (either directly by the Partnership, in the case of
        a Partner or former Partner, or by a Subsidiary Fund, in the case of the Manager) for the purpose
                                                        37
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 248 of 275




        of meeting such Giveback Participant’s share of Partnership obligations (whether arising under
        this Agreement, under the Partnership Act, or otherwise), as determined pursuant to Section
        9.4(a) and (b), in an amount up to, but in no event in excess of, the lesser of (i) 25% of the
        aggregate amount of distributions actually received by such Giveback Participant from the
        Partnership and (ii) 25% of such Giveback Participant’s total Capital Commitment, provided,
        that the limitation in clause (ii) above shall not apply to the Manager. The General Partner will
        endeavor to notify each Limited Partner promptly of becoming aware of any claim or action as
        further provided in Section 9.4(d).

                         (a)     Subject to the provisions of this Section 9.4, if an obligation to return
          distributions is related to, or arises out of, the acquisition, holding or disposition of a
          Partnership Investment and that is not otherwise an amount added to the Limited Partner’s
          Remaining Capital Account balance by operation of the First Sentence of Section 7.1 (the
          amount of such obligation, an “Investment Giveback Amount”):

                                    (i)    each Partner (including any former Partner) having an interest in
                    such Partnership Investment shall be obligated to contribute an amount equal to the
                    product of (I) the percentage that the aggregate proceeds received as distributions by such
                    Partner with respect to such Partnership Investment that are in excess of the Capital
                    Contributions of such Partner with respect thereto, represents of the aggregate proceeds
                    (in excess of Capital Contributions with respect thereto) received as distributions by all
                    Partners with respect to such Partnership Investment and (II) the lesser of (X) the
                    aggregate proceeds generated by such Partnership Investment and (Y) such Investment
                    Giveback Amount;

                                   (ii)     to the extent that such Investment Giveback Amount exceeds the
                    amount given back in (i) above, each Partner (including any former Partner) having an
                    interest in such Partnership Investment shall be obligated to contribute an additional
                    amount equal to the product of (I) the percentage that distributions to such Partner
                    representing a return of such Partner’s Capital Contribution with respect to the applicable
                    Partnership Investment represents of the aggregate distributions to all Partners
                    representing a return of Capital Contributions with respect to such Partnership Investment
                    and (II) the amount of such excess, up to the aggregate amount of Capital Contributions
                    with respect to such Partnership Investment;

                                   (iii) to the extent that such Investment Giveback Amount exceeds the
                    amounts given back in (i) and (ii) above, each Partner (including any former Partner)
                    shall be obligated to contribute an amount equal to the product of (I) the percentage that
                    its aggregate distributions received represent of aggregate distributions received by all
                    Partners and (II) the amount of such excess, up to the aggregate amount of distributions
                    received by all Partners; and

                                     (iv)    the Manager shall be required to return its portion of Carried
                    Interest, if any, attributable to such Partnership Investment.

                         (b)    Subject to the provisions of this Section 9.4, if an obligation is unrelated
          to the acquisition, holding or disposition of a Partnership Investment (the amount of such
          obligation, an “Other Giveback Amount”), the Manager shall first be required to return its
                                                            38
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 249 of 275




          Carried Interest distributions and then each Partner (or former Partner) shall be obligated to
          contribute a pro rata portion of the remaining Other Giveback Amount equal to the percentage
          that such Partner’s aggregate distributions received represents of the aggregate distributions
          received by all Partners

                          (c)    The obligations of each Giveback Participant under this Section 9.4 will
          survive any dissolution or termination of the Partnership, but will not extend beyond the earlier
          of (i) the third anniversary of the distribution to which the obligation relates or (ii) the third
          anniversary of the final distributions in liquidation of the Partnership (unless notice of a
          pending obligation has been given to the Limited Partners within such period).

                         (d)     Promptly after receipt by the Partnership of a notice of any claim or the
          commencement of any action the result of which may be an Investment Giveback Amount or
          Other Giveback Amount hereunder, the Partnership will, if a claim in respect thereof is to be
          made against one or more Partners under Section 9.4(a) or (b), notify such Partners in writing
          of such claim or the commencement of such action; provided, however, that the failure to
          notify any Partner will not relieve any such Partner from any obligation or liability it may have
          to the Partnership hereunder or otherwise.

                         (e)     Upon any determination (at any time and from time to time) by the
          General Partner that obligations have been incurred that result in an Investment Giveback
          Amount or Other Giveback Amount hereunder, the General Partner will promptly provide
          written notification thereof to each Partner. Such notification will include a reasonable
          description of the nature of such obligations, the amount of the required contribution or
          payment by each Partner and the date by which contribution or payment by the Partners must
          be made. Prior to the contribution or payment deadline, each Partner will deliver to the General
          Partner or the Person or Persons specified by the General Partner the amount of the required
          contribution or payment.

                          (f)     If a Partner makes a contribution or payment pursuant to this Section 9.4
          with respect to a distribution previously received by the Partner (or predecessor to the Partner),
          (a) the contribution will not be treated as a Capital Contribution for purposes of Section 8.1,
          and (b) the distribution will be treated as if it had not been made for all Partnership purposes.

                         (g)     Nothing in this Section 9.4 or elsewhere in this Agreement will relieve
          any Partner of any other obligation which it may have under the Delaware Act or any other
          provision of applicable law. If, notwithstanding the terms of this Agreement, it is determined
          under applicable law that any Partner has received a distribution which is required to be
          returned to or for the account of the Partnership or Partnership creditors, then the obligation
          under applicable law of any Partner to return all or any part of a distribution made to such
          Partner shall be the obligation of such Partner and not of any other Partner. In addition to the
          foregoing, a Partner that receives a distribution (i) in violation of this Agreement or (ii) that is
          required to be returned to the Partnership under applicable law shall return such distribution
          within 30 days after demand therefor by the General Partner.




                                                         39
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 250 of 275




                                          ARTICLE X
                           TERM AND DISSOLUTION OF THE PARTNERSHIP

                        SECTION 10.1.          Term. Unless sooner dissolved pursuant to Section 10.2,
        the Partnership shall continue for seven (7) years from the Final Closing Date, subject to
        extension, in the sole discretion of the General Partner, of up to three (3) additional one (1) year
        periods (the “Term”) as determined to be reasonably necessary by the General Partner to effect
        an orderly liquidation of the Partnership Investments and consented to by the Independent
        Investor Representative.

                        SECTION 10.2.           Dissolution. Subject to the Partnership Act, the Partnership
        shall be dissolved and its affairs shall be wound up upon the earliest of:

                        (a)    the expiration of the Term of the Partnership as determined in
          accordance with Section 10.1;

                         (b)     the bankruptcy, liquidation, dissolution or insolvency of the General
          Partner;

                         (c)   the withdrawal of the General Partner pursuant to Section 11.2 or the
          removal of the General Partner pursuant to Section 11.3; and

                         (d)    any date determined by the General Partner with the consent of 75% of
          the Interests of the Limited Partner who are not affiliated with the General Partner or its
          Affiliates.

        Upon the occurrence of an event specified in clauses (b) or (c) above, Limited Partners not
        affiliated with the General Partner or its Affiliates owning at least seventy five percent (75%) of
        the LP Interests may agree to continue the Partnership and in such event will select a new
        general partner.

                        SECTION 10.3.            Liquidation of the Partnership. Upon dissolution, the
        Partnership’s business shall be liquidated in an orderly manner. Except as provided in the
        penultimate sentence of this Section 10.3, the General Partner shall be the liquidator to wind up
        the affairs of the Partnership pursuant to this Agreement. The responsibilities of the General
        Partner shall be consistent with the responsibilities provided for it in this Agreement. If there
        shall be no General Partner, the Limited Partners, upon the approval of the Required Limited
        Partners, may appoint one or more Persons to act as the liquidator in carrying out such
        liquidation. In performing its duties, the General Partner or such other appointed person, as the
        case may be (the “Liquidator”), is authorized to sell, distribute, exchange or otherwise dispose
        of the assets of the Partnership in any reasonable manner that the Liquidator shall determine to
        be in the best interest of the Partners.

                       SECTION 10.4.           Distribution Upon Dissolution of the Partnership.

                          (a)     Liquidating Distribution. Upon dissolution of the Partnership, the
          Liquidator winding up the affairs of the Partnership shall determine, in its sole discretion,
          which assets of the Partnership shall be sold and which assets of the Partnership shall be
          retained for distribution in kind to the Partners. After all liabilities (contingent or otherwise) of
                                                          40
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 251 of 275




          the Partnership have been satisfied or duly provided for (as determined by the Liquidator in its
          sole discretion), the remaining assets of the Partnership shall be distributed to the Partners pro
          rata in accordance with their positive Capital Account balances. Any goodwill of the
          Partnership, and any right to use of the Partnership’s name, shall belong exclusively to the
          General Partner.

                          (b)     Liquidating Trust. If the Partnership is unable to dispose of all of its
          interests in a Partnership Investment prior to the Partnership’s liquidation, the Liquidator may,
          in its sole discretion, and subject to the Partnership Act, transfer such interests to a trust
          established for the benefit of the Partners for purposes of liquidating Partnership assets,
          collecting amounts owed to the Partnership and paying any debts, liabilities or other
          obligations of the Partnership or the General Partner arising out of, or in connection with, this
          Agreement or the Partnership’s business or affairs.

                        The assets of any trust established pursuant to this Section 10.4(b) shall be
        distributed to the Partners from time to time, in the sole discretion of the Liquidator, in the same
        proportions as the amount distributed to such trust by the Partnership would otherwise have been
        distributed to the Partners pursuant to this Agreement.

                          (c)    Clawback Payments. Upon the dissolution of the Partnership, the
        General Partner shall cause the Manager to make (or, if a carried interest or similar performance-
        based fee has been paid by a Subsidiary Fund to a Subsidiary Manager, cause such Subsidiary
        Manager to make) a payment to the Partnership (for further distribution for the Limited Partners)
        (the “Clawback Payment”) to the extent that either (i) the Partnership has paid to the Manager
        (or indirectly to such Subsidiary Manager) Carried Interest payments in excess of the Carried
        Interest payable to the Manager calculated on an aggregate basis or (ii) the Limited Partners have
        not received a return of their Capital Contributions invested in Partnership Investments plus a
        cumulative return on such Capital Contributions invested in Partnership Investments equal to
        seven percent (7%), compounded annually, as set forth in the definition of “Carried Interest”
        under this Agreement (provided that any such calculation of any required payment may be made
        as an offset if and to the extent such Limited Partners ultimately have to return any amounts to
        the Partnership due to the Limited Partner Investment Giveback provisions set forth in Section
        9.4. The Clawback Payment shall equal the amount required to be returned by the Manager (or
        Subsidiary Manager, as applicable) such that the conditions in clauses (i) and (ii) above are no
        longer true, provided, that, in the event of the termination of the Manager, the Clawback
        Payment by the Manager shall be pro-rated in accordance with the provisions of Section 11.3.
        The Partnership shall distribute the Clawback Payment to the Limited Partners in proportion to
        their respective Capital Contributions. Notwithstanding the foregoing, the amount of the
        Clawback Payment shall not exceed the aggregate amount of the Carried Interest received by the
        Manager (or Subsidiary Manager, as applicable) with respect to all Partnership Investments, net
        of applicable income taxes paid or payable (increased by any tax benefit received as a result of
        the Clawback Payment).

                         (d)     No Priority. Each Partner shall look solely to the assets of the
          Partnership for the return of such Partner’s aggregate Capital Contributions in Partnership
          Investments and no Partner shall have priority over any other Partner as to the return of such
          Capital Contributions.

                                                        41
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 252 of 275




                         SECTION 10.5.         No Voluntary Withdrawal by Limited Partners. A Limited
        Partner may not voluntarily withdraw in whole or in part from the Partnership prior to its
        dissolution and winding up, and no LP Interest is redeemable or repurchasable by the Partnership
        at the option of a Limited Partner. Except as expressly provided in this Agreement, no event
        affecting a Limited Partner (including death, incompetency, bankruptcy or insolvency) shall
        affect its obligations under this Agreement or affect the Partnership. Upon the death,
        incompetence, bankruptcy, insolvency, liquidation or dissolution of a Limited Partner, the rights
        and obligations of that Limited Partner under this Agreement shall inure to the benefit of, and
        shall be binding upon, that Limited Partner's successor(s), estate or legal representative, and each
        such Person shall be treated as an assignee of that Limited Partner's interest for purposes of
        Article XII until such time as such Person may be admitted as a Partner pursuant to that Article.
        Notwithstanding the foregoing, any ERISA Partner may elect to withdraw from the Partnership
        by providing written notice to the General Partner of its request for such a withdrawal at least
        sixty (60) days prior to the requested withdrawal date. On such withdrawal date, the
        withdrawing ERISA Partner shall be paid the Fair Value of its LP Interest; provided, however,
        that, at the sole discretion of the General Partner, all or a portion of such payment may be made
        in the form of a note issued by the Partnership, which note shall bear interest at the rate of eight
        percent (8%) per annum, compounded annually, shall be pre-payable at any time, and shall have
        a final maturity date no later than seven (7) years from the Final Closing Date.

                        SECTION 10.6.            Required Withdrawal of Limited Partners. The General
        Partner, upon thirty (30) Business Days’ prior written notice, may require any Limited Partner to
        withdraw from the Partnership at the end of any fiscal quarter in which such notice is given if (i)
        the General Partner determines, in its sole discretion upon advice of counsel, that the continued
        participation of such Limited Partner in the Partnership would adversely affect the Partnership,
        or (ii) the General Partner determines, pursuant to an opinion of counsel, that the continued
        participation of such Limited Partner in the Partnership would result in adverse tax, regulatory or
        legal effects on the General Partner or the Manager (e.g., by involving the Partnership, the
        General Partner, the Manager or any Partner in litigation, potentially adverse tax consequences,
        or causing the Partnership to be required to register under the Investment Company Act or other
        reasons). In such an instance, the withdrawing Limited Partner shall not contribute additional
        capital to the Partnership in respect of subsequent Capital Calls and the withdrawing Limited
        Partner’s LP Interest will be entirely terminated. Any required withdrawal pursuant to this
        Section 10.6 shall be based on the Fair Value of the withdrawing Limited Partner’s LP Interest
        (either in cash or in kind, or in the form of a term note).

                       SECTION 10.7.            Payments Upon Withdrawal. Upon the withdrawal of a
        Limited Partner who is not a Defaulting Partner, ninety percent (90%) of the withdrawing
        Limited Partner’s Capital Account balance on the withdrawal date shall be paid (in cash or in
        kind) to such Limited Partner within ninety (90) days thereof or as soon thereafter as the
        Partnership has funds available therefor. The remaining ten percent (10%) of the balance of such
        withdrawing Limited Partner’s Capital Account on the withdrawal date shall be paid to such
        Limited Partner upon completion of the audit of the Partnership’s financial statements for the
        fiscal year involved or as soon thereafter as is reasonably practicable. Such Capital Account
        balance may not necessarily reflect the market value of a Partnership Investment. Such Limited
        Partner shall not be entitled to receive or demand any other or further distributions, including any
        distributions pursuant to Section 17-604 of the Partnership Act. All expenses of a withdrawal of
        capital from the Partnership by a Limited Partner generally will be borne by the Partnership;
                                                         42
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 253 of 275




        provided, however, that any incremental legal or accounting expenses incurred by the
        Partnership as a result of withdrawals of capital of a Limited Partner other than an ERISA
        Partner may, in the sole discretion of the General Partner, be charged to such Limited Partner
        through a reduction of the distributions to such withdrawing Limited Partner.

                                        ARTICLE XI
                    TRANSFERABILITY OF THE GENERAL PARTNER’S INTEREST

                         SECTION 11.1.          Transferability of the General Partner’s Interest. The
        General Partner may not, directly or indirectly, Transfer all or a portion of its general partner
        interest in the Partnership (the “GP Interest”) to any Person. Notwithstanding the foregoing, the
        General Partner may make a Transfer of all or any portion of its GP Interest (i) to an Affiliate or
        to a Person which succeeds to the private equity business of the General Partner as an entirety,
        (ii) to any Person in connection with a pledge securing a loan made to the Partnership, or
        (iii) with the prior written consent of the Required Limited Partners. The General Partner may at
        any time, in its sole discretion, admit any Person to whom the General Partner is permitted to
        make a Transfer pursuant to the immediately preceding sentence as an additional general partner
        of the Partnership, and such transferee shall be deemed admitted to the Partnership as a General
        Partner of the Partnership immediately prior to such Transfer and shall continue the business of
        the Partnership without dissolution. Except as otherwise provided in Sections 11.2 and 11.3, the
        General Partner may not withdraw from the Partnership or be removed as a general partner of the
        Partnership.

                        SECTION 11.2.         Withdrawal of the General Partner. The General Partner
        shall be permitted to withdraw as a general partner of the Partnership, unless, in the opinion of
        counsel to the Partnership, the General Partner’s withdrawal as a general partner would result in
        a violation of any law or regulation of the U.S. or any State thereof. In the event that the General
        Partner withdraws from the Partnership pursuant to this Section 11.2, the Partnership shall
        dissolve and its affairs wound up in accordance with Article X (subject to the right that Limited
        Partners have to continue the Partnership and elect a new general partner in accordance with
        Section 10.2).

                        SECTION 11.3.           Removal of the General Partner.

                           (a)     The General Partner shall notify the Limited Partners within 30 days of
           the occurrence of a Cause Event (“Cause Event Notice”). The General Partner may be
           removed upon the occurrence of a “Cause Event” on not less than thirty (30) days’ written
           notice (calculated from the date such Cause Event Notice was received by the Limited
           Partners) from Limited Partners not affiliated with the General Partner or its Affiliates owning
           at least a majority in interest of the aggregate Capital Commitments of the Limited Partners not
           affiliated with the General Partner or its Affiliates (“Removal Notice”); provided, however,
           that (i) the General Partner will not be removed if, within the thirty (30) day period following
           such Removal Notice, the General Partner cures the Cause Event to the satisfaction of at least a
           majority in interest of the aggregate Capital Commitments of the Limited Partners not
           affiliated with the General Partner or its Affiliates, and (ii) in the event of a Cause Event that is
           not cured, within the thirty (30) day period following the Removal Notice, the General Partner
           may call a meeting of the Limited Partners in accordance with Section 3.12 for the purpose of a
           confirmatory vote on the removal of the General Partner which may override or confirm the
                                                           43
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 254 of 275




           removal decision. For this purpose, the term “Cause Event” shall mean Disabling Conduct by
           the General Partner or Manager as determined by a final, non-appealable judgment of any
           court or governmental body referenced in Section 13.11 that has a material adverse effect on
           the Partnership.

                         (b)     Notwithstanding the foregoing, the General Partner may be removed
           without the occurrence of a Cause Event by Limited Partners (other than Defaulting Partners
           and Limited Partners affiliated with the General Partner or its Affiliates) representing at least
           seventy-five percent (75%) of the aggregate amount of all Limited Partners’ (other than
           Defaulting Partners’ and Limited Partners affiliated with the General Partner or its Affiliates)
           Capital Commitments at such time.

                         (c)    Within fifteen (15) days after the removal of the General Partner and
          upon a vote of the Required Limited Partners, the Partnership shall distribute to the General
          Partner an amount in cash equal to the value of the General Partner’s Capital Account balance
          as of the date of such removal; provided, however that such amounts owed in respect of the
          General Partner’s Capital Account may be reduced to reflect any damages suffered by the
          Partnership as a result of the General Partner’s breach of its duties as described in Section
          11.3(a), as determined by a final, non-appealable judgment (or any judgment pursuant to
          Section 13.12(a)) by any court or governmental body referenced in Section 13.11.

                          (d)     Upon the removal of the General Partner for a Cause Event pursuant to
          clause (a) above, (i) the Management Agreement between the Initial Manager and the
          Partnership shall immediately be terminated and the Initial Manager shall be entitled to receive
          the Fixed Management Fee and Administration Fee accrued through the date of such removal
          but shall not be entitled to receive any Fixed Management Fee or Administration fee accruing
          after such date, (ii) the Initial Manager shall be entitled to receive fifty percent (50%) of the
          Carried Interest with respect to the amount of the appreciation in the value of the Partnership
          Investments that are held by the Partnership on the date of the General Partner’s removal that
          has accrued as of such date, but shall not be entitled to receive the remaining fifty percent
          (50%) of the Carried Interest on the existing investment appreciation through the date of
          removal or any Carried Interest with respect to any appreciation in the value of any Partnership
          Investment accruing after such removal date, and (iii) the General Partner and the Manager
          shall be entitled to receive from the Partnership any reimbursements or expenses due and
          owing to it by the Partnership.

                         (e)      Upon the removal of the General Partner for any reason other than a
          Cause Event pursuant to clause (a) above, (i) the Management Agreement between the
          Manager and the Partnership shall immediately be terminated and the Manager shall be entitled
          to receive the Management Fee accrued through the date of such removal but shall not be
          entitled to receive any Management Fee accruing after such date, (ii) the Manager shall be
          entitled to receive one hundred percent (100%) of the Carried Interest with respect to the
          amount of the appreciation in the value of the Partnership Investments that are held by the
          Partnership on the date of the General Partner’s removal that has accrued as of such date, but
          shall not be entitled to receive the Carried Interest with respect to any appreciation in the value
          of any Partnership Investment accruing after such removal date, and (iii) the General Partner
          and the Manager shall be entitled to receive from the Partnership any reimbursements or
          expenses due and owing to it by the Partnership.
                                                         44
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 255 of 275




                                       ARTICLE XII
                      TRANSFERABILITY OF A LIMITED PARTNER’S INTEREST

                       SECTION 12.1.           Conditions for Transfer.

                            (a)    Consent of the General Partner. A Limited Partner may Transfer all or
          any part of its LP Interest only with the prior written consent of the General Partner, which
          consent may be withheld by the General Partner in its sole discretion, and only upon the
          satisfaction of the conditions specified in Section 12.1(b). The General Partner hereby agrees
          that it shall (i) consent to the transfer of all or any part of an ERISA Partner’s LP Interest to a
          successor trustee or trustees, or a successor trust or trusts and (ii) to the admission and
          substitution of any such successor trustee or successor trust as a Limited Partner or Limited
          Partners of the Partnership; provided that any such transfer otherwise complies with this
          Article XII, provided, however, that notwithstanding Section 12.1(b), the General Partner shall
          not require the delivery of an opinion of counsel in connection with any such transfer by an
          ERISA Partner. The General Partner further agrees not to unreasonably withhold its consent to
          a transfer of all or any part of an ERISA Partner’s LP Interest to the extent such transfer
          otherwise complies with this Article XII.

                          (b)     Conditions Required to be Satisfied. Unless required by applicable law
          or permitted in the sole discretion of the General Partner, no Limited Partner may Transfer all
          or any part of its LP Interest, and no attempted or purported Transfer of such LP Interest shall
          be effective, unless (i) after giving effect thereto, such Transfer would not otherwise terminate
          the Partnership for the purposes of Section 708 of the Code, (ii) such Transfer would not result
          in a violation of applicable law, including any federal and state securities laws (or would
          require registration of the Limited Partner’s LP Interest thereunder) and provided that, if such
          Transfer would cause the General Partner to violate any covenant of this Agreement or any
          Subscription Agreement and the General Partner has taken all reasonable steps to prevent such
          violation, the General Partner shall not be liable to the Partnership as a result thereof and the
          General Partner shall be indemnified by such Limited Partner for any losses, costs, damages or
          expenses incurred as a result of such violation, (iii) such Transfer would not cause the
          Partnership to lose its status as a partnership that is not a publicly-traded partnership for federal
          income tax purposes or cause the Partnership to become subject to the Investment Company
          Act, (iv) such Transfer would not result in Limited Partners losing their limited liability under
          the Partnership Act, (v) if requested by the General Partner, such Limited Partner has delivered
          a favorable opinion in form and substance satisfactory to the General Partner from counsel
          satisfactory to the General Partner as to the matters referred to in clauses (ii), (iii) and (iv)
          above; and (vi) such Transfer occurs on a date approved by the General Partner.

                           (c)    Costs. Without limiting the foregoing, the transferor and transferee of
          an LP Interest will indemnify and hold harmless the Partnership for reasonable out-of-pocket
          expenses incurred by the Partnership in connection with the Transfer of such LP Interest,
          including, but not limited to, additional accounting, tax preparation and other administrative
          expenses reasonably incurred (or to be incurred) by the Partnership in the case of a Transfer
          that results in tax basis adjustments under Section 743 of the Code or related provisions. In the
          case of a Transfer that is expected to result in future expenses of the type described in the
          preceding sentence, the General Partner may estimate the amount of such expenses in good
          faith, and such estimate shall be final. If the Partnership is not reimbursed for all such
                                                          45
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 256 of 275




          expenses within a reasonable period of time, the General Partner may charge the assignee’s
          Capital Account for such unreimbursed expenses.

                        SECTION 12.2.         Substitute Limited Partner; Recognition of Transfer. A
        purchaser, assignee or transferee of a Limited Partner’s LP Interest (a “Transferee”) shall have
        the right to become a Substitute Limited Partner only if the following conditions (in addition to
        those set forth in Section 12.1 above) are satisfied:

                          (a)    A duly executed and acknowledged written instrument of assignment or
          document of transfer satisfactory in form and substance to the General Partner shall have been
          filed with the Partnership;

                        (b)      The Limited Partner and the Transferee shall have executed and
          acknowledged such other instruments and documents and taken such other action as the
          General Partner shall reasonably deem necessary or desirable to effect such substitution;

                         (c)     The Limited Partner or the Transferee shall have paid to the Partnership
          such amount of money as is sufficient to cover all costs, fees and expenses (including
          attorneys’ fees) incurred by or on behalf of the Partnership in connection with such
          substitution, whether or not such substitution is consummated; and

                        (d)     The General Partner shall have consented to such substitution.

                       In the event of the admission of a Transferee as a Substitute Limited Partner, all
        references herein to the Limited Partners shall be deemed to apply to such Substitute Limited
        Partner and such Substitute Limited Partner shall succeed to all rights and obligations of the
        transferor Limited Partner hereunder, including the Capital Account balance of such transferor.

                       A Transferee who is not admitted to the Partnership as a Substitute Limited
        Partner shall have none of the rights of, and no liability as, a Partner and the assignor in such
        case shall remain fully liable for the unpaid portion of its Capital Commitment.

                                              ARTICLE XIII
                                             MISCELLANEOUS

                       SECTION 13.1.         Amendments.

                          (a)     Except as otherwise expressly provided herein, this Agreement may be
          modified or amended, and if amended, restated as amended, and any provision hereof may be
          waived, by a writing signed by or on behalf of the General Partner; provided that, no such
          modification, amendment or waiver shall (a) materially increase or extend any financial
          obligation or liability of a Limited Partner beyond that set forth herein or permitted hereby
          without the consent of such adversely affected Limited Partner, (b) materially and adversely
          affect the rights of a Limited Partner without the consent of such adversely affected Limited
          Partner, or (c) change the provisions of this Section 13.1 without the consent of each Limited
          Partner. Any consent required by this Section 13.1 may be obtained by the Partnership sending
          notice to the Limited Partners of the proposed amendment and instructing the Limited Partners
          who object to such amendment to notify the Partnership of their objection in writing within

                                                       46
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 257 of 275




          thirty (30) days after such notice. In such case, Limited Partners who have not so objected to
          the proposed amendment will be deemed to have approved the amendment.

                          (b)     Each Partner authorizes the General Partner to elect to apply the safe
          harbor set forth in proposed Treasury Regulation Section 1.83-3(l) (under which the Fair Value
          of a GP Interest that is Transferred in connection with the performance of services is treated as
          being equal to the liquidation value of the GP Interest) if such proposed Treasury Regulation or
          a similar Treasury Regulation is promulgated as a final or temporary Treasury Regulation. If
          the General Partner determines that the Partnership should make such election, the General
          Partner is hereby authorized to amend this Agreement without the consent of any other Partner
          or other Person (so long as such amendment is not reasonably expected to have a material
          adverse effect on any Limited Partner) to provide that (i) the Partnership is authorized and
          directed to elect the safe harbor, (ii) the Partnership and each of its Partners (including any
          Person to whom a GP Interest is Transferred in connection with the performance of services)
          will comply with all requirements of the safe harbor with respect to all Partnership interests
          Transferred in connection with the performance of services while such election remains in
          effect, and (iii) the Partnership and each of its Partners will take all actions necessary,
          including providing the Partnership with any required information, to permit the Partnership to
          comply with the requirements set forth or referred to in the applicable Treasury Regulations for
          such election to be effective until such time (if any) as the General Partner determines, in its
          sole discretion, that the Partnership should terminate such election. The General Partner is
          further authorized to amend this Agreement to modify Article VII to the extent the General
          Partner determines in its discretion that such modification is necessary or desirable as a result
          of the issuance of Treasury Regulations relating to the tax treatment of the transfer of a
          Partnership interest in connection with the performance of services. Notwithstanding anything
          to the contrary in this Agreement, each Partner expressly confirms and agrees that it will be
          legally bound by any such amendment.

                       SECTION 13.2.            Approvals. Except as otherwise specifically provided
        herein, each Limited Partner agrees that, to the extent permitted by applicable law, for purposes
        of granting the approval of the Limited Partners with respect to any proposed action of the
        Partnership, the General Partner or any Affiliate of the General Partner, the written approval of
        the Required Limited Partners shall bind the Partnership and each Limited Partner and shall have
        the same legal effect as the written approval of each Partner. The General Partner may request
        the written approval of the Required Limited Partners to approve any matter that the General
        Partner determines, in its sole discretion, necessary or desirable to be so approved.

                         SECTION 13.3.          Notices. All notices, requests and other communications to
        any party hereunder shall be in writing (including facsimile or similar writing) and shall be given
        to such party (a) if such party is a Limited Partner, at its address or facsimile number set forth in
        a schedule filed with the records of the Partnership or such other address or facsimile number as
        such Limited Partner may hereafter specify by notice to the General Partner for such purpose, or
        (b) if such party is the General Partner or the Partnership, at the address set forth in Section
        2.2(b). Each such notice, request or other communication shall be effective (i) if given by
        facsimile, when such facsimile is transmitted to the facsimile number specified and the
        appropriate answerback or confirmation is received, (ii) if given by mail, five (5) days after such
        communication is deposited in the mails with first class postage prepaid, addressed as aforesaid,
        (iii) if given by overnight courier, forty-eight (48) hours after such communication is received by
                                                           47
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 258 of 275




        such courier, or (iv) if given by any other means, when delivered at the address specified
        pursuant to this Section 13.3.

                       SECTION 13.4.         Successors; Counterparts. This Agreement (i) shall be
        binding upon the successors and permitted assigns of the Partners, and (ii) may be executed in
        several counterparts with the same effect as if the parties executing the several counterparts had
        all executed one counterpart.

                        SECTION 13.5.          Governing Law; Severability. This Agreement shall be
        governed by and construed in accordance with the laws of the State of Delaware (without regard
        to the conflict of laws principles thereof). In particular, it shall be construed to the maximum
        extent possible to comply with all of the terms and conditions of the Partnership Act. If it shall
        be determined by a court of competent jurisdiction that any provision or wording of this
        Agreement shall be invalid or unenforceable under the Partnership Act or other applicable law,
        such invalidity or unenforceability shall not invalidate the entire Agreement, in which case this
        Agreement shall be construed so as to limit any term or provision so as to make it enforceable or
        valid within the requirements of applicable law, and, in the event such term or provision cannot
        be so limited, this Agreement shall be construed to omit such invalid or unenforceable
        provisions.

                       SECTION 13.6.          Filings. The General Partner shall promptly prepare,
        following the execution and delivery of this Agreement, any documents required to be filed and
        recorded, or which the General Partner determines, in its sole discretion, are appropriate for
        filing and recording, under the Partnership Act, and the General Partner shall promptly cause
        each such document to be filed and recorded in accordance with the Partnership Act and, to the
        extent required by local law, to be filed and recorded or notice thereof to be published in the
        appropriate place in each jurisdiction in which the Partnership may hereafter establish a place of
        business. The General Partner shall also promptly cause to be filed, recorded and published such
        statements of fictitious business name and other notices, certificates, statements or other
        instruments required by any provision of applicable law of any jurisdiction which governs the
        conduct of the General Partner’s business from time to time.

                        SECTION 13.7.          No Right to Partition. To the extent permitted by law, and
        except as otherwise expressly provided in this Agreement, the Partners, on behalf of themselves
        and their shareholders, partners, heirs, executors, administrators, personal or legal
        representatives, successors and permitted assigns, if any, hereby specifically renounce, waive
        and forfeit all rights, whether arising under contract or statute or by operation of law, to seek,
        bring or maintain any action in any court of law or equity for partition or similar action of the
        Partnership or any asset of the Partnership, or any interest which is considered to be partnership
        property, regardless of the manner in which title to such property may be held.

                       SECTION 13.8.         Goodwill.      No value shall be placed on the name or
        goodwill of the Partnership.

                       SECTION 13.9.           Headings. Section and other headings contained in this
        Agreement are for reference purposes only and are not intended to describe, interpret, define or
        limit the scope or intent of this Agreement or any provision hereof.


                                                       48
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 259 of 275




                        SECTION 13.10.        Entire Agreement. This Agreement and the Subscription
        Agreement constitutes the entire agreement among the Partners with respect to the subject matter
        hereof, and supersede any prior agreement or understanding among them with respect to such
        subject matter. Notwithstanding the provisions of this Agreement, including without limitation
        Section 13.1, or the provisions of any Subscription Agreements, the parties hereto agree that the
        General Partner, without the approval of any Limited Partner or any other Person, may enter into
        a side letter or similar written agreement (an “Other Agreement”) on its own behalf and on
        behalf of the Partnership with Limited Partners which have the effect of establishing rights
        under, or altering or supplementing the terms of, this Agreement or any Subscription
        Agreements. The parties hereto agree that any terms contained in an Other Agreement with a
        Limited Partner shall govern with respect to such Limited Partner notwithstanding the provisions
        of this Agreement or any Subscription Agreements. The representations and warranties of the
        General Partner and the Limited Partners in, and the other provisions of, the Subscription
        Agreements and any Other Agreements, the provisions of Section 11.3 of this Agreement, and
        the obligations of the Partners pursuant to Article IX of this Agreement, shall survive the
        termination or expiration of this Agreement and the termination, dissolution and winding up of
        the Partnership.

                        SECTION 13.11.          Submission to Jurisdiction. To the fullest extent permitted
        by law, each party irrevocably consents and agrees that any legal action or proceeding with
        respect to this Agreement and any action for enforcement of any judgment in respect thereof
        shall be brought exclusively in the courts of the State of California or the U.S. federal courts for
        California and, by execution and delivery of this Agreement, each party hereby submits to and
        accepts for itself and in respect of its property, generally and unconditionally, the non-exclusive
        jurisdiction of the aforesaid courts and appellate courts from any appeal thereof. Each party
        hereby irrevocably waives any objection which it may now or hereafter have to the laying of
        venue of any of the aforesaid actions or proceedings arising out of or in connection with this
        Agreement brought in the courts referred to above and hereby further irrevocably waives and
        agrees not to plead or claim in any such court that any such action or proceeding brought in any
        such court has been brought in an inconvenient forum. Notwithstanding anything to the
        contrary, a government sponsored retirement plan shall not be treated as having submitted hereby
        to the jurisdiction of the California courts or the U.S. federal courts in California when
        applicable law, regulation or policy prohibits such a plan from submitting to the jurisdiction of
        courts beyond its own jurisdiction.

                       SECTION 13.12.         $200 Million Capital Commitments.

                        (a)     The General Partner agrees to and acknowledges that the following
          economic terms as set forth in this Section 13.12, in their entirety, constitute the economic
          terms applicable to each Limited Partner whose Capital Commitment to the Partnership equals
          or exceeds $200 million (a “Large Limited Partner”) as of the Final Closing Date.

                         (b)    [Reserved].

                        (c)     Carried Interest Calculation. The term “Large Limited Partner
          Carried Interest” means a contingent management fee borne by the Large Limited Partner
          and determined as follows:

                                                        49
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 260 of 275




                                  (i)    first, eighty-five percent (85%) of the distributions that otherwise
                    would be made to the Large Limited Partner under the Partnership Agreement after the
                    Large Limited Partner has received aggregate distributions equal to the sum of:

                                          (A)    the cumulative Capital Contributions of the Large Limited
                                                 Partner, and

                                          (B)    an amount necessary to provide the Large Limited Partner
                                                 with a cumulative return of seven percent (7%) per annum,
                                                 compounded annually, on the Large Limited Partner’s
                                                 cumulative Capital Contributions calculated from the date
                                                 that such Capital Contributions are contributed to the
                                                 Partnership until the date on which such Capital
                                                 Contributions are returned to the Large Limited Partner;
                                                 until the amount paid to the Manager as Carried Interest
                                                 under this clause (i) equals fifteen percent (15%) of the sum
                                                 of (x) the amount paid as Carried Interest under this clause
                                                 (i) and (y) the amounts described in clause (i)(B); and

                                    (ii)   thereafter fifteen percent (15%) of the amount otherwise to be
                    distributed to such Large Limited Partner; provided, that, the Manager may, in its sole
                    and absolute discretion reduce or waive the Carried Interest to be borne by any Partner.

                    Notwithstanding the foregoing, if any payment to the Manager pursuant to the above
                    definition of Large Limited Partner Carried Interest (the “Relevant Distribution”) would
                    result in the cumulative payments to the Manager with respect to such Large Limited
                    Partner exceeding the amount that would have been paid to the Manager if all payments
                    to the Manager pursuant to clauses (i) and (ii) above and distributions to the Large
                    Limited Partner pursuant to this Agreement were effected as of the same date (except that
                    the calculation of the preferred return set forth within clause (i)(B) above will be
                    determined on the basis of the timing of actual distributions made) (such excess amount,
                    if any, the “Excess Manager Amount”), then amounts otherwise payable to the Manager
                    pursuant to the definition of Large Limited Partner Carried Interest in respect of the
                    Relevant Distribution will instead be distributed to the Large Limited Partner to the
                    extent necessary such that, to the extent possible, the Excess Manager Amount is equal to
                    zero after giving effect to the Relevant Distribution.

                        (d)    Large Limited Partner Management Fee Calculation. Section 3.4(c)(ii)
          of this Agreement notwithstanding, the quarterly Management Fee applicable to a Large
          Limited Partner’s Capital Account shall be an amount equal to the sum of:

                                    (i)   the Large Limited Partner Management Fee Rate (as defined
                    below) times that Large Limited Partner’s Capital Contributions invested in Partnership
                    Investments attributable to the Large Limited Partner valued at their fair market value as
                    of the start of each Quarterly Period (fair market value shall be determined in the same
                    manner as used in determining the Partnership’s net asset value and shall be reduced by
                    the amount of any write-offs or write-downs applicable to such Partnership Investments);
                    plus
                                                           50
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 261 of 275




                                   (ii)   the Large Limited Partner Carried Interest.

                           (e)    Large Limited Partner Management Fee Rate Calculation. Section
          3.4(c)(ii) of this Agreement, notwithstanding, the “Large Limited Partner Management Fee
          Rate” mean and shall be calculated as follows:

                                  (i)     Until the expiration of the seventh (7th) year following the Final
                    Closing Date, the Large Limited Partner Management Fee Rate shall equal 0.225%
                    (corresponding to an annual rate of 0.90%); and,

                                  (ii)   thereafter, the Large Limited Partner Management Fee Rate shall
                    equal 0.150% (corresponding to an annual rate of 0.60%); and

                                   (iii) provided that, the Large Limited Partner Management Fee Rate
                    shall equal zero (0) at the end of the Term of the Partnership (including any extensions as
                    permitted under this Agreement).

                        (f)    Clawback Payments. The provisions hereof notwithstanding, the term
          “Clawback Payment” defined in first sentence of Section 10.4 shall be modified and applied to
          Large Limited Partners as follows:

                    Upon the dissolution of the Partnership, the General Partner shall cause the
                    Manager to make (or, if a carried interest or similar performance-based fee has
                    been paid by a Subsidiary Fund to a Subsidiary Manager, cause such Subsidiary
                    Manager to make) a payment to the Large Limited Partner’s Capital Account (for
                    further distribution to the Large Limited Partner) (the “Clawback Payment”) to
                    the extent that either (i) the Large Limited Partner’s Capital Account has paid to
                    the Manager (or indirectly to such Subsidiary Manager) Carried Interest payments
                    in excess of the Carried Interest payable to the Manager calculated on an
                    aggregate basis or (ii) the Large Limited Partner has not received a return of its
                    Capital Contributions plus a cumulative return on such Capital Contributions
                    equal to seven percent (7%), compounded annually, as set forth in the definition
                    of “Large Limited Carried Interest” under this Agreement (provided that any such
                    calculation of any required payment may be made as an offset if and to the extent
                    the Large Limited Partner ultimately has to return any amounts to the Partnership
                    due to the Limited Partner Investment Giveback provisions set forth in Section
                    9.4 as applied to the Large Limited Partner.

                    This is to confirm that, in the event of a tax distribution to the Manager (or
                    Subsidiary Manager) to enable the Manager (or Subsidiary Manager) to pay
                    income tax on Carried Interest, the amount of such distribution will be taken into
                    account when determining whether or not there should be a Clawback Payment.
                    For avoidance of doubt, the parties acknowledge that the General Partner (through
                    an affiliate) will invest in the Master Fund, rather than the Partnership.

                         (g)    Interim Clawback Payments. The provisions hereof notwithstanding,
          the following provisions shall only apply to the Large Limited Partners as follows:


                                                            51
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 262 of 275




                                   (i)     Not later than ninety (90) days after each Interim Clawback Date
                    (defined below), the General Partner shall determine if any Interim Clawback Payment
                    (defined below) is owed to a Large Limited Partner. If an Interim Clawback Payment is
                    owed, the General Partner shall cause the Manager to make (or, if a carried interest or
                    similar performance-based fee has been paid by a Subsidiary Fund to a Subsidiary
                    Manager, cause such Subsidiary Manager to make) a payment to the Large Limited
                    Partner’s Capital Account, within five (5) Business Days after the General Partner
                    determines an Interim Clawback Payment is owed (each an “Interim Clawback
                    Payment”) as of such Interim Clawback Date. The Interim Clawback Payment of such
                    Large Limited Partner shall be calculated in the same manner that the Clawback Payment
                    is calculated pursuant to Section 13.12(f) above; provided that, for purposes of
                    calculating the Interim Clawback Payment such Interim Clawback Date shall be treated
                    as the date of the dissolution of the Partnership and any Partnership Investments which
                    have not as of such time been the subject of a disposition shall be deemed to have been
                    disposed of at Fair Value. The Partnership shall distribute any amount so returned to
                    such Large Limited Partner.

                                    (ii)   Payments of the Interim Clawback Payment shall (A) be treated as
                    a return of Large Limited Partner Carried Interest payments previously received by the
                    Manager for purposes of Section 7.1 and Section 10.4 and the receipt of additional
                    Distributable Cash by such Large Limited Partner and (B) shall reduce any subsequent
                    Interim Clawback Payment (including any Clawback Payment) previously paid or
                    required to be paid pursuant to this Agreement. The General Partner shall be authorized
                    to take into account Interim Clawback Payments for purposes of calculating all
                    subsequent distributions to the Partners under Section 7.1. In the event a distribution is
                    made pursuant to Section 7.1, or the Fair Value of the Partnership assets increases, after
                    an Interim Clawback Date but on or prior to payment of the related Interim Clawback
                    Payment, such Interim Clawback Payment shall be adjusted to reflect the amount of such
                    distribution or increase in value. The term “Interim Clawback Date” shall mean the
                    date upon which the Investment Period is terminated or expires pursuant to the terms of
                    this Agreement and the date that is seven (7) years after the Final Closing Date. The
                    Interim Clawback Payment, to the extent not paid when due, shall accrue interest at the
                    rate of 8% per annum (on the basis of a 365 day year) until it has been paid to the
                    Partnership in full.

                        (h)     Section 3.4(c)(ii) of this Agreement notwithstanding, the amount
          determined in Section 13.12(d)(i) shall be the Fixed Management Fee applicable to each Large
          Limited Partner.

                         (i)     For avoidance of doubt, the Large Limited Partner Management Fee
          payable by each Large Limited Partner’s Capital Account shall only be payable for the Term,
          as defined in Section 10.1.

                         (j)     The other provisions of this Agreement notwithstanding, Section 3.4(h)
          of this Agreement shall be replaced with respect to each Large Limited Partner and the
          following shall apply in its place:


                                                           52
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 263 of 275




                    Management Fee Offset for Large Limited Partners. In the event that a Subsidiary
                    Fund bears a management or similar fee, then such fee will be credited on a dollar-
                    for-dollar basis against the Management Fee otherwise chargeable to the Large
                    Limited Partner (the “Large Limited Partner Fixed Management Fee Offset”)
                    such that the aggregate Large Limited Partner Fixed Management Fee paid by the
                    Large Limited Partner directly from its Capital Account or indirectly by virtue of
                    its investment in the Subsidiary Funds shall not exceed the applicable amount
                    specified in Section 13.12(d)(i) of this Agreement after giving effect to the Large
                    Limited Partner Fixed Management Fee Offset. In the event that a Subsidiary
                    Fund bears a carried interest or similar performance-based fee, then such interest
                    or fee will be credited on a dollar-for-dollar basis against the Carried Interest
                    otherwise chargeable to a Large Limited Partner (the “Large Limited Partner
                    Carried Interest Offset”) such that the aggregate Large Limited Partner Carried
                    Interest paid by the Large Limited Partner directly from its Capital Account or
                    indirectly by virtue of its investment in the Subsidiary Funds shall not exceed the
                    applicable amount specified in Section 13.12(b) of this Agreement after giving
                    effect to the Large Limited Partner Carried Interest Offset.

                           (k)    Large Limited Partner Supplemental Definition of Cause Event. The
          General Partner shall notify the Large Limited Partners (the “Large Limited Partner Cause
          Event Notice”) in the event of Disabling Conduct by the General Partner or Manager as
          determined either (i) by any court or governmental body referenced in Section 13.11 thereof or
          (ii) at the initiative and election of a majority in interest of the Large Limited Partners, by
          means of a determination of an Arbitrator (as defined below), in each case that has a material
          adverse effect on the Partnership (“Large Limited Partner Cause Event”). Within thirty
          (30) days of receipt of a Large Limited Partner Cause Event Notice, the Large Limited Partners
          (other than Defaulting Partners and Large Limited Partners affiliated with the General Partner
          or its Affiliates) representing at least a majority of the aggregate amount of all Large Limited
          Partners’ (other than Defaulting Partners’ and Large Limited Partners affiliated with the
          General Partner or its Affiliates) Capital Commitments at such time may determine that such
          Large Limited Partner Cause Event shall be deemed a “Cause Event” for purposes of Section
          11.3 hereof.

                             (l)     Arbitration.

                                     (i)   AAA Arbitration. The parties agree to submit claims of Disabling
                    Conduct (a “Claim”)
                                  ----    brought  by a Large Limited Partner to arbitration at the election of
                    the Large Limited Partner pursuant to the Federal Arbitration Act, 9 U.S.C. §§ 1 et. seq.
                    The arbitration will be administered by AAA. The Claims shall be decided by a single
                    arbitrator (the “Arbitrator”).

                                    (ii)    Selection of Arbitrator. Within two weeks after the Large Limited
                    Partner submits to the General Partner a Claim, each side shall identify five potential
                    arbitrators who reside or work in the San Francisco, California area. The Parties shall
                    rank their choices from one to five, with one being the most preferred. If there is an
                    arbitrator on the lists on which the Parties agree, that arbitrator shall be selected by the
                    Parties. If there is more than one arbitrator in common, the Parties shall select the
                    arbitrator with the lowest collective score. If there is no agreement, both sides shall
                                                            53
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 264 of 275




                    identify five additional, alternate candidates within two weeks and continue this process
                    until a common arbitrator is selected. In the event of an impasse, the Parties agree to
                    submit the matter to AAA for selection of the arbitrator.
                                   (iii) Location of Hearing. The hearing will occur in the San Francisco,
                    California area, in the State of California, at a time and place to be mutually agreed upon
                    by the Parties and the Arbitrator. This Agreement shall be binding upon and inure to the
                    benefit of the Parties, their heirs, successors and assigns. Review of any decision of the
                    Arbitrator shall be limited to those matters set forth in 9 U.S.C. § 10(a). The Arbitration
                    shall be governed by AAA’s Commercial Arbitration Rules and Mediation Procedures,
                    amended October 1, 2013, except to the extent such rules are modified or supplemented
                    herein.
                                 (iv)   Discovery. Discovery will be permitted in accordance with the
                    Federal Rules of Civil Procedure, except to the extent such rules are modified or
                    supplemented below.
                                          (A)    Use of Deposition Transcripts at Hearing. The Parties may
                                                 offer deposition testimony in lieu of live testimony at the
                                                 arbitration hearing. Any evidentiary objections that were
                                                 raised during the depositions may be renewed at the
                                                 arbitration hearing and ruled upon by the Arbitrator.
                                          (B)     Third-Party Discovery.        The Parties may subpoena
                                                  documents and testimony from relevant third-party
                                                  witnesses consistent with the Federal Rules of Civil
                                                  Procedure. Witness fees for any third-party subpoenaed
                                                  deponent shall be in the same amount as provided for
                                                  witnesses in trials in the U.S. District Court as specified by
                                                  the Large Limited Partner.
                                   (v)      Communication with the Arbitrator. Neither the Parties nor
                    anyone acting on behalf of the Parties shall communicate ex parte with the Arbitrator
                    about the merits of the claims prior to the commencement of the arbitration or following
                    its conclusion until the Arbitrator has issued its award in writing to the Parties.
                                  (vi)     Each Party shall bear equally the costs of AAA and the Arbitrator.
                    Each Party shall bear its own costs and expenses.
                                    (vii) Confidentiality. The arbitration proceedings, including all
                    documents and information exchanged during the arbitration, and any award, judgment or
                    result shall be confidential.
                                   (viii) Entry of Award. Judgment based on any aware or ruling of the
                    arbitrators may be entered by any court having jurisdiction.


                    IN WITNESS WHEREOF, the undersigned have executed and delivered this
        Second Amended and Restated Limited Partnership Agreement as of the date first set out above.



                                                            54
4811-7067-2931.36
      Case 1:21-cv-08330-LAK Document 31-3
                                      11-3 Filed 11/12/21
                                                 10/20/21 Page 265 of 275




            IN WITNESS WHEREOF, the undersigned have executed and delivered this
Second Amended and Restated Limited Partnership Agreement as of the date first set out above.



GENERAL PARTNER:

WHITE OAK PARTNERS 2, LLC




LIMITED PARTNERS:

    [SIGNATURES OF LIMITED PARTNERS ARE SET FORTH ON SEPARATE
    SIGNATURE PAGES]
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 266 of 275




                                                                                                 Appendix A

                                                    DEFINITIONS


                       “Additional Limited Partner” means a Limited Partner admitted to the Partnership
        at a Closing subsequent to the Initial Closing, or an Existing Limited Partner that increases its
        Capital Commitment pursuant to Section 2.5(c).

                        “Adjusted Capital Account Deficit” means, with respect to any Partner, the deficit
        balance, if any, in such Partner’s Capital Account as of the end of the relevant fiscal year, after
        giving effect to the following adjustments:

                                    (ii)   credit to such Capital Account any amounts which such Partner is
                    obligated to restore pursuant to any provision of this Agreement or is deemed obligated to
                    restore pursuant to the penultimate sentences of Treasury Regulation Sections 1.704-
                    2(g)(1) and 1.704-2(i)(5); and

                                    (iii) debit to such Capital Account the items described in Treasury
                    Regulation Sections 1.704-1(b)(2)(ii)(d)(4), 1.704-1(b)(2)(ii)(d)(5), and 1.704-
                    1(b)(2)(ii)(d)(6).

        The foregoing definition of Adjusted Capital Account Deficit is intended to comply with the
        provisions of Treasury Regulation Section 1.704-1(b)(2)(ii)(d) and shall be interpreted
        consistently therewith.

                           “Administration Fee” has the meaning set forth in Section 3.5(a).

                           “Administrator” shall mean the administrator of the Partnership.

                        “Affiliate” of any specified Person or a Person “affiliated with” another Person
        means any other Person that, directly or indirectly through one or more intermediaries, controls,
        is controlled by or is under common control with the Person specified. The term “control”
        means the possession, directly or indirectly, of the power to direct or cause the direction of the
        management and policies of a Person, whether through the ownership of voting securities, by
        contract or otherwise.

                       “Agreement” means this Limited Partnership Agreement, as amended or restated
        from time to time.

                       “Assumed Tax Rate” means the highest effective combined federal, state and
        local income tax rate for the calendar year involved applicable to any individual resident in New
        York City (taking into account the deductibility of state and local income taxes for federal
        income tax purposes).

                           “Authorized Representative” has the meaning set forth in Section 3.11(a).

                       “Borrowing Costs” means with respect to any borrowing, any interest fees or
        expenses attributable to such borrowing, but shall not include any repayment of principal.
                                                        56
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 267 of 275




                     “Business Day” means any day except a Saturday, Sunday or other day on which
        commercial banks in New York City are authorized by law to close.

                       “Capital Account” has the meaning set forth in Section 7.2(a).

                       “Capital Call” means a capital call of cash contributions from all Partners except
        as otherwise provided pursuant to a Capital Call Notice in accordance with Article VI.

                       “Capital Call Amount” means the aggregate Capital Contributions to be made on
        any date by the Partners pursuant to Article VI.

                       “Capital Call Date” has the meaning set forth in Section 6.2(b).

                       “Capital Call Notice” has the meaning set forth in Section 6.2(a).

                       “Capital Commitment” means, with respect to any Partner at any time, the amount
        specified as such Partner’s Capital Commitment at the time such Partner was admitted to the
        Partnership.

                       “Capital Contribution” means, with respect to any Partner, a cash contribution (or
        deemed cash contribution) made by such Partner to the Partnership pursuant to Section 2.5,
        Article VI and Article IX.

                       “Capital Contribution Recovery” has the meaning set forth in Section 2.5(b).

                        “Carried Interest” means a contingent management fee borne by a Limited Partner
        and determined as follows: (i) first, 100% of the distributions that otherwise would be made to
        such Limited Partner under this Agreement after such Limited Partner has received aggregate
        distributions equal to the sum of: (A) the cumulative Capital Contributions of such Limited
        Partner invested in Partnership Investments, and (B) an amount necessary to provide such
        Limited Partner with a cumulative return of seven percent (7%) per annum, compounded
        annually, on such Limited Partner’s aggregate outstanding Capital Contributions invested in
        Partnership Investments calculated from the date that such Capital Contributions are contributed
        to the Partnership until the date on which such Capital Contributions are returned to such
        Limited Partner; until the amount paid to the Manager as Carried Interest under this clause (i)
        equals fifteen percent (15%) of the sum of (x) the amount paid as Carried Interest under this
        clause (i) and (y) the amounts described in clause (i)(B); and (ii) thereafter fifteen percent (15%)
        of the amount otherwise to be distributed to such Limited Partner; provided, that, the Manager
        may, in its sole and absolute discretion reduce or waive the Carried Interest to be borne by any
        Partner.

                       “Carried Interest Offset” has the meaning set forth in Section 3.4(h).

                       “Cause Event” has the meaning set forth in Section 11.3(a).

                       “Cause Event Notice” has the meaning set forth in Section 11.3(a).

                       “Clawback Payment” has the meaning set forth in Section 10.4(c).

                                                        57
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 268 of 275




                      “Closing” means a closing of the sale of LP Interests to investors and such
        investors’ admission as Limited Partners, or an Existing Limited Partner’s increase of its Capital
        Commitment.

                       “Code” means the Internal Revenue Code of 1986, as amended from time to time.

                       “Co-Investment Funds” has the meaning set forth in Section 4.3.

                      “Covered Person” means a member of the General Partner Group or the
        Independent Investor Representative.

                       “Default” means any failure of a Limited Partner to make all or a portion of any
        required Capital Contribution on the applicable Capital Call Date or other due date.

                       “Defaulting Partner” means, at any time, each Limited Partner, who, at or prior to
        such time, has committed or has been deemed to have committed a Default that has become an
        Event of Default.

                       “Disabled” has the meaning set forth in Section 3.8.

                       “Disabling Conduct” has the meaning set forth in Section 9.1.

                        “Distributable Cash” means cash receipts of all kinds derived by the Partnership
        from its ownership or disposition of Partnership Investments (whether or not distributed pursuant
        to Section 7.1(a)) less (x) any amounts retained by the Partnership in accordance with Section
        7.1(e), and (y) any income derived by the Partnership from Temporary Investments.

                       “Electing Partner” has the meaning set forth in Section 7.1(a).

                     “ERISA” means the Employee Retirement Income Security Act of 1974, as
        amended from time to time.

                        “ERISA Partner” means any Limited Partner that is (i) an employee benefit plan
        which is subject to the provisions of Part 4 of Subtitle B of Title I of ERISA, (ii) a plan or
        individual retirement account which is subject to Section 4975 of the Code, or (iii) a nominee
        for, or is using the assets of, or is a trust established pursuant to, one or more employee benefit
        plans, or other such plans or individual retirement accounts.

                       “Event of Default” means any Default that shall have not been (i) cured by the
        Limited Partner who committed such Default within ten (10) Business Days after the occurrence
        of such Default, or (ii) waived by the General Partner on such terms as determined by the
        General Partner in its sole discretion before such Default has otherwise become an Event of
        Default pursuant to clause (i) hereof and, to the extent required pursuant to Section 6.3 with
        respect to any Defaulting Partner that is affiliated with the General Partner or its Affiliates, only
        upon the prior written approval of the Independent Investor Representative.

                       “Excess Manager Amount” has the meaning set forth in Section 13.12(c).

                       “Excluded Limited Partner” has the meaning set forth in Section 6.5(a).
                                                         58
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 269 of 275




                           “Existing Limited Partners” has the meaning set forth in Section 2.5(b).

                       “Fair Value” means the valuation of a Partnership Investment or other Partnership
        property by the General Partner (or other Person) in good faith in accordance with Section 3.21.

                           “Final Closing” means the Partnership’s last Closing.

                           “Final Closing Date” means the date of the Final Closing.

                           “Fixed Management Fee” has the meaning set forth in Section 3.4(c).

                           “Fixed Management Fee Offset” has the meaning set forth in Section 3.4(f).

                        “Follow-On Investments” means an additional investment of capital by the
        Partnership in an existing Partnership Investment.

                      “General Partner” means White Oak Partners 2, LLC, a Delaware limited liability
        company, and its successors.

                       “General Partner Group” means the General Partner, the Manager and their
        respective Affiliates, partners, officers, directors, members, principals, stockholders, employees,
        controlling persons, representatives or other agents.

                           “GP Interest” has the meaning set forth in Section 11.1.

                       “Gross Asset Value” means, with respect to any asset, the asset’s adjusted basis
        for U.S. federal income tax purposes, except as follows:

                                    (iv)    the Gross Asset Value of any asset contributed by a Partner to the
                    Partnership is the Fair Value of such asset as determined at the time of contribution;

                                    (v)    the Gross Asset Value of all Partnership assets shall be adjusted to
                    equal their respective gross Fair Values as of the following times: (a) the acquisition of
                    any additional interest in the Partnership by any new or existing Partner in exchange for
                    more than a de minimis Capital Contribution; (b) the distribution by the Partnership to a
                    Partner of more than a de minimis amount of property as consideration for an interest in
                    the Partnership; (c) the grant of an interest in the Partnership (other than a de minimis
                    interest) as consideration for the provision of services to or for the benefit of the
                    Partnership by an existing Partner acting in a Partner capacity, or by a new Partner acting
                    in a Partner capacity or in anticipation of becoming a Partner; (d) the liquidation of the
                    Partnership within the meaning of Treasury Regulation Section 1.704-1(b)(2)(ii)(g) and
                    (e) such other times determined by the General Partner in its sole and absolute discretion;
                    provided, that, the adjustments pursuant to clauses (a), (b), (c) and (d) above shall be
                    made only if the General Partner determines that such adjustments are necessary or
                    appropriate to reflect the relative economic interests of the Partners in the Partnership;
                    and




                                                            59
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 270 of 275




                                   (vi)  the Gross Asset Value of any Partnership asset distributed to any
                    Partner shall be adjusted to equal the gross Fair Value of such asset on the date of
                    distribution.

                           “Independent Investor Representative” has the meaning set forth in Section 3.19.

                       “Initial Administrator” means White Oak Partners 2, LLC, a Delaware limited
        liability company.

                           “Initial Closing” means the first Closing.

                           “Initial Closing Date” means the date of the Initial Closing.

                           “Initial Closing Date Investor” has the meaning set for in Section 7.1(b).

                           “Initial Closing Priority Return” has the meaning set forth in Section 7.1(b).

                       “Initial Manager” means White Oak Global Advisors, LLC, a Delaware limited
        liability company.

                           “Initial Period Distributable Cash” has the meaning set forth in Section 7.1(b).

                           “Interim Clawback Date” has the meaning set forth in Section 13.12(g).

                           “Interim Clawback Payment” has the meaning set forth in Section 13.12(g).

                           “Investment Committee” has the meaning set forth in Section 3.20.

                     “Investment Company Act” means the Investment Company Act of 1940, as
        amended from time to time.

                           “Investment Giveback Amount” has the meaning set forth in Section 9.4.

                        “Investment Period” means the period during which the Partnership may make
        commitments to Partnership Investments. The Investment Period shall commence on the date of
        the Initial Closing and end twenty four (24) months following the last day of the month that
        includes the Final Closing Date, provided that the General Partner may extend the Investment
        Period for six (6) months, and provided further that the Investment Period may be terminated
        upon a resolution adopted by 75% of the Interests held by the Limited Partners not affiliated with
        the General Partner at a meeting called in accordance with Section 3.12.

                           “Key Person Event” has the meaning set forth in Section 3.8.

                           “Key Person Event Notice” has the meaning set forth in Section 3.8.

                           “Key Person Event Termination” has the meaning set forth in Section 3.8.

                           “Large Limited Partner” has the meaning set forth in Section 13.12(a).


                                                            60
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 271 of 275




                         “Large Limited Partner Carried Interest” has the meaning set forth in Section
        13.12(c).

                      “Large Limited Partner Carried Interest Offset” has the meaning set forth in
        Section 13.12(f).

                         “Large Limited Partner Cause Event” shall have the meaning set forth in Section
        13.12.

                         “Large Limited Partner Cause Event Notice” shall have the meaning set forth in
        Section 13.12.

                       “Large Limited Partner Fixed Management Fee Offset” has the meaning set forth
        in Section 13.12(f).

                       “Large Limited Partner Management Fee Rate” has the meaning set forth in
        Section 13.12(d)(ii).

                        “Limited Partner” means, at any time, any Person who is at such time a limited
        partner of the Partnership.

                         “Liquidator” has the meaning set forth in Section 10.3.

                         “LP Interest” means an interest in the Partnership as a Limited Partner.

                      “Management Agreement” shall mean the investment management or similar
        agreement by and between the Partnership and the Manager.

                         “Management Fee” has the meaning set forth in Section 3.4(c).

                         “Manager” means the manager of the Partnership’s investments.

                         “Manager Expenses” has the meaning set forth in Section 5.1.

                         “Master Fund” means the Subsidiary Fund in which the Partnership invests
        directly.

                        “Net Income” and “Net Loss” means, for each fiscal year or other period, an
        amount equal to the Partnership’s taxable income or loss for such fiscal year or period,
        determined in accordance with Section 703(a) of the Code (for this purpose, all items of income,
        gain, loss or deduction required to be stated separately pursuant to Section 703(a)(1) of the Code
        shall be included in taxable income or loss) with the following adjustments (without
        duplication):

                         (i)    any income of the Partnership that is exempt from federal income tax and
                                not otherwise taken into account in computing Net Income or Net Loss
                                pursuant to this paragraph, shall be added to such income or loss;



                                                         61
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 272 of 275




                         (ii)    any expenditures of the Partnership described in Code
                                 Section 705(a)(2)(B) or treated as Code Section 705(a)(2)(B) expenditures
                                 pursuant to Treasury Regulation Section 1.704-1(b)(2)(iv)(i), and not
                                 otherwise taken into account in computing Net Income or Net Loss
                                 pursuant to this paragraph, shall be subtracted from such taxable income
                                 or loss;

                         (iii)   if the Gross Asset Value of any Partnership asset is adjusted pursuant to
                                 subdivisions (ii) or (iii) of the definition of “Gross Asset Value” herein,
                                 the amount of such adjustment shall be taken into account as gain or loss
                                 from the disposition of such asset for purposes of computing Net Income
                                 or Net Loss;

                         (iv)    gain or loss resulting from any disposition of Partnership property with
                                 respect to which gain or loss is recognized for federal income tax purposes
                                 shall be computed by reference to the Gross Asset Value of the property
                                 disposed of, notwithstanding that the adjusted tax basis of such property
                                 differs from its Gross Asset Value;

                         (v)     in lieu of depreciation, amortization, and other cost recovery deductions
                                 taken into account in computing such taxable income or loss, such
                                 amounts shall instead be determined in accordance with the requirements
                                 of Treasury Regulation Section 1.704-1(b)(2)(iv)(g); and

                         (vi)    any items which are specially allocated pursuant to the provisions of
                                 Section 7.3(b) or (c) shall not be taken into account in computing Net
                                 Income or Net Loss.

                      “Nonrecourse Deductions” has the meaning set forth in Treasury Regulation
        Sections 1.704-2(b)(1) and 1.704 2(c).

                         “Nonrecourse Liability” has the meaning set forth in Treasury Regulation Section
        1.704-2(b)(3).

                      “Offering Memorandum” means the Confidential Offering Memorandum of the
        Partnership and any amendments or supplements thereto.

                         “Organizational Expenses” has the meaning set forth in Section 5.2(c)(i).

                         “Other Agreement” has the meaning set forth in Section 13.10.

                         “Other Clients” has the meaning set forth in Section 3.7(c).

                         “Other Giveback Amount” has the meaning set forth in Section 9.4.

                         “Parallel Fund” has the meaning set forth in Section 3.3.

                         “Partners” means the General Partner and the Limited Partners.

                                                         62
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 273 of 275




                       “Partnership” means White Oak Summit Fund, L.P., a Delaware limited
        partnership.

                      “Partnership Act” means the Delaware Revised Uniform Limited Partnership Act,
        as amended from time to time.

                       “Partnership Expenses” has the meaning set forth in Section 5.2(b).

                       “Partnership Investment” means the origination or extension of loans or credit of
        any kind, whether secured or unsecured, and/or investment in corporate credit, asset-based loans,
        or debt instruments, and any investment by the Partnership in accordance with the Partnership’s
        Offering Memorandum by means of an investment in the Master Fund which will in turn will
        invest in underlying Subsidiary Funds that invest in such loans, credits and instruments. .

                    “Partnership Minimum Gain” has the same meaning as the term “partnership
        minimum gain” set forth in Treasury Regulation Sections 1.704-2(b)(2) and 1.704-2(d).

                      “Partner Nonrecourse Debt” has the same meaning as the term “partner
        nonrecourse debt” set forth in Treasury Regulation Section 1.704-2(b)(4).

                      “Partner Nonrecourse Debt Minimum Gain” means an amount, with respect to
        each Partner Nonrecourse Debt, equal to the Partnership Minimum Gain that would result if the
        Partner Nonrecourse Debt were treated as a Nonrecourse Liability, determined in accordance
        with Treasury Regulation Section 1.704-2(i)(3).

                      “Partner Nonrecourse Deductions” has the same meaning as the term “partner
        nonrecourse deductions” in Treasury Regulation Section 1.704-2(i)(2).

                      “Person” means any individual, partnership, corporation, trust, limited liability
        company, limited liability partnership, joint stock company or other legal entity.

                      “Plan Asset Regulation” means Department of Labor Regulation Section 2510.3-
        101 or any successor thereto.

                       “Primary Key Person Event” has the meaning set forth in Section 3.8.

                       “Principals” has the meaning set forth in Section 3.8.

                      “Proceeding” means any action, claim, suit, investigation, arbitration or
        proceeding, whether at law or in equity, and whether by or before any court, arbitrator,
        governmental body or other administrative, regulatory or other agency or commission.

                       “Relevant Distribution” has the meaning set forth in Section 13.12(c).

                        “Remaining Capital Commitment” means, with respect to any Partner at any time,
        the excess, if any, of (i) such Partner’s Capital Commitment at such time over (ii) such Partner’s
        aggregate Capital Contributions made prior to such time. For purposes of this definition, any
        Partner’s aggregate Capital Contributions shall be reduced by the aggregate amount theretofore


                                                        63
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 274 of 275




        distributed to such Partner pursuant to Section 7.1(a) prior to the end of the Investment Period in
        accordance with Section 7.1(b).

                       “Remaining Commitment Percentage” means, with respect to any Partner at any
        time, the percentage derived by (i) dividing such Partner’s Remaining Capital Commitment at
        such time by (ii) the aggregate amount of all Partners’ Remaining Capital Commitments.

                       “Removal Notice” has the meaning set forth in Section 11.3.

                       “Required Limited Partners” means, at any time, Limited Partners (other than
        Defaulting Partners and Limited Partners affiliated with the General Partner or its Affiliates)
        representing at least a majority of the aggregate amount of all Limited Partners’ (other than
        Defaulting Partners’ and Limited Partners affiliated with the General Partner or its Affiliates)
        Capital Commitments at such time.

                       “Secondary Key Person Event” has the meaning set forth in Section 3.8.

                      “Securities” means shares of capital stock, limited partnership interests, warrants,
        options, bonds, notes, debentures, other securities and equity interests of whatever kind of any
        Person, whether or not publicly traded or readily marketable, and any other financial instruments
        which exist now or are hereafter created.

                      “Subscription Agreements” mean the subscription agreements entered into by the
        respective Limited Partners in connection with their purchases of LP Interests.

                       “Subsequent Closings” means each Closing held after the Initial Closing up to and
        including the Final Closing.

                       “Subsequent LP Capital Contribution” has the meaning set forth in Section
        2.5(b).

                       “Subsidiary Fund” means any fund in which the Partnership directly or indirectly
        invests.

                       “Subsidiary Manager” means an investment manager of a Subsidiary Fund.

                        “Substitute Limited Partner” means any purchaser, assignee, transferee or other
        recipient of all or any portion of any Limited Partner’s Interest who is admitted as a Limited
        Partner to the Partnership in accordance with Sections 6.3(d)(iii) or 12.2.

                       “Successor Fund” has the meaning set forth in Section 3.7(b).

                      “Tax-Exempt Limited Partner” means a Limited Partner that is exempt from
        income taxation pursuant to Section 501 of the Code.

                       “Tax Matters Partner” has the meaning set forth in Section 7.7.

                      “Temporary Investment” means investments in (i) short-term money market
        investments issued by issuers in the two highest rating categories as stated by nationally

                                                        64
4811-7067-2931.36
               Case 1:21-cv-08330-LAK Document 31-3
                                               11-3 Filed 11/12/21
                                                          10/20/21 Page 275 of 275




        recognized statistical ratings organizations, (ii) obligations backed by full faith and credit of the
        U.S. federal government and with a maturity date not in excess of eighteen (18) months from the
        date of purchase by the Partnership, (iii) interest-bearing bank or brokerage accounts and/or
        certificates of deposit issued by banks with undivided capital and surplus of $100,000,000 or
        more, and (iv) other comparable investments as determined by the General Partner in its sole
        discretion.

                       “Term” of the Partnership has the meaning set forth in Section 10.1.

                       “Third Party Co-Investor” has the meaning set forth in Section 4.3.

                       “Third Party Consultant” has the meaning set forth in Section 3.4.

                       “Transaction Fees” means any directors’ fees from a portfolio company,
        transaction fees, origination fees, closing fees, monitoring fees, amendment fees, break-up fees
        or any other similar advisory fees received by a member of the General Partner Group in
        connection with any services provided by a member of the General Partner Group to a portfolio
        company in which the Partnership has invested.

                       “Transfer” means a direct or indirect sale, exchange, transfer, assignment, pledge,
        hypothecation or other disposition of all or any portion of a GP Interest or a LP Interest, other
        than in connection with a pledge by the General Partner of any such interests made in connection
        with a borrowing by the Partnership.

                       “Transferee” has the meaning set forth in Section 12.2.

                     “Treasury Regulations” means the temporary and final regulations of the U.S.
        Treasury Department issued pursuant to the Code.

                        “U.S.” means the United States of America.

                       “Valuation Agent” has the meaning set forth in Section 3.21.




                                                         65
4811-7067-2931.36
